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           League of Women Voters of Florida, Inc.

                                        vs.

                                   Laurel Lee



                               Deposition of:

                           Daniel Smith, Ph.D.



                              October 25, 2021
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   · · · · · · · ·UNITED STATES DISTRICT COURT
   · · · · · · · ·NORTHERN DISTRICT OF FLORIDA
   · · · · · · · · · ·TALLAHASSEE DIVISION

   · · · Case No.· 4:21CV186-MW/MAF· · · · ·4:21-cv-187
   · · · · · · · · 4:21-cv-201· · · · · · · ·4:21-cv-242

   LEAGUE OF WOMEN VOTERS OF FLORIDA,
   et al.,

   · · · · · · · · · Plaintiffs,

   · · v.

   LAUREL M. LEE, Florida Secretary
   of State, et al.,

   · · · · · · · · · Defendants,

   · · and

   NATIONAL REPUBLICAN SENATORIAL COMMITTEE, et al.,

   · · · · · · · · · Intervenor-Defendants.
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   · · WEB CONFERENCE DEPOSITION OF DANIEL A. SMITH, Ph.D.


   · · · · · · · · ·Volume 1 (Pages:· 1-78)



   · · · · · · · · ·Monday, October 25, 2021
   · · · · · · · · ·10:05 a.m. - 12:17 p.m.



   · · · · · · · ·Location:· Via Web Conference



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   · · · · ·Tamra K. Piderit, FPR, RPR, RMR, RDR, CRR
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   ·1· ·APPEARANCES:· (All parties appeared via Web conference)

   ·2
   · ·   ·ON BEHALF OF FLORIDA RISING TOGETHER:
   ·3
   · ·   ·   ·   ·   ·   ·   ARNOLD & PORTER KAYE SCHOLER, LLP
   ·4·   ·   ·   ·   ·   ·   601 Massachusetts Avenue, Northwest
   · ·   ·   ·   ·   ·   ·   Washington, D.C. 20001
   ·5·   ·   ·   ·   ·   ·   202.942.5564
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   · ·   ·   ·   ·   ·   ·   321.250.2853
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   12·   ·   ·   ·   ·   ·   New York, New York 10004
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   · ·   ·   ·   ·   ·   ·   bwright@demos.com
   14

   15· ·ON BEHALF OF FLORIDA STATE CONFERENCE OF THE NAACP:

   16·   ·   ·   ·   ·   ·   NAACP LEGAL DEFENSE & EDUCATIONAL FUND, INC.:
   · ·   ·   ·   ·   ·   ·   700 14th Street, Northwest
   17·   ·   ·   ·   ·   ·   Suite 600
   · ·   ·   ·   ·   ·   ·   Washington, D.C. 20005
   18·   ·   ·   ·   ·   ·   202.682.1300
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   22·   ·   ·   ·   ·   ·   New York, New York 10018
   · ·   ·   ·   ·   ·   ·   212.841.1072
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   ·2
   · · ·ON BEHALF OF LAUREL M. LEE IN HER OFFICIAL CAPACITY AS
   ·3· ·SECRETARY OF STATE:

   ·4·   ·   ·   ·   ·   ·   HOLTZMAN VOGEL BARAN TORCHINSKY & JOSEFIAK, PLLC
   · ·   ·   ·   ·   ·   ·   119 South Monroe Street
   ·5·   ·   ·   ·   ·   ·   Suite 500
   · ·   ·   ·   ·   ·   ·   Tallahassee, Florida 32301
   ·6·   ·   ·   ·   ·   ·   850.274.1690
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   ·7·   ·   ·   ·   ·   ·   gperko@holtzmanvogel.com

   ·8
   · ·   ·ON BEHALF OF THE ATTORNEY GENERAL:
   ·9
   · ·   ·   ·   ·   ·   ·   OFFICE OF THE ATTORNEY GENERAL
   10·   ·   ·   ·   ·   ·   General Civil Litigation Division
   · ·   ·   ·   ·   ·   ·   PL-01, The Capitol
   11·   ·   ·   ·   ·   ·   Tallahassee, Florida 32399
   · ·   ·   ·   ·   ·   ·   850.414.3670
   12·   ·   ·   ·   ·   ·   BY: William H. Stafford, III, Esquire
   · ·   ·   ·   ·   ·   ·   william.stafford@myfloridalegal.com
   13

   14· ·ON BEHALF OF ALACHUA COUNTY SUPERVISOR OF ELECTIONS:

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   · ·   ·   ·   ·   ·   ·   12 Southeast First Street
   16·   ·   ·   ·   ·   ·   Second Floor
   · ·   ·   ·   ·   ·   ·   Gainesville, Florida 32601
   17·   ·   ·   ·   ·   ·   352.374.5218
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   · ·   ·ON BEHALF OF BAKER COUNTY SUPERVISOR OF ELECTIONS, BAY
   ·3·   ·COUNTY SUPERVISOR OF ELECTIONS, BRADFORD COUNTY SUPERVISOR
   · ·   ·ELECTIONS, CALHOUN COUNTY SUPERVISOR OF ELECTIONS, COLUMBIA
   ·4·   ·COUNTY SUPERVISOR OF ELECTIONS, DIXIE COUNTY SUPERVISOR OF
   · ·   ·ELECTIONS, FRANKLIN COUNTY SUPERVISOR OF ELECTIONS, GADSDEN
   ·5·   ·COUNTY SUPERVISOR OF ELECTIONS, HAMILTON COUNTY SUPERVISOR
   · ·   ·OF ELECTIONS, JACKSON COUNTY SUPERVISOR OF ELECTIONS,
   ·6·   ·LAFAYETTE COUNTY SUPERVISOR OF ELECTIONS, LIBERTY COUNTY
   · ·   ·SUPERVISOR OF ELECTIONS, NASSAU COUNTY SUPERVISOR OF
   ·7·   ·ELECTIONS, PUTNAM COUNTY SUPERVISOR OF ELECTIONS, SANTA
   · ·   ·ROSA COUNTY SUPERVISOR OF ELECTIONS, ST. JOHNS COUNTY
   ·8·   ·SUPERVISOR OF ELECTIONS, SUMTER COUNTY SUPERVISOR OF
   · ·   ·ELECTIONS, SUWANNEE COUNTY SUPERVISOR OF ELECTIONS, TAYLOR
   ·9·   ·COUNTY SUPERVISOR OF ELECTIONS, UNION COUNTY SUPERVISOR OF
   · ·   ·ELECTIONS, WAKULLA COUNTY SUPERVISOR OF ELECTIONS, WALTON
   10·   ·COUNTY SUPERVISOR OF ELECTIONS, and WASHINGTON COUNTY
   · ·   ·SUPERVISOR OF ELECTIONS:
   11
   · ·   ·   ·   ·   ·   ·   MARKS GRAY, P.A.
   12·   ·   ·   ·   ·   ·   1200 Riverplace Boulevard
   · ·   ·   ·   ·   ·   ·   Suite 800
   13·   ·   ·   ·   ·   ·   Jacksonville, Florida 32207
   · ·   ·   ·   ·   ·   ·   904.398.0900
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   16·   ·   ·   ·   ·   ·   BY:· Julianna Favale, Esquire
   · ·   ·   ·   ·   ·   ·   jfavale@marksgray.com
   17

   18· ·ON BEHALF OF BROWARD COUNTY SUPERVISOR OF ELECTIONS:

   19·   ·   ·   ·   ·   ·   BROWARD COUNTY ATTORNEY'S OFFICE
   · ·   ·   ·   ·   ·   ·   115 South Andrews Avenue
   20·   ·   ·   ·   ·   ·   Suite 423
   · ·   ·   ·   ·   ·   ·   Fort Lauderdale, Florida 33301
   21·   ·   ·   ·   ·   ·   954.357.7600
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   22·   ·   ·   ·   ·   ·   bsalzillo@broward.org
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   ·2
   · ·   ·ON BEHALF OF CITRUS COUNTY SUPERVISOR OF ELECTIONS:
   ·3
   · ·   ·   ·   ·   ·   ·   BELL & ROPER, P.A.
   ·4·   ·   ·   ·   ·   ·   2707 East Jefferson Street
   · ·   ·   ·   ·   ·   ·   Orlando, Florida 32803
   ·5·   ·   ·   ·   ·   ·   407.897.5150
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   ·8
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   ·9·   ·   ·   ·   ·   ·   1500 Mahan Drive
   · ·   ·   ·   ·   ·   ·   Suite 200
   10·   ·   ·   ·   ·   ·   Tallahassee, Florida 32308
   · ·   ·   ·   ·   ·   ·   850.224.4070
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   13· ·ON BEHALF OF VOLUSIA COUNTY SUPERVISOR OF ELECTIONS:

   14·   ·   ·   ·   ·   ·   VOLUSIA COUNTY ATTORNEY'S OFFICE
   · ·   ·   ·   ·   ·   ·   123 West Indiana Avenue
   15·   ·   ·   ·   ·   ·   DeLand, Florida 32720
   · ·   ·   ·   ·   ·   ·   386.736.5950
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   · ·   ·   ·   ·   ·   ·   lott@volusia.org
   17

   18·   ·ON BEHALF OF OKEECHOBEE COUNTY SUPERVISOR OF ELECTIONS,
   · ·   ·HOLMES COUNTY SUPERVISOR OF ELECTIONS, HENDRY COUNTY
   19·   ·SUPERVISOR OF ELECTIONS, GLADES COUNTY SUPERVISOR OF
   · ·   ·ELECTIONS, HARDEE COUNTY SUPERVISOR OF ELECTIONS, LEVY
   20·   ·COUNTY SUPERVISOR OF ELECTIONS, and OKEECHOBEE COUNTY
   · ·   ·SUPERVISOR OF ELECTIONS:
   21
   · ·   ·   ·   ·   ·   ·   HENDERSON, FRANKLIN, STARNES & HOLT, P.A.
   22·   ·   ·   ·   ·   ·   1715 Monroe Street
   · ·   ·   ·   ·   ·   ·   Fort Myers, Florida 33901
   23·   ·   ·   ·   ·   ·   239.344.1598
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   24·   ·   ·   ·   ·   ·   robert.white@henlaw.com

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   ·2
   · ·   ·ON BEHALF OF MIAMI-DADE COUNTY SUPERVISOR OF ELECTIONS:
   ·3
   · ·   ·   ·   ·   ·   ·   MIAMI-DADE COUNTY ATTORNEY'S OFFICE
   ·4·   ·   ·   ·   ·   ·   111 Northwest First Street
   · ·   ·   ·   ·   ·   ·   Suite 2810
   ·5·   ·   ·   ·   ·   ·   Miami, Florida 33128
   · ·   ·   ·   ·   ·   ·   305.375.5620
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   · ·   ·   ·   ·   ·   ·   mbv@miamidade.gov
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   · ·   ·   ·   ·   ·   ·   orosent@miamidade.gov
   ·8

   ·9·   ·ON BEHALF OF FLAGLER COUNTY SUPERVISOR OF ELECTIONS,
   · ·   ·BREVARD COUNTY SUPERVISOR OF ELECTIONS, MADISON COUNTY
   10·   ·SUPERVISOR OF ELECTIONS, GILCHRIST COUNTY SUPERVISOR OF
   · ·   ·ELECTIONS, and HIGHLANDS COUNTY SUPERVISOR OF ELECTIONS:
   11
   · ·   ·   ·   ·   ·   ·   ROPER, P.A.
   12·   ·   ·   ·   ·   ·   2707 East Jefferson Street
   · ·   ·   ·   ·   ·   ·   Orlando, Florida 32803
   13·   ·   ·   ·   ·   ·   407.897.5150
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   14·   ·   ·   ·   ·   ·   fmari@roperpa.com

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   · ·   ·ON BEHALF OF THE INTERVENOR DEFENDANTS:
   16
   · ·   ·   ·   ·   ·   ·   SHUTTS & BOWEN, LLP
   17·   ·   ·   ·   ·   ·   215 South Monroe Street
   · ·   ·   ·   ·   ·   ·   Suite 804
   18·   ·   ·   ·   ·   ·   Tallahassee, Florida 32301
   · ·   ·   ·   ·   ·   ·   850.241.1717
   19·   ·   ·   ·   ·   ·   BY:· Daniel E. Nordby, Esquire
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   20

   21· ·ALSO PRESENT:

   22· ·Colleen O'Gorman
   · · ·Noah Sjostrom, OAG Law Clerk
   23

   24

   25


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   ·1· · · · · · · · · · · · · · I N D E X

   ·2· ·Testimony of Daniel Smith, Ph.D.

   ·3·   ·   ·   ·Direct Examination By Mr. Perko·     ·   ·   ·   ·   ·   ·   ·   ·8
   · ·   ·   ·   ·Cross-Examination By Mr. Nordby·     ·   ·   ·   ·   ·   ·   ·   ·49
   ·4·   ·   ·   ·Certificate of Oath· · · · · · ·     ·   ·   ·   ·   ·   ·   ·   ·77
   · ·   ·   ·   ·Certificate of Reporter· · · · ·     ·   ·   ·   ·   ·   ·   ·   ·78
   ·5

   ·6

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   · ·   · · · · · · · · · · · · · EXHIBITS
   10
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   11
   · ·   ·Exhibit 1· · 09/01/21 Expert Report Submitted· · · ·9
   12·   · · · · · · · on Behalf of Florida State Conference
   · ·   · · · · · · · of NAACP v. Lee
   13
   · ·   ·Exhibit 2· · "The Effects of House Bill 1355 on· · ·10
   14·   · · · · · · · Voter Registration in Florida"

   15· ·Exhibit 3· · Florida Statue 101.657· · · · · · · · ·30

   16· ·Exhibit 4· · Defendant Christina White's Response· ·35
   · · · · · · · · · to Plaintiff's First Set of
   17· · · · · · · · Interrogatories

   18·   ·Exhibit 5· · "Verifying Voter Registration· · · · · 40
   · ·   · · · · · · · Records"
   19
   · ·   ·Exhibit 6·    ·   10/13/21 Supplemental and Rebuttal· · ·45
   20·   · · · · · ·    ·   Expert Report Submitted on Behalf
   · ·   · · · · · ·    ·   of Florida Conference of NAACP v.
   21·   · · · · · ·    ·   Lee

   22

   23·   ·   · (Stenographer's Note:· Exhibits sent to stenographer
   · ·   ·   electronically.· A digital exhibit sticker was placed on
   24·   ·   the documents that were marked during the proceeding and
   · ·   ·   · · · · · · ·retained by the stenographer.)
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   ·1· ·Thereupon,
   ·2· ·The following Web proceedings began at 10:05 a.m.:
   ·3· · · · · · · · · · · · · · ~ ~ ~ ~ ~
   ·4· · · · · · THE STENOGRAPHER:· Will you raise your right hand,
   ·5· · · · please?
   ·6· · · · · · Do you solemnly swear or affirm that the testimony
   ·7· · · · you are about to give in the matter before you will be
   ·8· · · · the truth, the whole truth, and nothing but the truth?
   ·9· · · · · · THE WITNESS:· Yes.
   10· ·Thereupon,
   11· · · · · · · · · · · DANIEL SMITH, Ph.D.,
   12· ·having been duly sworn, was examined and testified as
   13· ·follows:
   14· · · · · · · · · · · ·DIRECT EXAMINATION
   15· ·BY MR. PERKO:
   16· · · ·Q.· ·Good morning, Dr. Smith.· My name is Gary Perko.
   17· ·I represent the Secretary of State in this litigation.· We
   18· ·have met before.· I know you have been deposed before
   19· ·because I have taken your deposition, so you generally know
   20· ·the ground rules, but I will go over them again.
   21· · · · · · I will be asking you a number of questions about
   22· ·your expert opinions in this matter and any facts that you
   23· ·may have or knowledge that you have of facts that may be
   24· ·pertinent to this litigation.
   25· · · · · · If at any time you do not understand my questions,


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    ·1· ·please let me know, and I will try to rephrase them.· I'm
    ·2· ·not a political scientist or a statistician, so I may get
    ·3· ·things wrong on occasion, so please let me know.
    ·4· · · · · · If you do go ahead and answer my question, I will
    ·5· ·assume that you understood it.· Is that fair?
    ·6· · · ·A.· ·Yes.
    ·7· · · ·Q.· ·Okay.· If at any time you need a break during the
    ·8· ·deposition, please let me know.· I don't think we will be
    ·9· ·going that long, but I will be happy to accommodate you.
    10· · · · · · With that, I guess we will go ahead and get
    11· ·started.· You do have a copy of your expert report dated
    12· ·September 1st in front of you?
    13· · · ·A.· ·Correct.
    14· · · ·Q.· ·Okay.
    15· · · · · · MR. PERKO:· Madam Court Reporter, I think it's
    16· · · · been premarked as Exhibit 1, but if we can mark it as
    17· · · · Exhibit 1 to this deposition.
    18· · · · · · THE STENOGRAPHER:· Yes, Counsel.
    19· · · · · · · · · (Document marked as Exhibit 1
    20· · · · · · · · · · · for identification)
    21· ·BY MR. PERKO:
    22· · · ·Q.· ·Dr. Smith, if I can refer to page 25 of your
    23· ·expert report, specifically paragraph 37, you talk about a
    24· ·prior piece of legislation passed in 2011 called House Bill
    25· ·1355, and you mention a paper by Herron and Smith 2013.


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    ·1· ·And you say that, "It found that in the months after
    ·2· ·HB 1355 went into effect in 2011, overall voter
    ·3· ·registrations dropped for black, Hispanic, and white voters
    ·4· ·compared to a similar time frame four years earlier, but
    ·5· ·that the drop in black registration was the only
    ·6· ·statistically significant estimate providing evidence that
    ·7· ·HB 1355 effects varied by ratio/ethnic group and were
    ·8· ·particularly pronounced for a group in Florida that is
    ·9· ·closely tied to the democratic party."
    10· · · · · · Do you see that?
    11· · · ·A.· ·Yes, I do.
    12· · · ·Q.· ·I would like to see if I can do that.           I
    13· ·apologize, I'm a little bit technically challenged.
    14· · · · · · Is my screen showing up here?
    15· · · ·A.· ·Yes, it is.
    16· · · ·Q.· ·Is there a paper on it?
    17· · · ·A.· ·Yes.
    18· · · · · · MR. PERKO:· Go off the record for a second.
    19· · · · · · (Discussion held off the record.)
    20· · · · · · MR. PERKO:· Madam Court Reporter, what I'm showing
    21· · · · on the screen here I believe has been premarked as
    22· · · · Exhibit No. 2.· If we can mark that as Exhibit No. 2
    23· · · · to the deposition.
    24· · · · · · · · · (Document marked as Exhibit 2
    25· · · · · · · · · · · for identification)


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    ·1· ·BY MR. PERKO:
    ·2· · · ·Q.· ·Dr. Smith, I would like you to take a look at this
    ·3· ·paper and let me know if this is the Herron and Smith 2013
    ·4· ·paper that you reference in paragraph 37 of your expert
    ·5· ·report?
    ·6· · · ·A.· ·Yes, it appears to be.
    ·7· · · ·Q.· ·I'm going to scroll down, if you need to take a
    ·8· ·look at any other parts of this.· I'm going to scroll down
    ·9· ·to page 197 -- or 297, rather, which is the page that you
    10· ·reference in your report.
    11· · · · · · Here we are.· Do you see here under the heading
    12· ·"Race and Ethnicity in Registrations," the second paragraph
    13· ·you state, "Visually speaking, one can take from Figure 4
    14· ·the idea that the three main racial groups in Florida all
    15· ·suffered from drops in voter registrations in late 2011 as
    16· ·compared with late 2007."
    17· · · · · · Do you see that?
    18· · · ·A.· ·That's correct.
    19· · · ·Q.· ·If I could turn now to Figure 4 on the next page,
    20· ·do you see that Figure 4 now?
    21· · · ·A.· ·Yes, I do.
    22· · · ·Q.· ·Would you agree with me that referring to
    23· ·Figure 4, visually speaking, the drop in white voter
    24· ·registration was greater than the drop in African-American
    25· ·voter registration?


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    ·1· · · ·A.· ·I think it's important to go back to the paragraph
    ·2· ·you just referenced to understand these three figures
    ·3· ·because the predicate here is visually speaking.· It looks
    ·4· ·like there is a large drop for all three, and if you want
    ·5· ·to refer back up, I'm happy to walk you through why it's
    ·6· ·important to do a statistical analysis because the visual
    ·7· ·depictions may be misleading.· I can explain specifically
    ·8· ·why they are with respect to Panel C.
    ·9· · · ·Q.· ·Dr. Smith, I'm just referring to you reference
    10· ·"visually speaking" in this paper.· I just want to know if
    11· ·"visually speaking" in reference to Figure 4, the drop in
    12· ·white voter registration between 2011 and 2007, visually
    13· ·speaking is greater than the drop in African-American voter
    14· ·registrations.
    15· · · ·A.· ·If you would refer back to that paragraph, I would
    16· ·like to clarify what is actually written there.· It says,
    17· ·"Individually speaking, one takes from Figure 4 the idea,
    18· ·the idea, that the three main racial groups all suffered
    19· ·from drops in voter registrations in late 2011 as compared
    20· ·with 2007."
    21· · · · · · So the whole setup to this paragraph is visually
    22· ·when you look at this, it appears that there is a
    23· ·significant drop across all three groups, and certainly it
    24· ·appears there is a bigger one for whites.
    25· · · · · · This is easily explainable and it's easily shown


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    ·1· ·not to be the case when you look at a statistical analysis.
    ·2· ·The reason why it appears that, if we go back down to the
    ·3· ·figure itself, is that Panel C for white individuals,
    ·4· ·looking at the difference in the total registrations from
    ·5· ·2007 to 2011 in which all three racial groups, A, B, and C,
    ·6· ·African American, Hispanic, and white, they all take a dip
    ·7· ·down after August 17, 2011.· If you look at the Y axis, the
    ·8· ·Y axis is all the same across the three panels from minus
    ·9· ·400 to plus 400 registrations.· That's on a daily count.
    10· · · · · · If you think about the number of white registrants
    11· ·in the state of Florida, I don't have the numbers at hand,
    12· ·but in 2011, there were probably seven times as many white
    13· ·registrants as black registrants.· And as a result, a drop
    14· ·in 400 black registrants as opposed to a drop in 400 white
    15· ·registrants or a drop in 100 black registrants on a day as
    16· ·opposed to a drop in 100 white registered voters in a day
    17· ·is disparately more for black voters than white voters.
    18· · · · · · So that's why the whole setup is visually
    19· ·speaking, one could take away the idea.· But when you do
    20· ·the statistical analysis, it's really only the black or
    21· ·African-American registered voters who had a disparate
    22· ·impact from the passage of HB 1355.
    23· · · ·Q.· ·If there were no statistically significant
    24· ·difference in any of these, then this analysis would not
    25· ·have been particularly useful?


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    ·1· · · ·A.· ·No, I don't think that's how political scientists
    ·2· ·think about it.· If you have null effects, they can be
    ·3· ·important.· What we have is statistically significant for
    ·4· ·black or African-American registrants dropping.· That is
    ·5· ·the statistically significant fact from this analysis.· The
    ·6· ·others are null.
    ·7· · · ·Q.· ·So if African-American voter registration -- the
    ·8· ·drop in African-American voter registration had not been
    ·9· ·statistically significant, would this analysis still have
    10· ·been helpful in understanding effects of Senate Bill 1355?
    11· · · ·A.· ·Well, as a scholar, I present the empirical
    12· ·findings.· This is one of several different categories in
    13· ·which we looked at the effects of 1355 on registrations.
    14· ·This is a very standard method to understand a change in
    15· ·time where you are looking at time X and looking at time Y.
    16· ·You are looking at the difference in the difference across
    17· ·these two times and across these two categories, in this
    18· ·case, race and ethnicity.
    19· · · ·Q.· ·Would you say that even the nonstatistically
    20· ·significant analysis here would be suggestive?
    21· · · ·A.· ·I don't know what you are --
    22· · · · · · MR. KARPATKIN:· I'm going to object.
    23· · · ·A.· ·I don't know what you are suggesting to.
    24· ·BY MR. PERKO:
    25· · · ·Q.· ·Is the term "suggestive" a term of art in


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    ·1· ·statistics?
    ·2· · · ·A.· ·No.
    ·3· · · ·Q.· ·Do you ever use that in any of your papers or
    ·4· ·analysis?
    ·5· · · ·A.· ·In terms of -- I'm not sure how you are referring
    ·6· ·to the thousands of pages I have written.
    ·7· · · ·Q.· ·Okay.· Fair enough.
    ·8· · · · · · Going down to the next paragraph on page 25 of
    ·9· ·your expert report -- I guess I can take this off.· Forgive
    10· ·me, I will get better at this.
    11· · · · · · If we can go back to your expert report now.
    12· · · ·A.· ·Yes.
    13· · · ·Q.· ·Page 25, paragraph 38, you state, "As my analysis
    14· ·below shows, persons of color who are eligible to register
    15· ·to vote in Florida are much more likely to bear the brunt
    16· ·of additional restrictions placed on the activities and
    17· ·speech of 3PROs under SB 90, as persons of color
    18· ·disproportionately rely on 3PVROs in registering to vote in
    19· ·Florida."
    20· · · · · · Do you see that?
    21· · · ·A.· ·Yes.
    22· · · ·Q.· ·Could you tell me what exactly are the additional
    23· ·restrictions placed on the activities and speech of 3PVROs
    24· ·under SB 90 to which you refer to here?
    25· · · ·A.· ·Sure.· I think I discuss that in an earlier


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    ·1· ·section of my report, but SB 90 added several conditions on
    ·2· ·3PVROs when they are doing voter registration drives.· One,
    ·3· ·if I recall correctly, they need to inform a potential
    ·4· ·registrant that the application may not be delivered to the
    ·5· ·Supervisor of Elections in an expedient amount of time,
    ·6· ·that the registrant could instead mail a voter registration
    ·7· ·application off, drop it off in person, and I'm pretty sure
    ·8· ·they have to instruct the potential registrant that they
    ·9· ·can register online.
    10· · · ·Q.· ·So those are the restrictions that you are
    11· ·referring to in this paragraph 38?
    12· · · ·A.· ·To my knowledge, those are the main additions that
    13· ·SB 90 places on 3PVROs.
    14· · · ·Q.· ·And do you consider those to be a burden on
    15· ·persons of color who are eligible to register to vote in
    16· ·Florida?
    17· · · ·A.· ·That's not what my report addresses.· I was asked
    18· ·to look at the effects of SB 90 on voter registration of
    19· ·black and Hispanic and white voters, and others, in the
    20· ·state of Florida, and what I found is clearly delineated in
    21· ·the report, but black and Hispanic voters are five times
    22· ·more likely than white voters to rely on 3PVROs when
    23· ·registering to vote.
    24· · · ·Q.· ·I'm interested in -- you say here that, "Persons
    25· ·of color who are eligible to register to vote in Florida


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    ·1· ·are much more likely to bear the brunt of these additional
    ·2· ·restrictions."
    ·3· · · · · · How would persons of color who are eligible to
    ·4· ·register to vote in Florida, how would they bear the brunt
    ·5· ·of these restrictions?
    ·6· · · ·A.· ·Well, if there are restrictions placed on groups
    ·7· ·that typically are registering five times more black and
    ·8· ·Hispanic voters than white voters, then those effects are
    ·9· ·going to be disparately felt by black and Hispanic
    10· ·individuals who would like to register to vote.
    11· · · ·Q.·
             Q.· ·I guess what I'm trying to understand is how is
    12· ·the requirement to inform a registrant that the
    13· ·registration may not be delivered in an expeditious amount
    14· ·of time or expedient amount of time, how is that a
    15· ·restriction on a 3PVRO?
    16· · · ·A.· ·I wasn't asked to look at the impact of SB 90 on
    17· ·the 3PVROs themselves.· I was asked to look at the impact
    18· ·of 3PVROs on registering voters and whether or not black
    19· ·and Hispanic voters were more likely than white voters to
    20· ·rely on 3PVROs to register.
    21· · · ·Q.· ·Okay.· But just because African American or
    22· ·persons of color are eligible to register in Florida may
    23· ·rely on 3PVROs more than other ethnic groups, why would the
    24· ·requirements that they be informed that their registration
    25· ·may not be submitted on time, why would that burden them?


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    ·1· · · ·A.· ·Again, I was not asked by counsel to look at any
    ·2· ·direct effects of SB 90 on the activities of 3PVROs.· I was
    ·3· ·asked to look at who registers with 3PVROs.· And what I
    ·4· ·document quite clearly from data from the Division of
    ·5· ·Elections is that about one in ten black individuals and
    ·6· ·one in ten Hispanic individuals rely on 3PVROs when
    ·7· ·registering to vote.
    ·8· · · ·Q.·
             Q.· ·I'm trying to understand how those
    ·9· ·African-American voters who are eligible to register are
    10· ·impacted by this requirement that they be informed that
    11· ·their registration may not be submitted on time?
    12· · · · · · MR. KARPATKIN:· Objection; asked and answered.
    13· · · · · · MR. PERKO:· I don't think it has been answered,
    14· · · · Counsel.
    15· · · ·A.· ·I was not asked to look at that question by
    16· ·counsel.
    17· ·BY MR. PERKO:
    18· · · ·Q.·
             Q.· ·Okay.· And I guess I would ask the same thing, and
    19· ·I think I know what the answer is going to be, but how are
    20· ·African-American voters eligible to register in Florida
    21· ·impacted by the requirement that they be told of alternate
    22· ·means of registering to vote, including ability to mail in
    23· ·or drop off or vote or register on the Internet?
    24· · · ·A.· ·I was not asked by counsel to look at the question
    25· ·of how SB 90 directly affects the activities of 3PVROs.             I


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    ·1· ·was asked to look at who registers with 3PVROs and look at
    ·2· ·the distribution of those registrations across race and
    ·3· ·ethnicity.
    ·4· · · ·Q.· ·Okay.· If we can go to page 43 of your report,
    ·5· ·paragraph 60.
    ·6· · · ·A.· ·Yes.
    ·7· · · ·Q.· ·About halfway through this paragraph, you refer to
    ·8· ·the likely millions of legally registered voters in Florida
    ·9· ·who did not have a valid driver's license -- excuse me --
    10· ·state ID or Social Security number on file with the
    11· ·Division of Elections.
    12· · · · · · What's your basis for saying there are likely
    13· ·millions of voters in Florida who do not have a valid
    14· ·driver's license, state ID, or Social Security number?
    15· · · ·A.· ·So according to internal emails with Maria
    16· ·Matthews and others in the Division of Elections, there was
    17· ·a mention of 3.5 or 3.6 million individuals who have
    18· ·registered successfully in the state of Florida but did so
    19· ·prior to the Help America Vote Act, HAVA, so it's very
    20· ·possible that these are not valid driver's licenses or
    21· ·valid Social Security numbers when it comes to their
    22· ·registrations.
    23· · · · · · So it's merely relying on Division of Elections
    24· ·own internal records.· I have not seen those raw data.· And
    25· ·as I say a little farther down, it's dependent on DHSMV to


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    ·1· ·validate those records.
    ·2· · · ·Q.· ·Moving to page 53, paragraph 76.
    ·3· · · ·A.· ·Yes.
    ·4· · · ·Q.· ·Now, beginning with this paragraph, you talk about
    ·5· ·a zip file that you received from the Division of
    ·6· ·Elections, or at least your counsel did.· It's labeled
    ·7· ·20210609_RaceGenderAge.zip.· Do you see that?
    ·8· · · ·A.· ·Yes, I do.
    ·9· · · ·Q.· ·And I think it contained 622,998 voters without a
    10· ·valid ID; 80.6 of those were white, 12.4 black, and 3.8
    11· ·Hispanic; is that correct?
    12· · · ·A.· ·I'm not sure I would agree with your
    13· ·characterization of it.· It purports to be that.· What I
    14· ·would like to make known is that that file had no unique
    15· ·voter identification number.· It just had three columns, if
    16· ·I recall correctly, of data of an individual who had some
    17· ·racial or ethnic category, some gender category, and some
    18· ·discrete age, but I cannot independently verify that that
    19· ·is coming from the Florida Voter Registration System's
    20· ·database or not.
    21· · · ·Q.· ·Did you do that with all the other data files that
    22· ·you used in this -- in your analysis?
    23· · · · · · MR. KARPATKIN:· Objection as to form.
    24· · · ·A.· ·Did I do what?
    25· · · · · · MR. PERKO:· Could you read back the last answer,


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    ·1· · · · Madam Court Reporter?
    ·2· · · · · · THE STENOGRAPHER:· Last question or last answer?
    ·3· · · · · · MR. PERKO:· Answer.
    ·4· · · · · · (Record read.)
    ·5· ·BY MR. PERKO:
    ·6· · · ·Q.· ·So for all the other files that you used, did you
    ·7· ·independently verify that they came from the voter
    ·8· ·registration database?
    ·9· · · ·A.· ·That's a pretty broad question for a report that
    10· ·has dozens upon dozens of files and is 170 pages long.
    11· · · · · · For the other analysis that comes from this
    12· ·section, I do, when there is an individual voter ID, match
    13· ·it up against an existing statewide voter registration
    14· ·system.
    15· · · ·Q.· ·Are there other circumstances throughout your
    16· ·report where you would not have done that?
    17· · · ·A.· ·Again, there is quite a bit of analysis.· When I
    18· ·do have a discrete voter ID number, the general practice is
    19· ·to match it up to a voter registration monthly data file
    20· ·that I have available.
    21· · · ·Q.· ·Why do you feel it necessary to do that?
    22· · · ·A.· ·Well, I think it's important to validate when I
    23· ·can the data that purports to be something that has no
    24· ·documentation with it, as is the case of this race, gender,
    25· ·age file.


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    ·1· · · ·Q.· ·Did you have any follow-up discussions with
    ·2· ·counsel for the Department of State regarding this
    ·3· ·particular data file or any underlying data that's included
    ·4· ·with that to try to determine whether it could be
    ·5· ·verifiable over the state Florida voter registration
    ·6· ·database?
    ·7· · · · · · MR. KARPATKIN:· I'm going to object on grounds
    ·8· · · · that this may breach privileged discussions.
    ·9· · · · · · MR. PERKO:· All right.· I won't ask about counsel.
    10· · · · I will ask if there is any follow-up communication
    11· · · · with Department of State.
    12· · · ·A.· ·I generally don't reach out to individuals in
    13· ·litigation.
    14· ·BY MR. PERKO:
    15· · · ·Q.· ·Do you know if your counsel did?
    16· · · ·A.· ·I have no idea.
    17· · · ·Q.· ·I am going to refer to page 72 under 104.
    18· · · ·A.· ·I didn't catch the second part.· Seventy-two?
    19· · · ·Q.· ·104.
    20· · · ·A.· ·Yes.· Paragraph 104?
    21· · · ·Q.· ·Yes, sir.
    22· · · · · · Here you state, "It's certainly possible that
    23· ·black registered voters with status of R also had a
    24· ·standing request but that the SOE offices had already
    25· ·processed them and changed their status to request it."


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    ·1· · · · · · Do you see that?
    ·2· · · ·A.· ·Yes.
    ·3· · · ·Q.· ·The same would be true for Hispanic and white
    ·4· ·registered voters, wouldn't it?
    ·5· · · ·A.· ·That general statement would be true.· There is a
    ·6· ·lot of variation across the counties, so I can't say with
    ·7· ·certainty.
    ·8· · · ·Q.· ·But there is no reason to think it wouldn't be
    ·9· ·true for Hispanic and white registered voters as well, is
    10· ·there?
    11· · · ·A.· ·This is predicated on the rule that the
    12· ·supervisors are supposed to follow that when they receive a
    13· ·request, they verify that request.· If that individual is
    14· ·determined to be eligible to vote in the election, that
    15· ·then shifts to a provided ballot.· If a person has an S, or
    16· ·a standing request, that individual will be vetted and
    17· ·changed to an R when determined to be eligible and then
    18· ·provided a ballot.· So it's a sequence of codes.
    19· · · ·Q.· ·But there is no reason to believe that Hispanic
    20· ·voters would be -- that sequence would not be followed for
    21· ·Hispanic voters any less than for black voters, would it?
    22· · · ·A.· ·I don't know off the top of my head whether or not
    23· ·that is the case.
    24· · · ·Q.· ·I guess I'm curious as to why you singled out that
    25· ·it's certainly possible that black registered voters who


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    ·1· ·have the code of R have a standing request but the SOE
    ·2· ·offices had already processed them and having changed them
    ·3· ·to requested.· Why did you single out black voters and not
    ·4· ·Hispanic or white?
    ·5· · · ·A.· ·It could be the case for all three, yes.
    ·6· · · ·Q.· ·Okay.
    ·7· · · ·A.· ·For all four including Other.
    ·8· · · ·Q.· ·Do you have any idea of how many registered voters
    ·9· ·with a status code of R also had a standing request the SOE
    10· ·office had already processed them and changed it to
    11· ·registered?
    12· · · ·A.· ·Unfortunately, I do not have that information.
    13· · · ·Q.· ·Page 79, 116, you state --
    14· · · ·A.· ·One second, please.
    15· · · ·Q.· ·You state at the end of that first incomplete
    16· ·paragraph, "I presume that voters who had a third-party
    17· ·request" --
    18· · · ·A.· ·Gary, could you please just direct me?· It's page
    19· ·79 and where in this paragraph?
    20· · · ·Q.· ·The last sentence of the top paragraph before 117.
    21· · · ·A.· ·Okay.· So it's in 116.· Got you.
    22· · · ·Q.· ·Last two sentences.
    23· · · ·A.· ·Got you.
    24· · · ·Q.· ·You state, "I presume that voters who had a
    25· ·third-party request VBM ballot likely had assistance in


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    ·1· ·returning their VBM ballot."
    ·2· · · · · · What's the basis for that presumption?
    ·3· · · ·A.· ·So this is an interesting question on the
    ·4· ·assistance.· And Volusia County did provide data that I
    ·5· ·wasn't able to find from other counties on the method of
    ·6· ·requesting a vote-by-mail ballot.· So I leveraged that in
    ·7· ·terms of trying to understand who requested a vote-by-mail
    ·8· ·ballot to get a sense of whether or not that individual or
    ·9· ·those individuals would need assistance.
    10· · · · · · Basically the presumption here, as I say, I
    11· ·presume those individuals who had a third party request a
    12· ·vote-by-mail ballot for someone else, that that voter who
    13· ·they requested it for would more likely need assistance in
    14· ·returning that ballot.
    15· · · ·Q.·
             Q.· ·You presume in all cases voters who have a third
    16· ·party request a vote-by-mail ballot likely had assistance
    17· ·in returning the vote-by-mail ballot?
    18· · · ·A.· ·As I said, there is very little data that I was
    19· ·able to derive from any of the discovery from the SOEs.
    20· ·This was one piece that I thought was informative to think
    21· ·about who is needing assistance when returning a
    22· ·vote-by-mail ballot, and it seems to me that there is a
    23· ·likelihood, a stronger likelihood, if I, as a voter, have
    24· ·someone else requesting a vote-by-mail ballot on my behalf,
    25· ·that I will probably need assistance returning that


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    ·1· ·vote-by-mail ballot.
    ·2· · · ·Q.· ·Going to the next paragraph, the very last
    ·3· ·sentence of that page you state that, "Although the overall
    ·4· ·number of voters that relied on a third party to request
    ·5· ·their vote by mail -- VBM ballot is relatively small, black
    ·6· ·voters were three times more likely than white and Hispanic
    ·7· ·voters to rely on a third party to make their VBM ballot
    ·8· ·requests, herein 0.18 percent versus 0.06 percent
    ·9· ·respectively."
    10· · · · · · Do you see that?
    11· · · ·A.· ·Yes, I do.
    12· · · ·Q.· ·If we go to the next page and look at Table 14,
    13· ·when you speak of the relatively small overall numbers of
    14· ·voters that you refer to there, that relatively small
    15· ·number of overall voters would be 128, correct?
    16· · · ·A.· ·Yes, I think your math is correct.
    17· · · ·Q.· ·So the number of black voters in that total would
    18· ·be 23?
    19· · · ·A.· ·Correct.
    20· · · ·Q.· ·And the number of whites would be 87?
    21· · · ·A.· ·Correct.
    22· · · ·Q.· ·I forgot to ask you, let me go back to that -- I
    23· ·can still share it.· Going back to I think it was
    24· ·Exhibit No. 2, this Table 4, this was your paper with
    25· ·Dr. Herron.· I meant to ask, you mentioned that the drop in


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    ·1· ·the African-American voter registration between 2011 and
    ·2· ·2007 was statistically significant and the others were not.
    ·3· ·I was just curious, do you know if the difference between
    ·4· ·the drop in African-American voter registration and the
    ·5· ·drop in white voter registration, if that difference
    ·6· ·between those two was statistically significant?
    ·7· · · ·A.· ·It's been a decade since I wrote that paper with
    ·8· ·Dr. Herron, and I cannot remember whether we looked at that
    ·9· ·or not.
    10· · · ·Q.· ·Okay.
    11· · · ·A.· ·I'm sorry, I just don't recall.
    12· · · ·Q.· ·Okay.· Sorry for that diversion.
    13· · · ·A.· ·We were talking about that 128, I think it was.
    14· · · ·Q.· ·Yes.
    15· · · ·A.· ·Third party, right.· I just want to emphasize this
    16· ·comes from one county, Volusia County.· I analyzed all the
    17· ·data that I had, and so I would put that into that context
    18· ·that this is one out of 67 counties, and I analyzed all the
    19· ·data that I had made available to me by the supervisors.
    20· · · ·Q.· ·Understood.
    21· · · · · · Now, beginning on page 84, it's section Roman
    22· ·numeral X of your report, you talk about Senate Bill 90
    23· ·drop box restrictions.· And in paragraph 122 you refer to
    24· ·Section 28 of Senate Bill 90.· And then you go on on
    25· ·page 89 in that context.


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    ·1· · · · · · In paragraph 131, you talk about -- in the second
    ·2· ·sentence of that paragraph you say, "Under Senate Bill 90,
    ·3· ·it was my understanding that these VBM drop boxes, some of
    ·4· ·which were open 24/7 to voters, are not permissible in
    ·5· ·whole or in part," and then you provide some examples from
    ·6· ·the 2020 general election.
    ·7· · · · · · I just want to make sure I understood this.· When
    ·8· ·you refer to the next bullet, you say, "Duval County
    ·9· ·offered a VBM drop box at a weekend drive-through event at
    10· ·the Jacksonville Jaguars TIAA Bank Field, but it was not an
    11· ·EIP voting location."
    12· · · · · · Are you suggesting that Duval County could no
    13· ·longer utilize Jacksonville Jaguars TIAA Bank Field as a
    14· ·location for a VBM drop box?
    15· · · ·A.· ·Well, they could if they made it into an early
    16· ·in-person voting location or if they made it into a
    17· ·permanent SOE branch office.· But even still, in the first
    18· ·category, they would not be able to use it outside of the
    19· ·days of early in-person voting.
    20· · · ·Q.· ·Now --
    21· · · ·A.· ·And they, of course, would have to have continual
    22· ·monitoring by SOE personnel at that location.· So there are
    23· ·a lot of qualifications to your statement that they could
    24· ·do this in the future.
    25· · · ·Q.· ·I'm just trying to get your understanding of


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    ·1· ·whether it would be eligible.
    ·2· · · · · · You go on to say --
    ·3· · · ·A.· ·Well, as I said, it would eligible if it was a
    ·4· ·permanent SOE location that had continual SOE staff or if
    ·5· ·they made it into an early in-person voting location and it
    ·6· ·was receiving ballots during the operational hours of the
    ·7· ·early in-person location.· They can certainly not do it in
    ·8· ·that latter case if it was outside of the early in-person
    ·9· ·voting hours and days.
    10· · · ·Q.· ·If I could refer you to page 84 where you, I
    11· ·guess, quote Section 28 of Senate Bill 90.
    12· · · ·A.· ·Yes.
    13· · · ·Q.· ·Do you read this to say -- let me ask you, how do
    14· ·you read this as far as what locations a supervisor could
    15· ·put a drop box?
    16· · · ·A.· ·Well, we can read right through this.
    17· · · ·Q.· ·I just want your understanding.
    18· · · ·A.· ·My understanding is that drop boxes shall be
    19· ·placed at the main office of a supervisor and at the
    20· ·permanent branches of the supervisor and at early voting
    21· ·locations, and they may be put at other sites that would
    22· ·qualify as an early voting site, but those early voting
    23· ·ones must be only used during the County's early voting
    24· ·hours of operation and must be operated by an SOE
    25· ·continuously, SOE employee.· Of course, those at the office


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    ·1· ·of a supervisor or a branch office must be continually
    ·2· ·monitored by SOE personnel.
    ·3· · · ·Q.· ·So going back to paragraph 131, are you saying
    ·4· ·that Jacksonville Jaguars TIAA Bank Field is not eligible
    ·5· ·under this to serve as a drop box location under this
    ·6· ·language?
    ·7· · · ·A.· ·It depends on when that event would happen.· If
    ·8· ·it's happening outside the window of the early in-person
    ·9· ·voting in that county, then, no, unless it's a permanent
    10· ·branch office or maybe the SOE moves his office into TIAA
    11· ·Bank Field.
    12· · · ·Q.· ·So if it was during the hours of early voting,
    13· ·Jacksonville Jaguars TIAA Bank Field could be used as a
    14· ·drop box location, do you agree with me on that?
    15· · · ·A.· ·We would have to go and look at the provisions on
    16· ·whether or not it qualifies as an early voting location.
    17· · · ·Q.· ·Okay.· Take a look at Exhibit No. 4.
    18· · · · · · Madam Court Reporter, if we can have that marked.
    19· · · · I guess that's 3.
    20· · · · · · · · · (Document marked as Exhibit 3
    21· · · · · · · · · · · for identification)
    22· ·BY MR. PERKO:
    23· · · ·Q.· ·This is a copy of Section 101.657 that's
    24· ·referenced to that Section 28 of Senate Bill 90.· If you
    25· ·can see down to the --


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    ·1· · · ·A.· ·I can't see your exhibit yet, sorry.
    ·2· · · ·Q.· ·The one, two, three, fourth sentence there.· Do
    ·3· ·you see that?
    ·4· · · ·A.· ·Mr. Perko, I don't see your screen at this point.
    ·5· · · · · · MR. KARPATKIN:· Gary, it's not showing.
    ·6· ·BY MR. PERKO:
    ·7· · · ·Q.· ·Is it showing now?
    ·8· · · ·A.· ·Yes, thank you.
    ·9· · · ·Q.· ·If you go down to the fourth sentence, do you see
    10· ·that?· It says that, "The supervisor may also designate any
    11· ·City Hall, permanent public library facility, fairground,
    12· ·civic center, courthouse, county commission building,
    13· ·stadium, convention center, government-owned senior center,
    14· ·or a government-owned community center as an early voting
    15· ·site."
    16· · · ·A.· ·Yes, I see that.
    17· · · ·Q.· ·Would that seem to suggest to you that
    18· ·Jacksonville Jaguars TIAA Bank Field could be used as a
    19· ·drop off -- drop box location if used during the hours of
    20· ·early voting?
    21· · · ·A.· ·If you can pull that screen back up, there are
    22· ·some qualifications to that that I think it's important to
    23· ·go through.
    24· · · ·Q.· ·Can you see it now?
    25· · · ·A.· ·So it continues.· "If so designated, the sites


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    ·1· ·must be geographically located so as to provide all voters
    ·2· ·in the county an equal opportunity to cast a ballot,
    ·3· ·insofar as practicable."
    ·4· · · · · · I don't know whether that's the case.
    ·5· · · · · · "There must be sufficient nonpermitted parking to
    ·6· ·accommodate the anticipated amount of voters."
    ·7· · · · · · I don't know whether that's a condition either.
    ·8· ·So there are several qualifications to your assertion that,
    ·9· ·you know, we would have to know the answers to.
    10· · · ·Q.· ·Well, it's your understanding that Jacksonville
    11· ·Jaguars TIAA Bank Field was used as a drop box location in
    12· ·the last election; is that correct?
    13· · · ·A.· ·Yes, that's my understanding.
    14· · · ·Q.· ·So that --
    15· · · ·A.· ·That was prior to Senate Bill 90 passage.
    16· · · ·Q.· ·If Senate Bill 90 did not affect this particular
    17· ·section of Section 101.657, that would seem to suggest that
    18· ·Jacksonville Jaguars TIAA Bank Field did, in fact, qualify
    19· ·under this language, wouldn't it?
    20· · · ·A.· ·I don't recall the dates that this weekend event
    21· ·happened.· And I do not know when Duval County will hold
    22· ·its early in-person voting.· They can do it from Saturday
    23· ·to Saturday, and if they had this event on the final
    24· ·Sunday, that would be prohibited.· So there is a lot of
    25· ·qualifications here, so I cannot agree with your


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    ·1· ·characterization without knowing more of the details.
    ·2· · · ·Q.· ·Do you know of any specific provision in Senate
    ·3· ·Bill 90 that would have affected the use of eligibility for
    ·4· ·Jacksonville Jaguars TIAA Bank Field to be used as a drop
    ·5· ·box location during early voting hours?
    ·6· · · ·A.· ·Again, I don't know the details of that location
    ·7· ·to be able to make that declaration.
    ·8· · · ·Q.· ·I'm asking about any provisions in Senate Bill 90
    ·9· ·that would preclude Jacksonville Jaguars TIAA Bank Field
    10· ·from being used as a location for a drop box during early
    11· ·voting periods.· Do you know of any?
    12· · · ·A.· ·Again, I am unable to opine on that since I don't
    13· ·know all the details of that location.
    14· · · ·Q.· ·If we can move to page 132, paragraph 213.
    15· · · ·A.· ·Yes.
    16· · · ·Q.· ·You state that, "Neighboring Miami-Dade SOE
    17· ·Christina White states in her interrogatory response from
    18· ·August 12, 2021, that the impact of Senate Bill 90 is
    19· ·apparent.· She intends on reducing the number of available
    20· ·VBM drop boxes from 33 to 28 for the 2020 election."
    21· · · · · · Do you see that?
    22· · · ·A.· ·Yes, I do.
    23· · · ·Q.· ·Is it your understanding that Ms. White intends to
    24· ·reduce the number of available VBM drop boxes from 33 to 28
    25· ·for the '22 election as a result of Senate Bill 90?


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    ·1· · · ·A.· ·Well, as she says, and I quote here below in that
    ·2· ·paragraph, "For future county-wide elections, the County
    ·3· ·doesn't intend to provide drop boxes at South Dade
    ·4· ·Government Center or the North Dade Government Center
    ·5· ·outside the days of early -- outside the days and hours of
    ·6· ·early voting."
    ·7· · · · · · So that's certainly two of those.
    ·8· · · ·Q.· ·I'm speaking to the drop from 33 to 28 in the 2020
    ·9· ·election.· Do you know if that's a result of Senate
    10· ·Bill 90?
    11· · · ·A.· ·No, that's a different question that you asked
    12· ·earlier.
    13· · · ·Q.· ·That's the same question I asked.
    14· · · ·A.· ·A direct result of Senate Bill 90?
    15· · · ·Q.· ·Yes, sir.
    16· · · ·A.· ·You would have to ask SOE White that specifically
    17· ·as to whether or not there are other reasons.
    18· · · ·Q.· ·You are certainly implying here it was the reason
    19· ·for the drop?
    20· · · ·A.· ·Well, I'm reading that line that you quoted for me
    21· ·on page 132.· She intends on reducing the number of
    22· ·available VBM drop boxes from 33 to 28 for the 2022
    23· ·election.· I don't think I have implied what you just said.
    24· · · ·Q.· ·Let me show you --
    25· · · ·A.· ·I am stating a fact that came from her


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    ·1· ·interrogatory response, and you are implying that that's
    ·2· ·what I said when the plain text says she intends on
    ·3· ·reducing the number of available VBM drop boxes from 33 to
    ·4· ·28.· I know that there are two later on in that paragraph
    ·5· ·that she says she is eliminating clearly because they do
    ·6· ·not meet the definition of a permanent branch office.
    ·7· · · ·Q.· ·If I can show you what has been marked as --
    ·8· · · · · · MR. PERKO:· I guess this is Exhibit 5, but Court
    ·9· · · · Reporter, I will ask you mark it as Exhibit 4.
    10· · · · · · · · · (Document marked as Exhibit 4
    11· · · · · · · · · · · for identification)
    12· ·BY MR. PERKO:
    13· · · ·Q.· ·This is Christina White's responses to the League
    14· ·of Women Voters interrogatories.· Number 3, Ms. White
    15· ·states, "For the '22 general election, Supervisor White
    16· ·currently plans to offer drop boxes at 28 early voting
    17· ·locations rather than the 33 early voting locations
    18· ·provided in the 2020 election.· The 28 early voting sites
    19· ·is the same number of early voting sites provided during
    20· ·the previous gubernatorial election in 2018.· This
    21· ·reduction from 33 to 28 sites is customary and based on the
    22· ·lower turnout expected for a nonpresidential election.
    23· ·Just like the 2020, these drop boxes will be available
    24· ·during the same days and hours of operation as the early
    25· ·voting sites."


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    ·1· · · · · · Then she goes on to talk about the South Dade and
    ·2· ·North Dade Government Centers being no longer used.
    ·3· · · · · · Based on this, would you agree that the reduction
    ·4· ·from 33 to 28 in the 2020 -- or 2022 election is not the
    ·5· ·result of Senate Bill 90?
    ·6· · · ·A.· ·It didn't say one way or the other.· She is
    ·7· ·reducing it.· She is saying it's going back to the 2018.
    ·8· ·But that doesn't mean that she could continue to keep them
    ·9· ·if she had wanted to if not for Senate Bill 90.
    10· · · ·Q.· ·Turn to page 138.
    11· · · ·A.· ·Yes.
    12· · · ·Q.· ·Paragraph 225, beginning in the second sentence,
    13· ·you state, "Under Senate Bill, or SB, 90, with the
    14· ·exception of election officials or individuals who have
    15· ·been requested by an elector (and who have signed an
    16· ·affidavit) to provide assistance, individuals are not
    17· ·permitted to solicit an elector within 150 feet of the
    18· ·entrance to a polling place, a drop box location, or an
    19· ·early voting site.· As such, individuals with groups
    20· ·wanting to provide voters waiting in line -- in a queue,
    21· ·rather, that is within 150 feet of a polling entrance are
    22· ·not allowed to do so, even if it is just to distribute
    23· ·drink, food, seating, or shelter."
    24· · · · · · My question is, are you aware of any supervisors
    25· ·in the state of Florida that are allowing groups to provide


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    ·1· ·voters waiting in line within that 150 feet of the polling
    ·2· ·place to provide and distribute, drink, food, seating,
    ·3· ·shelter?
    ·4· · · ·A.· ·Well, the 150-foot rule is new, so I would be
    ·5· ·happy to answer that based on past elections --
    ·6· · · ·Q.· ·I'm sorry.· Go ahead.
    ·7· · · ·A.· ·-- where the length was not 150 feet.
    ·8· · · ·Q.· ·Do you personally know if any Supervisors of
    ·9· ·Elections allowed individuals with groups to provide voters
    10· ·waiting in a queue within 150 feet of a polling place to
    11· ·distribute drink, food, seating, or shelter?
    12· · · ·A.· ·Again, I'm not sure about the 150 feet, but
    13· ·certainly supervisors over the last, say, five election
    14· ·cycles have allowed groups to provide water or shelter or
    15· ·food or seating, and we can see that in the interrogatories
    16· ·and declarations themselves.
    17· · · · · · If I recall, and this is off the top of my head
    18· ·after reading hundreds and thousands of pages in this
    19· ·trial, there were supervisors, maybe Brian Corley in Pasco,
    20· ·who said, sure, we have had pizza delivery people come in
    21· ·and drop off boxes to people waiting in lines.
    22· · · · · · We can all remember 2012 in Miami-Dade with the
    23· ·lines that stretched around the block that all kinds of
    24· ·food and water and shelter was provided and seating was
    25· ·provided to voters.· I mean, my goodness, some of those


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    ·1· ·lines, people were in them for six hours.
    ·2· · · · · · So absolutely there have been examples in which
    ·3· ·supervisors have permitted groups to provide shelter and
    ·4· ·water -- again, this is anecdotal, it's outside the scope
    ·5· ·of my report, but I'm happy to tell you other anecdotal
    ·6· ·evidence.· It's not within the scope of my report.· Mine is
    ·7· ·focusing on an analysis of who waits in the lines and who
    ·8· ·likely is to be affected by these new provisions.
    ·9· · · ·Q.· ·What is the basis for your understanding that no
    10· ·one is allowed to approach a voter waiting in the queue
    11· ·within 150 feet of the polling place just to provide or
    12· ·distribute drink, food, seating, or shelter?
    13· · · ·A.· ·I wasn't asked to opine on the interpretation of
    14· ·SB 90, so I'm not going to do so here.
    15· · · ·Q.· ·That seems to be the position that you are taking
    16· ·here.· I'm just trying to understand what the basis is for
    17· ·that understanding.
    18· · · ·A.· ·No, I don't think that's correct.· You asked me if
    19· ·I know of any examples in which groups or individuals have
    20· ·provided -- have provided such items, and I provided you
    21· ·with some anecdotal evidence outside the scope of my
    22· ·report.
    23· · · ·Q.· ·I have moved on to a different question, sir.· You
    24· ·state here, "Individuals with groups wanting to provide
    25· ·voters waiting in a queue that is within 150 feet of the


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    ·1· ·polling entrance are not allowed to do so even if it is
    ·2· ·just to distribute drink, food, seating or shelter."
    ·3· · · · · · What's the basis for your statement that those
    ·4· ·folks are not allowed to do so?
    ·5· · · ·A.· ·I will be happy to rephrase that if they are not
    ·6· ·allowed to do so because my report is focusing on those who
    ·7· ·do wait in line in the state of Florida in elections.· I am
    ·8· ·not here to opine on the interpretation of SB 90.
    ·9· · · ·Q.·
             Q.· ·So you don't know whether or not individuals with
    10· ·groups wanting to provide voters waiting in line within
    11· ·150 feet of a polling place are allowed or not to just
    12· ·distribute food, drink, shelter -- seating or shelter?
    13· · · ·A.· ·Again, we can look at the depositions and
    14· ·interrogatories and affidavits, and we can see quite a bit
    15· ·of variation across the SOEs.· I am sure you have read them
    16· ·as close, if not closer, than I have.· There is quite a bit
    17· ·of variation.· Some say they never allow voters to be
    18· ·approached, others don't have a problem with it.
    19· · · · · · I am not writing in my report addressing that
    20· ·particular question.· Mine is based on an interpretation
    21· ·that it would affect, and if so, who is it going to affect.
    22· ·That's what I'm looking at is who would this affect, who
    23· ·waits in lines.
    24· · · ·Q.· ·If I can refer you, backtrack a little bit here,
    25· ·to page 41 of your report.· You refer to -- about midway


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    ·1· ·through paragraph 58, you refer to a 2020 study, and I ask
    ·2· ·you to pronounce the author's name.· Is it Shino?
    ·3· · · ·A.· ·Shino.
    ·4· · · ·Q.· ·Et al, 2020.· You say they conducted a phone
    ·5· ·survey to investigate the reliability of Florida's voter
    ·6· ·registration files.· "Of the 402 respondents, nearly
    ·7· ·18 percent failed to verify at least one of their name,
    ·8· ·address, birth date, sex, or race.· These errors are likely
    ·9· ·due to coverage error, measurement error, or processing
    10· ·error.· There is no reason why these discrepancies might
    11· ·not extend to the form of identification on file at the SOE
    12· ·that may or may not be correct or current."
    13· · · · · · Do you see that?
    14· · · ·A.· ·Yes, I do.
    15· · · ·Q.· ·I'm going to try to pull up the Shino report.
    16· · · · · · Do you see it up there?
    17· · · ·A.· ·No, not yet.
    18· · · ·Q.· ·Now --
    19· · · ·A.· ·Yes.
    20· · · · · · · · · (Document marked as Exhibit 5
    21· · · · · · · · · · · for identification)
    22· ·BY MR. PERKO:
    23· · · ·Q.· ·Dr. Smith, if you can take a look at this.· Is
    24· ·this the Shino paper that you cite in your expert report?
    25· · · ·A.· ·Yes, it appears to be so.


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    ·1· · · ·Q.· ·In your report, you mention that the errors that
    ·2· ·were found in the Shino report or paper were likely due to
    ·3· ·coverage error, measurement error, or processing error.
    ·4· ·Could you explain to me what coverage error is?
    ·5· · · ·A.· ·Well, if you want to scroll down a little, I think
    ·6· ·I have a definition in there.· Coverage error is when --
    ·7· ·well, let me see how we are referring to it in this
    ·8· ·context.
    ·9· · · · · · So it's possible when you are serving individuals
    10· ·that you are identifying folks who are no longer in the
    11· ·voter file or who have been -- and partly because they have
    12· ·been improperly purged from the rolls, so that's a
    13· ·possibility with respect to when you are serving that you
    14· ·might have an error in terms of contacting individuals and
    15· ·asking them about their registration status and it not
    16· ·being current.
    17· · · ·Q.· ·Okay.· Do you see the highlighted language there
    18· ·that says under Coverage Error, "One particular challenge
    19· ·is to update your voter registration address in a mobile
    20· ·population" --
    21· · · ·A.· ·Yes.
    22· · · ·Q.· ·-- "as federal and state laws govern."
    23· · · · · · Would you agree with that statement?
    24· · · ·A.· ·In what context of agreeing with it?
    25· · · ·Q.· ·In any context.· Do you think that's a valid --


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    ·1· ·that that is a particular challenge?
    ·2· · · ·A.· ·It's a challenge to individuals who are mobile of
    ·3· ·updating their information, correct.
    ·4· · · ·Q.· ·Okay.· And then could you explain what measurement
    ·5· ·error is?
    ·6· · · ·A.· ·Sure.· There are issues with any survey, and
    ·7· ·that's the idea of this study, is that you can think a
    ·8· ·voter registration form as being a survey.· If you have a
    ·9· ·poorly designed survey, you might have measurement error.
    10· ·So an M or an F without specifying male or female might not
    11· ·be understood when you have a social-constructed racial
    12· ·category like the Florida voter registration form that
    13· ·doesn't give voters an opportunity to identify as, say,
    14· ·white and Hispanic, but just white or Hispanic or black, et
    15· ·cetera.· That could lead to some measurement error and so
    16· ·forth.
    17· · · ·Q.· ·Could you explain what processor error is?
    18· · · ·A.· ·Sure.· Processing error happens on both electronic
    19· ·and paper forms where there is information that is inputted
    20· ·that is not correct.· As a result, those errors may lead to
    21· ·individuals not being able to -- well, in this case, verify
    22· ·the information that they have on the voter file.
    23· · · ·Q.· ·In this study, there were a number -- or this
    24· ·survey, there were a number of questions asked about
    25· ·information that may be on file within the voter


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    ·1· ·registration records, but am I understanding correctly that
    ·2· ·the only two pieces of information that were actually
    ·3· ·necessarily for a voter to register were name and address?
    ·4· · · ·A.· ·No, I don't understand your question.· Sorry.
    ·5· · · ·Q.· ·Let me be a little more precise.
    ·6· · · · · · The paper says that, "Here in all, 71 of 402
    ·7· ·respondents failed to verify at least one of their name,
    ·8· ·address, birth date, sex, or race."
    ·9· · · · · · Now, in order to register to vote, you only have
    10· ·to provide your name, correct?
    11· · · ·A.· ·Yes.
    12· · · ·Q.· ·And you have to provide your address, correct?
    13· · · ·A.· ·Correct.
    14· · · ·Q.· ·You have to provide your birth date?
    15· · · ·A.· ·That is correct.
    16· · · ·Q.· ·But sex and race are not required; is that
    17· ·correct?
    18· · · ·A.· ·They are not required.· They are voluntary.
    19· · · ·Q.· ·Okay.· If you look at the results of this study,
    20· ·regarding measurement errors, there were 4 respondents out
    21· ·of 402, roughly 1 percent, that had their names misspelled
    22· ·or misidentified.· Two were likely measurement issues
    23· ·because the women reported different last names, and it
    24· ·could be due to marriage or divorce.· Do you see that?
    25· · · ·A.· ·Yes.


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    ·1· · · ·Q.· ·And then as far as addresses, there were 22
    ·2· ·respondents, or 5½ percent, and much of that may be
    ·3· ·explained by the voter's address was accurate at the time
    ·4· ·of registration but it had since changed.· Do you see that?
    ·5· · · ·A.· ·Correct.
    ·6· · · ·Q.· ·And that's going back to the issue that we talked
    ·7· ·about previously that it can be a challenge to update voter
    ·8· ·registration as addresses change in a mobile population.
    ·9· · · ·A.· ·Sure.
    10· · · ·Q.· ·And then some of the other questions regarding
    11· ·gender, race, those are more -- can be subject to ambiguity
    12· ·or misinterpretation, would you agree?
    13· · · ·A.· ·That's one possibility, yes.
    14· · · ·Q.· ·All right.· That's all I have on that.
    15· · · · · · MR. PERKO:· I think we are getting close to the
    16· · · · end here.· Can we take a ten-minute break?
    17· · · · · · MR. KARPATKIN:· I'm at your disposition.
    18· · · · · · MR. PERKO:· Okay.· Why don't we take a ten-minute
    19· · · · break.
    20· · · · · · (Recessed at 11:12 a.m.)
    21· · · · · · (Resumed at 11:21 a.m.)
    22· ·BY MR. PERKO:
    23· · · ·Q.· ·Dr. Smith, I think you had a copy of your expert
    24· ·rebuttal report with you?
    25· · · ·A.· ·Yes, I do.


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    ·1· · · · · · MR. PERKO:· That's going to be marked as Exhibit 6
    ·2· · · · for the court reporter.
    ·3· · · · · · · · · (Document marked as Exhibit 6
    ·4· · · · · · · · · · · for identification)
    ·5· ·BY MR. PERKO:
    ·6· · · ·Q.· ·On page 18, Dr. Smith, paragraph 29, you discuss
    ·7· ·Dr. Lockerbie's citation and quotation of the Stuart III
    ·8· ·and Ansolabehere (2013) --
    ·9· · · ·A.· ·Ansolabehere, um-hm.
    10· · · ·Q.· ·And you state that, "Dr. Lockerbie is knocking
    11· ·down a straw man.· I have not claimed that long wait times
    12· ·are due to particularized discrimination against voters of
    13· ·color.· Rather, my contention, which Dr. Lockerbie does not
    14· ·appear to challenge, is that precincts with higher
    15· ·proportions of voters of color disproportionately face
    16· ·longer wait times, and so the impact of restrictions on
    17· ·line warming in Florida under Senate Bill 90 will
    18· ·disproportionately impact black and Hispanic voters."
    19· · · · · · Do you see that?
    20· · · ·A.· ·Yes, I do.
    21· · · ·Q.· ·I guess I'm following up on this notion of
    22· ·particularized discrimination.· Is it your contention that
    23· ·any of the, you call them, restrictions imposed by Senate
    24· ·Bill 90 are the result of particularized discrimination?
    25· · · ·A.· ·I missed a key word there.· Am I affirming or -- I


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    ·1· ·didn't hear that.
             Q.· ·Is it your contention that any of the restrictions
    ·2· · · ·Q.·
    ·3· ·that you refer to being imposed by Senate Bill 90 are the
    ·4· ·result of particularized discrimination?
    ·5· · · ·A.· ·No.
    ·6· · · ·Q.· ·Okay.
    ·7· · · ·A.· ·I'm not making that claim at all about the motives
    ·8· ·of SB 90.
    ·9· · · ·Q.·
             Q.· ·So you are just presenting what you believe to be
    10· ·the disparate impacts?
    11· · · ·A.· ·I'm looking at what the potential impact is of
    12· ·SB 90 based on past elections looking forward with those
    13· ·considerations, correct.
    14· · · ·Q.· ·As I understand from reading your supplemental
    15· ·rebuttal report, the additional data that you reviewed that
    16· ·you discuss at the end of that report, is it correct to say
    17· ·that in your view, it buttresses your conclusions, but it
    18· ·doesn't really alter them; is that correct?
    19· · · ·A.· ·Well, I'm not sure what you are specifically
    20· ·referring to.· There are several bits of information, I
    21· ·guess.
    22· · · ·Q.· ·Does it change the overall conclusions of your
    23· ·initial expert report?
    24· · · ·A.· ·No.· I'm happy to go through them.· I think the
    25· ·additional information I received buttresses and


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    ·1· ·reenforces.· So the information that I received in
    ·2· ·September through, I think it was an interrogatory response
    ·3· ·from Maria Matthews, as I write on page 45, provides more
    ·4· ·details about a very important text file that I received,
    ·5· ·LitigationRR_noDL-SSN202010722, that's important
    ·6· ·information that I didn't have when I wrote my report about
    ·7· ·who are included in these fields and who is not included in
    ·8· ·this field.
    ·9· · · · · · Specifically the file does not include voters for
    10· ·which there is a response in these fields that has been
    11· ·found invalid.· You know, so that's an important piece of
    12· ·information when I'm talking about the 586,000 individuals
    13· ·who would not be able to successfully request a
    14· ·vote-by-mail ballot under SB 90 because they don't have a
    15· ·valid form of ID on file with the Division of Elections.
    16· ·It actually is going to be more than that because the
    17· ·Division of Elections has evidently found more individuals
    18· ·where that invades.· Yes, I think that's an important piece
    19· ·of information.
    20· · · · · · When I look at the other pieces, I'm happy to go
    21· ·into them, with respect to reaffirming my understanding of,
    22· ·say, 3PVROs where Supervisor White in Miami-Dade affirms
    23· ·that many people who register with 3PVROs subsequently
    24· ·update their registrations through another medium.· And so
    25· ·my 760,000 or so individuals who are disparately likely to


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    ·1· ·be black and Hispanic who register with 3PVROs is probably
    ·2· ·an undercount because many of those individuals who
    ·3· ·initially registered with 3PVROs subsequently updated.· And
    ·4· ·as Supervisor White reaffirms, it's only the current code
    ·5· ·of registration method that I am receiving in my
    ·6· ·PRR_NAACP_voter detail text that I received from the
    ·7· ·Division of Elections in discovery.
    ·8· · · · · · So, yeah, I think these are largely pieces of
    ·9· ·information that bolster the initial finding of individuals
    10· ·who are going to be affected broadly by SB 90 and
    11· ·particularly with respect to race and ethnicity in several
    12· ·provisions under SB 90.
    13· · · ·Q.· ·Beginning on page 10 of your initial expert
    14· ·report, you have a summary of your findings.· Have any of
    15· ·these findings changed as a result of the analysis that you
    16· ·provide in your supplemental rebuttal report?
    17· · · ·A.· ·Paragraph 10 in my initial?
    18· · · ·Q.· ·Page 10.
    19· · · ·A.· ·Sorry, page 10.
    20· · · ·Q.· ·It's the heading Roman numeral III.
    21· · · ·A.· ·Which paragraph, I'm sorry, on page 10?
    22· · · ·Q.· ·I'm just saying you summarize your findings here
    23· ·in your initial report.· I'm asking if the analysis that
    24· ·you present in your supplemental rebuttal report changed
    25· ·any of these findings?


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    ·1· · · ·A.· ·I mean, I would have to really take a deep look at
    ·2· ·these and think through them, but generally speaking, I
    ·3· ·don't think there has been any reason with the supplemental
    ·4· ·to change those broad conclusions that I write on those
    ·5· ·pages.
    ·6· · · ·Q.· ·Okay.
    ·7· · · · · · MR. PERKO:· I don't have anything further.
    ·8· · · · · · THE WITNESS:· Thank you.
    ·9· · · · · · MR. NORDBY:· This is Dan Nordby from Shutts &
    10· · · · Bowen.· I have a few questions for Dr. Smith.
    11· · · · · · · · · · · ·CROSS-EXAMINATION
    12· ·BY MR. NORDBY:
    13· · · ·Q.· ·Dr. Smith, do you still have a copy of your expert
    14· ·report in front of you?
    15· · · ·A.· ·Yes, I do.
    16· · · ·Q.· ·We were talking about specific pages of the
    17· ·report.· I will ask you, you have testified as an expert in
    18· ·many cases involving Florida election laws; is that right?
    19· · · ·A.· ·Yes, both for plaintiffs as well as defendants.
    20· · · ·Q.· ·So you are familiar with the three methods for
    21· ·casting a ballot in Florida?
    22· · · ·A.· ·Yes, I am familiar with the three methods for
    23· ·casting a ballot in Florida.
    24· · · ·Q.· ·What are those three methods?
    25· · · ·A.· ·One could cast a ballot on election day in the


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    ·1· ·precinct in which they are registered to vote, one can cast
    ·2· ·a ballot during the early voting in-person period which is
    ·3· ·set by counties and varies between 8 and 14 days and has
    ·4· ·the ability to update their residence in the county or even
    ·5· ·pull in the registration from out of county during that
    ·6· ·window, and one has the ability to vote by mail by
    ·7· ·requesting a vote-by-mail ballot and returning it either
    ·8· ·through post or in person or with assistance.
    ·9· · · ·Q.· ·Sorry.· I didn't mean to interrupt you.
    10· · · ·A.· ·Sorry.
    11· · · ·Q.· ·So when you say "vote by mail," you recall
    12· ·referring to that as voting by mail even if the person does
    13· ·not use the mail because of their vote-by-mail ballot but
    14· ·can drop it off at the supervisor's office?· Do you
    15· ·understand --
    16· · · ·A.· ·That's correct.
    17· · · ·Q.· ·Of those three methods, which of those three is
    18· ·the most susceptible to either fraud or voter error that
    19· ·might prevent a voter from accurately having their ballot
    20· ·counted?
    21· · · ·A.· ·I don't have any systematic study that has looked
    22· ·at voter fraud across these three methods in Florida, so I
    23· ·can't opine -- we are talking a universe of very small
    24· ·numbers, so I don't know which of these three in these very
    25· ·rare events is more susceptible.


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    ·1· · · ·Q.·
             Q.· ·On the topic of voter error, you have issued
    ·2· ·expert reports in the past on voter error in completing a
    ·3· ·ballot that might prevent them from having their ballot
    ·4· ·counted, haven't you?
    ·5· · · ·A.· ·Not on the ballot per se, no.· I don't know of any
    ·6· ·work that I have done that has looked at over votes which
    ·7· ·would invalidate a ballot.· I can't think of publishing or
    ·8· ·writing any reports on that.
    ·9· · · ·Q.· ·I'm not trying to hide the ball here.· I'm talking
    10· ·specifically about signatures, lack of signatures,
    11· ·mismatching of signatures and so forth.· Does that --
    12· · · ·A.· ·Sure.
    13· · · ·Q.· ·-- give you a better understanding of my question?
    14· · · ·A.· ·Absolutely.· Obviously I'm not looking at ballots,
    15· ·I'm looking at return envelopes, and so that's where my
    16· ·confusion was on answering your first question.· I'm not
    17· ·trying to be duplicitous or deceptive.
    18· · · · · · Yes, I have looked at ballot returns of
    19· ·vote-by-mail envelopes and have looked at the envelopes
    20· ·being rejected for a missing or mismatched signature or
    21· ·coming in after the deadline, which is for domestic ballots
    22· ·7 p.m. on election day.
    23· · · ·Q.·
             Q.· ·Those sort of potential errors that might lead to
    24· ·a vote-by-mail ballot not being properly counted and
    25· ·canvassed don't exist in the same way for in-person


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    ·1· ·election day voting or in-person early voting, do they?
    ·2· · · ·A.· ·There are different issues that face individuals
    ·3· ·who are voting in person than by mail, absolutely.
    ·4· · · ·Q.· ·Are you familiar with any examples of vote-by-mail
    ·5· ·ballot fraud in the state of Florida?
    ·6· · · ·A.· ·Well, certainly I'm familiar with issues dating
    ·7· ·back now over 20 years in Miami-Dade that had to do with
    ·8· ·vote-by-mail ballot fraud.· And I'm certainly familiar,
    ·9· ·although I don't detail it in my report and it's outside
    10· ·the scope of my report, with one-off instances in which,
    11· ·say, a spouse signs a ballot envelope for someone else.
    12· ·Yes, I'm familiar with one-offs such as that.
    13· · · ·Q.· ·Are you familiar with any of the vote-by-mail
    14· ·ballot fraud issues in Miami about ten years ago,
    15· ·2011-2012?
    16· · · ·A.· ·No, I don't.· Not off the top of my head I'm not
    17· ·remembering those.
    18· · · ·Q.· ·And you are not familiar with the Miami-Dade
    19· ·County grand jury report addressing vote-by-mail ballot
    20· ·fraud and proposing potential recommendations to address
    21· ·that?
    22· · · ·A.· ·I do recall parts of that where Miami-Dade then
    23· ·came up with some different provisions dealing with the
    24· ·handling of vote-by-mail ballots.
    25· · · ·Q.· ·What about Palm Beach County in the 2016 election,


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    ·1· ·do you recall any issues with vote-by-mail ballot fraud in
    ·2· ·that election?
    ·3· · · ·A.· ·I recall allegations in some camps about
    ·4· ·vote-by-mail ballot problems.
    ·5· · · ·Q.· ·Do you recall any of the specifics of that?
    ·6· · · ·A.· ·I do recall that it was in a primary election
    ·7· ·where there were allegations of pressuring individuals of
    ·8· ·filling out ballots.
    ·9· · · ·Q.· ·There were news reports at the time that quoted
    10· ·you as saying that "the campaign's actions were highly
    11· ·suspect after reviewing filings."
    12· · · · · · Do you have any information subsequent to that
    13· ·that would lead you to revisit those conclusions?
    14· · · ·A.· ·No.· I do recall a reporter contacting me and
    15· ·looking at some of the returns and looking with some
    16· ·skepticism of voting patterns with respect to precinct
    17· ·results, but I haven't done anything subsequent to that
    18· ·time with that study.
    19· · · ·Q.· ·Do you recall the allegation of a blind voter
    20· ·stating that a candidate had filled out the voter's ballot
    21· ·and signed it and returned it?
    22· · · ·A.· ·No, I don't recall that specific instance.
    23· · · ·Q.· ·You mentioned in talking about these Palm Beach
    24· ·County allegations that they were allegations from some
    25· ·camps.· I want to talk about that a little bit more.


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    ·1· · · · · · When you say that there were allegations from some
    ·2· ·camps, are you intending to imply that something didn't
    ·3· ·happen unless there was a criminal conviction as to a
    ·4· ·particular example of fraud?
    ·5· · · ·A.· ·Again, I'm not in Palm Beach.· I was contacted by
    ·6· ·a reporter.· I was asked to look into this.· I looked at
    ·7· ·some patterns of voting for candidates in the democratic
    ·8· ·primary.· I wanted to say it was an August primary.· It's
    ·9· ·been a while ago.· And after that story ran, I didn't come
    10· ·back to it.
    11· · · · · · I do recall that it was probably sent off to a
    12· ·District Attorney or State Attorney office, but I honestly
    13· ·don't have any idea of whatever came of that.
    14· · · ·Q.· ·You would agree that criminal actions can occur
    15· ·even if a crime and then a conviction does not actually
    16· ·result from those actions?
    17· · · · · · MR. KARPATKIN:· Objection.
    18· · · ·A.· ·I'm not an attorney, and this is not my area of
    19· ·expertise in terms of opining on when a criminal activity
    20· ·occurs and the definition of when that is such the case.
    21· ·BY MR. NORDBY:
    22· · · ·Q.· ·You had stated in your report and today that
    23· ·examples of absentee ballot fraud or vote-by-mail ballot
    24· ·fraud were rare.· When you say that they are rare, are you
    25· ·only counting convictions as examples of vote-by-mail


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    ·1· ·ballot fraud, or are you stating generally that it does not
    ·2· ·happen to a high level?
    ·3· · · ·A.· ·That's a really interesting question.· Does a tree
    ·4· ·make noise when it falls in the forest and no one is there?
    ·5· ·I look at data.· That's what I do as a political scientist.
    ·6· ·So in the case of, quote/unquote, ballot harvesting of the
    ·7· ·60-some-odd supervisors who sent responses back to the
    ·8· ·House Committee on Public Integrity in Elections, this pie
    ·9· ·report that was done back in I think February, I believe
    10· ·there was one supervisor who said there was an allegation
    11· ·of ballot harvesting, and when he looked at the video
    12· ·footage, saw nothing.
    13· · · · · · So I take the supervisors when they look at this
    14· ·data from a very ground level, granular perspective, I look
    15· ·at it.· Quite honestly, you know, I'm not here to opine
    16· ·that there are concerns in whatever area, but I am not
    17· ·seeing it, and the supervisors who are running these
    18· ·elections aren't reporting it or seeing it.· So that's all
    19· ·I can say in terms of, you know, did that tree make noise
    20· ·in the forest.
    21· · · ·Q.· ·On one specific example in your report, you talked
    22· ·about Volusia County and voters who received assistance in
    23· ·requesting a vote-by-mail ballot.
    24· · · ·A.· ·I talked about that earlier, I think.· If you can
    25· ·refer me to where that is in my report, that would be


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    ·1· ·helpful.
    ·2· · · ·Q.· ·The section begins on page 74, I think.· Let me
    ·3· ·find the Volusia County information.· Page 78 of your
    ·4· ·report.
    ·5· · · ·A.· ·Page 78, yes.
    ·6· · · ·Q.· ·In response to some questions from Mr. Perko, a
    ·7· ·couple of times you stated that you reviewed the limited
    ·8· ·information that you had.· Are you stating in this report
    ·9· ·that you are able to generalize from these 128 examples in
    10· ·Volusia County across the entire state?· Are you reaching
    11· ·broader conclusions than just the Volusia County data?
    12· · · ·A.· ·No.· As I think I replied to Mr. Perko, I have
    13· ·analyzed all the data that I have received on this
    14· ·particular issue from all 67 supervisors in this litigation
    15· ·through discovery.· This is the only data that I came
    16· ·across that allows me to look at the internal records of a
    17· ·supervisor on how a vote-by-mail ballot was requested and
    18· ·then look to see about those individuals and infer that if
    19· ·they needed assistance requesting, it's logical, I think,
    20· ·to presume that they needed some assistance in returning
    21· ·their ballots.
    22· · · · · · I'm not generalizing across the other 66 counties.
    23· ·I would love to have other data because I think this is an
    24· ·interesting way to get at this question of who needs
    25· ·assistance returning a vote-by-mail ballot, which I don't


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    ·1· ·have any other form of data that allows me to get at that.
    ·2· · · ·Q.· ·Okay.· You reached no general conclusions based on
    ·3· ·a review of the Volusia County data?
    ·4· · · ·A.· ·No, I'm sticking here to Volusia County and what I
    ·5· ·find there.· I have analyzed all the data that I have been
    ·6· ·able to process, and that is the one county that I can draw
    ·7· ·conclusions from.
    ·8· · · ·Q.· ·And the conclusions you draw for Volusia County
    ·9· ·depend on the accuracy of your presumption that a voter who
    10· ·had a third person request their vote-by-mail ballot likely
    11· ·had assistance returning their vote-by-mail ballot, if that
    12· ·is inaccurate, then your conclusions, even as to Volusia
    13· ·County, wouldn't hold?
    14· · · ·A.· ·I think that's fair to say.
    15· · · ·Q.· ·Could you turn to page 24 of your report?
    16· · · ·A.· ·Sure.
    17· · · ·Q.· ·I apologize for skipping around a bit.· Mr. Perko
    18· ·did a very thorough job in his questioning, so I'm trying
    19· ·to shorten my portion by not treading the same ground.
    20· · · · · · Could you let me know when you are at page 24?
    21· · · ·A.· ·I'm here, page 24.
    22· · · ·Q.· ·The title of this section of your report is, "SB
    23· ·90's voter registration disclaimer and delivery
    24· ·restrictions on 3PVROs place burdens on eligible Florida
    25· ·citizens and particularly persons of color for registering


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    ·1· ·to vote due to restrictions placed on 3PVROs."
    ·2· · · · · · My question for you is, what are the burdens
    ·3· ·placed on eligible Florida citizens from registering to
    ·4· ·vote?
    ·5· · · ·A.· ·As I think I said to Mr. Perko, I'm not offering
    ·6· ·an opinion on the direct impact that SB 90 has on the
    ·7· ·activities of 3PVROs in Florida.· I am looking at who
    ·8· ·registers for 3PVROs, and if there are, indeed, burdens,
    ·9· ·who is going to suffer.
    10· · · · · · I think it's an important consideration.
    11· ·Obviously if no one registers with 3PVROs, then no one
    12· ·would be burdened if you actually eliminated 3PVRO
    13· ·activities all together.· I think we can agree with that,
    14· ·right?· If there was no evidence that anyone registered
    15· ·with the 3PVRO over the last ten years in Florida and
    16· ·3PVROs were effectively eliminated, no one would suffer.
    17· · · · · · I am looking at who actually does register with
    18· ·3PVROs with the presumption that restrictions on the
    19· ·activities of those organizations are going to affect that
    20· ·universe of people who register with 3PVROS.· And he finds
    21· ·quite clearly that of the 760,000 or so individuals, as of
    22· ·the summer of 2021, who the Division of Elections has noted
    23· ·as registering with the 3PVRO, that they are very
    24· ·disparately more likely to be black and Hispanic voters
    25· ·than white voters, five times as many, and that, indeed,


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    ·1· ·one out of ten black and almost one out of ten Hispanic
    ·2· ·registrants in the state of Florida registered through a
    ·3· ·3PVRO.
    ·4· · · ·Q.·
             Q.· ·So if I understand your conclusions correctly,
    ·5· ·your conclusions related to the variation in demographics
    ·6· ·among voters who are registered by 3PVROs as opposed to
    ·7· ·some other method of voter registration; is that a fair
    ·8· ·summary?
    ·9· · · ·A.· ·That's a fair summary.· I was asked by counsel to
    10· ·look at the registration of individuals through 3PVROs
    11· ·relative to others and relative to other racial and ethnic
    12· ·groups.
    13· · · ·Q.· ·And you don't reach any conclusions as to whether
    14· ·Senate Bill 90 actually does impose burdens on third-party
    15· ·voter registration organizations?
    16· · · ·A.· ·Correct, that's outside the scope of my report.
    17· · · ·Q.·
             Q.· ·And you don't reach any conclusions as to whether
    18· ·Senate Bill 90 actually imposes burdens on individual
    19· ·registrants who would like to register through a
    20· ·third-party voter registration organization?
    21· · · ·A.· ·That is correct.· I look at who does actually
    22· ·register with them.
    23· · · ·Q.·
             Q.· ·Given that scope of your analogy, I would like to
    24· ·go back to the title of the section which says that "Senate
    25· ·Bill 90 voter registration disclaimer and delivery


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    ·1· ·restrictions on 3PVROs places burdens on eligible Florida
    ·2· ·citizens and particularly persons of color from registering
    ·3· ·to vote due to restrictions placed on 3PVROs."
    ·4· · · · · · What are the burdens to which you refer in this
    ·5· ·section of your report?
    ·6· · · ·A.· ·I will let others opine on the direct impact that
    ·7· ·SB 90 has on the activities of 3PVROs.· I am looking at
    ·8· ·based on that assumption that these restrictions will
    ·9· ·impact them, that those individuals who register are more
    10· ·likely to be black and Hispanic than white, and that one
    11· ·out of ten black and almost one out of ten Hispanic
    12· ·registered voters in the state of Florida registers with a
    13· ·3PVRO.
    14· · · ·Q.· ·The disclaimer requirement to which you refer in
    15· ·this section of your report, that's the section of Senate
    16· ·Bill 90 that requires third-party voter registration
    17· ·organizations to tell potential registrants that their
    18· ·application may not be delivered on time?
    19· · · ·A.· ·That's correct.
    20· · · ·Q.·
             Q.· ·Do you have any understanding of whether, in fact,
    21· ·some third-party voter registration organizations have
    22· ·untimely submitted applications in the past?
    23· · · ·A.· ·I have certainly seen some of that in the record
    24· ·that's been produced.
    25· · · ·Q.· ·Do you have any reason to think that is an


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    ·1· ·untruthful statement, that it may not be delivered on time?
    ·2· · · ·A.· ·I'm not connecting the two pieces here,
    ·3· ·Mr. Nordby.· There is one piece that you said am I familiar
    ·4· ·with some groups who may not have returned ballots on time,
    ·5· ·and the second question you asked?
    ·6· · · ·Q.· ·My second question is is that an inaccurate
    ·7· ·disclaimer if a third-party voter registration organization
    ·8· ·informs a voter that their form may not be returned on
    ·9· ·time?
    10· · · · · · MR. KARPATKIN:· I'm going to object to form and
    11· · · · also object it's beyond the scope of this witness's
    12· · · · expert report.
    13· · · ·A.· ·It is beyond -- I did not look at any of those
    14· ·questions in my report, so this is just anecdotal in terms
    15· ·of my familiarity with Florida elections.· I mean, we can
    16· ·all recall the schoolteacher who was parodied on "The Daily
    17· ·Show" about missing the 48-hour window to return her
    18· ·student's registration forms.· I know this does happen
    19· ·occasionally, but is it an accurate thing to say?            I
    20· ·suppose it depends on the group.
    21· · · · · · There are groups that don't have any problems
    22· ·returning vote-by-mail ballots -- I'm sorry, returning
    23· ·3PVRO -- there are plenty of 3PVRO groups that have no
    24· ·problems returning voter registration forms on time.
    25


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    ·1· ·BY MR. NORDBY:
    ·2· · · ·Q.· ·You don't reach any conclusions, though, as to
    ·3· ·whether Senate Bill 90 actually imposes burdens on either
    ·4· ·3PVROs or on potential registrants who would like to
    ·5· ·register using their services?
    ·6· · · ·A.· ·Again, my report looks at the impact of 3PVROs if
    ·7· ·they are, indeed, restrained with respect to who registers
    ·8· ·with them.· And I find, quite clearly, that black and
    ·9· ·Hispanic voters are much more likely, five times more
    10· ·likely, than white individuals to register with 3PVROs.
    11· ·Less than 2 percent of all white registrants in the state
    12· ·of Florida register with 3PVROs, and roughly 10 percent of
    13· ·black and almost 10 percent of white -- of Hispanic
    14· ·individuals register with 3PVROs.
    15· · · ·Q.· ·If, in fact, Senate Bill 90 does not burden
    16· ·third-party registration organizations, would you agree
    17· ·that the demographic information in conclusions that you
    18· ·draw could not actually have any affect on the ability of
    19· ·voters to register?
    20· · · ·A.· ·I'm not prepared to agree with that assumption,
    21· ·but if you want to make that assumption, you can draw that
    22· ·conclusion.
    23· · · ·Q.· ·Could you turn to page 84 of your report?
    24· · · ·A.· ·Sure.
    25· · · ·Q.· ·If I have the right page number, that's the


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    ·1· ·section of your report addressing drop boxes.
    ·2· · · ·A.· ·Yes, correct.
    ·3· · · ·Q.· ·You are familiar with the drop box provisions of
    ·4· ·Senate Bill 90?
    ·5· · · ·A.· ·Yes, I am familiar with that section, 28.
    ·6· · · ·Q.· ·Are you aware of when Florida first addressed by
    ·7· ·statute the availability of drop boxes as an option for
    ·8· ·voters to return their vote-by-mail ballot?
    ·9· · · ·A.· ·That's a good question.· I actually don't know off
    10· ·the top of my head the statutory provisions.· There was
    11· ·quite a bit of rulemaking in the Division of Elections,
    12· ·and, of course, there was quite a bit of discretion on the
    13· ·supervisors themselves.· I'm not sure on the answer to that
    14· ·question.
    15· · · ·Q.· ·Okay.· The comparisons in your report are from the
    16· ·2020 general election and not from earlier elections; is
    17· ·that correct?
    18· · · ·A.· ·That's correct.
    19· · · ·Q.· ·Okay.· If I were to represent to you that that
    20· ·statute was enacted in 2019, would you have any reason to
    21· ·disagree with that?
    22· · · ·A.· ·That sounds generally correct in terms of these
    23· ·provisions being in place in the 2020 election cycle.
    24· · · ·Q.· ·If counties across the state of Florida generally
    25· ·did not have drop boxes for the return of their


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    ·1· ·vote-by-mail ballot prior to the 2020 election, what
    ·2· ·conclusions can you draw based on the effect of Senate
    ·3· ·Bill 90 as to earlier elections?
    ·4· · · ·A.· ·Well, again, I would object to the
    ·5· ·characterization of prior to 2019 of counties not having
    ·6· ·drop boxes.· As I document either in my report or I think
    ·7· ·it's actually in my supplemental report, there are lots of
    ·8· ·counties that used drop boxes prior to the statutory
    ·9· ·language codifying it.· So I think the whole premise of
    10· ·your question is not accurate.
    11· · · ·Q.·
             Q.· ·Okay.· Do you reach any conclusions as to the
    12· ·relative availability of drop boxes after Senate Bill 90 as
    13· ·opposed to the 2018 election?
    14· · · ·A.· ·No.· I always look at the impact of Senate Bill 90
    15· ·moving forward.· It's not looking at prior legislation and
    16· ·the effects that that prior legislation may have had.
    17· · · ·Q.·
             Q.· ·Am I correct, though, that you compare or purport
    18· ·to compare Senate Bill 90's drop box restriction as
    19· ·compared to the 2020 general election?· You do look
    20· ·backward in that respect, correct?
    21· · · ·A.· ·Since we don't have another statewide election,
    22· ·that would be in 2022, I have looked at drop boxes in this
    23· ·case that were in place to try to understand how they would
    24· ·be impacted in future general elections.· So absolutely I
    25· ·have looked at the 2020 general election to identify the


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    ·1· ·nearly 500 drop boxes around the state to figure out which
    ·2· ·ones would be curtailed in whole or in part under SB 90
    ·3· ·moving forward.
    ·4· · · ·Q.·
             Q.· ·Do you know whether voters will have greater
    ·5· ·access to drop boxes under Senate Bill 90 as compared to
    ·6· ·the 2018 general election drop box availability?
    ·7· · · ·A.· ·I did not look at that in my report.
    ·8· · · ·Q.· ·The same answer would be true to earlier
    ·9· ·elections, then, between 2016, 2014, 2012?
    10· · · ·A.· ·I did not address that in my report.
    11· · · ·Q.· ·Okay.· Do you know based on your prior expert work
    12· ·in this field whether drop boxes would be more available to
    13· ·voters under Senate Bill 90 than they were in 2018, 2016,
    14· ·or 2014?
    15· · · ·A.· ·If you are asking me to go outside my report and
    16· ·just opine anecdotally, I'm happy to do that.
    17· · · · · · It depends on the county.· There are certain
    18· ·counties that have used in previous elections, including
    19· ·the 2018 election, that clearly will have difficulty, if
    20· ·not impossibility, of providing drop boxes on certain days
    21· ·that they have provided in the past.
    22· · · · · · The best example of that are counties that have
    23· ·provided drop boxes that are not manned with SOE personnel
    24· ·on days outside of the early voting period whether or not
    25· ·they are at an SOE office or elsewhere.· There are examples


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    ·1· ·in counties, as I document in my report, that have been
    ·2· ·providing drop boxes in locations that are not permitted
    ·3· ·under any reading of SB 90 because they are not an early
    ·4· ·voting location and they were not thus permitted under
    ·5· ·SB 90.· They are not an SOE permitted or branch office
    ·6· ·either.
    ·7· · · · · · So we would have to go and look carefully at every
    ·8· ·county, which is what I do for the 2020 general election.
    ·9· ·I would have to do that for the 2018 and previous
    10· ·elections, which I did not do in my report.
    11· · · ·Q.· ·You don't reach any conclusions, then, as to the
    12· ·effects of Senate Bill 90 on drop boxes as compared to any
    13· ·other election other than the 2020?
    14· · · ·A.· ·Not in my report I do not look at that.· But there
    15· ·is clear evidence in the affidavits, interrogatories, and
    16· ·declarations that some of these SOEs have been using these
    17· ·drop boxes in previous elections that are clearly not
    18· ·permissible under SB 90.
    19· · · ·Q.· ·There is a portion of your report -- page 93 of
    20· ·your report refers to vote-by-mail ballot drop boxes with
    21· ·video surveillance were secure in the 2020 general
    22· ·election.
    23· · · ·A.· ·Could you point specifically where I say that?
    24· · · ·Q.· ·Page 93 of your report.
    25· · · ·A.· ·Yes.· I see, yes.


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    ·1· · · ·Q.· ·That conclusion is based on responses of
    ·2· ·Supervisors of Elections in Florida?
    ·3· · · ·A.· ·Correct.
    ·4· · · ·Q.· ·Are you aware of any examples outside the state of
    ·5· ·Florida of vandalism of vote-by-mail ballot drop boxes
    ·6· ·leading to destruction of ballots?
    ·7· · · ·A.· ·I recall some media reports just as a general
    ·8· ·consumer of election news.
    ·9· · · ·Q.· ·Are you familiar with any of the details of those
    10· ·incidents outside the state of Florida?
    11· · · ·A.· ·I recall some Republican operatives trying to
    12· ·destroy a drop box in California off the top of my head.
    13· · · ·Q.· ·Any other examples that you are aware of?
    14· · · ·A.· ·I can't think of any details off the top of my
    15· ·head.
    16· · · ·Q.· ·One of the areas that we discussed earlier was in
    17· ·the return of vote-by-mail ballots, the requirement that a
    18· ·vote-by-mail ballot envelope be signed by the voter.· Do
    19· ·you remember that discussion?
    20· · · ·A.· ·Yes.
    21· · · ·Q.· ·Were you aware that Supervisors of Elections in
    22· ·some counties were providing assistance to the voters at
    23· ·the drop boxes to ensure that their ballot envelope was
    24· ·properly signed before accepting it?
    25· · · ·A.· ·I do not know what's going on across all 67


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    ·1· ·supervisors in terms of drop box.· Are you referring to the
    ·2· ·2020 election?
    ·3· · · ·Q.· ·Yes.
    ·4· · · ·A.· ·I would not be surprised if some of the staff
    ·5· ·outside of a drop box may have been asking for voters to
    ·6· ·verify that they have signed their vote-by-mail ballot.
    ·7· · · ·Q.· ·I want to go back to some of the discussion we had
    ·8· ·earlier about the three methods of voting in Florida.
    ·9· · · · · · Do political campaigns influence the voting method
    10· ·used by their supporters in elections?
    11· · · ·A.· ·Do political campaigns influence, is that the verb
    12· ·you used?
    13· · · ·Q.· ·Yes.
    14· · · ·A.· ·If they are any good, they should be trying to
    15· ·influence their voters to turn out the vote, absolutely.
    16· · · ·Q.·
             Q.· ·More specifically than turning out the vote
    17· ·generally, though, in your experience based on your prior
    18· ·expert reports and on this, have you seen examples of where
    19· ·political campaigns will influence their supporters to use
    20· ·in-person early voting as opposed to some other voting
    21· ·method, for example?
    22· · · ·A.· ·Yes, I think you could point to several pieces of
    23· ·my scholarship where I have shown that various actors try
    24· ·to influence the method of voting by voters, correct.
    25· · · ·Q.·
             Q.· ·And the same would be true as to vote-by-mail


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    ·1· ·voting methodology?
    ·2· · · ·A.· ·Sure.
    ·3· · · ·Q.· ·Does your report in analyzing the 2020 general
    ·4· ·election attempt to account for those type of factors in
    ·5· ·evaluating the effect of Senate Bill 90?
    ·6· · · ·A.· ·No, it does not.
    ·7· · · ·Q.· ·You don't attempt to quantify the scale of that
    ·8· ·effect, setting aside the legal effect of the law, that
    ·9· ·affect campaigns themselves in influencing their supporters
    10· ·on how to vote?
    11· · · ·A.· ·I did not do that in this report, no.· Nor was I
    12· ·asked to do it.
    13· · · ·Q.· ·Would you agree that that likely has some effect,
    14· ·regardless of quantifying it, that a campaign has the
    15· ·ability to influence whether its supporters vote by mail or
    16· ·choose not to vote by mail and to vote by one of the other
    17· ·methodologies in Florida?
    18· · · ·A.· ·I have no reason to disagree with that statement.
    19· · · ·Q.· ·Would you agree that the pandemic likely affected
    20· ·the manner in which voters chose to vote in the 2020
    21· ·general election?
    22· · · ·A.· ·Well, this is an interesting question and one that
    23· ·I have actually done some empirical work as a scholar, and
    24· ·we can see that there was a jump in Florida, as in other
    25· ·states because of the pandemic, towards vote by mail.· We


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    ·1· ·need to put that in context that this has been moving
    ·2· ·towards more voting by mail since at least 2008.
    ·3· · · · · · So there has been a steady increase, and we saw a
    ·4· ·steeper increase in the 2020 primary election, presidential
    ·5· ·primary election, primary election, and then the general
    ·6· ·election compared to others, but it's a trend that's been
    ·7· ·turned over the last decade.
    ·8· · · ·Q.· ·I would like to ask you to turn to page 184 of
    ·9· ·your report, which is your CV.
    10· · · ·A.· ·Sure.· Yes.
    11· · · ·Q.· ·Actually, I stated the wrong page number.· Page
    12· ·number 178 is your CV; is that correct?
    13· · · ·A.· ·184 is part of my CV.· I think.· 174 is merely a
    14· ·reference to all the academic materials I refer to in my
    15· ·report.
    16· · · ·Q.· ·Page 178, is that the first page?
    17· · · ·A.· ·Page 178, yes, is the first page of my CV.
    18· · · ·Q.· ·The date at the top is 9 August 2021?
    19· · · ·A.· ·That's, yes, correct.
    20· · · ·Q.· ·When I say the top, it's the top of the CV portion
    21· ·of the page?
    22· · · ·A.· ·Correct.
    23· · · ·Q.· ·Have there been any additional items that are
    24· ·included in your current CV as of 25 October that were not
    25· ·included on this 9 August CV?· Do you have any additional


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    ·1· ·journal articles, publications, or other areas that would
    ·2· ·have items listed?
    ·3· · · ·A.· ·That's a good question.· It's kind of like the
    ·4· ·Florida voter file, it's dynamic and fluid.· I cannot tell
    ·5· ·you precisely what's on my CV.· I update it as it's going
    ·6· ·on, but, yes, I'm sure that I have added items to this CV
    ·7· ·since August.· I try to keep it updated.
    ·8· · · ·Q.· ·Are there any items that you have added to the CV
    ·9· ·since August that bear on any of the topics in your expert
    10· ·report in this case?
    11· · · ·A.· ·I suspect -- again, I don't have my current CV in
    12· ·front of me, but I suspect that I have added some
    13· ·conference papers that I have presented.· I don't know if I
    14· ·have given any public talks, which I generally list.                I
    15· ·have submitted articles under review.
    16· · · · · · Looking at this, I don't know if there is another
    17· ·article that has been accepted since that one from July.                I
    18· ·wouldn't know.· Certainly this is an area that I work on as
    19· ·a scholar.· And to answer your question, I would not be
    20· ·surprised if I had other items, and I probably agree with
    21· ·your statement that there are items, as I have already
    22· ·described.
    23· · · ·Q.· ·I believe you stated in response to one of
    24· ·Mr. Perko's questions that you stand by the conclusions in
    25· ·your expert report.· Nothing you have done since then would


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    ·1· ·lead you to question or doubt any of the conclusions you
    ·2· ·reached?
    ·3· · · ·A.· ·No, absolutely not.· My report is drawing on
    ·4· ·administrative data, it's the universe of cases, and, you
    ·5· ·know, there is -- actually, it's a privilege to be able to
    ·6· ·have some data that normally I wouldn't have access to as a
    ·7· ·scholar and that I can't publish because it's under
    ·8· ·court-protected order that is very informative to the
    ·9· ·questions that I have been employed to answer by counsel.
    10· · · ·Q.· ·I would like you to turn to page 184 of your
    11· ·report, which is a portion of your CV.· Toward the bottom
    12· ·of that page, there is a title "Outside Activities, Boards,
    13· ·Expert Witness, Political Consultant, Invited Testimony,
    14· ·Miscellaneous."· Do you see that portion?
    15· · · ·A.· ·Yes, I do.
    16· · · ·Q.· ·And the activities under that heading, am I
    17· ·correct that those carry over to pages 185, 186, and the
    18· ·first part of 187 of your report?
    19· · · ·A.· ·(Witness reviewing document.)
    20· · · · · · Am I back?
    21· · · ·Q.· ·I can see you now.· I didn't hear the answer to my
    22· ·question.
    23· · · ·A.· ·I didn't hear your question.· It cut out right
    24· ·after carrying forward from 184 to 185.
    25


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    ·1· ·BY MR. NORDBY:
    ·2· · · ·Q.· ·Okay.· Let me repeat the question.
    ·3· · · ·A.· ·So I heard none of the question.· Sorry.
    ·4· · · ·Q.· ·Okay.· I am just trying to make sure the manner in
    ·5· ·which you have divided your CV.· The heading at the bottom
    ·6· ·of page 184 that includes expert witness, political
    ·7· ·consultant, and so forth, do the topics listed on page 185,
    ·8· ·186, and the first part of 187 fall under that general
    ·9· ·heading?
    10· · · ·A.· ·Yes.
    11· · · ·Q.· ·You mentioned political consulting.· Can you
    12· ·describe the political consulting work that you do?
    13· · · ·A.· ·I don't think I have done any political consulting
    14· ·since I have been in Florida.· I cannot think of any.
    15· · · ·Q.· ·Okay.· So the reference to political consultant
    16· ·refers to something you did before you came to Florida?
    17· · · ·A.· ·I don't think I have worked as a political
    18· ·consultant since the early 1990s.· I cannot think of an
    19· ·example.
    20· · · ·Q.· ·Okay.· You mention and you describe several expert
    21· ·witness engagements that you have had.· You divided it into
    22· ·domestic and international consulting.· I would like to ask
    23· ·you about the domestic consulting expert witness
    24· ·engagements similar to an earlier question.· Other than
    25· ·your work in this litigation, are you currently engaged as


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    ·1· ·an expert witness or performing any analysis as a potential
    ·2· ·expert witness in other litigation that's not listed on the
    ·3· ·CV?
    ·4· · · ·A.· ·No.
    ·5· · · · · · Let me clarify.· I have no idea if things in the
    ·6· ·past that I have been engaged with will come back.· I will
    ·7· ·clarify that way.· But currently I have signed no other
    ·8· ·engagements with any groups to do any work.· That there may
    ·9· ·be items listed that come back at a later point, I cannot
    10· ·say.
    11· · · ·Q.· ·Are you thinking of something in particular with
    12· ·that clarification?
    13· · · ·A.· ·Yeah, I am.
    14· · · ·Q.· ·Okay.
    15· · · ·A.· ·There have been cases in which I have been engaged
    16· ·in which I thought the engagement was over and it
    17· ·reappears.
    18· · · ·Q.· ·Okay.· Are there some of those that are listed on
    19· ·your CV that you think may come back?
    20· · · ·A.· ·No.· The point is there are some that in the past
    21· ·have come back later which I had thought were over.· So I'm
    22· ·just letting you know that there is that possibility that
    23· ·although currently I'm not engaged in anything, there is a
    24· ·possibility that unbeknownst to me it will come back.
    25· · · ·Q.· ·Okay.· And you mention specifically you have not


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    ·1· ·signed an engagement letter.· Are you performing any
    ·2· ·analysis without the signing of an engagement letter on any
    ·3· ·topics currently?
    ·4· · · ·A.· ·That's a good question.· No, I am not currently
    ·5· ·doing any analysis for any groups, nor have I signed on
    ·6· ·with any other groups at this time.
    ·7· · · ·Q.· ·Okay.
    ·8· · · · · · MR. NORDBY:· If I can have two minutes, I don't
    ·9· · · · know that we need a break, I may be done, but I want
    10· · · · to check my notes.
    11· · · · · · Can we go off the record, please?
    12· · · · · · THE STENOGRAPHER:· Off the record, Counsel.
    13· · · · · · (Recessed at 12:14 p.m.)
    14· · · · · · (Resumed at 12:15 p.m.)
    15· · · · · · MR. NORDBY:· I don't have any more questions.
    16· · · · Thank you, Dr. Smith, for your time.
    17· · · · · · THE WITNESS:· Thank you, Mr. Nordby.
    18· · · · · · MR. KARPATKIN:· Do any other defendants have
    19· · · · questions for Dr. Smith?
    20· · · · · · If not, can I take a minute to consult with -- or
    21· · · · two minutes to consult with co-counsel as to redirect?
    22· · · · And can we go off the record.
    23· · · · · · (Recessed at 12:16 p.m.)
    24· · · · · · (Resumed at 12:16 p.m.)
    25· · · · · · MR. KARPATKIN:· Plaintiffs have no redirect.


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    ·1· · · ·MR. PERKO:· Thank you, Dr. Smith.
    ·2· · · ·THE STENOGRAPHER:· Gary, did you need to order at
    ·3· ·this time?
    ·4· · · ·MR. PERKO:· Yes, we will.
    ·5· · · ·THE STENOGRAPHER:· Does anybody else need a copy
    ·6· ·of the transcript?
    ·7· · · ·MR. KARPATKIN:· Plaintiffs need one, of course.
    ·8· · · ·THE STENOGRAPHER:· Have a wonderful day,
    ·9· ·everybody.· Thank you.
    10· · · (Thereupon, the proceedings were concluded
    11· · · · · · · · · · at 12:17 p.m.)
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    ·1· · · · · · · · · · · ·CERTIFICATE OF OATH

    ·2

    ·3· ·STATE OF FLORIDA· · · )

    ·4· ·COUNTY OF BROWARD· · ·)

    ·5

    ·6

    ·7· · · · · · I, Tamra K. Piderit, FPR, RPR, RMR, RDR, CRR,

    ·8· ·Notary Public, State of Florida, certify that Daniel A.

    ·9· ·Smith, Ph.D. remotely appeared before me on the 25th day of

    10· ·October, 2021, and was duly sworn.

    11

    12· · · · · · WITNESS my hand and official seal this 27th day of

    13· ·October, 2021.

    14

    15

    16·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·______________________________
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · · · · Tamra K. Piderit
    17·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Florida Professional Reporter
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Registered Professional Reporter
    18·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Registered Merit Reporter
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Registered Diplomate Reporter
    19·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Certified Realtime Reporter
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Notary Public, State of Florida
    20·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·My Commission #GG 915608
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       NAACP v. Lee, 4:21-cv-187-MW-MAF, and Florida Rising

                        Together v. Lee, 4:21-cv-201-MW-MJF


                                      Daniel A. Smith, Ph.D.∗


                                          September 1, 2021




                                         Daniel A. Smith, Ph.D.




 ∗
     Professor and Chair of Political Science, University of Florida, and President, ElectionSmith.


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I     Purpose of engagement

     1        Counsel for the Plaintiﬀs in Florida State Conference of NAACP v. Lee, 4:21-cv-
187-MW-MAF, and Florida Rising Together v. Lee, 4:21-cv-201-MW-MJF, have engaged
me to form expert opinions on several issues related to Senate Bill 90 (hereafter, “SB 90”).
Speciﬁcally, I have been asked to assess the following:


A. any eﬀects of SB 90’s Voter Registration Disclaimer and Delivery Restrictions on Third
     Party Registration Organizations (hereafter, “3PVROs”) (SB 90 Section 7), negatively
     impacting the ability of eligible citizens to register to vote in Florida, and in particular,
     if they have disproportionate eﬀects on the ability of Black and Hispanic1 individuals to
     register to vote;

B. any eﬀects of of SB 90’s Vote-By-Mail ID Request Restrictions (SB 90 Section 24) placed
     on registered voters when requesting a Vote-by-Mail (hereafter, “VBM”) ballot, which
     requires an exact match to the speciﬁc form of ID on ﬁle, be it a driver’s license number,
     Florida identiﬁcation card number (hereafter, “state ID”), or the last four digits of their
     Social Security number—and in particular, any disproportionate eﬀects on the ability of
     registered voters who are Black and Hispanic to obtain VBM ballots;

C. any eﬀects of of SB 90’s Vote-By-Mail Request Restrictions (SB 90 Section 24) placed
     on registered voters with “Standing” requests to have VBM ballots mailed to them in
     subsequent elections, and in particular, any disproportionate eﬀects on the ability of
     Black and Hispanic registered voters and voters with disabilities to make standing VBM
     ballot requests;

         1
          I use the term Hispanic throughout this report, as it is the term used by the Florida Division
         of Elections to recognize Latino.




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D. any eﬀects of SB 90’s Drop Box Restrictions (SB 90 Section 28 ) that limit the locations,
     days, and hours of secure drop boxes available to cast VBM ballots in person, and in
     particular, any disproportionate eﬀects on the ability of Black and Hispanic registered
     voters and registered voters with disabilities to cast VBM ballots in person;

E. any eﬀects of SB 90’s Volunteer Assistance Ban (SB 90 Section 32) limiting assistance
     to registered voters needing help to return their VBM ballots, and in particular, any dis-
     proportionate eﬀects on the ability of Black and Hispanic registered voters and registered
     voters with disabilities from returning their VBM ballots.

F. any eﬀects of SB 90’s Voting Line Relief Restrictions (SB 90 Section 29) limiting assis-
     tance to voters waiting in lines during the early voting period or on Election Day, and in
     particular, any disproportionate eﬀects on the ability of Black and Hispanic registered
     voters and registered voters with disabilities to receive assistance when waiting in lines
     at the polls.




II       Qualiﬁcations

     2      I am Professor and Chair, Department of Political Science, at the University of
Florida. I received my doctorate in Political Science from the University of Wisconsin-
Madison in 1994. I am also President of ElectionSmith, which specializes in empirical re-
search on voting and election administration in the American states.



     3      For nearly 30 years, I have conducted research on electoral politics in the American
states, focusing on the eﬀect of political institutions on political behavior. I have written
extensively on election administration in the American states, including the eﬀects of changes


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of election laws and rules on voter participation and turnout. I have published more than 100
articles and book chapters, including many that have appeared in the discipline’s top peer-
reviewed journals. My research has been cited over 3,800 times according to Google Scholar.
In addition, I have published two academic books on electoral politics in the American
states and am the coauthor of a widely used college textbook, State and Local Politics:
Institutions and Reform, which includes several discussions of state voting laws, election
administration, and voter participation and turnout, including in Florida. I have taught
an array of undergraduate and graduate courses focusing on American political institutions,
voting and election administration, and political behavior in the American states, including
Florida.



    4      I have testiﬁed before the U.S. Senate and state legislatures, including Florida,
on voting and election issues. A former Senior Fulbright Scholar, I have received numer-
ous grants and awards for my work on campaigns and elections, including from the U.S.
Department of State and the American Political Science Association (“APSA”). I am a past-
President of the State Politics and Policy Section of the APSA. In 2010, I was the lead author
of the “Direct Democracy Scholars” amicus brief in Doe v. Reed, which was successfully ar-
gued by the Attorney General of the state of Washington before the U.S. Supreme Court,
and my scholarship has been cited in an opinion of the U.S. Supreme Court. I have served
as an expert in election-related litigation in numerous states, including in Florida in cases
heard in this court, and have worked for both plaintiﬀs and defendants (including serving
as an expert for the State of Florida, the State of Colorado, and the State of California to
defend their election laws). All of these cases relate to aspects of voting rights and election
administration.




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    5     I am well-versed on this topic. I have written extensively about election procedures,
including voter registration, early voting, wait times, and VBM ballots over the past decade.
My methods are reliable and appropriate in the discipline of political science, and my opinions
result from applying these methods to answer questions addressed in this litigation.



    6     I am being paid at a rate of $450/hour for work in this litigation. My compensation
is contingent neither on the results of the analyses described herein nor on the contents of
my report. A list of my publications in the previous ten years and my testimony during the
previous four years are in my curriculum vitae, attached as Appendix A.I. In addition to
the scholarly articles listed in Section XIII (Academic material cited), the facts and data I
considered in forming my opinions are described in Section V and listed in Appendix A.II
of this report.




III     Summary of ﬁndings

    7     My analysis shows that all eligible citizens in Florida wishing to register to vote, as
well as citizens currently registered to vote in Florida, are burdened by provisions of SB 90.
Persons of color and individuals with disabilities are more likely to be disparately burdened
by several provisions SB 90.



    8     First, disclaimer and delivery restrictions placed on the activities of third party
voter registration organizations, or 3PVROs, that predominantly circulate in urban and
racially and ethnically diverse communities (Voter Registration Disclaimer and Delivery Re-
strictions (SB 90 Section 7)), are directed at a practice that has been disproportionately
used to register minority voters in past elections, and will decrease the opportunities of thou-

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sands of individuals to register to vote every year, with the burdens falling most heavily on
persons of color. Persons of color in Florida are ﬁve times more likely to rely on 3PVROs
when registering to vote than white individuals. Both the academic literature and my data
analysis ﬁnds that the costs of voting fall most heavily on persons of color.



    9       Second, the requirement (Vote-By-Mail ID Request Restrictions (SB 90 Section
24)) that a voter’s ID on ﬁle with an SOE must be an exact match with the ID submitted by
a voter when requesting a VBM ballot (that is, a Social Security number, a driver’s licence,
or a state ID number), is directed at a practice that was used to an unprecedented degree by
minority voters in the 2020 General Election and will decrease the opportunities of thousands
of registered voters to be able to vote a mail ballot. Both the academic literature and my
data analysis reﬂect that the costs of requesting a VBM ballot fall most heavily on persons
of color.



    10       Third, the curtailment of standing requests to have VBM ballots mailed out
automatically (Vote-by-Mail Application Restrictions (SB 90 Section 24)) decrease the op-
portunities for thousands of registered voters to request their VBM ballots, with the burdens
falling most heavily on persons of color and individuals with disabilities. This provision of
SB 90 is directed at a practice that minority voters turned to in record numbers in the 2020
election and will lead to a decrease in the opportunities of thousands of registered voters
to be able to request and vote a mail ballot. Both the academic literature and my data
analysis reﬂect that the costs associated with requesting a VBM ballot, which already fall
most heavily on racial and ethnic minority voters and particularly voters with disabilities,
will be exacerbated under this law.




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    11     Fourth, the limits placed on who can collect and deliver VBM ballots (Volunteer
Assistance Ban (SB 90 Section 32)) decrease the opportunities for thousands of registered
voters to return their VBM ballots. Both the academic literature and my data analysis
reﬂect that SB 90 will impose costs on the ability of voters to return their VBM ballots.



    12     Fifth, the restrictions placed on SOEs when determining the locations, dates,
hours, and security of VBM drop boxes (Drop Box Restrictions (SB 90 Section 28)) decrease
the opportunities for thousands of registered voters to return their VBM ballots and is
directed at a practice that was used to an unprecedented degree by minority voters in the
2020 General Election. The limits placed on VBM drop boxes—which will curtail in whole
or in part 122 VBM drop boxes deployed by SOEs in the 2020 General Election—decrease
the opportunities of tens of thousands of voters across the state to return their mail ballots.
Both the academic literature and my data analysis reﬂect that the costs of voting due to
reduced opportunities for voters to return a VBM ballot to a secure drop box under SB 90
fall most heavily on racial and ethnic minority voters.



    13     Sixth, restrictions placed on providing assistance to voters waiting in lines at
the polls during early voting (Voting Line Relief Restrictions (SB 90 Section 29)) decrease
the opportunities for thousands of registered voters to receive fundamental aid, depriving
those waiting in lines of drink, food, seating, or shelter from the elements, with the burdens
falling most heavily on persons of color and individuals with disabilities. Both the academic
literature and my data analysis reﬂect that SB 90 is directed at a practice of volunteer groups
providing assistance to voters that frequently occurs at predominantly Black and Hispanic
polling places, particularly where lines to vote can be long.




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IV       Costs of voting

    14     Florida’s SB 90 increases burdens on several groups of individuals—most promi-
nently, persons of color (Black and Hispanic) and individuals with disabilities.



    15     First, because persons of color rely more heavily on 3PVROs when registering to
vote than other groups of voters, SB 90’s limits placed on 3PVROs will result in Black and
Hispanic eligible Florida citizens having fewer opportunities to register to vote.



    16     Second, because SB 90’s new ID requirements placed on registered voters who
merely want to request a VBM ballot—that is, a requirement to include personal information
(Social Security number, or a driver’s licence or a state ID number) that exactly matches
the voter’s information on ﬁle—disproportionately aﬀect voters of color, it will lead to fewer
opportunities for Black and Hispanic registered voters to receive a VBM ballot.



    17     Third, because SB 90 cuts in half the length of time a voter may have a standing
request to have a VBM ballot mailed to them, thousands of registered voters will have fewer
opportunities to receive a VBM ballot.



    18     Fourth, because of the limits SB 90 places on the locations, dates, and hours of
operation of VBM ballot drop boxes, all Florida voters, but particularly voters of color, will
have fewer opportunities to securely return their VBM ballots in person.




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    19      Fifth, because SB 90 places restrictions on the return of VBM ballots for voters
in need of assistance, all voters, but particularly voters of color and those with disabilities
will have fewer opportunities to return their VBM ballots.



    20      Sixth, because of the restrictions SB 90 places on providing aid and comfort to
voters waiting in lines during early in-person (what I refer to throughout as “EIP”) voting or
on Election Day, voters of color and those with disabilities will face higher barriers to cast
their ballots in person, potentially causing them not to vote at all.



    21      Scholars of voting and elections often refer to barriers such as these as “costs
of voting” (Rosenstone & Wolﬁnger 1978; Aldrich 1993; Verba, Schlozman & Brady 1995;
Brady & McNulty 2011; Leighley & Nagler 2013; Tokaji & Colker 2007; Mukherjee 2009;
Li, Pomante II & Schraufnagel 2018; Schraufnagel, Pomante II & Li 2020). Derived from
the guiding rational choice theoretical perspective put forth by Downs (1957), prospective
voters will participate in an election if the beneﬁt they derive from the activity exceeds the
cost. As Rosenstone & Hansen (1993, p. 209) summarize, “legal restrictions on the exercise
of the franchise” can create institutional barriers to political participation, which impose
“signiﬁcant burdens on American citizens and lower the probability they will participate in
political life.” In short, an increase in the cost of voting can lead to voter disenfranchisement.



    22      In my opinion, SB 90 increases the costs of voting for citizens residing in Florida.
Under SB 90, eligible citizens who 1) would register to vote with 3PVROs, 2) would request
a VBM ballot, 3) would prefer to keep a standing request for a VBM ballot, 4) would return
their VBM in person at a drop box location, 5) would need assistance when returning their
VBM ballots, or 6) would need assistance when waiting in line at the polls, all face new


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restrictions on their ability to register to vote and/or cast a ballot.



    23      According to Schraufnagel, Pomante II & Li (2020), whose 2020 article, “Cost of
Voting in the American States” provides an index of both the opportunities and restrictions
on the franchise in each state (e.g., registration deadlines, restrictions on voter registrations,
registration drive restrictions, preregistration laws, convenience voting, voter identiﬁcation
laws, and poll hours), only 10 states have worse Cost of Voting Index scores than Florida.
There is little doubt that the restrictions put in place by SB 90 will move Florida further
down the list of states with the greatest barriers to the franchise. These increased costs in
Florida negatively impact enfranchisement and voting.




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 Figure 1: Schraufnagel, Pomante II & Li (2020), Costs of Voting in the American States




FIG. 1. Cost of Voting Index values for all 50 states in 2020. Note: Index values that extend beyond two decimal points are avail-
able from the authors.


Note: Image from Schraufnagel, Pomante II & Li (2020, p. 506).




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    24      With regard to SB 90’s Voter Registration Disclaimer and Delivery Restrictions
on 3PVROs (SB 90 Section 7), the law increases the costs of voting—time, transportation,
and information—on all eligible citizens residing in Florida who want to register to vote
by restricting the activities of 3PVROs. Florida has a long history of groups working on
the ground to register voters (Herron & Smith 2013). Over the years 3VPROs in the state
have registered hundreds of thousands of eligible citizens in Florida. This method has been
disproportionately and most heavily used to register people of color. Based on my analysis
in this report, SB 90 will disproportionately impact registration of persons of color who are
eligible to vote in Florida.



    25      With regard to both SB 90’s exact-match ID requirement Vote-By-Mail ID Re-
quest Restrictions (SB 90 Section 24) and the Vote-by-Mail Application Restrictions (SB
90 Section 24), the new law increases the costs of voting—time, transportation, informa-
tion, and health—on all registered voters in Florida who want to request a mail ballot, but
particularly on voters of color. SB 90 places restrictions on the ability of registered voters
to obtain VBM ballots. Voting by mail—a safe and secure method of voting—has become
increasingly popular in Florida. Over 4.8 million Floridians cast VBM ballots in the 2020
General Election, up from 2.7 million million in the 2016 General Election.2 Restricting who
is permitted to request VBM ballots increases the cost of voting for all Floridians. Based on
my analysis in this report, the burdens associated with requesting VBM ballots—particularly
the exact-match ID requirement—will likely fall disproportionately on voters of color and
those with a disability.

      2
       See “Archived Early Voting and Vote-by-Mail Statistics,” Florida Division of Elec-
      tions, available https://dos.myflorida.com/elections/data-statistics/elections-
      data/absentee-and-early-voting/ (last accessed July 7, 2021).




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    26        With regard to both the Volunteer Assistance Ban (SB 90 Section 32) and Drop
Box Restrictions (SB 90 Section 28), the law increases the costs of voting—time, trans-
portation, information, and health—on all registered voters in Florida desiring to have their
VBM ballots dropped oﬀ in person. Restricting who is permitted to return VBM ballots
and limiting the availability, locations, and hours of VBM drop boxes increases the cost of
voting for all Floridians. SB 90 increases the time, transportation, information, and health
costs for voters who want to avoid using the US Postal Service to return their VBM ballots
or wish to have others assist them in returning their VBM ballots. Based on my analysis
in this report, these burdens—particularly the limits on the locations, days, and times that
VBM drop boxes may be accessible to voters—will fall disproportionately on voters of color
and those with a disability.



    27        With regard to Voting Line Relief Restrictions (SB 90 Section 29), the law in-
creases the costs of voting—time, information, and health—on all registered voters who are
confronted by long lines at early voting and Election Day precincts. As scholars have docu-
mented, Florida has an ignominious history of long lines at the polls, particularly in urban
and more populous counties, which are strongly associated with the residency of racial and
ethnic minority voters. Because of the restrictions placed on requesting and returning a
VBM ballot, there will be increased pressures placed on EIP voting locations. Many voters,
particularly those in urban and more populous counties, which are strongly associated with
the residency of racial and ethnic minority voters in Florida, will also likely be burdened
with longer wait times at the polls during the early voting period or on Election Day, or
even at lines to drop oﬀ their VBM ballots. Based on my analysis in this report, SB 90’s
restriction on line relief will likely fall disproportionately on voters of color and those with a
disability.



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    28      As I document throughout this report relying on data produced by the Division
of Elections and 67 SOEs, in my opinion a large fraction of the more than half-a-million Black
voters and more than 700,000 Hispanic voters who cast VBM ballots in the 2020 General
Election will likely be disproportionately burdened by the provisions of SB 90 that I have
been asked to assess.3



    29      As with the higher costs placed on individuals wanting to register to vote and who
need assistance while waiting in line a the polls, SB 90 provisions targeting Florida’s processes
of requesting and returning VBM ballots will create additional burdens for registered voters
of color. As a percentage of all votes cast by any method, voting by mail in the 2020 General
Election increased at higher rates for minority voters than white voters when compared to
previous elections, including the 2016 General Election. The total number of valid VBM
ballots cast by Black voters in the 2020 General Election more than doubled the total cast
in the 2016 General Election, from roughly 230,300 to roughly 549,300 valid VBM ballots
cast. In the 2016 General Election, valid VBM ballots accounted for 20.0 percent of all
ballots cast by Black voters; four years later, valid VBM ballots accounted for 39.8 percent
of all ballots cast by Black voters. The total number of valid VBM ballots cast by Hispanic
voters in the 2020 General Election nearly doubled the 2016 General Election number of
valid VBM ballots cast, from roughly 370,000 to roughly 739,000 valid VBM ballots cast.
In the 2016 General Election, valid VBM ballots accounted for 26.7 percent of all ballots
cast by Hispanic voters; in the 2020 General Election, they accounted for 41.0 percent of
all ballots cast by Hispanic voters, an increase of nearly 15 percentage points. Comparable

      3
       Throughout this report, I take a voter’s racial/ethnic identity to be what is coded in the Divi-
      sion of Elections Florida Voter Registration System (FVRS), circa January, 2021, as recorded
      in an individual’s voter registration application. See Florida Division of Elections, “Florida
      Voter Registration Application,” DS-DE 39, R1S-2.040, F.A.C. (eﬀective July 2019), available
      at https://dos.myflorida.com/media/693757/dsde39.pdf (last accessed July 15, 2021).



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counts of white voters casting valid VBM ballots in the 2020 General Election versus the
2016 General Election do not come close to doubling, and the overall increase was less than
14 percentage points in the rates of valid VBM ballots cast by white voters in 2020 compared
to in 2016.



    30        In addition, a sizeable share of the nearly 140,000 voters needing assistance in
Florida in 2021, according to data maintained by the Division of Elections, who vote by mail
or who wait in long lines will likely be burdened by provisions of SB 90 that I have been
asked to assess.4



    31        It is important to point out that the Florida SOEs have not called for these
changes, nor have they been concerned about voter fraud. In her request to the SOEs
on February 24, 2021, Representative Erin Grall, Chair of the House Public Integrity and
Elections Committee, asked county election oﬃcials to provide the committee information
concerning a wide range of election-related questions, including incidence of fraud. SOEs
were speciﬁcally asked by Rep. Grall, “In the past 4 years, how many referrals did you
make to the state attorney’s oﬃce for illegal registration or voting practices? Which state
attorney did you refer the matter to? Please provide any documentation related to those
referrals.” For the 62 SOEs for whom I have responses to Rep. Grall’s request, the modal
response for referrals to the state attorney’s oﬃce for illegal registration or voting practices
of any sort—much less associated with mail voting—was zero (0). Despite the more than
two million newly registered voters statewide and more than 20 million votes cast statewide

      4
       Throughout this report, I take a voter’s indication that he or she “will need assistance with
      voting” to be a proxy for a voter having some type of disability. See Florida Division of Elec-
      tions, “Florida Voter Registration Application,” DS-DE 39, R1S-2.040, F.A.C. (eﬀective July
      2019), available at https://dos.myflorida.com/media/693757/dsde39.pdf (last accessed
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in elections over the past four years, the SOEs from 40 counties reported to the committee
that they had no cases of illegal voter registrations or voting practices.5 In addition, the
SOEs’ responses to the PIE Committee oﬀered no evidence of “ballot harvesting.” 6



    32      In short, I conclude that SB 90 burdens eligible Florida citizens, but particularly
persons of color, from registering to vote due to restrictions placed on 3PVROs; burdens
registered voters in Florida, and particularly persons of color and individuals with disabilities,
from requesting a VBM ballot or maintaining a standing VBM request; burdens the ability
of voters, and particularly persons of color and individuals with disabilities, to return their
VBM ballots to drop boxes or to receive assistance when returning their VBM ballots; and
burdens groups from assisting voters, and particularly persons of color and individuals with
disabilities, waiting in line at the polls to cast a ballot. In my opinion, these increased costs to
voting—while negatively aﬀecting all Floridians—will in whole or in part disproportionately
aﬀect persons of color and individuals with disabilities.




V     Data used in this report

    33      This report covers aspects of SB 90 related to methods of voter registration,
requests for VBM ballots, returning of VBM ballots to drop boxes, and wait times for voters
casting EIP ballots. In this report I analyze statewide and county data from the 2020 General
Election and previous elections. The data that I rely upon for my analysis are cited in this
section and well as throughout my report, and are listed in Appendix A.II. The scholarly

      5
        The following 21 counties reported one or more referrals: Brevard, Broward, Charlotte, Clay,
      Collier, Escambia, Flagler, Hernando, Hillsborough, Indian River, Lake, Leon, Manatee, Mar-
      ion, Okaloosa, Osceola, Pasco, Pinellas, Putnam, Sarasota, and Seminole.
      6
        See SOE responses to Florida House of Representatives, Public Integrity and Elections Com-
      mittee, Chair Erin Grall, February 24, 2021.


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publications on which I rely in this report are cited throughout the report and listed in
Section XIII (Academic material cited).



   34      To conduct my analyses, I draw on multiple statewide “VoterDetail” and “Vote
History” ﬁles (hereafter, “voter ﬁles”), statewide Legislative Report Election/Recap ﬁles
(hereafter, “Recap ﬁles”), statewide VBM daily ﬁles, statewide and county EViD ﬁles, ﬁles
produced by the Florida Division of Elections and SOEs during the discovery process, county-
level data obtained through public records requests, and voting and election related informa-
tion and data available online. In addition, I draw on publicly available U.S. Census Bureau
data from the 2019 American Community Survey (ACS), 5-Year Estimates.



   35      The Oﬃce of the Secretary of State, Division of Elections, maintains the Florida
Voter Registration System (FVRS) that SOEs rely upon daily. My analysis draws on
statewide ﬁles of the FVRS, monthly snapshots of the state’s data that are made avail-
able to the public by the Division of Elections,7 statewide Recap ﬁles made available by the

Division of Elections after each Florida election8 , Vote-by-Mail Ballot Request Information

     7
       I rely on the Florida Division of Elections publicly available monthly statewide voter ﬁles from
     January 2021.
     8
       “Within 30 days after the Elections Canvassing Commission certiﬁes the election results,”
     SOEs “must submit voting history [“VH03”] data to the Division of Elections for each presiden-
     tial preference primary election, special election, primary election, and general election.” “The
     Division of Elections on behalf of the Department of State will compile the 67 county’s ﬁles
     of oﬃcial voting history and voter registration information on voters who were qualiﬁed and
     voted in the election and submit the elections recap report to the Florida Legislature after each
     of the above-referenced elections.” See Florida Statutes, § 98.0981, Rule 1S-2.043(7), F.A.C.
     (eﬀective 10/27/2010), and Rule 1S-2.053(6) – Election Results, Precinct-Level Election Re-
     sults, Voting History, and Reconciliation Reporting (eﬀective 7/1/2017). I rely on the January
     2021 Recap ﬁles made available after the 2020 GE, as it includes denotes which voters indi-
     cated when they registered to vote that they would need assistance with voting. Speciﬁcally,
     individuals registering to vote in Florida are given the option to check a box indicating, “I will
     need assistance with voting.” I take a voter’s indication that he or she “will need assistance
     with voting” to be a proxy for the voter having some type of disability. See Florida Division
     of Elections, “Florida Voter Registration Application,” DS-DE 39, R1S-2.040, F.A.C. (eﬀec-



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Files made available daily by the Division of Elections during every election,9 and early in-
person (EIP) turnout and EViD (Electronic Voter Identiﬁcation) poll book data obtained
both through ordinary public record requests or through the discovery process.10 I also rely
upon a variety of data ﬁles, aﬃdavits and interrogatory responses of SOEs, and documents
provided by the SOEs during the discovery process, additional statewide data and docu-
ments made available by the Division of Elections during the discovery process, the SOEs’
association, the Florida Supervisors of Elections, Inc., as well as scholarly articles, books,
working papers, and reports related to the topic.

      tive July 2019), available at https://dos.myflorida.com/media/693757/dsde39.pdf (last
      accessed June 15, 2021). The previous DS-DE 39 form (eﬀective October 2013), uses identical
      wording.
      9
        See Rule 1S-2.043, F.A.C., and Florida Statutes § 101.62(3), which states: “For each request
      for a vote-by-mail ballot received, the supervisor shall record the date the request was made,
      the date the vote-by-mail ballot was delivered to the voter or the voter’s designee or the date
      the vote-by-mail ballot was delivered to the post oﬃce or other carrier, the date the ballot was
      received by the supervisor, the absence of the voter’s signature on the voter’s certiﬁcate, if
      applicable, and such other information he or she may deem necessary. This information shall
      be provided in electronic format as provided by rule adopted by the division. The information
      shall be updated and made available no later than 8 a.m. of each day, including weekends,
      beginning 60 days before the primary until 15 days after the general election and shall be
      contemporaneously provided to the division.” In particular, I rely on one VBM daily activity
      report uploaded by SOEs to the Division of Elections during the 2020 GE.
      10
         During the early voting period, the Division of Elections posts daily EIP turnout data,
      at the individual-level, as part of its “Early Voting Reports,” downloadable at https://
      countyballotfiles.floridados.gov/VoteByMailEarlyVotingReports/PublicReports. I
      rely on numerous EIP and EViD data sources.




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VI      SB 90’s Voter Registration Disclaimer and Delivery
        Restrictions on 3PVROs place burdens on eligible
        Florida citizens, and particularly persons of color,
        from registering to vote due to restrictions placed on
        3PVROs

   36      SB 90 restricts the activities of 3PVROs to register voters in Florida. According
to Section 7 of SB 90:


     A third-party voter registration organization that collects voter registration appli-
     cations serves as a ﬁduciary to the applicant, ensuring that any voter registration
     application entrusted to the organization, irrespective of party aﬃliation, race,
     ethnicity, or gender, must be promptly delivered to the division or the super-
     visor of elections in the county in which the applicant resides within 14 days
     after completed by the applicant, but not after registration closes for the next
     ensuing election. A third-party voter registration organization must notify the
     applicant at the time the application is collected that the organization might
     not deliver the application to the division or the supervisor of elections in the
     county in which the applicant resides in less than 14 days or before registration
     closes for the next ensuing election and must advise the applicant that he or she
     may deliver the application in person or by mail. The third-party voter regis-
     tration organization must also inform the applicant how to register online with
     the division and how to determine whether the application has been delivered.
     If a voter registration application collected by any third-party voter registration
     organization is not promptly delivered to the division or supervisor of elections
     in the county in which the applicant resides, the third-party voter registration



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      organization is liable for the following ﬁnes:11



    37       SB 90 is the latest eﬀort by the Florida state legislature to regulate 3PVROs.
In 2011, the Florida legislature placed restrictions on 3PVROs.12 Herron & Smith (2013,
p. 297) found that, in the months after HB 1355 went into eﬀect in 2011, overall voter
registrations dropped for Black, Hispanic, and white voters compared to a similar time frame
four years earlier, but that the drop in Black registration was “the only statistically signiﬁcant
estimate,” providing “evidence that HB 1355’s eﬀects varied by racial/ethnic group and were
particularly pronounced for a group that in Florida is closely tied to the Democratic Party.”



    38       As my analysis, below, shows, persons of color who are eligible to register to vote
in Florida are much more likely to bear the brunt of additional restrictions placed on the
activities and speech of 3PROs under SB 90, as persons of color disproportionately rely on
3PVROs when registering to vote in Florida.

      11
         See “Enrolled CS for CS for CS for SB 90,” 2nd Engrossed, Section 7. Available https://www.
      flsenate.gov/Session/Bill/2021/90/BillText/er/PDF (last accessed August 10, 2020).
      12
         See the summary of HB 1355 in Herron & Smith (2013, p. 282): “Upon becoming law in
      Florida, HB 1355 placed several new restrictions on what are commonly known as “Third-
      Party Voter Registration Organizations,” or 3PVROs. A 3PVRO is “any person, entity, or
      organization that solicits (for collection) or collects any voter registration application,” although
      this deﬁnition allows for some exceptions like oﬃcial state agencies that play a role in the voter
      registration process. Speciﬁcally, HB 1355 states that registration agents of 3PVROs must
      preregister, sign an oath warning of prison time and ﬁnes, and submit background information
      to the Florida Division of Elections. Prior to HB 1355, preregistration of 3PVROs was not
      enforced and no such oath was required by Florida law. Moreover, HB 1355 speciﬁes that all
      3PVROs in Florida are required to communicate to the Florida State Division of Elections
      within ten days any changes concerning their registration agents, ﬁle monthly reports with the
      Division accounting for all registration forms provided to and received from their registration
      agents, and ensure that they assign identiﬁcation numbers to all voter registration forms in
      possession of their registration agents. Finally, once a registration agent of a 3PVRO receives
      a completed voter registration application, under HB 1355, he or she has 48 hours to deliver
      it to the Florida Division of Elections or the appropriate county Supervisor of Elections; these
      Supervisors, one per county for each of Florida’s 67 counties, are elected, constitutional oﬃcers
      of the state of Florida.”




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    39      The Division of Elections FVRS database contains information on how each indi-
vidual in Florida registered to vote or updated his or her voter registration. This information
is not made available to the public. On August 26, 2021, I received from counsel a data ﬁle
(“PRR_NAACP_VoterDetail.txt”) produced in discovery from the Division of Elections that
includes a column maintained in the FVRS that contains the source of each registered voter’s
method of registration.



    40      As shown in Table 1, 5 percent of the 15,160,576 voters registered in Florida,
some 763,240 individuals, registered to vote with a 3PVRO.13 This total is an undercount
of voters who initially registered with 3PVROs. The FVRS data provided in discovery
by the Division of Elections appears to be the most recent method of of an individual’s
registration, meaning that voters who registered with a 3PVRO who subsequently updated
their registration online or at the DMV, say, would not be reﬂected in the 763,240 ﬁgure.




      13
        I found no documentation from the Division of Elections as to what date the FVRS data
      was generated by the Division of Elections, but judging by the total number of registrants, it
      appears to be from mid-2021. There are roughly 2.6 million individuals, or 17.2 percent of the
      more than 15 million registrants in the state, that do not have a source of registration listed
      in the FVRS ﬁle provided by the Division of Elections.


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                     Table 1: Statewide Sources of Voter Registration
                      (Raw Counts and Percentage of Each Group)

                    Source of Registration                      Count
                    Disability Agencies and CILs                20,325
                    Armed Forces Recruitment Oﬃces               1,844
                    DMV                                      5,855,333
                    Libraries                                   87,041
                    Mail                                     2,015,312
                    Not Listed                               2,604,341
                    Online Voter Registration                1,556,352
                    Other Means                              2,190,018
                    Public Assistance Agencies                  66,770
                    Third Party Registration Organization      763,240
                                                               Percent
                    Disability Agencies and CILs                  0.13
                    Armed Forces Recruitment Oﬃces                0.01
                    DMV                                          38.62
                    Libraries                                     0.57
                    Mail                                         13.29
                    Not Listed                                   17.18
                    Online Voter Registration                    10.27
                    Other Means                                  14.45
                    Public Assistance Agencies                    0.44
                    Third Party Registration Organization         5.03

 Note: Data from Florida Division of Elections, LWV RPF, “PRR_NAACP_2021.zip”,
“PRR_NAACP_VoterDetail.txt” (820,507KB) (last accessed August 23, 2021). For space
considerations, “Agencies serving persons with disabilities and Centers for Independent Liv-
ing” is labeled “Disability Agencies and CILs”.




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    41      Indeed, the undercount of individuals who have registered with 3PVROs is easily
conﬁrmed by comparing the individual-level data in the FVRS with aggregate totals for each
method of registration that the Division of Election regularly posts online.14 For example,
from January 2018 through December 2020, according to the data posted on website of the
Division of Elections, 219,533 individuals registered with 3PVROs in Florida, accounting for
8.0 percent of all registered voters.The FVRS data provided by the Division of Elections in
discovery indicates that there are 197,850 individuals who are ﬂagged as having a 3PVRO
as the source of their voter registration, some 21,683 fewer (or roughly 10 percent) than the
aggregate statistics reported on Division of Elections website. It is not surprising to me that
the percentage of new registrants in Florida from 2018-2020, according to the Division of
Elections aggregate totals, is 3 percentage points higher than the percentage of registrants
in the FVRS data provided by the Division of Elections in discovery. It is quite likely that
some individuals who initially registered with 3PVROs, say in 2018, are no longer registered
in Florida as of mid-2021, and as such, would not be found in the FVRS data from mid-2021.
Some individuals who initially registered with 3PVROs likely updated their registration by
another method, and as such, would not be found in the FVRS data from mid-2021. And
millions of Florida registrants who registered to vote prior to 2005, before the state started to
record 3PVROs as a distinct method of registering to vote in the state, would not be listed as
registering with a 3PVRO in the FVRS data from mid-2021, even if they actually did initially
register with, say, a nonproﬁt group or a political party.15 In short, 3PVROs continue to
play a vital role in registering voters in the state, even with the likely under-reporting of

      14
         See Florida Division of Elections, “Archived Monthly Reports,” available at
      https://dos.myflorida.com/elections/data-statistics/voter-registration-
      statistics/voter-registration-reportsxlsx/ (last accessed August 22, 2021).
      15
         See 2021 Florida Statutes, Title IX “ELECTORS AND ELECTIONS,” Chapter 97 “QUAL-
      IFICATION AND REGISTRATION OF ELECTORS,” 97.0575“Third-party voter registra-
      tions,” available http://www.leg.state.fl.us/statutes/index.cfm?App_mode=Display_
      Statute&URL=0000-0099/0097/Sections/0097.0575.html (last accessed August 28, 2021).




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initial source of registration in the Division of Election FVRS statewide data.



    42      Despite the undercount of 3PVROs, Table 1 reveals clearly that hundreds of
thousands of individuals currently registered in Florida relied on 3PVROs when registering
to vote. Indeed, more than 750,000 eligible citizens currently registered in Florida did so
with 3PVROs—more than the total number of registered voters in seven states (WY, VT,
SD, ND, AK, MT, and DE). In Florida, 3PVROs are essential players in the registration of
voters in Florida.



    43      Why do 3PVROs play such an essential role in registering voters in Florida?
Even during the COVID-19 pandemic, which has curtailed many 3PVROs’ registration ef-
forts on the ground, 3PVROs continued to register voters. As the October book closing
date for the 2020 General Election neared, for example, 3PVRO registrations picked up,
topping 6,000 new registrations in September and 7,000 in October 2020. Despite health
concerns and social distancing guidelines in place during the pandemic, tens of thousands of
Floridians relied on 3PVROs when registering to vote ahead of the state’s 29 day registration
deadline before Election Day. To be clear, the drop in the overall number of 3PVRO voter
registrations in 2020 (and the ﬁrst four months of 2021) should not be mistaken as evidence
that individuals are no longer interested in registering to vote with groups on the ground
conducting registration drives.16 Quite the contrary: eligible citizens wanting to register to
vote in 2020 continue to rely on 3PVROs to register to vote. Many do not have alternatives:
they may not possess a valid driver’s licence, so they are unable to register online; others

      16
        In the Spring of 2020, due to the COVID-19 pandemic, many 3PVROs ceased ground opera-
      tions to register new voters. See “Voter Registration In Florida Plunged Amid the Coronavirus
      Pandemic,” PBS Frontline, June 11, 2020, available https://www.pbs.org/wgbh/frontline/
      article/coronavirus-voter-registration-florida/ (last accessed July 31, 2021).




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may not have ready access to the Internet, so cannot register online;17 others may have
no need for nor be able to aﬀord a driver’s license.18 Nonproﬁts, advocacy groups on the
ideological right and left of the political spectrum, high schools, colleges and universities,
political parties—organizations of all stripes and colors—who are registered with the state as
3PVROs, provide a convenient—and free—alternative for thousands of individuals in Florida
who are eligible, but not yet registered, to vote.



    44      Furthermore, other methods to register to vote are not always reliable in Florida.
In particular, the Division of Elections online voter registration system has a history of
malfunctioning, particularly as the registration deadline before general elections approaches.
Indeed, ever since since the Division of Elections online voter registration system ﬁnally
went live on October 1, 2017,19 , the state’s online registration system has been plagued with
problems. The state’s online voter registration system has crashed at least ﬁve times since
2017. Most recently, the online voter registration portal crashed on the ﬁnal day before the
state’s book closing in October 2020.20

      17
         According to data from the 2019 American Community Survey, 13.1 percent of Black
      households and 10.3 percent of Hispanic households in Florida do not subscribe to broad-
      band internet, and 9.1 percent of Black households and 6.1 percent of Hispanic house-
      holds do not have a computer. See US Census Bureau, 2019: ACS 5-Year Estimates
      Detailed Tables, “TYPES OF COMPUTERS AND INTERNET SUBSCRIPTIONS,” Table
      S2801, available https://data.census.gov/cedsci/table?q=B08201&g=0400000US12&tid=
      ACSDT5Y2019.B08201 (last accessed August 27, 2020).
      18
         According to data from the 2019 American Community Survey, nearly half-a-million
      of Florida households, or 6.3 percent, have no vehicles available. See US Census Bu-
      reau, 2019: ACS 5-Year Estimates Detailed Tables, “HOUSEHOLD SIZE BY VEHICLES
      AVAILABLE” Table B08201, available https://data.census.gov/cedsci/table?q=B08201&
      g=0400000US12&tid=ACSDT5Y2019.B08201 (last accessed August 27, 2020).
      19
         See “Florida Department of State Announces Upcoming Launch of New Online Voter
      Registration Website – RegisterToVoteFlorida.gov – on Sunday, October 1,” Florida
      Department of State, https://dos.myflorida.com/communications/press-releases/
      2017/florida-department-of-state-announces-upcoming-launch-of-new-online-
      voter-registration-website-registertovotefloridagov-on-sunday-october-1/ (last
      accessed July 5, 2021).
      20
         See “On day of deadline, Florida voter registration site crashes, is down for hours,”
      Tallahassee Democrat, October 5, 2020, available https://www.tallahassee.com/story/


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VI.I       Method of registration by racial and ethnic groups


    45       The individual-level data provided by the Division of Elections details the type
of registration for the more than 15 million registered voters in the FVRS at the time the
snapshot was generated by the Division of Elections.21 Since registered voters regularly
update their voter registrations using diﬀerent methods (online and at the DMV, primarily)
after they initially registered through 3PVROs, the counts and percentages of individuals,
broken down by their race and ethnicity, likely underestimates those who initially registered
with 3PVROs. The only way to verify this supposition, though, is if the Division of Elections
supplied additional snapshots from earlier iterations of the FVRS database, which could then
be used to determine if voters who updated their registration relied on diﬀerent methods.
At this time, I have not received earlier snapshots of the FVRS with the ﬁeld, “Registration
Source.”



    46       According to Table 2, of the 15,160,576 voters registered in Florida at the time
the Division of Elections took a snapshot of the FVRS, 10.9 percent of the nearly 2.05 million
Black registered voters—a total of 222,381 Black registered voters—relied on 3PVROs when
they joined Florida’s voter rolls. Among the state’s nearly 2.65 million Hispanic registered
voters, 9.6 percent (253,370) relied on a 3PVRO when registering to vote in Florida. Not
only are the rates of Black and Hispanic individuals who registered with 3PVROs more than
5 times the rate of white individuals who relied on 3PVROs, the total counts of Black and
Hispanic individuals who registered with 3PVROs are each larger than the total number

       news/local/state/2020/10/05/florida-election-register-to-vote-registration-
       web-site-crash-crashed-deadline-secretary-of-state/3631938001/ (last accessed
       July 5, 2021).
       21
          The Division of Elections FVRS data ﬁle, “PRR_NAACP_VoterDetail”, includes no source
       of voter registration for 2,604,341 individuals registered to vote in Florida.




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of white registrants who registered with 3PVROs. When it comes to registering persons of
color in Florida, 3PVROs play an out-sized role in getting eligible citizens on the rolls.

         Table 2: Statewide Sources of Voter Registration, by Race and Ethnicity
                      (Raw Counts and Percentage of Each Group)

     Count                                   Black Hispanic Other     White
     Disability Agencies and CILs            1,807      834  1,091    16,593
     Armed Forces Recruitment Oﬃces            224      225    420       975
     DMV                                   647,062 845,689 242,468 4,120,114
     Libraries                              12,684   14,622  9,643    50,092
     Mail                                  241,693 396,418 187,241 1,189,960
     Not Listed                            382,399 379,777 169,894 1,672,271
     Online Voter Registration             161,910 371,756 226,300   796,386
     Other Means                           360,874 368,711 226,078 1,234,355
     Public Assistance Agencies             17,570   15,719  6,088    27,393
     Third Party Registration Organization 222,381 253,370 113,873   173,616
     Percent                                 Black Hispanic Other     White
     Disability Agencies and CILs             0.09     0.03   0.09      0.18
     Armed Forces Recruitment Oﬃces           0.01     0.01   0.04      0.01
     DMV                                     31.59    31.95  20.49     44.39
     Libraries                                0.62     0.55   0.82      0.54
     Mail                                    11.80    14.98  15.83     12.82
     Not Listed                              18.67    14.35  14.36     18.02
     Online Voter Registration                7.90    14.04  19.13      8.58
     Other Means                             17.62    13.93  19.11     13.30
     Public Assistance Agencies               0.86     0.59   0.51      0.30
     Third Party Registration Organization   10.86     9.57   9.63      1.87

 Note: Data from Florida Division of Elections, LWV RPF, “PRR_NAACP_2021.zip”,
“PRR_NAACP_VoterDetail.txt” (820,507KB) (last accessed August 23, 2021). For space
considerations, “Agencies serving persons with disabilities and Centers for Independent Liv-
ing” is labeled “Disability Agencies and CILs”.




    47     Registering to vote with a 3PVRO is one of nine permissible methods to register
in Florida. Black and Hispanic registered voters, according to the data provided by the
Division of Elections, are roughly 30 percent less likely to register to vote at the DMV than
white voters. Black registrants are also less likely than white voters to register through the

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state’s online registration system. In addition, both Black and Hispanic registrants are more
likely than white registrants to have registered by “Other Means.” 22 Overall, roughly one in
10 Black and Hispanic individuals currently registered in Florida did so with the assistance
of a 3PVRO; in contrast, fewer than one in 50 white individuals currently registered in
Florida did so with the assistance of a 3PVRO. It is clear that SB 90’s voter registration
disclaimer requirement and delivery restrictions placed on 3PVROs will directly impact the
opportunities of thousands of eligible citizens in Florida wanting to register to vote, and that
it will disproportionately aﬀect persons of color.



VI.II     3PVRO Registrations by Race/Ethnicity across Counties


    48      Finally, it is important to note that 3PVROs in Florida are much more active in
certain counties. As such, their importance with regard to registering voters is heightened
in these jurisdictions. Of the 763,240 individuals in Florida who relied on a 3PVRO when
registering to vote, it is clear that 3PVROs have concentrated their eﬀorts registering voters
in counties with large populations of eligible citizens, which also are more likely to have
larger concentrations of persons of color. Indeed, just 16 counties account for 88.0 percent
(672,024) of the 763,240 individuals statewide who are recorded by the Division of Elections
as having registered with a 3PVRO. For these 16 counties, Table 3 provides the overall count
of voters who registered with a 3PVRO along with the percent of 3PVRO registrants out of
all registered voters in the county.



    49      For each of these 16 counties, Table 4 provides (top of the table) the percentage of
registered voters, broken down by their race and ethnicity, who were registered by a 3PVRO

      22
         The documentation provided by the Division of Elections as part of discovery does not provide
      a deﬁnition of “Other Means.”


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 Table 3: Count of 3PVRO Registrations and Percent of 3PVRO Registrations out of all
                             Registrations, by County
                    County           Count    % Registered by 3PVROs
                    Miami-Dade 166,080                           10.4
                    Orange          81,969                        8.9
                    Broward         75,839                        5.8
                    Hillsborough 59,379                           6.0
                    Duval           45,812                        6.6
                    Palm Beach      40,504                        3.9
                    Osceola         38,900                       14.7
                    Volusia         27,034                        6.3
                    Pinellas        26,427                        3.6
                    Seminole        24,908                        7.2
                    Polk            22,025                        4.5
                    Leon            21,773                        9.6
                    Pasco           14,825                        3.6
                    Brevard         14,497                        3.0
                    Alachua         13,717                        6.9
                    Escambia        10,681                        4.4
Note: Data calculated from Division of Elections production, “PRR_NAACP_VoterDetail.”

in each county, and (bottom of the table) the percent of all registered voters in each county,
broken down by their race and ethnicity. A quick perusal of the table reveals that in every
one but one (Osceola) of these 16 counties, the percentage registered voters in a county who
relied on a 3PVRO to register them and who are Black is higher than the overall percentage
of registered voters in the county who are Black individuals. In some of these counties,
the percentage of registered voters who were assisted by 3PVROs to register and who are
Black individuals outpace the overall registration rate of Black voters in a county by two
or three times. In Broward County, for example, nearly 45 percent of those registered by
3PVROs are Black, yet fewer than 25 percent of registered voters in the county, overall,
are Black registrants. In Escambia County, nearly two-thirds of all 3PVRO registrants are
Black individuals, whereas fewer than one-in-ﬁve registered voters in the county are Black
registrants. Similar patterns exist for 3PVRO registrants who are Hispanic, where they
outpace the percentage compared to the overall registration rate, with few exceptions. In
not a single county does the rate of 3PVRO registrants who are white come even close to
matching the overall registration rate of white registrants in the county.


                                             34
                                  Table 4: Racial/Ethnic Percent of 3PVRO Registrants (top)
                                         and Overall Registrants (bottom), by County
                                                                                                                                      Case




      3PVROs
               ALA     BRE     BRO     DAD     DUV      ESC     HIL    LEO     ORA OSC PAL PAS PIN POL                SEM     VOL
      Black    32.76   19.12   44.85   23.87   59.37   64.19   34.62   55.35   25.01 6.30 26.93 7.64 27.21 19.93      19.31   21.41
      Hispanic 9.86     9.48   21.69   57.57    4.68    1.68   27.37    6.56   47.61 81.79 22.76 14.08 7.67 44.48     28.14   24.65
      Other    21.76   14.22   16.95   13.74   16.36   15.91   14.53   13.05   12.62 5.95 25.55 13.12 16.88 12.25     19.41   12.74
      White    35.61   57.17   16.52    4.82   19.60   18.23   23.48   25.04   14.76 5.97 24.77 65.16 48.23 23.35     33.13   41.20
      Overall
                ALA BRE BRO DAD DUV ESC HIL LEO ORA OSC PAL PAS                                        PIN    POL     SEM VOL
      Black     16.89 8.65 24.67 16.33 28.32 19.56 16.18 28.78 17.58 9.17 14.28 5.62                   8.63   12.95   10.55 9.00
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      Hispanic 7.78 6.72 22.81 58.41 5.85 2.58 18.58 4.54 25.59 48.94 12.86 11.11                      5.66   18.50   15.94 9.99
      Other     10.40 6.28 10.87 8.04 9.22 7.70 9.60 7.84 12.25 8.34 9.04 6.87                         7.45    6.72   11.02 5.95
      White     64.93 78.34 41.65 17.22 56.61 70.16 55.65 58.84 44.59 33.54 63.82 76.39               78.26   61.82   62.49 75.06
     Note: Data calculated from Division of Elections production, “PRR_NAACP_VoterDetail.”
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VI.III     Summary: SB 90 regulates the registration eﬀorts of
           3PVROs, disproportionately burdening eligible persons of
           color


    50     It is clear from the foregoing analyses that Black and Hispanic eligible citizens
are roughly 5 times more reliant on 3PVROs than white eligible citizens when registering to
vote in Florida. Over 222,381 Black registered voters and over 253,000 Hispanic registered
voters relied on a 3PVRO when they joined Florida’s voter rolls. My analysis of over 15
million individual-level records in the FVRS database, as provided by the Florida Division
of Elections, shows that all eligible citizens in Florida, but most notably Black and Hispanic
eligible citizens, rely on 3PVROs to register to vote. My ﬁndings that persons of color are ﬁve
times more likely to rely on 3PVROs when registering to vote than white individuals comport
with more general studies of voter registration methods (Merivaki 2021, 2019; Merivaki
& Smith 2019; Leighley & Nagler 2013) that ﬁnd that racial and ethnic minorities are
more likely to utilize third-party organizations when registering. There is no question that
3PVROs play an out-sized role in registering eligible people of color to vote in Florida, and
in my opinion, SB 90’s restrictions on their activities will lead to a decline in opportunities
for Black and Hispanic individuals to register to vote, particularly in the state’s most urban
and racially and ethnically diverse counties.




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VII        SB 90’s Vote-By-Mail Application Restrictions bur-
           den registered voters in Florida, and particularly
           voters of color, requiring a voter provide a valid
           driver’s license, state ID, or Social Security num-
           ber that is an exact match with the ID in the FVRS
           in order to request a VBM ballot.

  51        SB 90 restricts VBM ballot requests. According to Section 24 of SB 90:


      The supervisor may accept a written, an in-person, or a telephonic request for a
      vote-by-mail ballot to be mailed to an elector’s address on ﬁle in the Florida Voter
      Registration System from the elector, or, if directly instructed by the elector, a
      member of the elector’s immediate family, or the elector’s legal guardian. If an
      in-person or a telephonic request is made, the elector must provide the elector’s
      Florida driver license number, the elector’s Florida identiﬁcation card number,
      or the last four digits of the elector’s social security number, whichever may be
      veriﬁed in the supervisor’s records. If the ballot is requested to be mailed to an
      address other than the elector’s address on ﬁle in the Florida Voter Registration
      System, the request must be made in writing. A written request must be signed
      by the elector and include the elector’s Florida driver license number, the elector’s
      Florida identiﬁcation card number, or the last four digits of the elector’s social
      security number.23

      23
        See “Enrolled CS for CS for CS for SB 90,” 2nd Engrossed, Section 24. Available https:
      //www.flsenate.gov/Session/Bill/2021/90/BillText/er/PDF (last accessed August 10,
      2020).




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VII.I    Rise of VBM ballots cast by voters of color in the 2020 Gen-
         eral Election


   52      Before examining the burdens SB 90 places on voters, particularly voters of color,
to request and (as I turn to in the following section) return VBM ballots, it is important to
ﬁrst provide some context about the dramatic increase in the use of VBM ballots in Florida.
Simply put, in Florida’s 2020 General Election there was an explosion in the use of VBM
ballots, particularly among Black and Hispanic voters. There are various ways to assess the
dramatic rise in the demand in the use of VBM ballots (Cottrell, Herron & Smith 2020).



   53      Table 5, which draws on the individual-level voting records of the more than 15
million registrants in the state as of January 2021, oﬀers the raw counts and the percentages
within each racial/ethnic group for the method of votes cast in the 2020 and 2016 general
elections among those voters who remained registered in the state in January 2021.



   54      The jump in the use of VBM ballots among voters—particularly Black and His-
panic voters—is striking. Among voters who were registered and who could participate in
both the 2016 and 2020 general elections, and who remained registered in January 2021, the
use of VBM ballots more than doubled. Among this set of Black voters, there was a net
increase of more than 329,000 Black voters who cast valid VBM ballots, from 220,308 to
549,379 mail ballots. That is, among Black voters who remained registered in January 2021,
fewer than one-in-ﬁve cast a mail ballot in the 2016 election; in the 2020 General Election,
nearly 40 percent of Black voters who remained registered in January 2021 cast mail ballots.
The raw numbers and percent of VBM ballots cast across the two elections among Hispanic
voters registered in January 2021 are similarly striking. The number of VBM ballots cast
by this set of Hispanic voters who were registered in January 2021 also more than doubled

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from 2016 to 2020, from 352,120 valid VBM ballots cast to 738,948 valid VBM ballots cast
four years later.


Table 5: Method of Ballot Cast in 2020 and 2016 General Elections for Voters Registered
  as of January 2021, by Race/Ethnicity (Raw Counts and Percentage of Each Group)
              Count                      Black     Hispanic   Other       White
              2020 General   Election
              A                         549,379     738,948 380,036 3,177,597
              B                           2,029       3,064   1,733     7,195
              E                         620,512     759,605 300,294 265,0850
              P                             907       1,381   1,188     3,320
              Y                         208,501     299,337 130,757 1,303,806
              2016 General   Election
              A                         220,308     352,120 130,798 1,715,270
              B                           3,522       5,405   2,009    10,143
              E                         606,668     620,106 216,638 2,242,326
              P                             630         947     515     1,936
              Y                         319,445     390,297 157,303 1,930,890
              Percent                     Black    Hispanic  Other     White
              2020 General   Election
              A                           39.77       41.00    46.69       44.49
              B                            0.15        0.17     0.21        0.10
              E                           44.92       42.15    36.89       37.11
              P                            0.07        0.08     0.15        0.05
              Y                           15.09       16.61    16.06       18.25
              2016 General   Election
              A                           19.15       25.72    25.79       29.07
              B                            0.31        0.39     0.40        0.17
              E                           52.73       45.30    42.71       38.00
              P                            0.05        0.07     0.10        0.03
              Y                           27.76       28.51    31.01       32.72
 Note: Data calculated from the January 2021 statewide voter ﬁle and vote history ﬁle. The
following codes indicate: A, Voted by Mail; B, Vote-by-Mail Ballot Not Counted; E, Voted
Early; P, Provisional Ballot Not Counted; Y, Voted at Polls




VII.II     Scholarship on who possesses a valid ID


    55      Given what scholars have shown about who possesses and has access to a valid
photo ID in other states, in my opinion SB 90 will likely have a disparate impact on registered
voters of color who want to vote by mail. Scholars have documented that not all individuals—

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and particularly persons of color—possess IDs that under SB 90 are necessary to request (or
have someone else request) a VBM ballot be mailed to them. Leveraging voter ﬁle data
to survey over registered voters across four states (Wisconsin, Indiana, Pennsylvania, and
Texas), as well as drawing on two nationally representative surveys, Barreto et al. (2019, p.
242) ﬁnd that white registered voters “were statistically more likely to possess a valid form
of ID than other racial groups,” given the laws in each state at the time a state’s ID laws
were in place.



    56     Similarly, in their study of voter ID possession in Georgia, Hood & Bullock
(2012, p. 399) report that the Georgia Department of Motor Vehicles (DMV) in 2007 “cross-
referenced its database with the voter registration database maintained by the Secretary
of State” and found that “289,622 Georgia registrants had neither a valid driver’s license
nor state ID card.” In another study conducted by Professor Hood in litigation in South
Carolina, he reported that roughly 4 percent of non-Hispanic whites, 6 percent of Black, and
7 percent of Hispanic registered voters on the state’s active voter list lacked an acceptable
ID to vote(Stewart III 2013, p. 25). And in a nationwide study surveying 10,200 registered
voters in 2012, Stewart III (2013) ﬁnds that 9 percent of respondents did not possess a
driver’s license, and that only 30 percent of those without a driver’s license (or a passport)
had an ID card issued by a state agency. Stewart III (2013, p. 41) reports that while 93
percent of surveyed registered voters reported possessing a driver’s license, only 90 percent
of Hispanics reported possessing a driver’s license and only 79 percent of Black respondents
reported possessing a driver’s license.



    57     Not only does SB 90 burden registered voters who do not possess, or do not have
access to, a valid driver’s license, state ID, or their Social Security number, to say nothing


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of not having an ID on ﬁle with their SOE, many registered voters may also not recall what
form of ID (if any) they used to register to vote. Furthermore, many voters may think they
have a valid ID on record, but in fact do not.



    58     Leveraging the publicly available Florida voter ﬁle, for example, scholars have
documented considerable discrepancies with public records maintained in Florida’s statewide
voter registration system, which could lead to a mismatch with the identiﬁcation provided
by registered voters (or those requesting a VBM ballot on behalf of a registered voter) and
the information on ﬁle, when a voter requests a VBM ballot. Valid information provided
by a legally registered voter may not match the data on ﬁle with the SOE. In a 2020 study,
Shino et al. (2020) conducted a phone survey to investigate the reliability of Florida’s voter
registration ﬁles. Of the 402 respondents, nearly 18 percent “failed to verify at least one of
their name, address, birth date, sex, or race” (Shino et al. 2020, p. 678). These errors are
likely due to coverage error, measurement error, or processing error. There is no reason why
these discrepancies might not also extend to the form of identiﬁcation on ﬁle with an SOE
that may or may not be correct or current.



    59     Finally, it is apparent that registered voters who desire to request a VBM ballot
under SB 90 may be deterred from doing so because of the way some SOEs are interpreting
the language of the legislation. Under SB 90, when requesting a VBM ballot, “the elector
must provide the elector’s Florida driver license number, the elector’s Florida identiﬁcation
card number, or the last four digits of the elector’s social security number, whichever may be
veriﬁed in the supervisor’s records.” A voter may, for example, provide the last four digits
of her valid Social Security number when requesting a VBM ballot, only to have the SOE
not be able to verify this information because the voter initially registered with her driver’s


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license number. As a result, some SOEs are requiring that voters provide both a driver’s
license/state ID and the last four digits of their Social Security number. As Figure 2 shows,
as of August 6, the Palm Beach SOE was requiring registered voters to provide both a “FL
Driver License or ID Number” and the “Last 4 digits of SSN” in order to request a VBM
ballot, stating at the bottom of the form (noted in ﬁne print preceded with two red asterisks)
that, “This information is required by law for veriﬁcation purposes as of May 6, 2021.” At
a minimum, this interpretation of SB 90 by the Palm Beach SOE has likely dissuaded some
registered voters from requesting a VBM ballot to vote in future elections.

             Figure 2: Palm Beach County Vote-by-Mail Ballot Request Form




Note: Downloaded from the Palm Beach Supervisor of Elections website, available
https: // www. pbcelections. org/ Voters/ Vote-By-Mail (last accessed August 6,
2021).




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    60      In my opinion, it is likely that SB 90 will lead some registered voters to demur
when asked to provide their driver’s license/state ID or their Social Security number when
applying for a VBM ballot, or apparently both, as in the case in Palm Beach County. To
be sure, not all legally registered voters in Florida possess both a valid driver’s license/state
ID or a Social Security number, considering that neither form of ID is required when they
register to vote in Florida.24 For the likely millions of legally registered voters in Florida
who do not have a valid driver’s license/state ID or Social Security number on ﬁle with the
Division of Elections, it will be impossible for them to obtain a VBM ballot under SB 90.
And, such exact-match veriﬁcation will likely be a bureaucratic nightmare, as according to
the Division of Elections, the Secretary of State does not have direct access to verifying
either state driver’s licenses, state IDs, or Social Security numbers, but rather is “dependent
on DHSMV” 25 to validate new voter registration applications.



    61      It is also apparent that under SB 90, in my opinion, that even individuals who
do have a valid ID on ﬁle with the Division of Elections may very well be denied a VBM
ballot request. Imagine the following scenario. A registered voter requests a VBM ballot,
accurately providing her current, valid driver’s license number. But she registered ﬁve years
ago with the last four digits of her Social Security number, which is permissible. Her driver’s

      24
         See “Florida Voter Registration Application, Part 1 – Instructions (DS-DE 39, R1S-2.040,
      F.A.C.)(eﬀ. 10/2013),” which states: “Identiﬁcation (ID) Requirements: New applicants must
      provide a current and valid Florida driver’s license number (FL DL) or Florida identiﬁcation
      card number (FL ID). If you do not have a FL DL or FL ID, then you must provide the last four
      digits of your Social Security number (SSN). If you do not have any of these numbers,
      check ‘None.’ If you leave the ﬁeld and box blank, your new registration may be denied. See
      section 97.053(6), Fla.Stat.” Application downloaded from the Palm Beach Supervisor of Elec-
      tions website, available https://www.pbcelections.org/Portals/PalmBeach/Documents/
      ApplicationForms/dsde39-english-spanish.pdf (last accessed August 6, 2021), bold
      added for emphasis.
      25
         See Maria I. Matthews’ email to Pierce W. Schuessler and Jennifer L. Kennedy, April 16,
      2021, “RE: question about social security number validation,” in response to NAACP, et al.’s
      RFP.



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license number—current and valid—will not be on ﬁle with the SOE; as such, her valid Florda
driver’s license, which she can use to vote in person (early or on Election Day) is somehow
insuﬃcient to merely request a VBM ballot due to SB 90’s exact-mactch requirement. Under
the law, her VBM application would have to be rejected by the SOE, even though she has a
valid, current, acceptable ID on ﬁle (the last four digits of her Social Security number). As
such, the following analyses that I oﬀer on the impact of Florida’s exact-match requirement
are conservative, as potentially millions of registered voters in Florida with a valid ID to vote
will fail to exactly match the equally valid data on record for those voters in the FVRS. As
such, in my opinion, SB 90 burdens not only individuals without any identiﬁcation number
on ﬁle with the Division of Elections, but those who do have an ID on ﬁle, but who provide
other valid and acceptable IDs that are not an exact match, causing their VBM application
to be rejected by SOEs.



VII.III     SB 90’s voter ID exact-match requirements to request VBM
            ballots burdens voters, particularly voters of color


    62      SB 90 requires all registered voters, as well as those making a request for a regis-
tered voter, to provide a valid Florida driver’s license number, a valid Florida identiﬁcation
number (state ID), or the last four digits of their (and the requestor’s) Social Security number
when requesting a VBM ballot. Voters (or those requesting VBM ballots for other voters)
will not be able to obtain a VBM ballot unless the information provided with a VBM request
exactly matches information in the FVRS. Prior to SB 90, any registered voter could sign
up to vote by mail, and voters were permitted to request VBM ballots online, in person, or
by phone, fax, mail or email, without having to provide the aforementioned information.




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    63      What is the likely impact on registered voters in Florida who need to provide a
valid driver’s license/state ID or a Social Security number that is an exact mach with data
in the FVRS in order to request a VBM ballot, and which groups of voters are more likely
to bear the burdens of SB 90?



VII.IV       Registered voters who lack a driver’s license or Social Se-
             curity number on ﬁle in the FVRS


    64      According to an internal report generated by the Division of Elections, in an
Excel ﬁle the Division of Elections identiﬁed a total of 681,481 registered voters who ei-
ther lacked a driver’s license or Social Security number on ﬁle in the FVRS, or who had
an incomplete driver’s license or Social Security number on ﬁle in the FVRS.26 The Florida

Division of Election Excel ﬁle, “VoterDataCK-20200219.xlsx”, is associated with an email
chain, started with a message from Maria I. Matthews on the morning of February 4, 2021,
to Janet Modrow, stating, “I am pretty sure you have run most these numbers before but we
need the total number of registers voters (active, inactive) that have Only DL, only SSN9,
only ssn4, DL & ssn9, DL & ssn4, no Dl or ssn, incomplete DL or ssn (eg dl begins w number
instead of letter) for those latter can you pull list of names. Thanks.” 27 A little after 4PM
on February 4, 2020, Ms. Modrow sent an email back to Ms. Matthews with several Excel
ﬁles (“VoterDataCK_DL_StartsWithNumber”, “VoterDataCK_DLnot13.xlsx”, and “Voter-
DataCK_SSN4”) with individual-level registered voters, a summary ﬁle (“VoterDataCK-
20200204.xlsx”), and a screenshot (that appears to be partially redacted) with a summary

      26
         An incomplete driver’s license, including just missing the leading letter, or a Social Security
      number without the ﬁnal four digits, on ﬁle in the FVRS would mean that an SOE would not
      be able to match a voter’s identiﬁcation when applying for a VBM ballot.
      27
         See NAACP, et al.’s RFP, email chain, Janet Modrow and Maria I. Matthews, June 7, 2021,
      NAACP, et al.’s RFP, “RE: Stats - DL/SSN.msg.




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of the four categories of registered voters pertaining to Ms. Matthews’ request.28



    65      The Excel ﬁle, “VoterDataCK-20200204.xlsx”, provides a summary of the IDs
the state’s 15.2 million registered voters have on ﬁle in the FVRS. For example, 625,816
registered voters have on ﬁle both a driver’s licence and a Social Security number with all 9
digits. Nearly 1.4 million registered voters have on ﬁle a driver’s licence with all 13 digits;
another 1 million have the last four digits of their Social Security number, and so on.



    66      The Excel ﬁle, “VoterDataCK-20200204.xlsx”, also provides the raw count of the
number of registered voters—681,481—who have “No” valid ID or an “Invalid” ID on ﬁle in
the FVRS. Under SB 90, these 681,481 registered voters would not be able to request a VBM
ballot. These registered voters with no ID or an invalid ID comprise roughly 4.5 percent
of the roughly 15.2 million registered voters in the FVRS at the time the report was likely
generated. According to the Division of Elections email chain, the 681,481 registered voters
were out of all “registered voters (active, inactive) that have Only DL, only SSN9, only ssn4,
DL and ssn9, DL and ssn4, no Dl or ssn, incomplete DL or ssn (eg dl begins w number
instead of letter).” 29 Of the 681,481 registered voters identiﬁed with the code “X-ERR” by

the Division of Elections, 658,608 (96.6 percent) were “active” voters.

      28
        Ibid.
      29
        Ibid. According to a tab “ErrorDetail” in “VoterDataCK-20200204.xlsx”, the registered voters
      with errors include records with “leading 0s”, “s9 trailing 0s”, “both ssn and ssn4 all zeroes”
      concerning the length of the Social Security number associated with the record; “all 0s” and
      “ssn trailing spaces” concerning Social Security numbers with four digits associated with the
      record; and “starts with a number” concerning the length of a driver’s license associated with
      the record.




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VII.V      Analysis of voter ID data provided by the Division of Elec-
           tions


    67      At this time, I do not have individual-level data for all 681,481 registered voters
associated with this email chain and summarized in Excel ﬁle “VoterDataCK-20200204.xlsx”.
Rather, included in the Secretary of State’s RFP, I was able to analyze the individual-level
data contained in three Excel ﬁles generated by Ms. Modrow. As shown in Figure 3, the
three Excel ﬁles—visible in the screenshot of the referenced email chain—appear to include
a total of 96,415 registered voters: 2,258 who do not have a letter starting the driver’s license
on ﬁle; 93,032 who have a driver’s license that is not 13 characters long; and 1,125 whose
the last four digits of the Social Security number are all zeros, respectively.30



    68      At this time, the Division of Elections has not produced individual-level data
that account for the remaining 585,066 registered voters who presumably have “no Dl or ssn”
or an “incomplete DL or ssn” on record, as logically deduced from the remaining categories
identiﬁed in the Division of Elections internal email chain.31 After the following three subsec-
tions, I return to the question of these registered voters with “no Dl or ssn” or an “incomplete
DL or ssn” on record. For the other three Excel ﬁles that were produced, I am able to join
each of the datasets to a statewide voter ﬁle from January 2021 using unique voter IDs. It
appears that the three ﬁles were created by the Division of Elections in early February 2021,
so I join each of them with the January 2021 statewide voter ﬁle and the January 2021 Recap
ﬁle to obtain the race/ethnicity and disability status of each voter, respectively.

      30
         Ibid. See screenshot with summaries for “VoterDataCK_DL_StartsWithNumber.xlsx”, “Vo-
      terDataCK_DLnot13.xlsx”, and “VoterDataCK_SSN4.xlsx”, respectively. These counts match
      the counts in the three raw Excel ﬁles produced as part of the RFP.
      31
         See NAACP, et al.’s RFP, email chain, Janet Modrow and Maria I. Matthews, June 7, 2021,
      NAACP, et al.’s RFP, “RE: Stats - DL/SSN.msg.




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 Figure 3: Snapshot of “Stats - DL/SSN” Email, Files Generated by Division of Elections




Note: Screenshot of NAACP, et al.’s RFP, email chain, Janet Modrow and Maria I.
Matthews, June 7, 2021, NAACP, et al.’s RFP, “RE: Stats - DL/SSN” April 19, 2021.



VII.V.1    Registered voters who do not have on ﬁle a driver’s license starting
           with a letter


   69      Of the 2,258 registered voters identiﬁed by the Division of Elections who do
not have a letter starting their driver’s license on ﬁle, 262 (11.6 percent) are Black, 496
are Hispanic (22.0 percent), and 1,338 (59.3 percent) are white. When compared with the
overall registration rates broken down by race/ethnicity in the January 2021 statewide voter



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ﬁle, the percentage of Black registered voters is slightly under-represented (less than 13.5
overall), but the percentage of Hispanic registered voters is over-represented (above 17.4
percent overall) when it comes to voters who do not have a letter starting their driver’s
license on ﬁle.



    70      Table 6 shows the method of voting for the 1,798 individuals who cast a ballot
in the 2020 General Election, a turnout rate of 79.6 percent (which was nearly 6 percentage
points higher than the overall turnout of registered voters in the election). Some 41.5 percent
of Black voters and 53.2 percent of Hispanic voters who do not have a letter starting their
driver’s license on ﬁle, and who under SB 90 would not have been able to request (much less
vote) a VBM ballot, cast a valid mail ballot in the 2020 General Election. Both of these
rates are greater than the overall percentages of Black and Hispanic voters who cast VBM
ballots in the 2020 General Election, which, respectively, were slightly less than 40 percent,
and slightly less than 47 percent of all ballots cast. White voters, too, who did not have
a letter starting their driver’s license on ﬁle were also more likely to vote by mail than the
overall rate of white voters casting mail ballots (44.5 percent) in the 2020 General Election.




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 Table 6: Turnout of Voters whose Driver’s License Starts with a Number, by Method of
       Vote and by Race/Ethnicity (Raw Counts and Percentage of Each Group)

                  Vote Method          Black Hispanic Other White
                  VBM                     81      188    59   560
                  VBM (reject)             0        0     0     1
                  EIP                     86      150    41   373
                  Provisional (reject)     0        0     1     0
                  ED                      28       41    10   179
                  VBM                  41.54    49.60 53.15 50.31
                  VBM (reject)          0.00     0.00  0.00  0.09
                  EIP                  44.10    39.58 36.94 33.51
                  Provisional (Reject)  0.00     0.00  0.90  0.00
                  ED                   14.36    10.82  9.01 16.08
Note: Data from Florida Division of Elections, NAACP                       RPF,    “VoterDat-
aCK_DL_StartsWithNumber.xlsx” (last accessed August 8, 2021).

VII.V.2    Registered voters who have on ﬁle a Social Security number that ends
           in four zeros


    71     Of the registered voters ﬂagged by the Division of Elections who have invalid
Social Security numbers (the last four digits are all zeros), 176 are Black (15.6 percent), 215
(19.1 percent) are Hispanic, and 673 (59.8 percent) are White. Compared to the percentages
of voters registered in January 2021 broken down by race/ethnicity, both Black and Hispanic
registrants are over-represented and white voters are less likely not to have a Social Security
number with the last four digits as zeros in the FVRS. The dataset includes 41 registrants
in need of assistance when voting who have zeros as their last four digits, or 3.6 percent of
the total, above the 2.9 percent of voters needing assistance in the statewide voter ﬁle circa
January 2021.



    72     Table 7 shows the method of votes in the 2020 General Election, broken down
by race/ethnicity, of the 864 registered voters who turned out to vote, despite the Division
of Elections identifying them as having a Social Security number on ﬁle with the last four

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digits all zeros. Overall turnout of this group of voters was 76.8 percent, including over
400 voters who successfully cast VBM ballots, voters who would not have been permitted
to even request a VBM ballot under SB 90. These Black and Hispanic voters identiﬁed by
the Division of Elections were considerably more likely to cast VBM ballots than the overall
electorate in the 2020 General Election. Unlike the rest of the voters in the election, not
one of these voters who cast a VBM ballot, despite having four trailing zeros in their Social
Security number and who would have been unable to request a VBM ballot under SB 90,
had their VBM ballot rejected.

  Table 7: Turnout of Voters whose Social Security Number Ends with Four Zeros, by
  Method of Vote and by Race/Ethnicity (Raw Counts and Percentage of Each Group)

                     Vote Method Black Hispanic          Other    White
                     VBM            58       73             25      302
                     EIP            59       48             15      160
                     ED             18       15              6       85
                     VBM         42.96    53.68          54.35    55.21
                     EIP         43.70    35.29          32.61    29.25
                     ED          13.33    11.03          13.04    15.54
Note:  Data from Florida Division of Elections,                  NAACP      RPF,    “VoterDat-
aCK_SSN4.txt.xlsx” (last accessed August 8, 2021).




VII.V.3    Registered voters whose driver’s license is not 13 digits long


   73      Finally, the Division of Elections created an excel ﬁle with 93,032 registered voters
in the FVRS who have a driver’s license on record that is not 13 characters long. Of these
individuals, most of them have voter registration dates prior to the implementation of HAVA
in Florida in 2006. Compared to the percentages of voters registered statewide in January
2021 by race/ethnicity, Blacks and Hispanics are both slightly under-represented, as 9,907
Black registered voters (10.7 percent) and 15,552 Hispanic registered voters (16.7 percent)
make up this pool of voters whose driver’s licenses have too few digits. There are also 2,784

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registered voters who need assistance to vote, or 3.0 percent of the more than 93,000 voters
with a driver’s license on ﬁle that is not 13 digits long. Notwithstanding the problem facing
this group of voters, turnout was 77.9 percent in the 2020 General Election.



   74      Table 8 shows the method of voting in the November 2020 election, by
racial/ethnic groups, for the 72,430 registered voters who have a driver’s license on ﬁle
with the Division of Elections that is not 13 characters long.32 Nearly 78 percent of these
registered voters cast ballots in the 2020 General Election, including over 33,500 who suc-
cessfully cast a VBM ballot. These voters would not have been able to request a VBM ballot
under the exact-match requirement of SB 90, much less vote a valid ballot. Again, a higher
percentage of Black (42.0 percent) and Hispanic (43.2 percent) voters—who the Division of
Elections has identiﬁed as having an invalid driver’s license on ﬁle in the FVRS—cast a valid
mail ballot in the 2020 General Election as compared to the overall electorate.

  Table 8: Turnout of Voters whose Driver’s License is Not 13 Characters, by Method of
        Vote and by Race/Ethnicity (Raw Counts and Percentage of Each Group)

                   Vote Method          Black Hispanic            Other White
                   VBM                  3,047    4,751            1,714 24,021
                   VBM (reject)            11        8                5     26
                   EIP                  3,299    4,709            1,315 17,984
                   Provisional (reject)     0        1                1      1
                   ED                     900    1,537              530 8,570
                   VBM                  41.99    43.17            48.08 47.47
                   VBM (reject)          0.15     0.07             0.14   0.05
                   EIP                  45.46    42.79            36.89 35.54
                   Provisional (reject)  0.00     0.01             0.03   0.00
                   ED                   12.40    13.97            14.87 16.94
Note:  Data from Florida Division of Elections,                       NAACP        RPF,     “VoterDat-
aCK_DLnot13.xlsx” (last accessed August 8, 2021).


     32
      When joining the ﬁle with the statewide voter ﬁle, 15 of the 93,032 registrants could not be
     matched by their unique voter ID.


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VII.V.4     Registered voters who do not have on ﬁle a valid driver’s license, state
            ID, or Social Security number


    75      At this time, I have not obtained a comparable Excel ﬁle(s) with individual-level
data that comprise the remaining 585,066 registered voters who presumably have “no Dl or
ssn” or have an “incomplete DL or ssn” on record, as logically deduced from the remaining
categories identiﬁed in the Division of Elections internal email chain.33



    76      However, another production oﬀered by the Division of Elections in response to
a NAACP, et al.’s RFP included an email with a zip ﬁle, “20210609_RaceGenderAge.zip”.
The ﬁle was generated by the Division of Elections in response to a public records request
made in April, but was not produced until nearly two months later, in June.34 The zip ﬁle
attached to the responsive email, contains a “tab delimited text ﬁle” with “622,998 records.” 35
According to a draft response, quoting the public records request, the ﬁle contains, “"records
showing the total number of voters for whom there is no driver’s license number, state-issued
identiﬁcation card number, social security number, or last for [sic] digits of the social security
number contained within FVRS” detailing race or ethnicity, gender and age.” 36



    77      Unfortunately, although the ﬁle has individual-level data, it does not include the
unique voter IDs for the 622,998 registered voters, making my analysis of the data limited
to the cross-tabulations that can generated from the race/ethnicity data included in the

      33
         See NAACP, et al.’s RFP, email chain, Janet Modrow and Maria I. Matthews, June 7, 2021,
      NAACP, et al.’s RFP, “RE: Stats - DL/SSN.msg.
      34
         Email chain, Colleen E. O’Brien, Janet Modrow, Maria I Matthews, Margaret A. Swain,
      Lenard J. Randolph, Amber Marconnet, Brad McVay), June 9, 2021, NAACP, et al.’s RFP,
      “RE PRR 04-25 Stuart Naifeh 4-19-21” (last accessed August 8, 2021).
      35
         Ibid.
      36
         “Draft response to PRR 04-25, Stuart Naifeh, 4-19-21,” Email from Colleen E. O’Brien to
      Brad R. McVay, June 6, 2021.


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ﬁle.37 As such, I am unable to verify these data that purport to be the race, gender, and
age of individuals with “no driver’s license number, state-issued identiﬁcation card number,
social security number, or last for [sic] digits of the social security number contained within
FVRS,” as represented by the Divisions of Elections. Because the Division of Elections did
not include the unique voter IDs in this dataset, I am unable to join this ﬁle to a statewide
voter ﬁle for further analysis, to determine, for example, whether or not these individuals
are active or inactive voters, and more importantly, if they regularly vote by mail. Under
SB 90, it is my understanding that they would not be able to request a VBM ballot.



    78      According to the ﬁle, the registered voters who do not have on ﬁle in the FVRS a
driver’s license number, a state-issued identiﬁcation card number, or a Social Security number
(or the last four digits of a Social Security number) are disproportionately white. As Figure
4 shows, 80.6 percent of the total number of these registered voters without a valid ID on ﬁles
are white, not Hispanic, 12.4 percent are Black, not Hispanic, and 3.8 percent are Hispanic.
(It is interesting why the Division of Elections uses these categories, as they are not the
categories voters may self-report when they register to vote. See Florida Division of Elections,
“Florida Voter Registration Application,” DS-DE 39, R1S-2.040, F.A.C. (eﬀective July 2019),
available at https://dos.myflorida.com/media/693757/dsde39.pdf (last accessed July
15, 2021). In the end, the zip ﬁle, “20210609_RaceGenderAge.zip”, produced by the Division
of Elections in response to the April Public Records Request made in April, 2021, by Mr.
Naifeh, is of limited utility. As a result, because I am unable to link this ﬁle to the statewide

      37
        It is curious that the Division of Elections staﬀ, when discussing the public records request,
      made the determination not to include the voter ID numbers of the 622,998 registered voters
      whose “records without a DL and SSN (both ﬁelds are in the Voter table),” and also claimed
      that “DOB is a protected ﬁeld and therefore must be calculated from DOB in the Voter table,”
      as date of birth of registered voters in Florida is made readily available in monthly snapshots
      of the voter ﬁle by the Division of Elections. See Email chain, Colleen E. O’Brien and Janet
      Modrow, June 9, 2021, NAACP, et al.’s RFP, “RE PRR 04-25 Stuart Naifeh 4-19-21”.



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FVRS using unique voter IDs, I am unable to render an opinion on what these data mean
for disparate impact.
     Figure 4: Counts and Percentages of Registered Voters with no Driver’s License,
       State-Issued ID, or Social Security Number in the FVRS, by Race/Ethnicity




Note: Screenshot of an Excel spreadsheet pivot table generated from
20210609_RaceGenderAge.zip containing a tab deliminated ﬁle, produced by Division of
Elections, attached to email chain, Colleen E. O’Brien, Janet Modrow, Maria I Matthews,
Margaret A. Swain, Lenard J. Randolph, Amber Marconnet, Brad McVay), June 9, 2021,
NAACP, et al.’s RFP, “RE PRR 04-25 Stuart Naifeh 4-19-21”.




    79      An additional data ﬁle produced by the Division of Elections, however, contains a
tab delimited data ﬁle, “LitigationRR_NoDL-SSN_20210722.txt”. The ﬁle contains 587,207
individual-level records, complete with unique voter IDs. Though I have as of yet to ﬁnd
documentation about how, or why, of for whom this ﬁle was created, or the source and date
when the data were derived, the ﬁle appears to be a subset of the FVRS. Judging by the
name of the ﬁle, it is likely limited to registered voters with no driver’s license and no Social
Security number (“NoDL-SSN”) on ﬁle with the Division of Elections. Although I cannot say
for certain, as the data ﬁle lacks documentation from the Division of Elections, it appears
to be in the range of the missing 585,066 voters the Division of Elections ﬂagged as having
“no Dl or ssn” or have an “incomplete DL or ssn” on record.

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    80         Upon processing the ﬁle, it appears that it has the same structure as the FVRS,
including having the more than 30 ﬁelds that are included in the publicly available voter ﬁle.
As such, the ﬁle, “LitigationRR_NoDL-SSN_20210722.txt”, could be a subset of the FVRS.
There is no way for me to verify, however, what form of IDs the 587,207 registered voters
identiﬁed by the Division of Elections may or may not have on ﬁle, as no documentation was
provided by the Division of Elections with this ﬁle.38



    81         Upon processing the ﬁle, “LitigationRR_NoDL-SSN_20210722.txt”, and joining
it to the January 2021 statewide voter ﬁle, it is possible to link all but 419 of the 587,207
registered voters that the Division of Elections has identiﬁed as having no driver’s license and
no Social Security number on ﬁle, with their unique voter ID to information in the January
2021 statewide voter ﬁle. If one were to assume that the ﬁle is a subset of voters registered
in Florida who have neither a driver’s license nor a Social Security number on ﬁle, Table 9
provides the racial/ethnic breakdown—the raw counts and percentages—of these registered
voters.




      38
           See NAACP, et al.’s RFP, “LitigationRR_NoDL-SSN_20210722.txt”.


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Table 9: Registered Voters with No Driver’s License and No Social Security Number (Raw
                         Counts and Percentage of Each Group)

                                  Race/Ethnicity     Count
                                  Black              74,543
                                  Hispanic           22,998
                                  Other              18,748
                                  White             470,499
                                                    Percent
                                  Black               12.70
                                  Hispanic             3.92
                                  Other                3.20
                                  White               80.18

Note: Data from Florida Division of Elections, NAACP RPF, “LitigationRR_NoDL-
SSN_20210722.txt” (86,042KB) (last accessed August 15, 2021).

    82     Under SB 90, given the previous assumptions about what these data represent,
none of these 586,788 registered voters would be able to successfully request a VBM ballot
because they do not have a valid form of ID on ﬁle with the Division of Elections. Overall,
nearly 74 percent of these voters cast ballots in the 2020 General Election. It is important to
consider who among the nearly 600,000 ID-less registered voters voted a VBM ballot in the
2020 General Election, something that they will not be able to do in future elections as they
do not have a valid ID on ﬁle. It is uncertain whether any of these voters know that they
need to update their voter registration, much less be able to provide necessary identiﬁcation
to do so, in order to be eligible to apply for a VBM ballot.


VII.V.5    Registered voters without a valid ID on ﬁle who registered prior to
           implementation of HAVA


    83     Upon further inspection of the Division of Elections ﬁle, “LitigationRR_NoDL-
SSN_20210722.txt”, relying on the same assumptions above about what this ﬁle represents,
after I join it to the January 2021 statewide voter ﬁle it is apparent that the vast majority


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(573,892, or 97.7 percent) of registered voters without a valid driver’s license or Social Secu-
rity number (not even the last four digits) on ﬁle were registered prior to the implementation
of HAVA. The enforcement of REAL ID in Florida commenced on January 1, 2006.39


VII.V.6     Registered voters with ID on ﬁle but not vetted under HAVA


    84      Why is this important? As Ms. Modrow notes in an email to Toshia Brown
and Maria I. Matthews in a long email chain (including Tiﬀany M. Morley, Lavanya B.
Acharya, Walter S. “Scott” Maynor) on July 22, 2021, when it comes to the veriﬁcation of
driver’s licenses in the FVRS, “prior to 2006 (FVRS inception) [DL’s] are not veriﬁed.” 40
Ms. Modrow notes in the email chain that more than 3.5 million registered voters in the
FVRS have pre-2006 driver’s license on ﬁle that was prior to HAVA veriﬁcation. In response
to Toshia H. Brown’s question, “Do any of these have ‘proof’ selected,” As Ms. Modrow
responded, quite logically, “I don’t know but I also wouldn’t rely on that ﬁeld as we wouldn’t
know what value the proof was shown for.” 41

      39
         According to an audit by the Florida Auditor General conducted in June 2006, “The De-
      partment [of State] began developing FVRS in 2003 to comply with HAVA requirements. The
      State received a waiver from the EAC, permitted under HAVA provisions, and was granted
      an extension from January 1, 2004, until January 1, 2006, to implement FVRS. Pivotal to
      the design of FVRS was the retention of county voter registration systems. Each of the 67
      counties was to remediate its registration systems to accommodate the FVRS interface and
      operating speciﬁcations. FVRS communicated with county voter registration systems using a
      service-oriented architecture that supported establishing communication and information ex-
      change by providing a platform for receiving requests and generating response messages that
      were processed by county voter registration systems.” According to the audit, “Each new voter
      registration application and any updates to existing registration records which occurred after
      January 1, 2006, were submitted to FDLE for evaluation. The Department also provided FDLE
      with all active and inactive voter registrations maintained by FVRS on a monthly basis.” See
      William O. Monroe, Auditor General, “DEPARTMENT OF STATE HELP AMERICA VOTE
      ACT (HAVA) AND THE FLORIDA VOTER REGISTRATION SYSTEM (FVRS), Opera-
      tional Audit,” June 2006, available https://ﬂauditor.gov/pages/pdf_ﬁles/2006-194.pdf (last
      accessed August 7, 2021).
      40
         See Secretary of State response to NAACP, et al.’s RFP, “RE: SB90 - PreVeriﬁcation”Email
      chain, “SB90 - PreVeriﬁcation,” email from Janet Modrow to Toshia Brown, Maria I. Matthews,
      Tiﬀany M. Morley, Lavanya B. Acharya, and Walter S. “Scott” Maynor, July 22, 2021.
      41
         Ibid.


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    85      That there are 3.5 million Florida citizens who registered to vote prior to 2006,
and thus have a driver’s license on ﬁle with the Division of Elections that was not veriﬁed
under HAVA’s REAL ID stringent requirements, is clearly a concern of the Division of
Elections staﬀ. To summarize, under SB 90, roughly 3.5 million registered voters are eligible
to request and receive a VBM ballot, as they have a driver’s license on ﬁle that the SOEs can
crosscheck when a voter applies for a VBM ballot. However, none of these registered voters
had their identity vetted under strict HAVA standards, as the driver’s license they submitted
when registering predates the implementation of the federal legislation. Presumably, they
will all be able to request a VBM ballot if their ID matches that on ﬁle with the Division of
Elections. In contrast, the nearly 600,000 individuals who do not have an ID on ﬁle with the
Division of Elections will not be able to request a VBM ballot under SB 90, as they have no
ID on ﬁle. Yet, individuals with no ID on ﬁle presumably went through a thorough vetting
of their eligibility by the Division of Elections before they were registered to vote, including
proof of citizenship and eligibility, whereas those who registered with a driver’s license issued
before 2006 had to provide no proof of citizenship.



    86      Who are the roughly 3.5 million voters that the Division of Elections has identiﬁed
as registering prior to 2006 with non-veriﬁed driver’s license? I have yet to receive individual-
level data from the Division of Elections to make this determination, so it is not possible to
determine the percentages of racial/ethnic groups who have an unveriﬁed driver’s license but
who can nevertheless request (and receive) a VBM ballot. These are likely to be older voters
who registered prior to 2006 (given the HAVA implementation date). Based on a January
2021 statewide voter ﬁle, there are some 6.2 million registered voters in Florida with a
registration date prior to 2006. If we take the 3.5 million or so registered voters (actually,
3,627,073, according to a summary Excel ﬁle, “SB90_Preveriﬁcation.xlsx”), roughly half of
all individuals who registered in the state prior to January 2006 did so with a driver’s license

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that was not veriﬁed by DMV, as it was prior to the implementation of HAVA. According to
the January 2021 statewide voter ﬁle, 70.5 percent of the 6.2 million pre-2006 registrants are
white. In comparison, only 55.1 percent of the nearly 8.9 million voters with a registration
date from 2006 through December 2020 are white. In short, it is highly likely that of the
roughly 3.5 million voters who registered prior to 2006, according to the Division of Elections
own internal data, they did so without having to show any ‘proof’ of their identity as required
under HAVA. Yet these individuals will continue to be able to request (and receive) VBM
ballots under SB 90 because they have a driver’s license—albeit, pre-veriﬁcation, on ﬁle in
the FVRS.



    87      The Division of Election ﬁle, “LitigationRR_NoDL-SSN_20210722.txt”, provides
information on which post-HAVA implementation registered voters do not have a driver’s
license (or Social Security number) on ﬁle in the FVRS. Recall that 2.3 percent of the 587,207
registered voters in “LitigationRR_NoDL-SSN_20210722.txt” were ﬂagged by the Division
of Elections as lacking a driver’s license or Social Security number, and who registered to
vote after the implementation of HAVA in January 2006. I created a subset of the ﬁle,
retaining the 13,315 registered voters who registered in Florida beginning on January 1,
2006. It reveals clearly that these registrants are much more likely to be persons of color. Of
these post-HAVA registrants who had neither a driver’s license or Social Security number on
ﬁle in the FVRS, 4,022 are Black (30.2 percent), 2,867 are Hispanic (21.5 percent), 34.6 are
Other (including unknown race/ethnicity), and just 13.6 percent are white. The percentage
of Black registered voters and those of Other (and unknown) race/ethnicity far exceed the
percentages of comparable groups of registered voters in the January 2021 statewide voter
ﬁle who registered post-2006.




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    88     As Table 10 reveals, since 2006, the rate of registered voters after the implemen-
tation of HAVA, and who the Division of Elections has ﬂagged as having neither a driver’s
license nor a Social Security number on ﬁle, is disproportionately more likely to be Black
registered voters, or voters of other or unknown racial or ethnic groups, compared to white
voters. Hispanic voters are only slightly more likely among post-HAVA registrants to not
have a driver’s license or Social Security number on ﬁle, compared to the statewide voter
ﬁle. Black registered voters are over twice as likely to be identiﬁed by the Division of Elec-
tions as not having an ID on ﬁle that would allow them to request, much less vote, a VBM
ballot than their share of overall registered voters statewide: 30.2 percent versus just 13.6
percent. White voters, in contrast, are more than four times less likely since 2006 to register
to vote without a driver’s license or Social Security number than their share of the statewide
electorate (13.7 percent versus 55.2 percent, respectively).

Table 10: Post-HAVA Percent of Registered Voters with No Driver’s License and No Social
               Security Number vs. Overall Voter File, by Race/Ethnicity)

                                   No DL or SSN
                                   Race/Ethnicity Percent
                                             Black  30.21
                                          Hispanic  21.53
                                             Other  34.62
                                            White   13.65
                                 Overall Voter File
                                   Race/Ethnicity Percent
                                             Black  13.55
                                          Hispanic  20.99
                                             Other  10.34
                                            White   55.12

Note: Data from Florida Division of Elections, NAACP RPF, “LitigationRR_NoDL-
SSN_20210722.txt” (86,042KB) and January 2021 statewide voter ﬁle.




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    89      Since the implementation of HAVA, not only are registered voters in Florida
who have neither a driver’s license nor a Social Security number on ﬁle in the statewide
FVRS disproportionately more likely to be Black registered voters (or voters of other or
unknown racial or ethnic groups) compared to white voters, in recent years, both the overall
numbers and the relative rates of such new registrants are disproportionately more likely to
be people of color. Beginning in 2016, as Table 11 reveals, the total number and percentage
of registered voters in every year who successfully registered without a driver’s license or a
Social Security number on ﬁle are more likely to be Black and Hispanic compared to new
white registrants.
    Table 11 shows that in the most recent years, and particularly in the general election
years of 2016, 2018, and 2020, there were twice, and sometimes three times, as many new
Black registrants as white registrants who were able to register without providing a driver’s
license or a Social Security number, as is permissible. In 2016 and 2018, respectively, some
1,639 and 880 Black citizens who were determined to be eligible to vote, were vetted and
successfully registered, though they do not have a driver’s license or a Social Security number
on ﬁle. The overall count (and percent) of Hispanic registrants also exceed that of white
registrants in every year from 2016 through 2019, the exception being 2020. Over 1,500
Hispanic individuals—vetted and determined by SOEs that they were eligible to vote—were
registered in 2016 and 2018. SB 90’s exact-match restrictions for requesting a VBM ballot
will directly aﬀect all 587,207 registered voters identiﬁed by the Division of Elections, and
when assessing the impact of those who have registered most recently, disparately aﬀects
voters of color.




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Table 11: Registered Voters Post-HAVA with No Driver’s License and No Social Security
         Number, Race/Ethnicity (Raw Counts and Percentage of Each Group)

                      Count
                      Year    Black   Hispanic   Other   White
                      2006       26         19      21     23
                      2007       39         55      37     47
                      2008       95         92      89    115
                      2009       19         33      19     23
                      2010       43         43      25     49
                      2011       21         59      34     45
                      2012      151        218     172    117
                      2013       58        123      59     39
                      2014       87        121      88     85
                      2015       56         96      79     53
                      2016     1639        806    1411    505
                      2017       39         79      69     33
                      2018      880        772    1500    427
                      2019      442        241     601    112
                      2020      427        110     405    144
                      Percent
                      Year    Black   Hispanic   Other   White
                      2006     0.65       0.66    0.46    1.27
                      2007     0.97       1.92    0.80    2.59
                      2008     2.36       3.21    1.93    6.33
                      2009     0.47       1.15    0.41    1.27
                      2010     1.07       1.50    0.54    2.70
                      2011     0.52       2.06    0.74    2.48
                      2012     3.75       7.60    3.73    6.44
                      2013     1.44       4.29    1.28    2.15
                      2014     2.16       4.22    1.91    4.68
                      2015     1.39       3.35    1.71    2.92
                      2016    40.75      28.11   30.61   27.79
                      2017     0.97       2.76    1.50    1.82
                      2018    21.88      26.93   32.55   23.50
                      2019    10.99       8.41   13.04    6.16
                      2020    10.62       3.84    8.79    7.93
Note: Data from Florida Division of Elections, NAACP RPF, “LitigationRR_NoDL-
SSN_20210722.txt” (86,042KB) (last accessed August 23, 2021).




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VII.V.7      Vote history of post-HAVA registered voters with no valid ID on ﬁle


    90       As information for the 13,315 registered voters with no IDs on ﬁle with the
Division of Election can be linked to the January 2021 vote history ﬁle, it is possible to
join the data with each individual’s vote histories. In the 2020 General Election, 3,294, or
24.7 percent, of these individuals cast a ballot. Of these 3,294 registered voters with no ID
on ﬁle who voted in the November election, 1,234 (37.5 percent) cast a VBM ballot, and
all but six were deemed valid by SOEs and their Canvassing Boards. Under SB 90, none
of these registered voters would have been able to request a VBM ballot, much less cast a
mail ballot. Another 1,253 registered voters voted EIP, presumably showing one of the 12
forms of acceptable ID to verify their identity, and another 805 voted on Election Day, also
presumably verifying their identity when signing in to vote. Two registered voters cast a
provisional ballot that was later rejected by the local Canvassing Board.



    91       Table 12 provides the raw counts and percentages for each method of voting in
the 2020 General Election, broken down for each racial/ethnic group who cast ballots (and
who did not vote) in the election, despite not having a valid ID on ﬁle with the Division of
Elections.




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 Table 12: Turnout of Registered Voters with Post-HAVA Registrations with No Driver’s
  License and No Social Security Number, by Method of Vote and Race/Ethnicity (Raw
             Counts and Percentage of Each Group), 2020 General Election

                  Vote Method          Black Hispanic Other       White
                  VBM                    261      312   383         272
                  VBM (reject)             2        2     1           1
                  EIP                    304      337   391         221
                  Provisional (reject)     0        1     0           1
                  ED                     171      197   260         177
                  No Vote              3,284    2,018 3,574       1,145
                  VBM                   6.49    10.88  8.31       14.97
                  VBM (reject)          0.05     0.07  0.02        0.06
                  EIP                   7.56    11.75  8.48       12.16
                  Provisional (reject)  0.00     0.03  0.00        0.06
                  ED                    4.25     6.87  5.64        9.74
                  No Vote              81.65    70.39 77.54       63.02
Note: Data from Florida Division of Elections, NAACP RPF, “LitigationRR_NoDL-
SSN_20210722.txt” (86,042KB) (last accessed August 8, 2021).

   92      Just like those registered voters who registered prior to 2006 without HAVA
validation, many of post-HAVA registrants, who do not have a Social Security number or a
driver’s license on ﬁle in the FVRS, have been voting by mail with no problem for years. In
the 2016 General Election, 1,585 of these post-HAVA registrants who cast ballots, including
282 who cast valid VBM ballots. Of those who cast ballots in 2016 but do not have a valid
ID on ﬁle with the Division of Elections that would allow them to obtain a VBM ballot under
SB 90, 30.3 percent were Black, 21.5 percent were Hispanic, 34.6 percent were of Other or
unknown race/ethnicity, and just 13.7 percent were white.



   93      In short, there are hundreds of thousands of registered voters in Florida who
the Division of Elections veriﬁed were eligible to vote who do not have requisite ID on ﬁle
in the FVRS so that they may be able to request (and vote) a VBM ballot under SB 90.
These registered voters, including those who have voted by mail with no problem in previous


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elections, will not be able to request, much less vote, a VBM ballot under SB 90 in future
elections.



    94       Anecdotal evidence from SOEs conﬁrms that this will be a problem in upcoming
elections. In May 2021, Bay News 9 reported that the Pinellas County SOE oﬃce conﬁrmed
that some 28,000 registered voters in the county did not have a drivers license, a state ID
card, or a Social Security number on ﬁle, which would prevent them from being able to apply
for a VBM ballot.42 As of January 2021, Pinellas County, the state’s perennial leader in mail-
in voting—had roughly 739,000 registered voters. By its own account, nearly 4 percent of
registered voters in the county do not have a valid ID on record with the SOE. These ﬁgures
are conﬁrmed by the data in the ﬁle “LitigationRR_NoDL-SSN_20210722.txt’ provided by
the Division of Elections. After matching the .txt ﬁle to the January 2021 voter ﬁle, I am able
to determine that 28,078 registered voters in Pinellas County do not have a drivers license
or a Social Security number on ﬁle, making it impossible for the SOE to honor a registered
voter’s request for a VBM ballot. Yet these 28,000 registered voters turn out to vote by
mail in very high numbers, particularly voting by mail. In the 2020 General election, 77.0
percent of the 28,000 registered voters without a driver’s license or Social Security number
on ﬁle cast a ballot; more than two-thirds of these voters—some 14,448 voters with no ID
on ﬁle—successfully cast a VBM ballot in the election. Under SB 90, none of these Pinellas
County registered voters who successfully cast a VBM ballot in the 2020 General Election
are permitted to even request a VBM ballot, much less cast one.

      42
        “In St. Pete, voting and civil rights advocates speak out against Florida elections bill,” Bay
      News 9, available https://www.baynews9.com/fl/tampa/politics/2021/05/11/voting-
      and-civil-rights-advocates-speak-out-against-florida-elections-bill (accessed
      June 15, 2021).




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VII.VI      Summary: SB 90’s exact-match requirement for voter IDs
            on ﬁle will make it more diﬃcult to request a Vote-By-Mail
            ballot, disproportionately burdening voters of color


    95      SB 90 requires registered voters to have on ﬁle a valid Florida driver’s license
number, a valid Florida identiﬁcation number (state ID), or the last four digits of their
Social Security number to be able to request a VBM ballot. Over half-a-million registered
voters in Florida, according to the Division of Elections own data, including those who
regularly vote VBM ballots that are valid, do not have one of these IDs on ﬁle with their
SOEs. As such, they will not be able to request a VBM ballot under SB 90. This provision
of SB 90, in particular, will negatively aﬀect voters of color from obtaining a VBM ballot in
future elections.




VIII       SB 90’s restrictions on “Standing” requests for VBM
           ballots burden thousands of voters who want to
           have a VBM ballot mailed to them

    96      Under SB 90, the time period covered by a single application for an absentee
ballot is reduced from two general elections cycles to just one. According to Section 24 of
SB 90:

      The supervisor shall accept a request for a vote-by-mail ballot from an elector in
      person or in writing. One request is deemed suﬃcient to receive a vote-by-mail
      ballot for all elections through the end of the calendar year of the next regularly
      scheduled general election, unless the elector or the elector’s designee indicates
      at the time the request is made the elections within such period for which the
      elector desires to receive a vote-by-mail ballot. Such request may be considered

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     canceled when any ﬁrst-class mail sent by the supervisor to the elector is returned
     as undeliverable.43


Requesting a VBM ballot before every election entails a cost to the prospective voter. SB
90 eliminates (after the 2022 General Election) the ability of registered voters to have a
“Standing” VBM request to have their ballot mailed to them.


VIII..1   SB 90 will raise the costs of voting by mail for thousands of registered
          voters


   97      SB 90’s restriction placed on standing VBM ballot requests should be placed in
context. No doubt a response to the public health concerns posed by COVID-19, the ﬁrst
cases coinciding with the state’s March 17, 2020 Presidential Preference Primary, Florida
voters started to turn towards VBM ballots en mass. In the March 17, 2020 PPP, nearly 1.4
million Florida votes cast VBM ballots, which amounted to 46.5 percent of the total ballots
cast in the election. This was an increase of more than 50 percent in the use of VBM ballots
compared to the 2016 PPP, when just 30.8 percent of all ballots cast were VBM ballots.
Florida witnessed a similar explosion of VBM ballots cast in the August 18, 2020 Primary
election. Out of the nearly 3.9 million total ballots cast, 60.1 percent were VBM ballots,
which was nearly a 50 percent increase in the share of VBM ballots cast in the August 2016
Primary election.



   98      The rise in the use of VBM ballots did not abate ahead of the November 3, 2020
General Election. Three weeks ahead of the November 3 General Election, on October 14,

     43
       See “Enrolled CS for CS for CS for SB 90,” 2nd Engrossed, Section 24. Available https:
     //www.flsenate.gov/Session/Bill/2021/90/BillText/er/PDF (last accessed August 10,
     2020).



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2020, over 5.7 million Florida voters had requested VBM ballots. By Election Day, just shy
of 6 million Florida registered voters had requested VBM ballots, with over 4.8 million voters
                          44
casting a VBM ballot.



    99      For comparative purposes, fewer than 3.5 million VBM ballots were requested
(and 2.7 million cast) by Florida voters across the entire time-frame prior to the 2016 General
Election. There was more than a 70 percent increase in the demand for VBM ballots by
voters in the 2020 General Election as compared to the 2016 General Election.45



    100       Thousands of VBM ballots are mailed out by SOEs on dates that are likely
to give voters few options except to return them in person to ensure that they arrive by
7:00 PM on Election Day. SOEs mailed out over 100,000 VBM ballots on October 13 and
October 14 to requesting voters. Between October 15 and Election Day, SOEs provided over
300,000 VBM ballots to voters. The Florida Division of Elections notes on its webpage,
“The United States Postal Service recommends that domestic nonmilitary voters mail back
their voted ballots at least one (1) week before the Election Day deadline to account for any
unforeseen events or weather issues.” 46 Postal delays in Florida have been long known by

      44
         Total vote counts can be found at the Florida Division of Elections, “Elec-
      tion Results Archive,” available https://results.elections.myflorida.com/Index.asp?
      ElectionDate=8/30/2016&DATAMODE= (last accessed July 7, 2021). VBM totals provided by
      the Florida Division of Elections, “Archived Early Voting and Vote-by-Mail Statistics,” avail-
      able at https://dos.myﬂorida.com/elections/data-statistics/elections-data/absentee-and-early-
      voting/ (last accessed July 7, 2021).
      45
         VBM totals for the 2016 General Election can be found at the Florida Divi-
      sion of Elections, “Archived Early Voting and Vote-by-Mail Statistics,” available
      https://dos.myflorida.com/elections/data-statistics/elections-data/absentee-
      and-early-voting/ (last accessed June 14, 2021).
      46
         See “What is the Recommended Timeline to Return a Vote-by-Mail Ballot,” Vote-
      by-Mail, available https://dos.myflorida.com/elections/for-voters/voting/vote-by-
      mail/ (last accessed July 7, 2021).




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SOEs.47 . Many of these voters who wanted to cast their VBM ballots had little choice but
to return them in person.


VIII..2    Tracking standing VBM ballot requests


    101       Tracking VBM ballot requests, VBM ballots that are provided by SOEs, and
VBM ballots that are returned by voters is done by the 67 SOEs, but the statewide database
of VBM ballots requested, provided, and returned is maintained by the Florida Division
of Elections. Before and after every statewide election, Florida SOEs create VBM activity
reports that they upload to the Division of Elections on a daily basis during the election.
These reports describe standing ballot requests, ballot requests, ballots provided, and several
other corresponding codes assigned by SOEs.48

      47
         At the June 18-22, 2017 Annual Summer Conference held by the Florida Supervisors
      of Elections, Clay County Assistant Supervisor of Elections, Robin Conte, gave a Power-
      Point presentation entitled, “Vote By Mail Envelope REDESIGN,” that included a slide
      entitled, “Shared Issues,” “Late Delivery.” Mentioned under “Late Delivery” was “Voter
      Responsible–Waits until the last minute,” as well as “USPS Responsible – A handful of
      ballots returned several weeks after the election; delivered by the USPS on the same day
      with varied post-election metered date.” See “Vote by Mail Envelope REDESIGN,” Florida
      Supervisors of Elections 2017 Annual Summer Conference, June 18-22, 2017, available https:
      //www.myfloridaelections.com/portals/fsase/Documents/ConferencePresentations/
      Robin_Conte__VBM_Redesign_reduced.pdf?timestamp=1499433610334 (last accessed July
      7, 2020).
      48
         These daily VBM activity reports do not always to conform to statutory requirements. While
      challenging, it is entirely possible, by relying on careful and conservative data processing meth-
      ods, to disentangle discrepancies with oﬃcial codes in the daily VBM ﬁles. For example, the
      ballot return codes counties use in the ﬁles to identify the status of VBM ballots are sometimes
      not reconcilable with ﬁnal status codes as reported in statewide vote history ﬁles. According
      to the Division of Elections, Rule 1S-2.043, F.A.C., Form DS-DE 145, which went into eﬀect
      in 2015, there are eight “applicable codes for [VBM ballot envelope] reporting purposes.” The
      eight codes are: “C: Use when a voter cancels a request for vote-by-mail ballot. E: Use when
      there is any “voter-caused error” in a returned vote-by-mail ballot other than a failure to sign
      the Voter’s Certiﬁcate. N: Use when a voter returns a vote-by-mail ballot with no signature
      on the Voter’s Certiﬁcate. P: Use when the vote-by-mail ballot is provided to the voter by
      any proper means of delivery (mail, fax, etc.). (Only record one ballot provided per voter.)
      R: Use when the supervisor has processed a vote-by-mail ballot request and determined that
      the voter is eligible to vote-by-mail for that election. S: Use when a voter has or makes a
      standing request to receive a vote-by-mail ballot for all elections occurring from the date of
      the request through the end of the calendar year for the second ensuing regularly scheduled


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    102       Drawing on the counties’ daily VBM activity reports, it is possible to get a
sense of which voters, broken down by the race/ethnicity of registered voters, had either
VBM standing (“S”) requests on ﬁle or ordinary VBM ballot requests (“R”) on ﬁle on a given
day. Statutorily, ahead of the 2020 General Election, Florida SOEs were required to mail
VBM out ballots to voters who had a standing request or who had newly requested a VBM
ballot, by October 1, 2020. The deadline for voters to request a VBM ballot to be sent to
them was 5 PM, October 24, 2020.



    103       The ﬁrst day that the SOEs uploaded their daily VBM activity reports ahead
of the 2020 General Election was the morning of Friday, September 4, 2020. As of that
morning, as Table 13 details, some 4,670,408 non-UOCAVA registered voters were in the
statewide VBM ballot database. Over half a million Black registered voters, over 700,000
Hispanic registered voters, and over 3.1 million white voters were in the statewide VBM
database. The VBM activity reports uploaded by the SOEs are maintained by the Division
of Elections, Vote-by-Mail Ballot Request Information Files.



    104       Table 13 shows that 393,990 of the 524,626 Black registered voters in the
statewide VBM database—75.1 percent—had a status code of R, indicating that they had
requested that a VBM ballot be mailed to them in the 2020 General Election. Roughly 2
percent of Black registered voters, some 9,892, had status code of S, indicating that they had

      general election. (Once the supervisor determines that the voter is eligible to vote-by-mail in a
      particular election, the status of the standing request for that election is recorded as “R”.) U:
      Use when a vote-by-mail ballot is returned as undeliverable to the address where it was sent.
      V: Use when a voted vote-by-mail ballot is returned and received in the supervisor’s oﬃce and
      does not otherwise fall into a status code of E, N, or U. NOTE: The code for each voter shall
      be updated daily so that each voter has only one code associated with the voter’s record. For
      example, a prior report for a voter reﬂecting an “S” will be changed on a subsequent report to
      an “R” if the voter is determined eligible to vote in the election.




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a standing request to have the 2020 General Election, and future ballots, mailed to them
automatically. It is certainly possible that Black registered voters with status code of R also
had a standing request, but that the SOE oﬃces had already processed them and changed
their status to requested. The Division of Election notes that, “a prior report for a voter
reﬂecting an “S” will be changed on a subsequent report to an “R” if the voter is determined
eligible to vote in the election.” Table 13 also provides comparable counts and rates for other
groups.

                  Table 13: Vote-by-Mail Codes by Racial/Ethnic Groups,
                   September 4, 2020 VBM Statewide Daily Upload File
       VBM Code Count          Black      Hispanic      Other     White      Total
       C                        8,280       10,103       4,868    62,226    85,477
       P                     112,464        79,361      62,934   672,360   927,119
       R                     393,990       607,659     249,424 2,348,960 3,600,033
       S                        9,892        3,384       3,815    40,688    57,778
       Total                 524,626       700,507     321,041 3,124,234 4,670,408
       VBM Code Percent      Black %    Hispanic %    Other % White %        Total
       C                         1.58         1.44        1.52      1.99      1.83
       P                        21.44        11.33       19.60     21.52     19.85
       R                        75.10        86.75       77.69     75.19     77.08
       S                         1.89         0.48        1.19      1.30      1.24




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VIII.I     Summary: SB 90 will make it more diﬃcult to request a
           a VBM ballot, disproportionately burdening voters of color
           and voters with disabilities


    105      SB 90’s restrictions on standing VBM ballot requests will add costs on all
Florida registered voters who have become accustomed to having their VBM ballot sent
to them prior to each election. All voters, but particularly those with disabilities, will be
particularly harmed by SB 90, as they will have to make additional requests to have their
VBM ballots mailed to them. In January 2021, there were over 435,000 registered voters in
Florida who checked a box on their voter registration form stating that they needed assis-
tance when voting. Scholars have shown that registered voters with disabilities face higher
barriers to casting a ballot (Karp & Banducci 2001; Miller & Powell 2016; Schur & Kruse
2014; Schur, Adya & Ameri 2015; Fay 2005). Voters with disabilities may face diﬃculties
procuring, ﬁlling out, or returning a VBM ballot request application; under SB 90, after
2022, these voters will have to go through this process every year, as opposed to having a
standing application to have their VBM ballots mailed to them automatically.



    106      Filling out a mail ballot application, given the additional ID requirements, may
prove to be diﬃcult for registered voters with disabilities, particularly those who require
specialized equipment to read or ﬁll out forms, such as a VBM ballot application form
(Tokaji & Colker 2007; Belt 2016). Voters with disabilities may receive in-person help at a
polling location, including voting on an accessible machine or having someone assist in ﬁlling
out their ballot, but such assistance to request a VBM ballot might not be possible at home
for those registered voters who are in need of assistance. As such, because voters will no
longer be permitted to have standing requests to have their VBM ballots mailed to them,
these voters may be at greater risk of not being able to obtain a VBM ballot to vote.


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IX          SB 90’s Volunteer Assistance Ban decreases the op-
            portunities of voters, including persons of color and
            individuals with disabilities, from receiving assistance
            when returning their VBM ballots

   107         SB 90 restricts voters from receiving assistance to return their VBM ballots.
According to Section 32 of SB 90:


       Any person who distributes, orders, requests, collects, delivers, or otherwise phys-
       ically possesses more than two vote-by-mail ballots per election in addition to his
       or her own ballot or a ballot belonging to an immediate family member, except
       as provided in ss. 101.6105-101.694, including supervised voting at assisted liv-
       ing facilities and nursing home facilities as authorized under s. 101.655, commits
       a misdemeanor of the ﬁrst degree, punishable as provided in s. 775.082 or s.
       775.083.49


SB 90 imposes new costs on registered voters needing assistance to return their VBM ballots.



IX.I        Scholarship on the return of VBM ballots


   108         There is limited literature on who needs assistance when returning their VBM
ballots. We know that in the months prior to the 2020 General Election, citizens across the
country who were considering voting by mail were understandably concerned about postal
delays. Such postal delays ahead of the 2020 General Election were known by Florida election
oﬃcials. Some SOEs warned voters requesting VBM ballots prior to the election that the

       49
         See “Enrolled CS for CS for CS for SB 90,” 2nd Engrossed, Section 32. Available https:
       //www.flsenate.gov/Session/Bill/2021/90/BillText/er/PDF (last accessed August 10,
       2020).

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United States Postal Service mail could take a week to travel from a local election oﬃce to
the requesting voter (even if that voter resides in the same county), and encouraged voters—
through civic education eﬀorts and digital market campaigns—to request, and return, their
VBM ballots via drop boxes.50 On-time postal delivery rates can ﬂuctuate across the state
of Florida. However, in the Southern Florida, Florida Suncoast, and Gulf Atlantic regions,
on-time delivery of First Class mail was less than 90 percent in the months leading up to
the November 2020 election.51



   109      Not surprisingly, in record numbers, voters followed the advice of their SOEs,
dropping oﬀ VBM ballots in person rather than via post. As several studies have shown,
including those drawn on data from Florida (Shino, Suttmann-Lea & Smith 2021; Herron
& Smith 2021; Cottrell, Herron & Smith 2020), postal delays can cause otherwise valid
VBM ballots to not arrive by Election Day, and thus be rejected by SOEs. Indeed, over
the years, tens of thousands of VBM ballots have been rejected in Florida elections because
they were received by oﬃcials after the state’s deadline or were not cured in time for other
deﬁciencies. Rejection rates of VBM ballots are consistently and disproportionately higher
among minority voters than white voters in Florida (Smith 2018; Smith & Baringer 2020;
Smith 2021), even when taking into account a voter’s past “experience” casting VBM ballots
(Cottrell, Herron & Smith 2020). SB 90’s limits on voters receiving assistance to return
VBM ballots and on drop boxes increase the costs of voting for Floridians.

     50
        “Did mail delays lead to more late-arriving ballots? The opposite, Florida counties
     say,” Tampa Bay Times, November 18, 2020, available https://www.tampabay.com/
     news/florida-politics/elections/2020/11/18/did-mail-delays-lead-to-more-late-
     arriving-ballots-the-opposite-florida-counties-say/ (last accessed August 11,
     2021).
     51
        See “Key swing states vulnerable to USPS slowdowns as millions vote by mail, data shows,”
     The Washington Post, available https://www.washingtonpost.com/business/2020/10/20/
     swing-states-election-usps/ (last accessed July 7, 2020).




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    110      Scholars have found that in other states that have adopted secure drop boxes
for VBM ballots that they help to reduce barriers to voting a mail ballot (Collingwood
et al. 2018; McGuire et al. 2020; Collingwood & Gonzalez O’Brien 2021). In a 2014 study
by Menger & Stein (2020, p. 196) of Colorado voters before and after Election Day, they
ﬁnd that nearly “two-thirds of persons who receive an unsolicited ballot in the mail before
Election Day choose to travel out of their way to return their ballot in person, rather than
through the less costly and more convenient U.S. Postal Service.” Voters who receive their
VBM ballots close to Election Day cannot be assured of being able to return the delivery of
their ballots via post; drop boxes give them the assurance that their ballot will arrive safely
and securely in time to be processed by local elections oﬃcials. As such, drop boxes reduce
the burdens of voting by mail by providing more options to voters to return their—and other
voters’—VBM ballots.



    111      The restrictions placed on voters receiving assistance potentially burden all
voters who vote by mail. Akin to when election oﬃcials change the location or reduce the
number of polling locations (Haspel & Knotts 2005; Brady & McNulty 2011; Amos, Smith &
Ste. Claire 2017), the limitations of SB 90 on VBM ballot assistance increases information
costs and transportation costs, and potentially time costs and health costs for voters requiring
assistance to return their VBM ballots.



IX.II     SB 90’s limits on voters receiving assistance when returning
          VBM ballots aﬀects voters of color and voters with disabilities


    112      More than two million registered voters in Florida in the 2020 General Election,
but particularly Black and Hispanic voters and voters with disabilities, shifted to voting by
mail from voting in person in the 2016 General Election. In the 2020 General Election, at

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least 529,000 Black voters cast VBM ballots in the 2020 General Election (Smith 2021), more
than twice as many as those who cast VBM ballots in the 2016 General Election (244,000).
Among Hispanics, over 723,000 voters cast VBM ballots in the 2020 General Election (Smith
2021), nearly twice as many (382,000) who voted by mail in the 2016 General Election (Smith
2018). Roughly 3 million white voters cast VBM ballots in the 2020 General Election (Smith
2021), up from the roughly 2 million white voters who cast VBM ballots in the 2016 General
Election (Smith 2018).



    113      In 2020, particularly in the August primary and November General Election,
rather than “souls to the polls” rallies to encourage individuals to vote in person, many groups
encouraged voters to instead drop oﬀ their completed VBM ballots at SOE oﬃces or secure
drop boxes.52 Voters with disabilities also shifted to voting by mail in the 2020 election. In
the 2020 General Election, nearly 48 percent of the over 434,000 registered voters in Florida
who indicated when they registered needed assistance when voting, 67.3 percent turned out
to vote. Of these more than 291,000 voters who indicate that they need assistance when
voting, 48 percent cast VBM ballots. Only 14 percent cast their ballots on Election Day.
In the 2016 General Election, for comparative purposes, of the 434,000 voters registered in
January 2021 who indicated that they needed assistance voting, only 28 percent cast a mail
ballot. Many of these voters with disabilities face considerable burdens under SB 90 because
their options for VBM ballot delivery have been cut, including at drop boxes, as discussed
below.

      52
        “Roll to the polls: The coronavirus changes get-out-the-vote eﬀorts,” Tampa Bay Times,
      August 15, 2020, available https://www.tampabay.com/florida-politics/buzz/2020/08/
      15/roll-to-the-polls-the-coronavirus-changes-get-out-the-vote-efforts/ (last ac-
      cessed August 5, 2021).




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    114      SB 90 now makes it a ﬁrst-degree misdemeanor to possess or deliver more than
two vote-by-mail ballots per election, other than a voter’s own ballot and the ballots of
“immediate” family members. In my opinion, SB 90 will likely increase the cost of voting
for individuals with disabilities who need assistance requesting and returning their VBM
ballots. Furthermore, SB 90 now requires registered voters needing assistance to request
(and presumably, return) their VBM ballots to provide the “identity of the voter’s designee
making the request, if any; the Florida driver license number, Florida ID card number, or
last four digits of the social security number of the elector provided with a written request”.53



    115      Registered voters who have a disability might not be aﬀorded the same oppor-
tunity to return a VBM ballot as non-disabled voters. Voters with disabilities, particularly
voters who have an impairment in their body structure or function or who have mobility
limitations, already face barriers to voting (Schur & Kruse 2014). In my opinion, SB 90
will make it more diﬃcult for persons with such disabilities to receive help when trying to
return a mail ballot. Similarly, the prohibitions on VBM ballot collection will likely dis-
proportionately impact Black and Hispanic voters, who face less reliable private and public
transportation as well as mail services, and who are thus more likely than white voters to
seek the assistance of volunteer ballot collectors (Palandrani & Watson 2020).


IX.II.1    Volusia County VBM ballot assistance for voters needing assistance


    116      Registered voters who use assistance to request a ballot bears on which voters
rely on others to return a ballot. With the exception of Volusia County, I have not received
individual-level data from SOEs documenting whether voters received assistance returning

      53
        SB 90, available https://www.flsenate.gov/Session/Bill/2021/90/BillText/er/PDF
      (last accessed August 17, 2020).


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their VBM ballots.54 However, included in its production, the Volusia County SOE provided
an Excel spreadsheet (“NAACP_REV-00012069”) that documents the method by which
177,304 registered voters requested their VBM ballots in the run-up to the 2020 General
Election. I presume that voters who had a third party request their VBM ballot likely
had assistance in returning their VBM ballot. The added barriers to request a VBM ballot
are relevant because I presume that voters who had a third party request their VBM had
assistance in returning their ballot.



    117       Since unique voter IDs were included in the Volusia County SOE’s spreadsheet,
it is possible to determine the method of requesting a VBM ballot for both the race/ethnicity
and the disability status of 175,728 of the 177,304 (99.1 percent) VBM-requesting registered
voters (after matching unique voter IDs with a January 2021 statewide voter ﬁle). Of these
voters who requested VBM ballots, 133 voters had their ballots requested by a “3rdParty”, or
0.08 percent of the total. For comparative purposes, over 61 percent of the VBM ballots were
requested by “Mail”, nearly 18 percent by “Web”, and over 9 percent over the “Counter”. Table
14, provides the racial/ethnic breakdown for those whose data in the county’s spreadsheet
could be joined to the January 2021 statewide voter ﬁle by unique Voter ID. Although the
overall number of voters that relied on a third party to request their VBM ballot is relatively
small, Black voters were three times more likely than white and Hispanic voters to rely on a
third party to make their VBM ballot request (0.18 percent versus 0.06 percent, respectively).




      54
        The Miami-Dade SOE, as required under local ordinance, provided 1,313 hand-written sheets
      for the 2020 General Election, and 669 hand-written sheets for the 2020 August Primary
      Election, with up to 20 entries each, that included the day and location that VBM ballots were
      dropped, whether the individual depositing the ballots showed an ID and the relationship of
      the individual (including oneself) for whom the individual may have been delivering a ballot,
      as well as the FVRS voter ID on the VBM return envelope. See Miami-Dade SOE response,
      “Folder No. 3 (CONFIDENTIAL)” to LWV, et al.’s RFP 3).


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  Table 14: Method of VBM Ballot Request, Volusia County, 2020 General Election, by
             Race/Ethnicity (Raw Counts and Percentage of Each Group)

                 Request Method Black Hispanic Other White
                 1YrAll           373      426   373 4,883
                 3rdParty          23        8    10     87
                 Counter        1,454    1,389   823 13,049
                 E-Mail            61       62    55    470
                 Fax                5        6     6     47
                 FPCA              32       55   237    439
                 FWAB               3        4     5      5
                 Mail           6,822    7,429 5,271 87,900
                 Persn            121       86    91    745
                 Phone          1,059      651   536 7,112
                 Pick-up          314      318   159 1,372
                 Web            2,356    3,270 2,336 23,393
                 1YrAll          2.95     3.11  3.77   3.50
                 3rdParty        0.18     0.06  0.10   0.06
                 Counter        11.52    10.14  8.31   9.35
                 E-Mail          0.48     0.45  0.56   0.34
                 Fax             0.04     0.04  0.06   0.03
                 FPCA            0.25     0.40  2.39   0.31
                 FWAB            0.02     0.03  0.05   0.00
                 Mail           54.04    54.21 53.23 63.01
                 Persn           0.96     0.63  0.92   0.53
                 Phone           8.39     4.75  5.41   5.10
                 Pick-up         2.49     2.32  1.61   0.98
                 Web            18.66    23.86 23.59 16.77
Note: Data from NAACP RPF, “REV-00012069.xlsx” (last accessed August 17, 2021).




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    118      Turning to voters with disabilities in Volusia County who in the 2020 General
Election requested VBM ballots, among the 175,728 registered voters for whom I was able
to match to the statewide 2020 General Election Recap ﬁle, some 4,096 registered voters
indicated that they needed voting assistance when they registered to vote. Of these registered
voters needing assistance, as Table 15 shows, 0.24 percent (or 10 voters) relied on a third
party to request their VBM ballots. In contrast, only 0.07 percent (118 out of 171,632
voters) without a voting assistance ﬂag in the FVRS relied on a third party to request their
VBM ballots. More notably, 411 registered voters needing assistance, or one in 10, requested
their VBM ballot be mailed to them via the phone; only 5.2 percent of registered voters not
needing voting assistance phoned the SOE to request their VBM ballot.




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  Table 15: Method of VBM Ballot Request, Volusia County, 2020 General Election, by
        Needing Voting Assistance (Raw Counts and Percentage of Each Group)

                 Request Method     Black Hispanic Other White
                 1YrAll             5,828      225
                 3rdParty             118       10
                 Counter           16,386      329
                 E-Mail               639        9
                 Fax                   64        0
                 FPCA                 759        4
                 FWAB                  17        0
                 Mail             104,996    2,425
                 Persn                958       85
                 Phone              8,947      411
                 Pick-up            2,100       63
                 Web               30,820      535
                                    Black Hispanic Other White
                 1YrAll              3.40     5.49
                 3rdParty            0.07     0.24
                 Counter             9.55     8.03
                 E-Mail              0.37     0.22
                 Fax                 0.04     0.00
                 FPCA                0.44     0.10
                 FWAB                0.01     0.00
                 Mail               61.18    59.20
                 Persn               0.56     2.08
                 Phone               5.21    10.03
                 Pick-up             1.22     1.54
                 Web                17.96    13.06
Note: Data from NAACP RPF, “REV-00012069.xlsx” (last accessed August 17, 2021).




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    119      It is my understanding that under SB 90, a “supervisor may accept a written,
an in-person, or a telephonic request for a vote-by-mail ballot to be mailed to an elector’s
address on ﬁle in the Florida Voter Registration System from the elector, or, if directly
instructed by the elector, a member of the elector’s immediate family, or the elector’s legal
guardian,” but that “[i]f an in-person or a telephonic request is made, the elector must provide
the elector’s Florida driver license number, the elector’s Florida identiﬁcation card number,
or the last four digits of the elector’s social security number, whichever may be veriﬁed in the
supervisor’s records,” and must provide the requester’s “driver license number, the requester’s
identiﬁcation card number, or the last four digits of the requester’s social security number,
if available,” as well as the “requester’s relationship to the elector,” and the “requester’s
signature (written requests only).” In my opinion, these added barriers to requesting a VBM
ballot will impose several burdens on registered voters needing assistance to return their
VBM ballots, most notably for those who have a disability.



    120      Finally, it is possible to match by unique voter ID the Volusia dataset docu-
menting the method by which a registered voter requested a VBM ballot ahead of the 2020
General Election with the aforementioned Division of Elections ﬁle, “LitigationRR_NoDL-
SSN_20210722.txt”. Doing so reveals that more than 28,000 of the registered voters in
Volusia County, or 16.0 percent of all registered voters who requested a VBM ballot ahead of
the 2020 General Election, who do not have a driver’s license or Social Security number on
ﬁle in the FVRS, according to the Division of Elections. Of these roughly 28,000 registered
voters, 20 (0.07 percent) relied on a third party to request (and presumably return) the
voter’s VBM ballot and 1,523 (5.4 percent) requested their VBM ballot over the phone. All
20 of the registered voters in the county who relied on a third party to request a VBM ballot
successfully voted a VBM ballot in the 2020 General Election and 1,409 of the registered
voters in the county requested their VBM ballot via telephone successfully voted a VBM

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ballot in the election. It is my understanding that all of the more than 20,000 voters who
requested a VBM ballot in the 2020 General Election, had SB 90 been in eﬀect, would not
have been in compliance with the statute and therefore would not have been permitted to
request a VBM ballot, as none of them have an ID on ﬁle with the SOE.



IX.III     Summary: SB 90 will burden voters needing assistance to
           return their VBM ballots, disproportionately burdening vot-
           ers of color and voters with disabilities


    121      In my opinion, because SB 90 reduces registered voters’ ability to have assistance
returning their VBM ballots by making it a ﬁrst-degree misdemeanor to possess or deliver
more than two vote-by-mail ballots per election other than a voter’s own ballot and the ballots
of “immediate” family members, it will likely increase the cost of voting for individuals with
disabilities who need assistance returning their VBM ballots.




X     SB 90’s Drop Box Restrictions decrease the opportu-
      nities of voters, including persons of color and indi-
      viduals with disabilities, from returning their VBM
      ballots to secure drop boxes

    122      SB 90 restricts the ability of SOEs to determine the locations, dates, times, and
type of monitoring of their secure VBM drop boxes. According to Section 28 of SB 90:

     Secure drop boxes shall be placed at the main oﬃce of the supervisor, at each
     permanent branch oﬃce of the supervisor, and at each early voting site. Secure
     drop boxes may also be placed at any other site that would otherwise qualify

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     as an early voting site under s. 101.657(1). Drop boxes must be geographically
     located so as to provide all voters in the county with an equal opportunity to
     cast a ballot, insofar as is practicable. Except for secure drop boxes at an oﬃce
     of the supervisor, a secure drop box may only be used during the county’s early
     voting hours of operation and must be monitored in person by an employee of
     the supervisor’s oﬃce. A secure drop box at an oﬃce of the supervisor must be
     continuously monitored in person by an employee of the supervisor’s oﬃce when
     the drop box is accessible for deposit of ballots.55


In addition, SB 90 imposes a civil penalty on SOEs who operate drop boxes outside the
prescribed means: “(3) If any drop box is left accessible for ballot receipt other than as
authorized by this section, the supervisor is subject to a civil penalty of $25,000. The
division is authorized to enforce this provision.” 56 As a result of these limits on VBM drop
boxes, SB 90 imposes new costs on registered voters wanting to return their VBM ballots in
person.



   123      According to data presented by the Florida Supervisors of Elections to the state
legislature on March 22, 2021, roughly 31 percent of all VBM ballots returned in the 2020
General Election—or 1.5 million of 4.85 million VBM ballots—were deposited in secure drop
box locations maintained by SOEs.57 It is clear that Florida voters have come to depend on
the convenience of VBM drop oﬀ boxes. Based on my analysis of VBM drop boxes deployed
by SOEs in the 2020 General Election and based on statements SOEs have made in aﬃdavits

     55
        See “Enrolled CS for CS for CS for SB 90,” 2nd Engrossed, Section 28. Available https:
     //www.flsenate.gov/Session/Bill/2021/90/BillText/er/PDF (last accessed August 10,
     2020).
     56
        Ibid. Emphasis added.
     57
        Florida Supervisors of Elections, “Florida Supervisors of Elections Statement on PCB-PIE
     21-05,” March 22, 2021, available https://www.myfloridaelections.com/portals/fsase/
     Documents/Public%20Policy/FSE_Statement_032221.pdf (last accessed August 1, 2021).


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and interrogatory responses, at least 122 VBM drop boxes—that is one-fourth of all VBM
drop boxes Florida voters had access to in that election will be curtailed in whole or in part
under SB 90.



    124      It is my understanding that SB 90’s limitations placed on SOEs curtails in
whole or in part the opportunity for voters to drop oﬀ their VBM ballots at secure drop
boxes outside of the designated days and hours and locations of EIP voting sites used by a
county during an election, with the exception of VBM drop boxes stationed at SOE oﬃces
(or permanent SOE branch oﬃces) that, when in operation, must be continually staﬀed in
person by SOE employees.



    125      Based on data from the public record that I have collected and analyzed, a
total of 485 VBM drop boxes were available across the 67 counties for voters to return their
ballots in the 2020 General Election. Under the provisions of SB 90, I have identiﬁed 122
VBM drop boxes utilized in the 2020 General Election, that under SB 90, will be curtailed
in whole or in part. In sum, one out of four VBM drop boxes oﬀered by SOEs in the 2020
General Election are curtailed in whole or in part by SB 90.



    126      The following analyses are based on data on counties’ drop box usage collected
in September and October 2020, prior to the introduction of SB 90, directly through com-
munications with all 67 SOE oﬃces as well as information obtained from SOE websites and
news reports on the days, hours, and locations of VBM drop boxes in their counties in the
2020 General Election. I subsequently cross-checked and validated these data with written
responses by SOEs to a survey of SOEs from the Florida House of Representatives Public
Integrity and Elections Committee during the 2021 legislative session, as well as with aﬃ-


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davits and interrogatory responses provided by SOEs in discovery in this case. The data
collected in September and October of 2020 was the basis for an op-ed I co-authored in the
Tampa Bay Times. Tampa Bay Times.58 In assessing how SB 90 will impact the counties’
use of drop boxes, I compared the counties’ practices in the 2020 General Election with the
provisions of SB 90 and I reviewed the counties’ reporting of the impacts of SB 90 on drop
box usage from the counties’ discovery responses in this litigation.



   127       The 122 VBM drop boxes that SB 90 curtails in whole or in part include the
following VBM drop boxes that SOEs deployed in the 2020 General Election:

  1. 65 VBM drop boxes in 48 counties that were available 24/7 for voters to deposit their
     VBM ballots, but that were not continually staﬀed in person with SOE personnel;

  2. 57 VBM drop boxes in 15 counties that were not located at a SOE oﬃce (or a permanent
     SOE branch oﬃce) that were available to voters on days either before or after EIP
     voting in the county, but not open 24/7 (to avoid double-counting);



   128       From a cost of voting perspective, the 65 24/7 VBM drop boxes in the 48
counties, that under SB 90 would have been curtailed (in whole or in part) in the 2020
General Election because they were not continually monitored by SOE personnel, amounts
to a conservative estimate of more than 32,000 hours that voters in the 48 counties would
not have had access to return their VBM ballots.59 Nearly every one of these drop boxes was

     58
        See Jose Vazquez and Daniel A. Smith, “All counties should oﬀer secure, 24/7
     drop boxes for mail ballots,” Tampa Bay Times, October 12, 2020, available
     https://www.tampabay.com/opinion/2020/10/12/all-counties-should-offer-secure-
     247-drop-boxes-for-mail-ballots-column/ (last accessed August 31, 2021).
     59
        To calculate this, I multiple the 65 VBM drop boxes times 21 days (a rough number of days
     the drop boxes were open, from the time VBM ballots were mailed out to the start of EIP
     voting) times 24 hours a day. This is a conservative estimate, as many counties mailed out
     their domestic VBM ballots more than 21 days before they commenced EIP voting, and it does


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available to voters 24/7 from the day their SOEs mailed out VBM ballots through 7:00PM
on Election Day, that is, on days both prior to and after EIP voting was oﬀered in the
county.



   129      My analysis indicates that not one of the 65 VBM drop boxes oﬀered by the 48
SOEs that were available to voters 24/7 outside SOE oﬃces (or permanent SOE branches)
in the 2020 General Election was “continually monitored, in person, by an employee of the
supervisor’s oﬃce” as is required under SB 90. Based on the information provided by SOEs
to the PIE committee, and in the SOE aﬃdavits and interrogatory responses, nearly all 65
of the 24/7 VBM drop boxes available to voters from the time VBM ballots were ﬁrst mailed
by SOEs through Election Day were monitored using video surveillance—and not by security
personnel who were SOE employees. It is my understanding that if SOEs do not provide
SOE staﬀ to continually monitor their VBM drop boxes, during normal business hours or at
night, they are prohibited under SB 90.



   130      I am also able to estimate a cost of voting for the 57 VBM drop boxes in the
15 counties that under SB 90 would not have been permissible in whole or in part, as they
were not located at a SOE oﬃce (or a permanent SOE branch oﬃce), nor at an EIP voting
site during the county’s designated EIP voting period. Some of these VBM drop boxes were
available 24/7 from the time VBM ballots were mailed out to voters through Election Day,
while others were open only during the county’s EIP voting period (but were not located at
a EIP site). A conservative estimate is that these 57 drop boxes (which are separate from the
65 24/7 drop boxes, discussed above, to avoid double-counting) accounted for over 11,000
hours that voters in the eight counties were able to drop oﬀ their VBM ballots in person in

     not include days (and hours) the 65 24/7 VBM drop boxes were open after EIP voting.



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the 2020 General Election.60



    131      Again, in the 2020 General Election, 15 SOEs stationed a total of 57 VBM drop
boxes that were not located at SOE oﬃces or permanent branch facilities, and were not a
designated EIP locations or were open outside of EIP hours in the county. Under SB 90, it
is my understanding these VBM drop boxes—some of which were open 24/7 to voters—are
not permissible in whole or in part. For example, in the 2020 General Election:
    • Duval County oﬀered a VBM drop box at a weekend drive-thru event at the Jacksonville
Jaguars TIAA Bank Field, but it was not an EIP voting location;
    • Pinellas County oﬀered a drive-through VBM drop box at the Tampa Bay Rays Trop-
icana Field during EIP voting, as well as 19 other venues with VBM drop boxes, none of
which were EIP voting locations;
    • Hardee County oﬀered a 24/7 VBM drop box at the Hardee Public Library, which was
open pre- and post-EIP voting in the county;
    • Hernando County oﬀered a 24/7 VBM drop box in the Brooksville Courthouse parking
lot - Records Storage Facility;
    • Levy County oﬀered 24/7 VBM drop boxes at two sites that were not used for EIP
voting;
    • Bay County provided VBM drop boxes on Monday, November 2, at all of its Super
Voting Centers, one day after EIP voting is permitted by statute (the Sunday prior to
Election Day);
    • Gulf County allowed voters to drop oﬀ their VBM ballots at its Super Voting Center
located at the Charles Whitehead Public Library on November 2, a day after the statutory

      60
        To calculate this, I multiple the 57 VBM drop boxes times 13 days of EIP voting (when
      many of these were open, although not at EIP locations; not all of the 15 counties oﬀered 14
      days of EIP voting), times 12 hours a day that each box was open (roughly half of the drop
      boxes were open 24/7, making this a conservative estimate).


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end of EIP voting;
    • Palm Beach County oﬀered eight mobile VBM drop box sites located at various libraries
and community centers during EIP voting, even though they are not permanent SOE branch
oﬃces and the locations did not oﬀer EIP voting.
As discussed below in detail, it is my understanding that these 57 VBM drop boxes would not
be permissible under SB 90 in whole or in part, even if they did have continuous monitoring
by SOE personnel.



    132      According to the aﬃdavits and interrogatory responses of all the SOEs, it is my
understanding that most of the 48 counties that oﬀered 24/7 VBM drop boxes in the 2020
General Election do not plan on oﬀering 24/7 VBM drop boxes in the next general election,
as they are unable to provide the in-person monitoring by SOE staﬀ that SB 90 requires.
It is also my understanding from the 15 SOEs that I have identiﬁed as oﬀering VBM drop
boxes at locations other than EIP sites or their oﬃces in the 2020 General Election either
have no plans, or have not yet decided, to continue to do so in future elections, as SB 90
limits such locations in whole or in part.



    133      In addition, beyond these 122 drop boxes, in their aﬃdavits and interrogatory
responses SOEs have indicated that they plan to curtail in whole or in part several additional
VBM drop boxes due to the restrictions placed on them by SB 90. I detail these below.



X.I    Scholarship on drop boxes


    134      Barriers to casting a mail ballot are many, from postal delays, to the availability
or cost of return postage, to limited hours of operation of postal service or election oﬃces


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(Schelker & Schneiter 2017; Herron & Smith 2021). Prior to the implementation of SB
90, these and other barriers were alleviated by SOEs who made secure drop box locations
available to voters that were open prior to the start of EIP voting, open after the conclusion
of EIP voting, or open after normal business hours via 24/7 drop boxes. Such secure drop
boxes, particularly those open 24/7 and on days when election oﬃces were not open and
EIP voting was not taking place, allowed voters or their designees the ability to deliver
VBM ballots securely and in a timely fashion to ensure they were counted.



    135      As mentioned previously, USPS delivery rates ﬂuctuate in Florida, and on-time
deliveries were less frequent in the run-up to the 2020 General Election.61 Over 1.5 million
Florida voters followed the advice of the Secretary of State and SOEs and deposited their
VBM ballots in secure drop boxes in the 2020 General Election. Scholars have shown that
thousands of late VBM ballots are rejected by SOEs because they arrive in the mail after
the state’s deadline, including in Florida (Shino, Suttmann-Lea & Smith 2021; Herron &
Smith 2021; Cottrell, Herron & Smith 2020). Rejected VBM ballots are disproportionately
higher among minority voters than white voters in Florida (Smith 2018; Smith & Baringer
2020; Smith 2021; Cottrell, Herron & Smith 2020). Secure drop boxes used in other states
help to reduce the barriers to casting a valid mail ballot (Collingwood et al. 2018; McGuire
et al. 2020; Collingwood & Gonzalez O’Brien 2021). SB 90’s restrictions placed on SOEs
who want to continue to provide VBM drop boxes which will increase the costs of voting for
Floridians. VBM drop boxes reduce the costs of voting by mail by providing more options
to voters to return their VBM ballots.

      61
        See “Key swing states vulnerable to USPS slowdowns as millions vote by mail, data shows,”
      The Washington Post, available https://www.washingtonpost.com/business/2020/10/20/
      swing-states-election-usps/ (last accessed July 7, 2020).




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   136       The limits placed on SOEs regarding the locations, days, hours, and security
personnel for drop boxes will burden all voters who opt to vote VBM ballots. Akin to when
election oﬃcials change the location or reduce the number of polling locations (Haspel &
Knotts 2005; Brady & McNulty 2011; Amos, Smith & Ste. Claire 2017), the limitations on
drop boxes under SB 90 will increase information costs and transportation costs, as well
as time costs and health costs for voters wishing to hand deliver their VBM ballots. SB
90’s provisions concerning the limits placed on where and when and under what supervision
SOEs may provide drop boxes, will in whole or in part raise the costs of voting in Florida.



   137       Based on available scholarship on the topic, there is also good reason to believe,
all else equal, that voters of color are more inclined to drop oﬀ their VBM ballots in person
than other voters, and as such, will be disparately negatively impacted by the limits placed
on VBM drop boxes. Black Americans, according to a recent national survey (Plescia, Sevi
& Blais 2021, p. 383) “favor the polling station even more than White Americans compared
to mail voting.” Black voters who have requested a VBM ballot may have good reason to
want to return their VBM ballot in person, due to concerns over the reliability or timeliness
of postal deliveries.62 As I wrote ahead of the 2020 November election, “the potential for
late—and thus uncounted—VBM ballots looms large. As has been widely reported, the
United States Postal Service is under dire ﬁnancial and staﬃng pressures. In several states,
there have been reports of mail being delayed several days more than normal. Even a small
perturbation in mail deliveries has the potential to wreak havoc on mail-in voting.” 63

     62
        “Postal problems could continue despite suspension of policies blamed for mail delays,”
     Washington Post, August 19, 2020, available https://www.washingtonpost.com/business/
     2020/08/19/postal-problems-could-continue-despite-suspension-policies-blamed-
     mail-delays/ (last accessed August 3, 2021).
     63
        Michael C. Herron and Daniel A. Smith, “Minor postal delays could disenfran-
     chise thousands of Florida vote-by-mail voters,” Tampa Bay Times, August 14,
     2020, available https://www.tampabay.com/opinion/2020/08/14/minor-postal-delays-
     could-disenfranchise-thousands-of-florida-vote-by-mail-voters-column/ (last ac-


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X.II      24/7 VBM drop boxes with video surveillance were secure in
          the 2020 General Election


   138         Before examining the usage of VBM drop boxes in the 2020 General Election,
it is important to provide some context about the security of drop boxes in that election,
which saw a record-breaking number of VBM ballots cast. It is my understanding that in
the 2020 General Election, prior to the implementation of SB 90, voters (or designees of
the voters) were permitted to drop oﬀ completed VBM ballots in person at their SOE oﬃce
during normal business hours (which varied across counties), as well as at secure drop-boxes,
often after normal business hours (24/7), before and after the EIP voting period, and even
at some locations that were not SOE oﬃces. These secure VBM drop boxes were located
outside and nearly all were monitored by video surveillance, at the SOE oﬃce, a branch
oﬃce, or other locations. Nearly all of these secure, 24/7 video-monitoried drop boxes were
open both prior to the designated two-week EIP voting period, as well as after the EIP
voting period, including on Election Day. Additionally, all SOEs, as required by statute,
oﬀered secure drop boxes at all EIP voting sites during their EIP voting days and hours.



   139         As indicated by the responses of the 62 SOEs who provided data to a request
made on February 24, 2021, by Florida House of Representatives Chair of the House Public
Integrity and Elections Committee (“PIE Committee”), Representative Erin Grall, not a
single SOE reported any concerns with the security of their VBM drop boxes, including
those that were open 24/7 under video surveillance.64

       cessed June 19, 2021).
       64
          I have not obtained or reviewed responses to the PIE Committee from Monroe, Palm Beach,
       Polk, Sumter, and Washington counties. In response to two questions asked by Rep. Grall,
       “What did you do to respond to reports of ballot harvesting? and “Did video surveillance reveal
       any evidence of ballot harvesting?”, for the 62 counties for which I have written responses to
       the PIE Committee, only one SOE (Marion County) reported a single instance of so-called
       “ballot harvesting.” The SOE of Marion County, however, after investigating the allegation of


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X.III    Use of VBM drop boxes on days, hours, and locations in 2020
         General Election, and the impact of SB 90 on voters of color
         returning VBM ballots to drop boxes


   140       Given the nature of the data produced by the SOEs in discovery, I am unable
to provide an exact number of the total VBM ballots that were returned to drop boxes in the
2020 General Election that were cast on days/hours or at locations that are either expressly
prohibited, or potentially limited (due to choices of SOEs, including the requirement of
continuous SOE surveillance by SOE staﬀ), under SB 90.65



   141       However, drawing on the data I have received from the SOEs, in the following
subsections I provide counts of the usage of VBM drop boxes in the 2020 General Election,
speciﬁcally the number of VBM ballots deposited in drop boxes outside the expressly man-
dated period of drop box use under SB 90—that is, only on days (and hours) of EIP voting
and at SOE oﬃces (or permanent branch oﬃces). I also provide counts, in counties that
provided data, of the number of VBM ballots deposited in 24/7 drop boxes after normal
business hours, as under SB 90, 24/7 drop boxes must now be continually monitored, in
person, by an employee of the supervisor’s oﬃce, whenever the drop box is accessible for

     so-called ballot harvesting, the SOE reported to the committee that his oﬃce, “Viewed camera
     footage of drop box, examined contents of drop box,” and concluded that there was no evidence
     of “ballot harvesting.” See SOE responses to Florida House of Representatives, Public Integrity
     and Elections Committee, Chair Erin Grall, February 24, 2021.
     65
        For example, Escambia County SOE, David H. Staﬀord, stated in his LWV, et al.’s aﬃdavit
     that, “Drop boxes were only utilized in the 2020 election cycle. There was no separate coding
     for drop box ballots.” “For each election involving a statewide or federal race from January
     2016 to the present day, my oﬃce has neither created nor kept records about the number of
     voters who had their ballots delivered by a third-party organization or another individual.” In
     her LWV, et al.’s declaration (RTP 39), Lori Scott, the Brevard County SOE, stated, “Once
     received at the Election Support Center, transported [VBM] ballots were date stamped and
     scanned by the inbound mail processing system. The ballots were entered as ‘received’ once the
     signature veriﬁcation process was completed. Mail ballots, whether hand delivered or received
     via postal service or drop box, were processed all together.”




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deposit of ballots. Where possible, I also provide breakdowns by race and ethnicity (and
voters with disabilities) for VBM drop box usage in the 2020 General Election, including on
days/hours not expressly required under SB 90.



   142       I provide empirical analyses, based on the availability of data, for the following
14 counties: Columbia, Manatee, Indian River, Hernando, St. Lucie, Madison, Putnam, Lee,
Pinellas, Taylor, Franklin, St. Johns, Okeechobee, and Polk. I also provide evidence from
the aﬃdavits and interrogatory responses of the SOEs on their expectations on how SB 90
will likely aﬀect the deployment of VBM drop boxes in future elections.


X.III.1   Columbia County VBM drop box returns on days before EIP voting,
          by race and ethnicity and disability status


   143       It is my understanding that in the 2020 General Election, Columbia County,
located in north central Florida, maintained 24/7 VBM drop boxes with video surveillance
that were stationed at its two SOE oﬃces, one in Lake City and one in Fort White. Both
VBM drop boxes were available to voters from the time VBM ballots were mailed through
7:00PM on Election Day. Both locations also served as the county’s two EIP voting locations,
which were open 10 days to voters, from Thursday, October 22, 2020 thru Saturday, October
31, 2020, from 8:30AM until 7:00PM.66



   144       As part of its production, the Columbia SOE provided a .pdf document, “SOE
DROP BOX LOG”, that contains two pages of hand-written entries followed 20 pages of

     66
       According to Columbia County SOE Tomi S.Brown, its two VBM drop boxes were secured
     with “video surveillance,” and that the “Drop Boxes are slots in wall of main oﬃce (drops into
     secured room)/locked box in lobby during oﬃce hours and door of satellite oﬃce (drops into
     locked box on door).” The SOE replied, too, that she did not receive any reports of “ballot
     harvesting” in her county. See Columbia SOE response to PIE Committee.

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typed entries, ordered by date, with voter IDs for each day of VBM ballots that apparently
collected from the county’s drop boxes.67 The ﬁrst date on the drop box log with an entry
is October 2, 2020, and the ﬁnal date with an entry is November 2, 2020. In all, there are
2,306 entries with voter IDs across the month in which the drop boxes were available for
voters to hand-return their VBM ballots.68 After processing the county’s drop box log .pdf,
I was able join it to the January 2021 voter ﬁle. I was able to match the voter IDs of 2,249 of
the 2,306 (97.5 percent) of entries on the log.69 Over 9,700 of Columbia County’s registered
voters cast VBM ballots in the 2020 General Election; roughly 23 percent of all VBM ballots
cast in the county were deposited by voters in the county’s two VBM drop boxes.



    145       Of the 2,249 entries for which I have information about the individuals whose
VBM ballots were deposited in the drop boxes, 1,117 (49.7 percent) were logged as being
retrieved on the 10 days (October 22 - October 31) of EIP voting that the county provided at
the two locations. During these 10 days, VBM drop boxes were monitored by SOE personnel
and were available to voters from 8:30AM until 7:00PM.



    146       On the days before and after the county’s 10 days of EIP voting, the SOE
recorded retrieving 1,132 (50.3 percent) of VBM ballots from its 24/7 VBM drop boxes that,
according to the county’s response to the PIE Committee, were secured by video surveillance.
In other words, more than half of all VBM ballots recorded by the Columbia SOE in the
2020 General Election were deposited on days outside the dates on which, under SB 90,

      67
         See Columbia County response to LWV, et al.’s RFP 2.
      68
         There are clearly some data-entry errors: of the 2,306 voter IDs entered, there are 15 with
      only 8 digits and 7 with 10 digits, and not the 9 digits that all voter IDs have in the FVRS.
      69
         In addition to the 22 entries on the log that did not have precisely nine digits for the voter
      ID, 35 voter IDs on the VBM drop box log did not match with records on the January 2021
      statewide voter ﬁle, indicating that these individuals may have been removed from the voter
      rolls after the election or that there were additional data entry errors.



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the SOE would be required to have VBM drop boxes available, i.e„ the days on which it
oﬀers EIP voting. It is highly likely that at least some voters dropped oﬀ their ballots after
hours on the days of EIP voting, when the VBM drop boxes were only monitored by video
at the two locations. It is not possible to determine from the SOE’s log, however, if VBM
ballots recorded on those 10 days were deposited by voters during the early voting hours of
operation, or if they were deposited in the VBM drop box before or after early voting was
held.70



    147      Because I am able to match the unique voter IDs on the county’s log for the
more than 2,200 registered voters in Columbia County who deposited VBM ballots in the
two drop boxes, I am able to determine the race and ethnicity of voters who utilized the
VBM drop boxes during EIP days, and those that utilized the drop boxes on days outside
the early voting period. As Table 16 shows, more than 310 Black voters cast VBM ballots
in the county’s two secure drop boxes, according to the SOE’s log. Of these VBM ballots
deposited in the drop boxes, 52.4 percent of ballots cast by Black voters were recorded being
retrieved by the SOE on days outside the county’s 10 days of EIP voting. In contrast, 50.2
percent of VBM ballots cast by white voters were recorded as being on days on which the
county did not oﬀer EIP voting.71




      70
         According to the SOE’s response to the PIE Committee, the drop boxes were checked or
      emptied “Multiple times” each day.
      71
         I do not ﬁnd that voters who indicated when they registered to vote that they "needed
      assistance" when voting were more likely to utilize the county’s VBM drop boxes outside of
      EIP voting days. Of the 66 individuals who indicated they needed assistance, 48.5 percent
      voted outside the county’s designated EIP voting period, and 51.5 percent did not; those not
      requiring assistance were slightly more likely to utilize the VBM drop boxes outside of EIP
      voting, 50.4 percent to 49.6 percent.


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Table 16: Dates of VBM Ballots Retrieved from Drop Boxes during EIP Voting and VBM
 Ballots Retrieved from Drop Boxes before and after EIP Voting, Columbia County, 2020
   General Election, by Race/Ethnicity (Raw Counts and Percentage of Each Group)

                  Dates of Drop Box     Black Hispanic     Other    White
                  During EIP              151       27        44      895
                  Before & After EIP      166       19        45      902
                  During EIP            47.63    58.70     49.44    49.81
                  Before & After EIP    52.37    41.30     50.56    50.19
Note: Data from Columbia County LWV RPF “9402.pdf ”.

   148      To put these ﬁgures in broader context, Black voters in Columbia County were
nearly 9 percentage points more likely to vote by mail in the 2020 General Election than
white voters. Overall, of the more than 4,200 Black voters who cast ballots in the election,
36.3 percent did so by VBM ballot (in person or by mail), whereas only 27.8 percent of
the roughly 27,000 white voters who turned out did so, an 8.5 percentage point diﬀerence.
Moreover, one in ﬁve Black voters who cast a VBM ballot in the county did so via a drop
box, and one in 10 of all Black voters in the county who cast a VBM ballot returned it to
a drop box on a day outside the required period the county must oﬀer drop boxes in future
elections under SB 90.



   149      In her July 30 interrogatory response, SOE Brown indicated that SB 90 has not
yet had an impact, as she has not yet determined drop box locations for the 2022 election at
this time. But clearly my analysis above indicates that it will, unless the Columbia County
SOE again extends to the county’s voters two VBM drop box locations that are open 24/7
with SOE personnel continually monitoring them, from the day VBM ballots were mailed
through 7:00PM on Election Day. If, because it is cost prohibitive, or if she does not have
SOE personnel available to continually monitor the drop boxes outside her two oﬃces that in
2020 were available with video security prior to and after the conclusion of EIP voting, over
half of all voters who used VBM drop boxes in the 2020 General Election in Columbia County

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will have to ﬁnd an alternative time and place to return their VBM ballots in person. This
will undoubtedly increase the time, transportation, information, and health costs associated
with voting. My analysis shows that these burdens will disproportionately aﬀect voters of
color.


X.III.2       Manatee County VBM drop box returns after business hours, by race
              and ethnicity and disability status


    150         As part of the discovery process in this litigation, the Manatee County SOE,
Michael Bennett, provided an Excel spreadsheet that included individual voter’s Voter ID
numbers (“RegNum”) as well as a timestamp (“VoteDate”) that includes detailed information
about the time a VBM ballot was processed by the SOE.72 Using individual-level voter IDs
in the ﬁle, I was able to join it to the January 2021 statewide voter ﬁle and statewide Recap
ﬁle to determine the race/ethnicity of the voters and the disability status of the voters. In
doing so, I am able to determine the precise time that the Manatee SOE recorded (with a
timestamp) each VBM ballot it received.



    151         According to its responses to the PIE Committee, Manatee County maintained
six drop box locations in the 2020 General Election, all of them stationed at early voting
locations, including one located outside the county’s main SOE oﬃce.73 Only the drop box
at the main SOE oﬃce was open 24/7; the other ﬁve locations, all at EIP voting locations,
were open October 19 - November 1, 8:30AM to 6:30PM.

         72
            The spreadsheet is labeled MAN_20201103_GEN_Voted.xlsx). See Manatee SOE response
         to LWV, et al.’s RFP 16.
         73
            SOE responses to Florida House of Representatives, Public Integrity and Elections Commit-
         tee, Chair Erin Grall, March 5, 2020 [sic], NAACP et al.’s RFP 1.




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   152      Given these data, it is possible to determine which Manatee County voters’
VBM ballots were deposited in drop boxes after the Manatee SOE’s normal business hours
(in this case, 7:00AM to 7:00PM during the early voting period). Counties such as Manatee
typically collected any deposited VBM ballots in drop boxes at the end of the day (in this
case, after EIP early voting locations closed at 6:30PM), processing them (and giving them
timestamps) later that evening. For a drop box that was open 24/7, such as the one at
Manatee County SOE’s main oﬃce building, SOE staﬀ presumably collected and processed
after-hour VBM ballots deposited in drop boxes late at night or the ensuing morning. SOE
Bennett aﬃrmed to the PIE committee that the county’s six drop box locations were under
continual monitoring and were checked or emptied “multiple times per day” and that only
the “oﬃce drop box was available 24/7.” 74



   153      Operating from this premise, I sort VBM ballots in the county by their times-
tamps to get a sense of VBM ballots that were processed in the early morning, a likely
indicator that they were retrieved from a 24/7 drop box. Early processing timestamps
would likely rule out VBM ballots that were picked up directly from the Post Oﬃce or that
were retrieved from other early voting locations (that were not open 24/7).



   154      Figure 5 shows a histogram of the timestamps of VBM ballots processed by the
Manatee SOE on October 19th through November 2 that were either accepted or rejected by
the SOE, according to the ﬁnal voter history code in the statewide voter ﬁle. Early voting
in the county ran from 7:00AM to 7:00PM, Monday, October 19, 2020 through Sunday,
November 1, 2020. The additional day of processing—Monday, November 2—captures the

     74
       See Manatee County SOE response to Florida House of Representatives, Public Integrity and
     Elections Committee, “Manatee County Answers 3/5/2020,” NAACP, et al.’s RFP 1.




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processing of any VBM ballots that may have been dropped oﬀ by voters at the SOE oﬃce’s
24/7 drop box on Sunday evening or early Monday morning (as that drop box remained open,
24/7, through Election Day). It is clear that the SOE processes the preponderance of VBM
ballots it receives each day from 10AM through 4PM; the number of VBM ballots with earlier
or later timestamps drops oﬀ before and after those peak hours. Without conﬁrmation from
the SOE, it is diﬃcult to know which VBM were being processed after 8PM (e.g., hour 20);
I suspect these are VBM ballots retrieved at the end of the day from early voting locations.

              Figure 5: Manatee County VBM Ballot Timestamps, by Hour,
                         October 19 through November 2, 2020

                                                   Count of VBM return timestamps, by hour
                                        8000
                                        6000
                Number of VBM ballots

                                        4000
                                        2000
                                        0




                                               0     5          10           15      20      25

                                                                Hour of the Day




   155      Over 51,000 Manatee County VBM ballots were processed with a timestamp
over the 15 days. More than 6,000 of the VBM ballots processed during this early voting


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period—11.6 percent—had an SOE received timestamp before 10AM; the remaining VBM
ballots had a timestamp of 10AM or later. As shown in Table 17, during this two week
period, over 2,600 Black voters cast VBM ballots in Manatee County; 350 of them with
recorded timestamps, or 13.5 percent, had their VBM ballots processed before 10AM by the
SOE, an indication that they were deposited after hours at the SOE’s 24/7 drop box. Among
Hispanic voters, over 2,800 cast VBM ballots in the county during the time frame; over 370
of them, or 13.4 percent with recorded timestamps, had their VBM ballots processed before
10AM by the SOE, an indication that they were deposited after hours at the SOE’s 24/7
drop box. Of the more than 43,200 white voters who cast VBM ballots in the county during
the early voting time frame in the 2020 General Election, a tad more than 4,900 of them, or
11.4 percent, had their VBM ballots processed before 10AM by the SOE, an indication that
they were deposited after hours at the 24/7 drop box at the SOE’s main oﬃce building.



    156      In addition, over the course of the same 14 days of early voting, more than
600 Manatee County voters who indicated they needed assistance when voting returned
VBM ballots with recorded timestamps. Roughly 12.4 percent of these VBM ballots have
timestamps earlier than 10AM, from October 19 through October 31, 2020, indicating that
their VBM ballots were dropped oﬀ after normal business hours; 11.7 percent of those voters
not indicating they needed assistance fell in this category.

 Table 17: Likely VBM Ballots Returned after Hours in 24/7 Drop Box, October 19 thru
      October 31, by Race/Ethnicity (Raw Counts and Percentage of Each Group),
                       Manatee County, 2020 General Election
                   After Hours       Black Hispanic Other White
                   No                2,240    2,418 2,720 38,038
                   Yes                 350      375   400 4,903
                   No                86.49    86.57 87.18 88.58
                   Yes               13.51    13.43 12.82 11.42
Note: Data from Manatee County      SOE, “MAN_20201103_GEN_Voted.xlsx”.




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    157      From these data, it is apparent that Black and Hispanic voters, as well as
those with disabilities, were more likely than white voters and those not needing assistance
to deposit their VBM ballots in Manatee County’s 24/7 VBM drop box after hours. In
his July 30 interrogatory response, SOE Bennett indicated that SB 90 has not yet had an
impact, and that he has made no decision on whether to allow VBM drop boxes beyond
the mandated EIP time period. Yet thousands of voters in the county likely dropped their
ballots oﬀ after normal business hours at the county’s SOE oﬃce that was open 24/7 and was
monitored after hours with video surveillance. Black, Hispanic, and voters with disabilities
were disproportionately more likely to have their ballots counted early in the morning. Unless
the county keeps open its 24/7 drop box and monitors it continuously with SOE personnel
as mandated by SB 90, these voters will face increased time, transportation, information,
and health costs associated with delivering in person their VBM ballots in future elections.


X.III.3    Indian River County VBM drop box returns before EIP voting, includ-
           ing locations not permissible under SB 90


    158      The SOE of Indian River County, Leslie Swan, in response to the LWV, et
al.’s RFP, provided hand-written sheets with times of when VBM drop boxes were emptied
by SOE staﬀ. It is my understanding, drawing from the county’s responses to the PIE
Committee, that Indian River had four locations that voters could drop oﬀ their VBM
ballots, including one—the Indian River County SOE oﬃce—that was open 24/7 from the
time VBM ballots were mailed out (40 days prior to Election Day), through 7:00PM on
Election Day.75

      75
        See Indian River SOE response to Florida House of Representatives, Public Integrity and
      Elections Committee, email from Leslie Swan to Erin Grall, February 25, 2021, NAACP, et
      al.’s RFP 1.




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    159      All of Indian River County’s VBM drop boxes were secure, with continual phys-
ical presence at all three early voting sites (from 8AM - 4PM during the early voting period),
and with physical presence at the SOE oﬃce during business hours. The 24/7 VBM drop box
located at the SOE oﬃce, however, had video surveillance after normal business hours. At
all three Indian River County early voting sites in the 2020 General Election, VBM ballots
dropped oﬀ in the secure boxes were returned to the SOE oﬃce nightly, and the drop box
at the SOE oﬃce was checked on a regular basis, including at the end of every business day.
In its responses to the PIE Committee, the Indian River SOE did not report receiving any
reports of so-called “ballot harvesting” in the county.



    160      The ﬁrst recorded date of VBM ballots being removed from a drop box by
Indian River SOE staﬀ was Thursday, September 24, 2020, which was around the same day
the SOE oﬃce had begun mailing VBM ballots to its non-UOCAVA registered voters.76 SOE
staﬀ collected 10 VBM ballots out of the 24/7 dropbox at 2:50 PM on that day. Over the
next three and a half weeks, over 2,400 voters dropped oﬀ their VBM ballots in the county’s
24/7 drop box, amounting to 72 percent of the more than 3,300 total VBM ballots deposited
in the county’s 24/7 secure drop box.



    161      To get a sense of how many VBM ballots were deposited after normal business
hours, when the Indian River County’s 24/7 drop box was secured by a video camera but
not monitored by an employee of the SOE (or otherwise), it is possible to tally the number
of ballots that SOE staﬀ ﬁrst collected on any given day. From September 24, 2020 through

      76
        Under the federal Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA), U.S.
      citizens who are active members of the Uniformed Services, the Merchant Marine, and the
      commissioned corps of the Public Health Service and the National Oceanic and Atmospheric
      Administration, their eligible family members, and U.S. citizens residing outside the United
      States, are provided their VBM ballots at an earlier date.



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Election Day, November 3, 2020, some 726 VBM ballots were retrieved by SOE staﬀ from
the SOE’s secure 24/7 drop box on the ﬁrst pick-up from that box, constituting over 21
percent of the more than 3,300 VBM ballots collected over the nearly six week period.



    162      According to her July 30 interrogatory response, SOE Swan indicated that she
had not yet made a decision on how to respond to the drop box constraints under SB 90.
Yet, it is my understanding that more than 700 voters in Indian River County who cast
their ballots after normal business in the 2020 General Election would not have been in
compliance with the statute and therefore would not have been permitted to do so, unless
the SOE had provided continuous monitoring, in person by an employee of the SOE oﬃce,
at the 24/7 location. If this is not done in future elections, these voters will face increased
time, transportation, information, and health costs when trying to cast their VBM ballots.


X.III.4    Hernando County VBM drop box returns before EIP voting, including
           at locations not permissible under SB 90


    163      According to internal records kept by the Hernando County SOE oﬃce, between
Monday, October 5, 2020 and Sunday, October 18, 2020, more than 8,360 Hernando County
voters (or their designees) dropped oﬀ VBM ballots at the “Forest Oaks LockBox”, which was
situated outside the Branch Library in Spring Hill. The SOE, Shirley Anderson, also set up
a temporary drive-thru drop box outside the county courthouse in Brooksville,77 which was
located “at the eastern end of the courthouse parking lot at the Records Storage Facility”
in Brooksville, allowing voters to “drive up to this box and turn in their ballot, eliminating

      77
       The SOE also maintained an “Inside LockBox” at the Brooksville location. See Hernando
      SOE response to LWV, et al.’s RFP 2.




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the need to put on a mask, enter the courthouse, and get a temperature check.” 78 That
facility was open 24/7, starting immediately after domestic VBM ballots were mailed out.
According to the Hernando County SOE, between Monday, October 5, 2020 and Sunday,
October 18, 2020, over 1,860 voters (or their designees) dropped oﬀ their VBM ballots at
the “Brooksville Outside LockBox.”



    164      In sum, over 10,200 VBM ballots were deposited by Hernando County voters
in the two VBM drop boxes prior to the start of EIP voting. When compared to the total
VBM ballots that were cast as reported in the January 2021 voter ﬁle, this amounts to
over 36 percent of the roughly 28,000 VBM ballots the Hernando SOE reported receiving
(mail or in person VBM) over the two week period.79 It is my understanding that, if SB 90
had been in eﬀect, these voters who utilized the outside 24/7 drop boxes would have been
prohibited from dropping oﬀ their ballots, as they did so prior to the start of early voting
and the drop boxes were located at temporary locations. Without the availability of these
secure and convenient 24/7 drop boxes, these voters would have had to utilize the USPS,
which is not always reliable, or would have had to drop oﬀ their VBM ballots at early voting
locations during the limited window of early voting, likely causing long lines at the county’s
permissible drop box facilities during the allowable early voting period.



    165      According to her July 13 interrogatory response, Hernando SOE Anderson
stated that, “To comply with the new requirements imposed by Section 28, Chapter 2021-11,
the Hernando County Supervisor of Elections Oﬃce anticipates that the drop boxes that it

      78
         See “Vote-by-Mail Drop Boxes,” Hernando Supervisor of Elections, archived webpage avail-
      able https://web.archive.org/web/20200928094449/https://www.hernandovotes.com/
      Vote-By-Mail-Drop-Boxes (last accessed August 15, 2021).
      79
         See Hernando SOE response to LWV, et al.’s RFP 2.




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will provide will only be open from Monday to Friday, between 8 a.m. and 4:30 p.m.” If this
is the case, thousands of voters in the county will be deprived of the ability to vote in this
manner, that is, casting their VBM ballots in a secure and timely fashion. Under SB 90,
voters will face increased time, transportation, information, and health costs when trying to
cast their VBM ballots.


X.III.5    St. Lucie County VBM drop box returns outside EIP voting


    166      In its response to the LWV et al.’s RFP, the St. Lucie County SOE Gertrude
Walker provided an Excel spreadsheet, “Daily Mail, Ballot Drop Oﬀ and Early Voting Curb-
side Log,” detailing the number of VBM ballots that were dropped oﬀ in the county between
September 17 and Election Day.80 Although I have not seen the SOE’s response to the PIE
Committee, it is apparent from the spreadsheet and other public information that the St.
Lucie County SOE oﬀered four 24/7 drop box locations (with two drop boxes each), located
at four SOE oﬃces: the St. Lucie West South County Annex/ SOE Oﬃce; the Walton
Rd County Admin Annex/SOE oﬃce; the Tax collectors oﬃce/SOE oﬃce; and the Orange
Blossom Business Center/ Main SOE oﬃce. The county also oﬀered a 24/7 “Secure Vote by
Mail Ballot Drop Oﬀ Location Only” at the Lakewood Park Library (which was not an EIP
voting location) during the full 14 days of EIP voting the county allowed.81 It is unclear if
the SOE provided round-the-clock oﬃce personnel at the ﬁve drop box locations. Figure 6
shows a screenshot, circa November 1, 2020, of St. Lucie County’s webpage promoting the
available VBM drop oﬀ locations.

      80
         Actually, through 11/13/2020, as 17 VBM ballots were retrieved from the “Mail/Fort Pierce
      Box” on that day, apparently arriving after 7:00PM on Election Day. See St. Lucie SOE
      response, to LWV et al.’s RFP 2.
      81
         See “EARLY VOTING AND VOTE BY MAIL BALLOT DROP OFF LOCATIONS,”
      St. Lucie Supervisor of Elections, archived webpage available https://web.archive.org/
      web/20201101111700/https://www.slcelections.com/m/Early-Voting (last accessed Au-
      gust 17, 2021).


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 Figure 6: Screenshot of St. Lucie County SOE website, “EARLY VOTING AND VOTE
           BY MAIL BALLOT DROP OFF LOCATIONS”, November 1, 2020.




Note: Screenshot of St. Lucie County SOE webpage, captured November 1, 2020. Available
at: https: // web. archive. org/ web/ 20201020234124/ ocfelections. com/ early-
voting-locations (last accessed August 15, 2021).



   167      Over the 32 days that the drop boxes were available before EIP voting began
in St. Lucie County (September 17 thru October 18, 2020), the SOE’s internal spreadsheet

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reveals that some 38,764 voters deposited their VBM ballots in the drop boxes, along with
another 5,159 voters who deposited their VBM ballots in the four drop boxes that were open
on Monday, November 2, 2020 as well as Election Day. All told, the 43,923 VBM ballots
deposited in the drop boxes in operation outside of EIP voting accounted for 57.0 percent
of all VBM ballots deposited in drop boxes (including over EIP voting at the county’s sites)
in the 2020 General Election.



    168      It is my understanding that the St. Lucie County’s 24/7 drop boxes were not
monitored by SOE personnel. The drop boxes would not have been in compliance with the
statute and therefore would not have been permitted had SB 90 been in eﬀect, as they were
were in operation prior to and after the EIP voting period in the 2020 General Election. SOE
Walker, in her interrogatory response from July 29, stated that the county oﬀered a “drop box
located at a county library in an outlying area to accommodate the large number of voters
there. SB 90 requires locations for Supervisors of Elections Oﬃce and Early Voting sites.
For the 2022 election cycles we are eliminating only 1 drop box.” In addition, she stated that
the “24 hour drop box will no longer be available.” Under this scenario, tens of thousands
of voters in the county will be deprived of the opportunity to cast their VBM ballots in
a secure and timely fashion. Under SB 90, voters will face increased time, transportation,
information, and health costs when trying to cast their VBM ballots.


X.III.6   Madison County VBM drop box returns before EIP voting


    169      Madison County oﬀered voters a total of ﬁve VBM drop boxes, including one
monitored 24/7 with video surveillance, located outside the SOE oﬃce in the City of Madison.
The SOE oﬃce VBM drop box was available for voters to deposit their VBM ballots from the



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time VBM mail ballots were sent out through Election Day.82 The county’s four additional
VBM drop boxes were open during and located at the county’s EIP voting locations.



    170      In response to the LWV et al.’s RFP, the Madison County SOE provided a 26
page .pdf, “2020 General Election Ballots Received in Mail/Dropbox,” comprised of 25 sheets
with columns of hand-written dates (and in some cases, times) along with what appears to be
hand-written names and voter ID numbers, beginning on October 8 and ending on November
3, as well as a summary sheet (on p. 9).83 Unfortunately, these hand-entered entries, by

day (and in some cases time) and names and voter IDs, on the logs are not all legible. More
problematic for any analysis, though, is that the logs do not diﬀerentiate which logged ballots
were collected from the mail and which were via a secure drop box, or, among VBM ballots
presumably retrieved from a drop box, from which of the county’s ﬁve VBM drop boxes the
ballots were retrieved by SOE staﬀ.



    171      On page nine of the .pdf, there is what appears to be a summary sheet, “Dropbox
VBM Ballots,” that records the number of VBM ballots retrieved by SOE staﬀ for each day
(September 29 - October 7, and October 13, 2020), presumably out of the one 24/7 VBM
drop box that was open in the county, as the dates precede the start of EIP voting in
the county. There were 164 VBM ballots deposited by voters during this two-week period,
but unfortunately there are no logs in the SOE’s production with individual-level voter IDs
associated with these dates. Presumably, all of these VBM ballots on a sheet that clearly
indicates that they were “Dropbox VBM Ballots,” were retrieved by the SOE staﬀ from

      82
         See Madison County SOE response to LWV et al.’s RFP 2, and Madison SOE response to
      PIE Committee.
      83
         See Madison SOE response, “2020 General Election Ballots Received in Mail/Dropbox.pdf”
      to LWV et al.’s RFP 2.




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Madison County’s 24/7 drop box with video surveillance, a box outside the SOE oﬃce that
would not be permitted under SB 90 if the county did not provide its own round-the-clock
security personnel.



    172      Overall, including the summary sheet tallying 164 VBM drop box ballots, there
are 756 VBM ballots referenced by the SOE on the 26 page .pdf (including 10 VBM ballots
with voter IDs that have no date associated with them). Of these, 380 (50.3 percent) have
dates inclusive of the 13 days of EIP voting permitted by the county at its four early voting
locations; the remaining 49.7 percent of VBM ballots have a date on days outside the required
days under SB 90 that VBM drop boxes are mandated.



    173      To put these ﬁgures in a broader context, according to the January 2021 vote
history ﬁle, over 2,000 Madison county voters cast VBM ballots in the 2020 General Election,
or 21.7 percent of the total (over 9,400) ballots cast. Black and Hispanic voters in the county
in the election were more likely to cast VBM ballots than white voters: nearly 27 percent of
Black voters and over 24 percent of Hispanic voters cast VBM ballots; less than 20 percent of
all ballots cast by white voters were VBM ballots. It is certainly possible that Black voters
in Madison County were more likely to drop oﬀ their VBM ballots on days pre- and post-EIP
voting, but at this time, I am unable to process, much less verify, if the names and voter
IDs listed on the SOE’s log of “2020 General Election Ballots Received in Mail/Dropbox”
are those of individuals who cast in-person VBM ballots at locations that under SB 90 are
not required.



    174      It is my understanding that Madison County’s 24/7 drop box was not continu-
ally monitored by SOE personnel. Had SB 90 been in eﬀect in the 2020 General Election,


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the county’s drop box would not have been in compliance with the statute and therefore
would not have been permitted, including prior to and after the EIP voting period. In his
interrogatory response from July 30, 2020, SOE Heath Driggers stated that he has not made
a decision yet on whether to oﬀer VBM drop boxes beyond the required EIP days/times
under SB 90. If the county does not do so, registered voters will be deprived of the oppor-
tunity vote in this manner and will thereby have a reduced opportunity to cast their ballot
in a secure and timely fashion. Under SB 90, voters will face increased time, transportation,
information, and health costs when trying to cast their VBM ballots.


X.III.7      Putnam County VBM drop box returns before and after EIP voting
             and 24/7 drop box returns


   175         In response to the LWV et al.’s RFP, the Putnam County SOE in North Central
Florida, provided an Excel spreadsheet, “PUTNAM000003 - No 2 - 2020 General Drop Box
Totals,” with daily counts of the 778 VBM ballots deposited in the three drop boxes located
at the county’s three EIP voting locations (which were open 8:30AM - 6:00PM, October
19 - October 31, 2020) in the 2020 General Election.84 Starting September 17 and running
through Election Day, the Excel spreadsheet also includes daily counts of 1,692 VBM ballots
returned in person to the SOE’s Palatka Oﬃce/Front Counter, the daily counts of the 35
Faxed (overseas) VBM ballots, and the daily counts of the 5,154 VBM ballots the oﬃce
received via the USPS. Also included in the Putnam County SOE’s spreadsheet is the daily
counts of VBM ballots deposited in the county’s 24/7 drop box located in the SOE parking
lot. In total, the Putnam County SOE reported receiving 9,279 VBM ballots in the 2020
General Election.

     84
          See Putnam County SOE response to LWV et al.’s RFP 2.




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   176         The Excel spreadsheet also provides daily counts for the 1,620 VBM ballots that
were deposited by voters in the county’s one 24/7 VBM drop box, which was located in the
parking lot of the Elections Oﬃce in Palatka, and open from September 26 through Election
Day. Subtracting the mailed and faxed VBM ballots from the total 9,279 VBM ballots
the county received through Election Day yields 4,090 VBM ballots that were deposited
in person, either over-the-counter at the SOE oﬃce, in a drop box located in the three
EIP voting sites, or deposited in the 24/7 parking lot VBM drop box. In all, nearly 40
percent of all hand-delivered VBM ballots in Putnam County in the 2020 General Election
were deposited in the 24/7 drive-through VBM drop box.85 In its response to the PIE
Committee, in which the Putnman County SOE noted no reports of “ballot harvesting,”
the SOE Charles Overturf III stated that the county maintained “Physical Presence at 4
Locations” and “Video Surveillance at 1 location.” It appears that the 24/7 drive-through
drop box had the video surveillance, and my understanding is that this type of surveillance
would not be permissible under SB 90.



   177         It is my understanding that Putnam County’s 24/7 drop box was not continually
monitored by SOE personnel. Had SB 90 been in eﬀect in the 2020 General Election, the
county’s 24/7 drop box would not have been in compliance with the statute and therefore
would not have been permitted, including prior to and after the EIP voting period. In his
interrogatory response on July 30, 2020, SOE Charles Overture stated that he had “not
determined 2022 locations for drop boxes at this time,” but that “[t]he drop box located in
the parking lot may be removed due to lack of funding to staﬀ the drop box with an election
worker as now required.” If the county does not oﬀer the 24/7 drop box, thousands of voters
will be denied the opportunity to cast their VBM ballots in a secure and timely fashion.

     85
          See Putnam County SOE response to LWV et al.’s RFP 2.



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Under SB 90, voters will face increased time, transportation, information, and health costs
when trying to cast their VBM ballots.


X.III.8      Lee County VBM drop box returns before EIP voting


   178         In his response to the LWV et al.’s RFP, the Lee County SOE Tommy Doyle
provided a spreadsheet, “131 Gen Elec 2020 Drop Box Totals.xlsx”, detailing the number of
VBM ballots dropped oﬀ between September 30 and Election Day.86 Although Lee County
did not oﬀer any 24/7 drop box locations, it did allow voters (or their designees) to deposit
their VBM ballots at three branch SOE locations from 8:30AM to 6:00PM (Lee County
Elections Bonita Springs Branch Oﬃce, Lee County Elections - Cape Coral Branch Oﬃce,
and the Lee County Elections Center) in the weeks leading up to the EIP voting period
starting October 19, 2020. According to the SOE’s spreadsheet, 38,530 VBM ballots were
deposited in the three available drop boxes between September 30 and October 18, 2020,
accounting for some 40.5 percent of the 95,063 total VBM ballots that the SOE oﬃce collected
from its secure drop boxes (including those later deployed at the county’s EIP locations as
well as at the county’s main SOE oﬃce).



   179         According to his July 30 interrogatory response, “The Supervisor has not made
decisions concerning removal of previously oﬀered drop boxes. The Supervisor anticipates
that the days of the week and times when drop boxes are available to voters will not change.”
Yet as SOE Doyle wrote in an email to the leadership of the Florida House and Senate on
March 11, 2021, “There are many voters who would rather drop a ballot oﬀ than vote in
person for many reasons, one is lack of trust in the USPS and of course coming in close

     86
          See Lee SOE response to LWV et al.’s RFP 2.




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contact with strangers at voting sites. Drop-oﬀs were one of the most popular ways to vote
in Lee County 95,000 voters dropped oﬀ their ballot, that’s 25 % of the voters that voted in
November. If we have those 95,000 voters showing up at the polls, you can expect very long
lines and wait times.” 87



    180      SOE Doyle clearly understands the increase costs to voters—time, transporta-
tion, information, and health—imposed by SB 90. It is my understanding that if Lee County’s
branch oﬃces are not considered to be “permanent” under SB 90, and more critically, if they
are not continually monitored by SOE personnel, none of the more than 38,500 VBM ballots
deposited in the secure drop boxes located at the SOE’s three branch oﬃces prior to the
start of EIP voting would have been permitted to do so in the 2020 General Election.


X.III.9    Pinellas County VBM drop box returns before EIP voting and at loca-
           tions that did not oﬀer EIP voting


    181      In its response to the LWV et al.’s RFP, the Pinellas County SOE Jule Marcus
provided a spreadsheet, “398 NOV 2020 BALLOT DROP OFF”, detailing the number of
VBM ballots that were dropped oﬀ between September 18 and Election Day.88 For more
than a decade, the Pinellas County SOE oﬃce has taken the lead in making VBM drop
boxes available for its voters. Although Pinellas County did not oﬀer any 24/7 drop box
locations, the county allowed voters (or their designees) to deposit VBM ballots at three SOE
locations (the County Courthouse, the Election Service Center, and the County Building
(which doubled as EIP locations) from 8:00AM to 5:00PM, from the day VBM ballots
were mailed out through 7:00PM on Election Day; these locations also served as EIP sites.

      87
         See Lee SOE Tommy Doyle, email “SB 90 Email to State Reps.pdf,” March 11, 2021, NAACP,
      et al.’s RFP 1.
      88
         See Pinellas SOE response to LWV et al.’s RFP 2.


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According to the Pinellas County SOE’s spreadsheet, “398 NOV 2020 BALLOT DROP OFF”,
104,540 VBM ballots were deposited in VBM boxes at the three SOE locations, and another
10,624 and 2,692 VBM ballots were deposited at the county’s two other EIP locations, The
Centre of Palm Harbor and the SPC Allstate Center, respectively. In all, 60.5 percent of the
194,843 VBM ballots deposited in drop boxes in the county were at these ﬁve locations.89



   182      More importantly, it is my understanding that 76,987 VBM ballots—accounting
for 39.5 percent of all VBM drop box ballots in Pinellas County in the 2020 General
Election—were deposited in 20 VBM drop boxes located around the county that would
not have been permissible under SB 90. That is, the 20 VBM drop boxes—even though each
was staﬀed with two deputized election employees—were not located at EIP voting locations
and are not permanent SOE oﬃces or branch oﬃces. The 76,987 VBM ballots deposited
in the 20 drop boxes include 4,019 VBM ballots deposited on Monday November 2, a day
after the close of EIP voting, which I understand to be expressly prohibited under SB 90 if
the drop box is not located at an SOE oﬃce or permanent branch oﬃce, and is continually
monitored by SOE staﬀ. These 20 drop boxes were spread around Pinellas County, stationed
at libraries, community and neighborhood centers, tax collector oﬃces, the EpiCenter at St.
Petersburg College, and even at Tropicana Field. None of these 20 drop box locations served
as an early voting site and none is a permanent SOE (or branch) oﬃce. Again, my under-
standing is that under SB 90, not a single one of the nearly 77,000 VBM ballots deposited
at drop boxes at 20 locations in Pinellas County in the 2020 General Election would be
permitted under SB 90.

     89
       It should be noted that 352 (The Center of Palm Harbor) and 105 (SPC Allstate Center)
     VBM ballots were dropped oﬀ at the two EIP locations on Monday, November 2, a day expressly
     prohibited by SB 90, as neither of these locations is a permanent SOE or branch oﬃce.




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    183       According to her June 28, 2021 aﬃdavit, Pinellas County SOE Julie Marcus
said that she intends to maintain 25 ballot drop-box locations for the 2022 primary and
general elections, as according to SOE Marcus, they “provide a critical, secure means for
voters to return their mail ballots directly to deputized election employees, and/or to bypass
the United States Postal Service.” 90 But it is unclear how this will be achieved unless the 20
drop box locations that the county allowed during the EIP period (and extended through
to the Monday before Election Day) that did not oﬀer EIP voting are converted into EIP
locations, or alternatively, become permanent SOE branch oﬃces.



    184       It is my understanding that if Pinellas County is not permitted to oﬀer VBM
drop boxes at non-SOE locations that are not also EIP locations, as is required under SB 90,
none of the nearly 77,000 voters who deposited their VBM ballots in the county’s secure drop
boxes in the 2020 General Election in the county’s 20 VBM drop box locations will be per-
mitted to do so in future elections. SB 90, in my opinion, will increase time, transportation,
information, and health costs to thousands of Pinellas County’s voters.


X.III.10     Taylor County 24/7 VBM drop box returns before EIP voting


    185       In her response to the LWV et al.’s RFP, Taylor County SOE Dana Southerland
provided a hand-written spreadsheet, “Log of VBM Ballots Returned to SOE by date and
by method”, detailing the number of VBM ballots were dropped oﬀ between September 24
and Election Day.91 Rural Taylor County only oﬀered one location for VBM ballots to be
dropped oﬀ in person—the SOE Oﬃce in Perry. The SOE, however, kept the secure drop

      90
         See Pinellas SOE response to Florida House of Representatives, Public Integrity and Elections
      Committee.
      91
         See Taylor SOE response to LWV et al.’s RFP 2.




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box open 24/7, from the day domestic VBM ballots were mailed out to Election Day. My
understanding is that the county maintained two VBM drop boxes: one inside and one
outside the oﬃce. According to the SOE’s response to the PIE Committee, the two drop
boxes were under continual monitoring using “video surveillance.”



   186      Taylor SOE Southerland reported that the two 24/7 drop boxes were checked
or emptied “1+ daily,” and reported no “reports of ballot harvesting in your county.” 92 Be-
ginning on September 24, and running through the start of EIP voting on October 19, 2020,
536 VBM ballots were deposited in the SOE’s one outside drop box under video surveillance.
Over that same period, the Taylor SOE documented receiving 916 VBM via “USPS” and
another 440 deposited in the inside secure drop box. Although the SOE did not report how
many of the VBM ballots were dropped oﬀ after normal business hours, the two 24/7 outside
VBM drop boxes in the county accounted for 51.6 percent of the 1,892 VBM ballots the SOE
received prior to the start of EIP voting on October 19, 2020.



   187      It is my understanding that neither of the county’s two secure 24/7 drop boxes
would be permitted under SB 90, as both were monitored by video surveillance and preceded
the commencement of EIP voting. According to SOE Southerland’s interrogatory on July
30, 2021, the county has made no decision at this time on maintaining the number of VBM
drop boxes or hours outside the mandated period under SB 90, despite the fact that more
than half of all voters who cast a VBM ballot in the county utilized the two 24/7 drop boxes.
If access to the VBM drop boxes in the county are not maintained, the costs to voters—time,
transportation, information, and health—will increase under SB 90.

     92
      See Taylor SOE response to Florida House of Representatives, Public Integrity and Elections
     Committee, NAACP, et al.’s RFP 1.




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X.III.11   Franklin County VBM drop box returns before EIP voting


   188      In its response to the LWV et al.’s RFP, the Franklin County SOE, Heather
Riley, provided a 53 page hand-written spreadsheet, “AP Dropbox – VBM ballots”, detailing
the number of VBM ballots that were dropped oﬀ each day from September 28 through
Election Day.93 Franklin County oﬀered two 24/7 VBM drop boxes monitored by video
surveillance, one at its SOE oﬃce in Apalachicola and one at its oﬃce annex at the Carrabelle
Courthouse, according to the SOE response to the PIE Committee.94 It is my understanding
that the county oﬀered voters EIP voting over 13 consecutive days, starting October 19 and
running through October 31, from 8:30AM to 5:30PM.



   189      Based on the data contained in the Franklin County SOE spreadsheet, “AP
Dropbox – VBM ballots”, a total of 937 VBM ballots were retrieved by SOE staﬀ from the
two 24/7 VBM drop boxes between September 28 and November 3, 2020. Of these, fully
two-thirds, some 560 (66.6 percent) VBM ballots, were retrieved by SOE staﬀ from the
two 24/7 VBM drop boxes between September 28 and October 18—days that preceded the
start of EIP voting—with an additional 64 VBM ballots collected over the ﬁnal three days
after the close of EIP voting in the county (Sunday, November 1, Monday, November 2, and
Election Day).



   190      SOE Riley stated in her interrogatory response on July 30, 2021, “I have not
made a decision about any changes at this time” regarding the two locations. Yet, it is my
understanding that neither of the county’s two secure 24/7 drop boxes would be permissible

     93
       See Franklin SOE response to LWV et al.’s RFP 2.
     94
       The Franklin SOE reported that the two 24/7 drop boxes were checked or emptied “Twice
     a day" and were accessible by voters “At all times”, and that the county did not receive any
     reports of “ballot harvesting” during the election.

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under SB 90, as both were monitored by video surveillance and were not continually by SOE
staﬀ. In addition, both 24/7 VBM drop boxes were open prior to and after the conclusion
of EIP voting in the county. Again, two-thirds of all VBM ballots hand-delivered by voters
to the county’s two drop boxes in the 2020 General Election were deposited outside SB
90’s mandated EIP voting period. Under SB 90, it is clear that costs to voters—time,
transportation, information, and health—will increase under SB 90.


X.III.12    St. Johns County VBM drop box returns before EIP voting


   191       In its response to the LWV et al.’s RFP, the St. Johns County SOE Vicky
Oakes provided an Excel spreadsheet, “VOTE-BY-MAIL BALLOT DROPOFF LOCA-
TIONS 11/3/2020 GENERAL ELECTION,” detailing the number of VBM ballots that
were dropped oﬀ between September 24 and Election Day.95 The St. Johns County SOE
oﬀered one 24/7 drop box location, located at its elections oﬃce. According to the SOE’s
response to the PIE Committee, the “permanently installed” secure drop box was monitored
“by 3 video cameras,” was “emptied daily,” with no reports of “ballot harvesting.” 96



   192       It is my understanding that beginning on September 22, and running through
the start of EIP voting on October 19, 2020, the St. Johns County SOE reported that there
were a total of 8,156 VBM ballots deposited in the SOE’s one available outside drop box
under video surveillance. In addition, the county reported another 827 VBM ballots were
deposited in its 24/7 drop box on the Sunday and Monday after the close of EIP voting
in the county, as well as on Election Day itself. All told, voters in the county deposited

     95
       See St. Johns SOE response to LWV et al.’s RFP 2.
     96
       See St. Johns SOE response to Florida House of Representatives, Public Integrity and
     Elections Committee, NAACP, et al.’s RFP 1.




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8,981 ballots in the outside drop box, accounting for 38.5 percent of the 23,318 VBM ballots
dropped in person (including at the 10 drop boxes at the county’s early voting locations) in
the 2020 General Election.



   193      According to St. Johns SOE Oakes’ interrogatory on July 30, 2021, “The 24/7
drop box located outside the Supervisor of Elections oﬃce will no longer be available as it
was previously monitored by security cameras.” In addition, she stated that “Drop boxes will
only be available inside the Supervisor of Elections Oﬃce and at all early voting locations;
only accessible during business and early voting hours.” It is my understanding that the
county’s 24/7 drop box would not have been in compliance with the statute and therefore
would not have been permitted under SB 90, as it was monitored by video surveillance
and its days of operation preceded (and succeeded) the commencement (and close) of EIP
voting in the 2020 General Election. The costs to voters in the county—time, transportation,
information, and health—will increase under SB 90.


X.III.13   Okechobee County VBM drop box returns before EIP voting and de-
           posited after hours


   194      In response to the LWV et al.’s RFP, the SOE of Okechobee County, Melissa
Arnold, provided a hand-written spreadsheet, “General Election 11/03/2020, Dropbox
Count,” that tallied the number of VBM ballots collected by the SOE staﬀ each day, from
September 28 through Election Day. The VBM ballots were all retrieved from the one out-
side VBM drop box the county oﬀered (located at the SOE Oﬃce in the city of Okeechobee).
My understanding is that the city had a second drop box located inside its 304 NW 2nd
St. oﬃce. According to the SOE’s response to the PIE Committee, SOE staﬀ retrieved and
counted the number of VBM ballots dropped oﬀ at its outside box, “Twice daily based on


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log,” with the outside drop box monitored by a “Police oﬃcer at night and SOE Window by
day.” 97 A total of 762 VBM ballots were retrieved from the 24/7 outside drop box over the
ﬁve weeks preceding Election Day.



    195         Of the 762 VBM ballots deposited in the 24/7 drop box, 398 (52.2 percent) were
dropped oﬀ prior the the start of EIP voting in the county, which was located only at the
SOE oﬃce. Since the 24/7 drop box was not continually monitored in person by SOE staﬀ
(SOE staﬀ monitored the drop box through a “SOE Window by day” and it was monitored
by a “Police oﬃcer at night”), more than half of the county’s voters who cast VBM ballots in
person at the outside box in the 2020 General Election would not have been in compliance
with the statute and therefore would not have been permitted had SB 90 been in eﬀect.
In addition, overall, the SOE reported that 208 of the 762 VBM ballots deposited in the
county’s 24/7 drop box, some 27.3 percent, were retrieved by staﬀ in the “AM”, indicating
that these ballots were likely deposited after the close of the SOE oﬃce (prior to EIP voting),
or after 4:30PM, the close of EIP voting that took place at at the SOE oﬃce from October
19 through November 1, 2020, and before the SOE oﬃce collected the deposited VBM ballots
in the ”AM”.98 .



    196         In her August 3, 2021 interrogatory response, SOE Arnold stated that no de-
cision had yet been made on how to respond to SB 90, but that she would “most likely be
extending the drop box hours to coincide with the extended early voting hours to better
meet the needs of the citizens of Okeechobee County.” In fact, even if the number of hours
of EIP voting during the two week period are expanded, such a decision would not oﬀset the

      97
           See Okechobee SOE response to LWV et al.’s RFP 2.
      98
           See Okechobee SOE response to the LWV et al.’s RFP 2.




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loss of opportunities for county voters to deposit their ballots prior to or after the window of
EIP voting. In short, the costs to voters in the county—time, transportation, information,
and health—will increase under SB 90.


X.III.14    Polk County VBM drop box returns before and after EIP voting


    197      In the 2020 General Election, the Polk County SOE, Lori Edwards, according
to information posted on her website, oﬀered voters the opportunity to drop oﬀ their VBM
ballots prior to the start of EIP voting through Election Day, at two locations: the county’s
Election Headquarters in Bartow and its Elections Operations Center in Winter Haven.99
According to information posted in a .pdf on the SOE’s website, the Bartow drop box was
open 24/7 for the ﬁve week run-up to Election Day; the Winter Haven drop box was open
weekdays, 8AM - 5PM over the same time period. Both drop boxes were also open on
November 2, after the close of the county’s two weeks of EIP voting, with the Bartow drop
box open 24/7 and the Winter Haven drop box open from 8AM to 5PM that Monday.



    198      In response to the LWV et al.’s RFP, the Polk County SOE provided two .pdfs
(“2020 General Bartow Drop Box” and “2020 General Winter Haven DROP BOX”) with
the daily tallies of VBM ballots deposited in the two drop boxes (beginning October 1
and running through Election Day.100 A total of 18,554 VBM ballots were cast at the two
locations (Bartow and Winter Haven) starting October 1 through Election Day, including
10,076 that were cast prior to the start of EIP voting, and 2,214 that were deposited on

      99
        “DROP BOX INFORMATION,” Polk County SOE, available https://www.polkelections.
      com/Portals/Polk/Documents/Drop%20Box%20locations%20-%202020%20General.pdf
      (last accessed August 18, 2020).
      100
          See Polk_Co_SOE_LWV_RTP_2 (1).pdf and Polk_Co_SOE_LWV_RTP_2 (3).pdf,
      Polk County SOE response to LWV et al.’s RFP 2.




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Monday, November 2, and Tuesday, November 3 (Election Day).101 The 10,076 VBM ballots
retrieved by the SOE oﬃce through October 18, accounted for 54.3 percent of the total
number of VBM ballots deposited in the Bartow and Winter Haven VBM drop boxes in the
weeks leading up to, and including, Election Day.



   199       In addition, the Polk SOE provided a .pdf, “Vote by Mail Drop Oﬀ at Early
Voting Sites General Election 2020”, that contained the count of daily VBM ballots deposited
in the county’s nine drop boxes located at EIP voting sites, and that were open from October
19 through November 1, 2020. Over those 14 days, according to the data in the .pdf, a total
of 17,677 VBM ballots were deposited in drop boxes at the nine EIP locations. In total,
then there were 36,231 VBM ballots deposited in drop boxes, according to ﬁgures provided
by Polk County (plus any deposited in the Polk County Government Center and the Polk
County Sheriﬀs District Oﬃce on Monday, November 2, 2020.) Finally, the 12,290 pre- and
post-EIP VBM ballots deposited in the Bartow and Winter Haven drop boxes (September
29 - October 18, and November 2 - November 3) accounted for 33.9 percent of the 36,231
VBM ballots the SOE reported as being deposited in VBM drop boxes in the entire election.



   200       In her interrogatory response on July 29, 2021, SOE Edwards was noncommittal
on how her oﬃce planned to respond to the limits placed on VBM drop boxes under SB 90.
But it is clear that under SB 90, given staﬃng issues at the two drop boxes, that the
12,290 voters who cast VBM ballots beyond the two-week EIP voting period will not have

     101
        See “DROP BOX INFORMATION,” Polk County SOE, available https:
     //www.polkelections.com/Portals/Polk/Documents/Drop%20Box%20locations%20-
     %202020%20General.pdf (last accessed August 18, 2020). Unfortunately, I have not been able
     to locate a response from the Polk County SOE that documents the total number of VBM
     ballots that were deposited in the drop boxes located at the two additional sites (Polk County
     Government Center in Lakeland and the Polk County Sheriﬀs District Oﬃce in Davenport)
     that, according to the SOE’s website, were open on Monday, November 2, 2020.



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such an opportunity to do so in future general elections under SB 90 unless the county
provides continual staﬃng. SB 90 will increase the costs to voters in the county—time,
transportation, information, and health—as SOE Edwards noted that, “Under the terms of
SB 90 the maximum number of locations in Polk County where a drop box may be located
outside of early voting hours is 2.” 102



X.IV         Aﬃdavits and interrogatory responses of SOEs regarding the
             impact of SB 90 on VBM drop box availability to voters


    201         Based on information received from the 14 SOEs, in my opinion SB 90 has a
negative impact on the ability of registered voters to return their VBM ballots to a secure
drop box, and this burden is likely to fall most heavily on voters of color. Not all SOEs have
provided data on drop box usage, however. Even without a complete data set on the usage
of VBM drop boxes, it is clear that the impact of SB 90 will not be minimal. My opinion
bolstered by aﬃdavits and interrogatory responses of Florida’s SOEs, as documented above,
but also for additional SOEs for which I have not obtained VBM drop box data.



    202         For example, the Alachua County SOE, Kim Barton, in her aﬃdavit, indicated
that SB 90 has had no impact yet, but stated that, the one 24/7 drop box “located at the
main oﬃce (515 N Main St, Gainesvillle, FL 32601) will not be opened 24 hours” in future
elections. Instead, the county’s one 24/7 “drop box will remain open through designated
early voting hours but the extra hours of availability are undetermined. Determinations will
be ﬁnalized by December 31, 2021.” Thousands of Alachua County voters likely cast their
VBM ballots at the county’s sole 24/7 drop box in the 2020 General Election prior to and

      102
            See Polk County SOE response to the LWV et al.’s RFP 40.



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after the 13 days of EIP voting the county oﬀered, including after normal business hours. In
short, by reducing the availability of the county’s only VBM drop box, SB 90 will increase
the costs to voters in the county—including costs on their time, transportation, information,
and health.



   203        Other SOEs clearly intend or expect that they will have to reduce the oppor-
tunities of voters in their counties to return their VBM ballots in secure drop boxes. For
example:
   • Clay County SOE Chris Chambless, in his interrogatory response from July 29, 2021,
said that the impact of SB 90 was apparent. “The dropbox outside the SOE’s main oﬃce
will remain locked and inaccessible due to the box not being monitored.” Clay County’s
24/7 VBM drop box in the 2020 General Election was open from the time VBM ballots were
mailed out through 7:00PM on Election Day. In future elections, voters who want to return
their VBM ballots to the drop box after hours will be unable to do so, as SOE Chambless
states that the drop box at the “SOE’s main oﬃce” will remain open only “during business
hours,” and “will remain locked and inaccessible due to the box not being monitored.”
   • Flagler County SOE Kati Lenhart, in her aﬃdavit on July 28, 2021, noted that, “The
secure ballot drop box at the Elections Oﬃce will no longer be available 24/7. A secure
drop box will be available 60 days prior to a Primary or General Election and through
Election Day, during oﬃce hours only at the entrance of the Elections Oﬃce.” In the 2020
General Election, Flagler County located its 24/7 VBM drop box outside its SOE Oﬃce in
Bunnell, and it was open from the time VBM ballots were mailed out through Election Day
at 7:00PM.
   • Glades County SOE Aletris Farnam, in her August 3, 2021 interrogatory response,
stated that she would probably not have a drop box outside that was available 24 hours
a day, 7 days a week. Rather, she noted that drop boxes will most likely be inside the

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Supervisor of Elections oﬃce, during working hours, which are Monday through Friday from
8:00 a.m. to 5:00 p.m. In the 2020 General Election, voters in the county had access to an
outside VBM drop box that was open after hours.
    • Lafayette County SOE Travis Hart, in his interrogatory response from July 27, 2021,
states, “Barring a reversal of the law in the 2022 Legislative Session regarding drop boxes,
the SOE will remove the drop box currently located at the courthouse,” which was outside
and open, 24/7, from the time VBM ballots were mailed out to Election Day at 7:00PM.
In my opinion, because of these planned cutbacks on 24/7 VBM drop boxes in these four
counties, SB 90 will increase the costs to voters in Clay, Flagler, Glades, and Lafayette
counties—including costs on their time, transportation, information, and health.



    204      Some SOEs are already feeling the eﬀect of SB 90. For instance:
    • In her interrogatory response, Amanda Seyfang, the Bradford County SOE, noted that
her oﬃce removed the 24/7 drop box located outside her oﬃce that the county has oﬀered
voters. The drop box was not available to voters in a recent “2021 municipal election (the
only election we have in 2021)...due to not having staﬀ to monitor in person.”
    • SOE Lori Scott of Brevard County made it clear in her aﬃdavit that “24/7 dropboxes
will no longer be available.” In the 2020 General Election, Brevard County oﬀered voters
four 24/7 drop boxes at their various SOE oﬃces.
    • Calhoun County SOE Sharon Charson, in her July 30, 2021 interrogatory response,
said that she has “not yet determined” if she will maintain the availability of a 24/7 drop box
outside her oﬃce that voters could use from the time VBM ballots were mailed out through
7:00PM on Election Day.
In short, SB 90 will increase the costs to voters in these three counties—including costs on
their time, transportation, information, and health.



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    205      A few SOEs, such as Baker County SOE, Chris Milton, claim that the impact on
drop boxes is not readily apparent. SOE Milton, in his July 30, 2021 interrogatory claimed
that the one drop box the county oﬀered in the 2020 General Election, “will be available
during early voting hours as set by law.” What this means is that voters will no longer have
access to the county’s 24/7 VBM drop box prior to or after the county’s EIP voting period,
as Milton admitted that, “At this time, the only location that a drop box can be placed that
could feasibly be open outside of early voting hours is at the Supervisor of Elections Oﬃce.”
In short, SB 90 will increase the costs to voters in the county—including costs on their time,
transportation, information, and health.



    206      Similarly, Bay County SOE, Mark Andersen, in his July 30, 2021 interrogatory
response, claims that SB 90 has not had an impact. He states that in future elections,
“locations will only be located inside our active early voting sites and main oﬃce as required.
This will be very close to what we have done in the prior election.” My understanding,
however, is that SOE Anderson carries out such action, it will actually not be very close
to what Bay County did in the 2020 General Election, as under SB 90, the county may no
longer, as it did in the 2020 General Election, oﬀer a 24/7 drop box at the SOE oﬃce unless
it is continually monitored by SOE staﬀ. In addition, if SB 90 is followed to the letter, Bay
County will also not be permitted to oﬀer drop boxes at all 13 of its Super Voting Centers
on the Monday before Election Day, which is not an allowed EIP day under state statute. In
short, SB 90 will increase the costs to voters in Bay County—including costs on their time,
transportation, information, and health.



    207      According to their aﬃdavits and interrogatory responses, some SOEs have al-
ready made plans to reduce VBM drop box availability due to SB 90. For example:


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    • Shirley Freen Knight, Gadsden County SOE, in her interrogatory response on July 30,
2021, stated that “The drop box that is installed in the door of the SOE building has been
removed.” SOE Knight did not indicate that there would be a replacement for the drop box,
which in the 2020 General Election was open 24/7 from the time VBM ballots were mailed
out through Election Day at 7:00PM.
    • Lake County SOE Alan Hays, in his interrogatory response, states that he has already
made a decision to eliminate the county’s 24/7 VBM drop box, as in “the 2022 elections, the
drop box previously provided outside of the elections oﬃce will no longer be available because
of the requirement that the drop box be continuously monitored in person by an employee
of the Supervisor’s oﬃce when accessible for deposit of ballots.” It is my understanding that
in the 2020 General Election, the Lake County drop box, located outside the SOE oﬃce, was
open 24/7 from the time VBM ballots were mailed out until 7:00PM on Election Day.
Functionally, since voters in these two counties will no longer have access to 24/7 VBM drop
boxes, a conservative estimate is that voters in the two counties will have roughly 300 fewer
hours (25 fewer days and at least 12 fewer hours each day, assuming the oﬃce is open 12
hours a day) to return their VBM ballots in person in future elections. In short, SB 90 will
increase the costs to voters in Gadsden and Lake counties—including costs on their time,
transportation, information, and health.



    208      A handful of SOEs claim in their aﬃdavits and interrogatory responses state
they have no intention of making changes under SB 90, despite that continuing their practices
in the 2020 General Election will comply with the statute and therefore will not be permitted
in whole or in part. For example:
    • Dixie County SOE Starlet Cannon, in her interrogatory response on July 30, 2021,
claims that, “For 2022 elections, there are no changes. We only have one drop box location
– at the SOE oﬃce.” My understanding is that in the 2020 General Election, Dixie County

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had one 24/7 drop box located outside of the SOE oﬃce that was open from the mailing of
VBM ballots through 7:00PM on Election Day, and that based on SOE Cannon’s response
to the PIE Committee, the county’s 24/7 drop box was secured by “Camera.”
   • DeSoto SOE Mark Negley’s response is similar to that of SOE Cannon’s. In his July
29, 2021 interrogatory response, SOE Negley stated that he does not intend to remove any
drop boxes. My understanding is that the county oﬀered two 24/7 drop boxes in the 2020
General Election that were available outside the SOE oﬃce, open for deposit of VBM ballots
from the time VBM ballots were mailed to voters through 7:00PM on Election Day.
   • In his aﬃdavit from June 28, 2021, and then again in his aﬃdavit from July 13, 2021,
Escambia SOE David H. Staﬀord claims that he does not intend to reduce the number or
hours of drop boxes nor change the dates or hours of operation. In the 2020 General Election,
according to SOE Staﬀord’s response to the PIE Committee, Escambia County oﬀered one
24/7 drop box outside the SOE oﬃce in Pensacola, which was open to voters from the time
VBM ballots were mailed out through 7:00PM on Election Day.
   • Hardee County SOE Diane Smith, in her interrogatory response on August 3, 2021,
states, “We do not currently anticipate any changes.” My understanding is that in the 2020
General Election, Hardee County oﬀered one VBM drop box, located at the Hardee Public
Library, that was open before and after the start and end of EIP voting.



   209      None of these SOEs acknowledge in their aﬃdavits or interrogatory responses
that SB 90 will require additional expense to staﬀ drop boxes, nor do they state speciﬁcally
that they intend to make the required investments in order to avoid any changes to their
drop box 24/7 availability. Contrary to their aﬃdavits and interrogatory responses, these
SOEs—despite stating that have no intention to make changes due to SB 90—will need to
make changes if they are to comply with the law.



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    210      At a minimum, to comply with SB 90, in order for these four counties to main-
tain the 24/7 VBM drop boxes available during the 2020 General Election they will need
to provide continual monitoring by their staﬀ from the time VBM ballots are mailed out
through 7:00PM on Election Day. In addition, Hardee County will have to ﬁnd a new loca-
tion for its 24/7 drop box, as its location (a public library) is prohibited to have a drop box
before or after the EIP period, as it is not a SOE oﬃce. Therefore, under SB 90, Hardee
County voters will not have access to a VBM drop box, except–at most–for the 14 days
during which they may drop oﬀ their VBM ballots during EIP–and that is only if the county
extends its EIP period to include the ﬁnal Sunday, something the county did not do during
the 2020 General Election.



    211      As it stands, voters in these four counties will experience a curtailment in drop
box availability in future elections compared to 2020 if the SOEs do not make changes. As
a result, voters in these counties will confront new barriers when trying to cast their VBM
ballots in person—including costs on their time, transportation, information, and health.



    212      SOE Joe Scott of Broward County, in his interrogatory response from July 30,
2021, claims that the impact of SB 90 will be “none,” at least “[w]ith regard to drop boxes
at early voting sites.” As SOE Scott notes, “[t]here are potentially an inﬁnite number of
locations in Broward County where a drop box may be placed that could be open outside of
early voting hours, dependent on the number of ‘permanent oﬃces’ of the Broward County
Supervisor of Elections.” At this time, though, the county has just two such oﬃces, with
an additional four “permanent oﬃces” to be opened shortly at Broward County libraries. In
addition, SOE Scott notes that his oﬃce “is in the process of securing additional satellite sites
for such ‘permanent oﬃces.” ’ Based on my knowledge of the budgets of SOEs, most SOEs do


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not have comparable resources available to them to make such changes, as Broward intends to
do, in response to SB 90. Still, even with these resources, SOE Scott notes that, “There will
be a reduction in drop box times at permanent oﬃces of the Supervisor of Elections because
of the requirement under SB 90 that ‘[a] secure drop box at the oﬃce of the supervisor must
be continuously monitored in person by an employee of the supervisor’s oﬃce when the drop
box is accessible for deposit of ballots.’)” He notes that his oﬃce will likely “not have 24 hour
availability [there] and will be a reduction in drop box times at permanent oﬃces.” Overall,
even with these eﬀorts by the SOE, SB 90 will likely increase the costs to voters in Broward
County—including costs on their time, transportation, information, and health.



    213      Neighboring Miami-Dade SOE Christina White states in her interrogatory re-
sponse from August 12, 2021, that the impact of SB 90 is apparent. She intends on reducing
the number of available VBM drop boxes from 33 to 28 for the 2022 election. According
to SOE White, she intends to restrict the North Dade and South Dade Government Center
drop boxes outside of the days and hours of EIP voting. “For future county-wide elections,”
SOE White states, “Miami-Dade County does not intend to provide drop boxes at the South
Dade Government Center or the North Dade Government Center outside of the days and
hours of Early Voting because neither location meets the deﬁnition of ‘permanent branch
oﬃce’ as described in Section 28 of Senate Bill 90 (2021).” This will result in greater costs for
the hundreds of thousands of Miami-Dade voters who cast VBM ballots in the 2020 General
Election—including costs on their time, transportation, information, and health.



    214      In the interrogatory response for Orange County from August 9, 2021, Orange
County does not intend on removing any drop boxes in future general elections. “The Orange
County SOE would note that it is his current intent to maintain in 2022 the . . . the


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same number of drop boxes as were maintained in the General Election for 2020.” It is my
understanding that Orange County oﬀered voters one 24/7 drop box located at the main SOE
oﬃce at 119 West Kaley Street in Orlando. SOE Cowles does not intend on changing the
dates or hours of operation of that drop box, which in the 2020 General Election, according
to his response to the PIE Committee, was “under 24 hour surveillance, plus oﬀ duty deputy
between end of EV hours and start of EV hours,” from the time VBM ballots were mailed
out to Election Day at 7:00PM. Under SB 90, the 24/7 drop box will have to be under
continual monitoring by SOE staﬀ.



   215       Similarly, Hamilton County SOE Laura Hutto, in her interrogatory response
on July 30, 2021, states that the county’s one outside VBM drop box, “will be open and
monitored in person according to F.S. 101.69.” If voters in the county are to have the same
access to the drop box as they did in the 2020 General election (that is, 24/7 access from
the time VBM ballots were mailed out through Election Day), Hamilton County will have to
provide 24/7 continual supervision by SOE staﬀ to ensure that the county’s one VBM drop
box is accessible at all hours, from the time VBM ballots were mailed out to Election Day.



   216       If either Orange County or Hamilton County does not in fact oﬀer 24/7 drop
boxes from the time VBM ballots were mailed out through Election Day, it will result in
less opportunities for voters in two counties casting VBM ballots in future elections—raising
costs on their time, transportation, information, and health.



   217       Palm Beach SOE, Allison Novoa, in her August 2, 2021 interrogatory response,
stated that she does not plan to eliminate any of her four 24/7 drop boxes that were open
from the time VBM ballots were mailed out through Election Day. However, she did state


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that she will limit the times during which voters will be able to drop oﬀ their VBM ballots
and will not be oﬀering temporary VBM drop boxes that the county provided voters in
the 2020 General Election. “The SOE will not be removing any of the permanent drop
boxes at our four (4) oﬃce locations, but we will limit the time during which voters will be
able to drop oﬀ ballots, due to the expense and safety concerns implicated in staﬃng those
drop boxes overnight by Supervisor of Elections employees,” she states in her interrogatory
response. “Our oﬃce will not be oﬀering any of the temporary drop boxes that were oﬀered
in the 2020 General Election due to lack of funding. Grant money was used to implement
and staﬀ those twenty-ﬁve (25) drop boxes throughout the county, during Early Voting, and
for drive-through drop boxes at the Main SOE Oﬃce and the day before Election Day and
on Election Day.” This included, presumably, eight mobile van VBM drop boxes that were
open, from October 19 through November 1 from 7:00AM to 7:00PM at various libraries
and town and community centers around the county. Although SOE Novoa did not provide
precise details on how many fewer hours or days the 24/7 drop boxes will available in future
elections, it will certainly result in several hundred fewer hours of VBM drop box availability
for voters compared to the 2020 General Election. These cuts will result in greater costs
for voters in Palm Beach County who intend to vote by mail in future elections—-including
costs on their time, transportation, information, and health.



    218      Finally, Hillsborough County SOE Chief of Staﬀ, Margaret “Peg” Reese, in
her June 25, 2021 aﬃdavit claims that the impact of SB 90 is not readily apparent for her
county. She claims that the the removal of both Amalie Arena and Raymond James Stadium
as locations with VBM drop boxes does not appear to be due to SB 90. In addition, she
claims that the four locations that had drop boxes available from 7:00AM to 7:00PM, from
the time VBM ballots were mailed out to Election Day, with drive-thru available, do not
appear to be impacted, but Resse failed to acknowledge that under SB 90, they will all have

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to have continuous SOE personnel at each location. She did say that the county’s one 24/7
drop box at the SOE’s Elections Service Center will be discontinued.103 These cuts will result
in greater costs for thousands of voters who cast VBM ballots in future elections—-including
costs on their time, transportation, information, and health.



X.V         Summary: SB 90 will burden voters’ ability to return their
            VBM ballots by decreasing the availability of VBM drop
            boxes, including burdening voters of color


    219       In my opinion, because SB 90 reduces the availability of drop boxes prior to
and after the start of EIP voting due to the requirement that drop boxes available 24/7 must
now be continually staﬀed and only located at permanent SOE oﬃces (or branch oﬃces),
Florida voters will be burdened in future elections when trying to return their VBM ballots.
It is worth repeating that not one of the SOEs who responded to the PIE Committee’s
request reported any so-called “ballot harvesting” and that video surveillance did not reveal
any evidence of ballot harvesting.104



    220       It is possible to extrapolate from the VBM drop box data from the 14 counties
the impact statewide on voters due to SB 90’s restrictions on VBM drop boxes. Each of
these counties provided documentation in discovery, in one form or another, including the
number of voters who utilized secure drop boxes prior to or after the EIP voting in the 2020
General Election, as well as the use of 24/7 VBM drop boxes or at VBM drop box locations

      103
          In the Hillsborough County response to the PIE Committee, there is no mention of a 24/7
      drop box. “What periods of time were they accessible by voters? During oﬃce hours at our 4
      oﬃces, during Early Voting hours at our 26 Early Voting sites (which included our 4 oﬃces).”
      But in her aﬃdavit, Ms. Reese states on p. 3, “The SOE 24 hour drop box at the Elections
      Service Center will be discontinued.”
      104
          See SOE responses to Florida House of Representatives, Public Integrity and Elections
      Committee, Chair Erin Grall, February 24, 2021.


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not permitted by SB 90, as applicable. Drawing on these data, as well as on the Florida
Supervisor of Elections’ statement that roughly 31 percent of all VBM ballots in the state
were deposited in secure drop boxes, it is possible to provide a rough estimate the number
of VBM ballots that were deposited in drop boxes prior to the start of EIP voting.



   221      According to data from the statewide VBM daily activity reports, the 67 SOEs
recorded receiving some 1.9 million VBM ballots during the period prior to the commence-
ment of EIP voting (October 19) in the 2020 General Election. If we assume, based on a
conservative estimate from available data from the 14 counties, that roughly one-third of all
VBM ballots received by SOEs from late September until October 18, 2020 were deposited in
secure drop boxes—drop boxes that SB 90 limits unless they are at a permanent SOE oﬃce
and continually monitored with SOE staﬀ—it is possible that more than 600,000 VBM bal-
lots statewide were deposited in secure drop boxes before the commencement of EIP voting
in the 2020 General Election.



   222      In my opinion, rather than being able to drop oﬀ their VBM ballot before
(or after the conclusion) of EIP voting, SB 90 curtails the opportunities for hundreds of
thousands of voters to safely and securely cast their ballots in VBM drop boxes in future
elections, as many SOEs will not opt to have their SOE personnel continually monitor drop
boxes. In addition, it is my understanding that SB 90 limits SOEs from oﬀering VBM drop
boxes at many locations. As a result, thousands of voters will be forced to either mail their
ballots, drop them oﬀ in person at their SOE oﬃce during normal business hours, or wait to
drop them oﬀ during the early voting period, which will increase the cost of voting—time,
transportation, information, and health. Many voters who decide to put their VBM ballot
in the mail will have their ballots rejected for being late, as we have seen in past Florida


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elections (Smith 2018; Smith & Baringer 2020; Smith 2021). And in my opinion, some voters
will not return their VBM ballot at all if the availability of VBM drop boxes is curtailed in
whole or in part.



   223      My analysis suggests that SB 90’s limitations on secure VBM drop boxes will
negatively aﬀect all voters, depriving them of an opportunity to securely return their VBM
ballot to an oﬃcial SOE drop box after hours. My analysis also indicates that during the
2020 General Election, in Columbia County and Manatee County, voters of color (and in
Manatee County, voters with disabilities), were disproportionately more likely to drop oﬀ
their VBM ballots outside the mandated days VBM drop boxes must be made available
under SB 90.




XI     SB 90’s restrictions on assistance to voters waiting
       in lines at the polls burdens all in-person voters, and
       particularly persons of color and individuals with dis-
       abilities, who wait in line to cast a ballot

   224      SB 90 restricts individuals waiting in line to vote to receive assistance. Accord-
ing to Section 29 of SB 90:


     For the purpose of this subsection, the terms “solicit” or “solicitation” shall in-
     clude, but not be limited to, seeking or attempting to seek any vote, fact, opinion,
     or contribution; distributing or attempting to distribute any political or campaign
     material, leaﬂet, or handout; conducting a poll except as speciﬁed in this para-
     graph; seeking or attempting to seek a signature on any petition; and selling



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       or attempting to sell any item; and engaging in any activity with the intent to
       inﬂuence or eﬀect of inﬂuencing a voter.105


SB 90 imposes new costs on registered voters needing assistance when waiting in line to vote.



XI.I         A legacy of long lines at the polls in Florida


    225         Long lines at the polls are common in Florida. SB 90’s “line warming” restric-
tions will potentially aﬀect all voters who vote in person during the early voting period and
on Election Day, but will particularly aﬀect voters of color who might require material as-
sistance (drink, food, seating, or shelter) when standing in lines at the polls. Under SB 90,
with the exception of election oﬃcials or individuals who have been requested by an elector
(and who have signed an aﬃdavit) to provide assistance, individuals are not permitted to
solicit an elector within 150 feet of the entrance to a polling place, a drop box location, or
an early voting site. As such, individuals with groups wanting to provide voters waiting in
a queue that is within 150 feet of a polling entrance are not allowed to do so, even if it is
just to distribute drink, food, seating, or shelter.



    226         How many voters might be in a queue reaching 150 feet outside the entrance to
a polling place, drop box location, or early voting site? The Hernando SOE estimates that
“the average voter count for less than 15 min is 25,” and that the “average voter count for
less than 30 min is 50.” 106 That is, if there are 25 voters waiting in line to vote, the wait
time will be approximately 15 minutes; if 50 voters are waiting in line, it will be a half hour

       105
           See “Enrolled CS for CS for CS for SB 90,” 2nd Engrossed, Section 28. Available https:
       //www.flsenate.gov/Session/Bill/2021/90/BillText/er/PDF (last accessed August 10,
       2020).
       106
           See “REV-00006449.xlsx,” Hernando SOE response to NAACP, et al.’s RFP.



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wait.



   227      Scholars rely on queuing theory to tackle the question of long lines and wait
times at the polls. According to studies drawing on queuing theory and that examine the
eﬃciency of the voting process (Willis, Murphy & Cotten 2014; Weil et al. 2019; Herron &
Smith 2016), estimates range on how long it takes the average voter to cast a ballot, from
anywhere from one minute to check in a voter to ﬁve minutes, on average, to ﬁll out a ballot
and cast a vote. Assuming a ﬁve minute rate to vote with a single station for check-in,
ballot marking, and vote tabulating, Smith, Monfort & Blumberg (2015, p. 123) surmise
that a “line of voters would therefore take ﬁve minutes multiplied by the number of voters in
that line,” and that “a 10-foot line segment can contain approximately ﬁve voters” (who are
standing two feet apart, and not a socially distanced six feet according to CDC guidelines
under COVID-19 protocol).



   228      Working backwards, then, an estimated 15 minute wait time roughly equates to
three voters standing in a line, waiting ﬁve minutes each, when queuing to vote at a facility
with one check-in station, one ballot marking station, and one vote tabulator. The Hernando
County SOE’s estimate, then, is not as dire, as a 15 minute wait time would indicate roughly
25 voters in line, not just three, as the estimate indicates above. This is because counties
tend to use at polling stations multiple check-in (EViD) locations, ballot marking stations,
and vote tabulators, which likely expedite the process.



   229      However, a voter simulation study conducted by Willis, Murphy & Cotten
(2014) shows that increasing the number of voting booths in a polling location, for ex-
ample, results in diminishing returns in eﬃciency. In addition, as Weil et al. (2019) show,


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average wait times at the polls can vary greatly as the hourly arrival rate varies over a given
hour. Based on a model in which a polling location can check in one voter every minute,
Weil et al. (2019) ﬁnd that as “the arrival rate reaches a critical point, the expected wait
time increases exponentially. With 40 voters per hour, the average wait time is only two
minutes; at 50 voters, it is ﬁve minutes; at 55 voters, the wait time is 11 minutes; and at 59
voters per hour, the wait time is almost an hour.” In short, when it comes to voting, long
wait times are typically indicative of long lines, and vice versa.107



XI.II       Scholarship on who waits in lines when voting


    230       There is ample scholarly evidence that Black and Hispanic voters face longer
wait times when casting a ballot in person (Kimball & Baybeck 2013; Kaplan & Yuan
2020; Pettigrew 2017; Stewart III 2017; Chen et al. 2019; Stein et al. 2020), including in
Florida (Herron & Smith 2012, 2014; Herron et al. 2017; Cottrell, Herron & Smith 2021).
According to Stewart III (2017), whose surveys ask voters about their experiences at the polls,
including how long they wait in line, Florida voters regularly report having to endure some
of the longest lines in the country. For example, in 2012, Florida voters reported waiting
an average of 39 minutes, three times the national average (Stewart III & Ansolabehere
2013). Other surveys, such as national studies by Mukherjee (2009) and Kimball (2013),
ﬁnd that minority voters are disproportionately face longer lines when they vote. Stewart III
(2013) and Pettigrew (2017) estimate that predominantly Black and nonwhite, respectively,
voting locations are associated with wait times that are approximately twice as long as those
in predominantly white locations. Finally, matching some 93,000 polling locations in the
2016 General Election with anonymous location data captured from 10 million smartphones,

      107
        At least one SOE worked with the Bipartisan Policy Center’s “Line Length Data Collection”
      eﬀort. See Nassau County SOE’s response to the LWV et. al’s RPF 15.


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Chen et al. (2019) ﬁnd that voters in predominantly Black neighborhoods were about 74
percent more likely to wait in line for over a half-hour than those in predominantly white
neighborhoods.



    231      It is quite possible that other provisions of SB 90 will exacerbate the well known
wait time problems facing in-person voters in Florida, similar to the long lines that occurred
in the 2012 General Election after the state reduced the number of days of early voting
under HB 1355 (Herron & Smith 2014, 2015). For example, because SB 90 reduces the
opportunities for registered voters to request and return VBM ballots, it will likely have
a downstream eﬀect of diverting some voters to casting their ballots in person. Because
persons of color choosing to vote in person already face longer lines at the polls, on average,
than white voters, the increased wait times at the polls may discourage voters from standing
in line, particularly if they are not able to be approached to receive necessary aid.



    232      Long lines at the polls tend to be the result of administrative resource allocation
dedicated to staﬃng polling locations and demands placed on polling locations by voters. The
interactions between in-person voter turnout at polling locations and administrative decisions
about resource allocation are related (Herron & Smith 2016). Waiting in line to vote is a time
tax (Mukherjee 2009) and this tax can be negligible (waiting a few seconds before checking
in and initiating the voting process) or quite onerous (waiting several hours, exposed to the
elements, before checking in to vote) (Cottrell, Herron & Smith 2021; Pettigrew 2021).



    233      The burden of long lines and wait times—negligible or onerous—are not spread
equally across groups of voters. Onerous wait times can cause reneging, that is, voters
leaving a slow-moving line, or balking, that is, not joining the line in the ﬁrst place upon


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observing a long queue (Herron & Smith 2016; Lamb 2021). Stewart III & Ansolabehere
(2013) estimate that in the 2012 General Election, there were between 500,000 and 700,000
“lost votes” due to long lines.108 Long wait times/lines can also exacerbate existing health
concerns for some voters. According to the Centers for Disease Control (CDC), millions
of Floridians have underlying health conditions, which is an added concern with regard to
the continuing COVID-19 pandemic. For example, Florida’s rate of obesity is higher than
the national average, and the CDC warns that obesity is a risk factor for contracting and
becoming ill from COVID-19.109 In addition, having a serious heart condition raises the risk
that an individual becomes infected with COVID-19 or develops severe illness.110 Florida
voters with underlying medical conditions who wish to vote in person at an early voting
location (or drop oﬀ their VBM ballot in person at a local drop box) may be subjected to
long lines and wait times, jeopardizing their health. Yet these vulnerable individuals, under
SB 90, are prohibited from receiving any aid while in line other than might be provided by
the SOE oﬃce.



   234       Even with the anticipated shift to mail voting prior to the 2020 General Election
due to the COVD-19 pandemic, many SOEs remained concerned about long lines at the polls

     108
         Long lines also have secondary eﬀects. First, long lines at the polls have “downstream”
     electoral eﬀects on the calculus that individuals make on whether to vote in the future. Both
     Pettigrew (2021) and Cottrell, Herron & Smith (2021) show that voters who spend more
     time waiting in line at the polls in a given election—that is, as the cost of voting becomes
     more onerous—their likelihood of turning out in a future election decreases. In this sense,
     experiencing long wait times may have longer term consequences, and this depressive eﬀect on
     turnout is not borne by all voters equally. Second, Herron et al. (2017), in a study measuring
     wait times and using exit polls across Miami-Dade precincts in the 2014 General Election, ﬁnd
     that voters who waited longer in line had less conﬁdence in electoral processes.
     109
         See “Nutrition, Physical Activity, and Obesity: Data, Trends and Maps,” Centers for Disease
     Control and Prevention, available at https://www.cdc.gov/nccdphp/dnpao/data-trends-
     maps/index.html (last accessed August 2, 2021).
     110
         See “Heart Disease Mortality by State,” National Center for Health Statistics, avail-
     able at https://www.cdc.gov/nchs/pressroom/sosmap/heart_disease_mortality/heart_
     disease.htm (last accessed August 2, 2021).



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or drop box locations. As a way to alleviate congestion during the early voting period, several
SOEs posted on their websites estimated wait times at early voting sites. I was able to scrape
estimated wait times across early voting locations for two counties, Miami-Dade and Orange,
that the SOE oﬃces posted on their web pages during the early voting period of the 2020
General Election.



XI.III     Wait times in Miami-Dade County, early voting, 2020 Gen-
           eral Election


    235      Miami-Dade County posted wait times on its website during early voting in the
2020 General Election. The county oﬀered 33 locations during the two-week EIP voting
period. After merging the statewide voter ﬁle and county records, I am able to identify over
593,000 voters (of the county’s 1.67 million registered voters) who cast their ballots in person
during early voting in the county ahead of the November 2020 election. Table 18 provides
the racial/ethnic composition (both the raw count and the percentage of votes cast by each
racial/ethnic group across all 33 locations) of the voters who cast their ballots at each of the
locations in the 2020 General Election.




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           Table 18: Racial/Ethnic Composition of Each Early Voting
             Location, Miami-Dade County, 2020 General Election
Early Voting Location              Black Hispanic Other               White
ARCOLA LAKES BRANCH LIB             6674     1709   520                 413
CALIFORNIA CL BRANCH LIB            7956     2671  1122                1410
CORAL GABLES BRANCH LIB             1043    19484  2161                7621
CORAL REEF BRANCH LIB               4666    10316  1601                2851
ELECTIONS DEPT–DORAL                 403    17561  1306                2019
FIU –SASC ROOM                       547    12433  1091                1445
FLA CITY YOUTH ACT CNT              1733     1388   264                 322
HOMESTEAD COMM CNT                  2225     7995  1071                4322
INT MALL BRANCH LIB                  173    14841  1103                1224
JOHN F KENNEDY LIB                   181    31271  2258                1283
JOSEPH CALEB CENTER                 8776     4662   635                 235
KENDALE LAKES BRANCH LIB             401    23082  1750                1961
KENDALL BRANCH LIB                   475    14587  1227                4657
LEMON CITY BRANCH LIB               5382     3638  1001                2645
MDC KENDALL CAMPUS                   398     8866   919                2265
MDC NORTH CAMPUS                    3439     2919   492                 273
MIAMI BEACH CITY HALL                616     4844  1241                5802
MIAMI LAKES COMM CENTER              951    29593  2110                3013
NARANJA BRANCH LIB                  3343     7400   888                1070
NORTH DADE REG LIB                 18775     4693  1543                 389
NORTHEAST DADE AVENTURA BRANCH LIB 1872      8175  2151                9100
NORTH MIAMI PUBLIC LIB             15028     4238  1814                2137
NORTH SHORE BRANCH LIB               465     6130  1153                4633
PALMETTO BAY BRANCH LIB              736     5767   817                3906
P AND P FROST MUS OF SCI             615     3984   850                2507
PINECREST BRANCH LIB                 236     6368   947                5061
SHENANDOAH BRANCH LIB                229    13174   960                1552
SOUTH DADE REG LIB                  5373    14245  1713                2338
STEPHEN P CLARK GOVERNMENT CENTER   2490     5637   674                1822
VIZCAYA HISTORIC GARAGE              434     7318  1089                4866
WESTCHESTER REG LIB                   94    31060  1777                2227
WEST KENDALL REG LIB                1013    22592  2040                3318
WEST MIAMI COMM CNT                   86    12844   738                 983
ARCOLA LAKES BRANCH LIB             6.89     0.47  1.27                0.46
CALIFORNIA CL BRANCH LIB            8.22     0.73  2.73                1.57
CORAL GABLES BRANCH LIB             1.08     5.33  5.27                8.50
CORALREEF BRANCH LIB                4.82     2.82  3.90                3.18
ELECTIONS DEPT–DORAL                0.42     4.80  3.18                2.25
FIU–SASC ROOM                       0.56     3.40  2.66                1.61
FLA CITY YOUTH ACT CNT              1.79     0.38  0.64                0.36
HOMESTEAD COMM CNT                  2.30     2.19  2.61                4.82
INT MALL BRANCH LIB                 0.18     4.06  2.69                1.37
JOHN F KENNEDY LIB                  0.19     8.56  5.50                1.43
JOSEPH CALEB CENTER                 9.06     1.28  1.55                0.26
KENDALE LAKES BRANCH LIB            0.41     6.32  4.27                2.19
KENDALL BRANCH LIB                  0.49     3.99  2.99                5.19
LEMON CITY BRANCH LIB               5.56     1.00  2.44                2.95
MDC KENDALL CAMPUS                  0.41     2.43  2.24                2.53
MDC NORTH CAMPUS                    3.55     0.80  1.20                0.30
MIAMI BEACH CITY HALL               0.64     1.33  3.02                6.47
MIAMI LAKES COMM CENTER             0.98     8.10  5.14                3.36
NARANJA BRANCH LIB                  3.45     2.02  2.16                1.19
NORTH DADE REG LIB                 19.39     1.28  3.76                0.43
NORTHEAST DADE AVENTURA BRANCH LIB  1.93     2.24  5.24               10.15
NORTH MIAMI PUBLIC LIB             15.52     1.16  4.42                2.38
NORTH SHORE BRANCH LIB              0.48     1.68  2.81                5.17
PALMETTO BAY BRANCH LIB             0.76     1.58  1.99                4.36
P AND P FROST MUSOF SCI             0.64     1.09  2.07                2.80
PINECREST BRANCH LIB                0.24     1.74  2.31                5.64
SHENANDOAH BRANCH LIB               0.24     3.60  2.34                1.73
SOUTH DADE REG LIB                  5.55     3.90  4.18                2.61
STEPHEN P CLARK GOVERNMENT CENTER   2.57     1.54  1.64                2.03
VIZCAYA HISTORIC GARAGE    144      0.45     2.00  2.65                5.43
WESTCHESTER REG LIB                 0.10     8.50  4.33                2.48
WEST KENDALL REG LIB                1.05     6.18  4.97                3.70
WEST MIAMI COMM CNT                 0.09     3.51  1.80                1.10
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    236      Overall, close to 97,000 Black voters cast EIP ballots in the 2020 General Elec-
tion in Miami-Dade County. As Table 18 reveals, Black voters who cast EIP ballots in the
county disproportionately voted at two locations: the North Dade Regional Library and
the North Miami Public Library. Over the two-week period, more than one-in-three Black
voters—over 33,000 EIP voters—cast their ballots at the two locations. In comparison, in not
one of the county’s 33 early voting locations did more than 11 percent of the total Hispanic
EIP voters (over 363,000) or total white EIP voters (nearly 89,000) cast their ballots.



    237      It is also worth noting that over 30 percent of all Black EIP voters cast their
ballots on just two days of early voting oﬀered in the county: 17.5 percent on the ﬁrst Monday
(October 19, 2020) and 13.8 percent on the ﬁnal Sunday (November 1, 2020), indicating the
activity of get-out-the-vote (GOTV) drives to get voters to the polls and cast their ballots
well in advance of Election Day, or the ﬁnal day of early voting. Roughly 25 percent of early
voting Hispanic voters and 27 percent of all early voting white voters cast their ballots on
these two days, indicating similar turnout patterns reﬂective of voter turnout drives at the
start and end of early voting.



    238      Not all of Miami-Dade’s 33 locations had similar wait times across the two-week
early voting period. The Miami-Dade SOE reported on its website multiple snapshots on
multiple days the estimated wait times during early voting at all 33 locations in the 2020
General Election. For Miami-Dade County, I was able to process seven estimated wait times
captured by the SOE at various times of day of operation for ﬁve days of early voting (two
wait times snapshots from Monday, October 19, two wait times snapshots from Thursday,
October 22, one wait times snapshot from Monday, October 26, one wait times snapshot from
Saturday, October 31, and one wait times snapshot from Sunday, November 1). Overall, of


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the more than 593,000 voters who cast EIP ballots in Miami-Dade County in the 2020
General Election, over 264,000 individuals voted on one of the ﬁve days for which I have an
estimated wait time.



    239      By joining EViD data from the county that contains timestamps (date, hour,
minute) of when each voter cast a ballot during early voting, statewide EViD data that
has information, by county, of where each voter cast an EIP ballot, the statewide voter ﬁle
to obtain the race/ethnicity of each voter, and the statewide Recap ﬁle to determine the
disability status of each voter, I am able to determine the time and place that every voter
in Miami-Dade County cast a ballot. I join this data to data capturing the county’s own
estimated wait times for each location for the ﬁve days (and seven wait time snapshots).



    240      Figure 7 shows the distribution of average estimated wait times, in minutes, for
the ﬁve days (and seven snapshots) during early voting, as recorded by the Miami-Dade SOE.
Although over 172,000, or 65 percent, of the more than 264,000 early voters in the county
who cast ballots on the ﬁve days of early voting cast their ballots at locations that recorded
zero minutes of estimated wait time, over 59,000 voters at locations that the SOE recorded
wait times of at least a half-an-hour on the day that they voted. Nearly 14,900 voters—some
5.6 percent of all EIP voters in the county—cast ballots at locations that reported during the
day at least an estimated 45 minute wait time; 5,200 (another 2 percent) voted at locations
with at least an estimated 40 minute wait time; 12,300 (another nearly 5 percent) voted at
locations with at least an estimate 35 minute wait time; and an additional 26,500 voters
(over 10 percent of all EIP voters) cast ballots at locations that the SOE reported had at
least an estimated 30 minute wait time at some point during the day.




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        Figure 7: Distribution of Wait Times, in Minutes, Across Miami-Dade County’s 33 Early
                                Voting Locations, 2020 General Election



                                                Estimated Wait Times in Miami−Dade County
                                   200000
                                   150000
Number of Early In−Person Voters

                                   100000
                                   50000
                                   0




                                            0      10         20              30   40       50

                                                                    Minutes




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   241      Not all voters who cast EIP ballots in voters in Miami-Dade faced the same wait
times on the ﬁve days prior in the 2020 General Election (Monday, October 19, Thursday,
October 22, Monday, October 26, Saturday, October 31, and Sunday, November 1) for
which I have wait times snapshots recorded by the SOE. Table 19 provides the racial/ethnic
composition of voters who cast their ballots at each of the locations in the 2020 General
Election, broken down by the estimated wait times as provided by the SOE. The raw number
of voters is in the top half of the table, and the percentage of voters in each racial/ethnic
group who faced an estimated wait time is in the bottom half of the table.

  Table 19: Estimated Wait Times for Early In-Person Voters (October 19, October 22,
    October 26, October 31, and November 1), by Race/Ethnicity (Raw Counts and
         Percentage of Each Group), Miami-Dade County, 2020 General Election

                        Minutes Black      Hispanic   Other   White
                        0       32083         99706   12729   28173
                        15        165          3263     364    1689
                        20       3188         15478    1401    2780
                        25        528          3452     233     421
                        30       7931         14293    1614    2742
                        35       1645          9189     687     851
                        40        151          3659     292    1106
                        45       1184         10838     729    2129
                        0       68.44         62.36   70.52   70.62
                        15       0.35          2.04    2.02    4.23
                        20       6.80          9.68    7.76    6.97
                        25       1.13          2.16    1.29    1.06
                        30      16.92          8.94    8.94    6.87
                        35       3.51          5.75    3.81    2.13
                        40       0.32          2.29    1.62    2.77
                        45       2.53          6.78    4.04    5.34




   242      Similarly, Figure 8 oﬀers a bar graph, showing the average estimated wait times
for the roughly 47,000 Black, 160,000 Hispanic, and 40,000 white voters (and 18,000 voters
with “Other” race/ethnicity) in Miami-Dade County who cast EIP ballots at the county’s 33


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early voting locations on Monday, October 19, Thursday, October 22, Monday, October 26,
Saturday, October 31, and Sunday, November 1).

Figure 8: Distribution of Wait Times, in Minutes, by Race/Ethnicity, during Early Voting,
                        Miami-Dade County, 2020 General Election




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   243      What is clear, as both Table 19 and Figure 8 show, is that over 23 percent of
all Black voters, nearly 24 percent of Hispanic voters, but only 17 percent of white voters
faced wait times of 30 minutes or more across the ﬁve days of early voting for which I have
estimated wait times posted by the Miami-Dade SOE. In raw counts, nearly 11,800 Black,
nearly 38,000 Hispanic, but fewer than 7,000 white EIP voters voted on the ﬁve days that
had at least one estimated wait times of half an hour or more.



   244      In contrast, nearly 71 percent of white voters who cast ballots in Miami-Dade
County during the ﬁve days of early voting (including the ﬁrst and last days of the two-week
period) for which I have data faced wait times of less than 15 minutes prior to checking in,
according to the SOE’s own estimates. Only 68 percent of Black voters and 62 percent of
Hispanic voters cast ballots at locations with estimated wait times of less than 15 minutes
on the 5 days of early voting for which I have obtained the SOE’s estimated wait times.



   245      It is possible to subset the Miami-Dade data to be even more precise about the
race/ethnicity of voters and their estimated wait times during early voting. Since I have
a precise timestamp for the wait times at the county’s locations, I am able to determine
which voters on a given day were likely standing in line to vote when the Miami-Dade SOE
provided an estimated wait time for each of the 33 early voting locations. I subset the data
to include just those voters who checked in to vote at a location on either side of (roughly
an hour) of the estimated wait time provided by the SOE’s oﬃce.



   246      For example, Figure 9 provides a bar graph of voters who were likely in line
to vote (between 8AM and 10AM) when the SOE oﬃce posted 9AM wait times for all 33
locations on Monday, October 19, 2020. Some 3,200 Black voters, 7,500 Hispanic voters,


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and 2,800 white voters cast ballots during this two hour period. As is clear from the plot,
Hispanics disproportionately faced long wait times of at least 45 minutes. Indeed, there were
over 1,300 Hispanic voters who likely waited at least 45 minutes to vote at the county’s early
voting locations that morning, the ﬁrst morning of EIP voting, or roughly 18 percent of all
Hispanic voters who cast ballots at the 33 locations between 8AM and 10AM.

 Figure 9: Distribution of Wait Times, in Minutes, by Race/Ethnicity, October 19, 9AM,
                       Miami-Dade County, 2020 General Election




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   247      The other six wait time snapshots (across the ﬁve days) show similar patterns.
On Monday, October 19, 2020 for instance, the SOE published estimated wait times for the
county’s 33 early voting locations at 5PM. Between 5PM and through the 7:00PM close of
polls that day, over 1,300 (43 percent) of the more than 3,000 Black voters, over 4,300 (48
percent) of the more than 9,000 Hispanic voters, but only 878 (33 percent) of the 2,600 white
voters who checked in during the two hour period faced wait times in excess of 30 minutes.
Overall, nearly 2,300 of the roughly 15,600 voters (15 percent) who checked in and cast
ballots after 5PM on October 19 in the county voted at locations that the SOE reported had
at least a 45 minute wait time at 5PM. Of those voters, 1,608 (71 percent) were Hispanic
voters who waited at least 45 minutes late in the day on October 19, 2020.



   248      It is also possible, using the same methods and data as described above, to
determine the estimated wait times that voters who indicated when they registered that
they require assistance when voting. In Miami-Dade County alone, over 33,500 voters who
cast ballots during the EIP voting period in the 2020 General Election indicated that they
required assistance when voting, including more than 15,000 individuals on the ﬁve days
in the early voting period on which the SOE provided snapshots of estimated wait times.
Roughly 5.7 percent of all EIP voters in Miami-Dade—both overall and limited to the ﬁve
days for which I have wait time estimates from the SOE’s website—indicated that they
required assistance when voting according to their voter registration form.



   249      Black and Hispanic voters who cast EIP ballots in Miami-Dade in the 2020
General Election were much more likely than white early voters to need assistance when
voting. Nearly 13 percent of Black voters and nearly 5 percent of Hispanic voters who voted
early (both overall and on the ﬁve days with wait times), compared to less than 2 percent


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of early voting white voters, indicated that they needed assistance to vote.



    250      Figure 10 provides the racial/ethnic breakdown, grouped by estimated wait
times, across Miami-Dade County’s 33 early voting locations across the ﬁve days, for the
roughly 15,000 voters who reported needing assistance to vote when registering. What is
clear from the ﬁgure is that a much higher proportion of Black voters and Hispanic voters
with disabilities were likely to face estimated wait times of at least 45 minutes at the location
at which they cast their EIP ballot, compared to white voters with disabilities. Hundreds
more Black and Hispanic voters needing assistance to vote faced wait times in excess of 30
minutes across the county’s early voting sites on the ﬁve days for which the SOE provided
estimate wait times.




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    Figure 10: Miami-Dade County Reported EIP Wait Times, Only Voters Needing
                         Assistance, by Race and Ethnicity




Note: Wait Times estimates posted by the Miami-Dade County Supervisor of Elections on
October 19, 2020, October 22, 2020, October 26, 2020, October 31, 2020, and November 1
2020. Available at: https: // web. archive. org/ web/ 20200101000000*/ https:
// www. miamidade. gov/ elections/ earlyvoting/ wait-times. asp (last accessed July
31, 2021).




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XI.IV       Wait times in Orange County, early voting, 2020 General
            Election


    251      Similar to the Miami-Dade County analysis, for Orange County I was able to
process wait times from a single snapshot posted on Tuesday, October 20, 2020, the second
day of the two-week early voting period. The snapshot contains estimated wait times for
the county’s 20 polling locations. It is unknown when during the day the county posted the
estimated wait times.



    252      By joining Electronic Voting Identiﬁcation (EViD) data from the county that
contains timestamps (date, hour, minute) of the times when each voter cast a ballot during
early voting, statewide EViD data that has information, by county, of where each voter cast
an EIP ballot, the statewide voter ﬁle to obtain the race/ethnicity of each voter, and the
statewide Recap ﬁle to determine the disability status of each voter, I am able to determine
the precise time and place that every voter in the county cast a ballot. I then join this data
to a dataset that contains the county’s estimated wait times for each location for October
20, 2020.



    253      Table 20 provides a breakdown of the composition of voters, by race/ethnicity,
across the 20 early voting locations in Orange County on October 20, 2020. Overall, across
all 20 locations, nearly 18,000 individuals cast EIP votes, including nearly 4,000 Black voters,
over 3,500 Hispanic voters, more than 8,400 white voters, and nearly 2,000 individuals of
other races/ethnic groups. Black voters made up slightly more than 22 percent, Hispanic
voters made up nearly 20 percent, white voters made up over 47 percent, and those of other
races/ethnic groups comprised the balance, roughly 11 percent.



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    254      Both halves of Table 20—the top (raw numbers) and bottom (percentage of all
voters of each race/ethnic group who voted on October 20, 2020, across each early voting
location)—make it clear that there there were some early voting locations that were more
heavily utilized by Black and Hispanic voters on October 20, 2020. In particular, Black
voters disproportionately turned out to vote at the Amway Center, the Apopka Community
Center, the Hiawassee Branch Library, the Supervisor of Elections Oﬃce, the Washington
Park Branch Library, and the West Oaks Branch Library. Hispanic voters disproportionately
voted at the Alafaya Branch Library, the Chickasaw Branch Library, the Meadow Woods
Recreation Center, the South Creek Branch Library, and the Southeast Branch Library.



    255      The Orange County SOE reported on its website (from the snapshot) that three
early voting locations (Amway Center, Southwest Branch Library, and the SOE oﬃce) had
virtually no wait times, and one had at least a 180 minute wait time (Winter Park Library).
For the three locations with negligible wait times on that day, Black voters disproportionately
utilized the Amway Center, whites disproportionately utilized the Southwest Branch Library,
and all groups of voters utilized the SOE oﬃce. White voters disproportionately utilized the
Winter Park Library, which reportedly suﬀered long lines on October 20, 2020.



    256      Figure 11 compiles these data into a bar graph, showing the estimated wait
times for Orange County voters who cast in-person ballots at the county’s 20 early voting
locations on October 20, 2020. What is clear from the ﬁgure is that while white voters
disproportionately were more likely to wait in line for three hours (at the Winter Park
Library), Black and Hispanic voters were more likely than white voters to experience wait
times of 15 or 30 minutes or more on October 20, 2020.




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              Table 20: Racial/Ethnic Composition of Each Early
               Voting Location, Orange County, October 20, 2020
                                              Black   Hispanic    Other   White
  ALAFAYA BRANCH LIBRARY                        174        359      131     467
  AMWAY CENTER                                  396        138      103     518
  APOPKA COMMUNITY CENTER                       379        153       75     619
  CHICKASAW BRANCH LIBRARY                       90        282       91     291
  FAIRVIEW SHORES                               201         96       71     382
  HIAWASSEE BRANCH LIBRARY                      569        118      153     147
  MARKS STREET SENIOR CENTER                     25         57       41     430
  MEADOW WOODS RECREATION CENTER                118        320       93     222
  RENAISSANCE SENIOR CENTER                     137        253      102     398
  SOUTH CREEK BRANCH LIBRARY                    143        395      125     319
  SOUTHEAST BRANCH LIBRARY                       92        316       96     457
  SOUTHWEST BRANCH LIBRARY                      116        182      164     762
  SUPERVISOR OF ELECTIONS OFFICE                374        227      156     760
  TIBET BUTLER PRESERVE                          47         93       76     515
  UCF: LIVE OAK EVENT CENTER                     84        115      104     293
  WASHINGTON PARK BRANCH LIBRARY                422         63       56      66
  WATER CONSERV II                               41         67       41     330
  WEST OAKS BRANCH LIBRARY                      356         72       98     264
  WINTER GARDEN LIBRARY                         140        107       86     554
  WINTER PARK LIBRARY                            53        106       85     676
  ALAFAYA BRANCH LIBRARY                       4.40      10.20     6.73    5.51
  AMWAY CENTER                                10.01       3.92     5.29    6.12
  APOPKA COMMUNITY CENTER                      9.58       4.35     3.85    7.31
  CHICKASAW BRANCH LIBRARY                     2.27       8.01     4.67    3.44
  FAIRVIEW SHORES                              5.08       2.73     3.65    4.51
  HIAWASSEE BRANCH LIBRARY                    14.38       3.35     7.86    1.74
  MARKS STREET SENIOR CENTER                   0.63       1.62     2.11    5.08
  MEADOW WOODS RECREATION CENTER               2.98       9.09     4.78    2.62
  RENAISSANCE SENIOR CENTER                    3.46       7.19     5.24    4.70
  SOUTH CREEK BRANCH LIBRARY                   3.61      11.22     6.42    3.77
  SOUTHEAST BRANCH LIBRARY                     2.32       8.98     4.93    5.40
  SOUTHWEST BRANCH LIBRARY                     2.93       5.17     8.42    9.00
  SUPERVISOR OF ELECTIONS OFFICE               9.45       6.45     8.01    8.97
  TIBET BUTLER PRESERVE                        1.19       2.64     3.90    6.08
  UCF: LIVE OAK EVENT CENTER                   2.12       3.27     5.34    3.46
  WASHINGTON PARK BRANCH LIBRARY              10.66       1.79     2.88    0.78
  WATER CONSERV II                             1.04       1.90     2.11    3.90
  WEST OAKS BRANCH LIBRARY                     9.00       2.05     5.03    3.12
  WINTER GARDEN LIBRARY                        3.54       3.04     4.42    6.54
  WINTER PARK LIBRARY                          1.34       3.01     4.37    7.98




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  Figure 11: Orange County Reported EIP Wait Times, October 20, 2020, by Race and
                                     Ethnicity




Note: Wait Time estimates posted by the Orange County Supervisor of Elections on
October 20, 2020. Available at:
https: // web. archive. org/ web/ 20201020234124/ ocfelections. com/ early-
voting-locations (last accessed July 5, 2021).




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   257      It is possible to subset the data that created the previous graph, limiting the
analysis to only to EIP voters on October 20, 2020 in Orange County who indicated when
they registered to vote that they were in need of assistance when voting. Table 21 details
where the 381 individuals with disabilities cast their ballots on October 20, 2020 in Orange
County. Across the 20 early voting sites, some locations were more likely to have to accom-
modate the 381 individuals who voted that day who indicated on their voter registration
form that they were in need of assistance to vote. For example, on October 20, 2020, over
4 percent (27 voters) of the more than 600 voters who cast EIP ballots at the Washington
Park Branch Library indicated that they needed assistance to vote, and nearly 6 percent
(57 voters) of the nearly 1,000 voters who cast EIP ballots at the Hiawassee Branch Library
indicated that they needed assistance to vote.




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    Table 21: Number and Percentage of Voters "Needing Assistance" who Voted at
       each of Orange County’s 20 Early Voting Locations on October 20, 2020

 Location                                        N   %                        Y     %
 ALAFAYA BRANCH LIBRARY                        1113 98.41                     18   1.59
 AMWAY CENTER                                  1133 98.1                      22    1.9
 APOPKA COMMUNITY CENTER                       1196 97.55                     30   2.45
 CHICKASAW BRANCH LIBRARY                       736 97.61                     18   2.39
 FAIRVIEW SHORES                                736 98.13                     14   1.87
 HIAWASSEE BRANCH LIBRARY                       930 94.22                     57   5.78
 MARKS STREET SENIOR CENTER                    549 99.28                       4   0.72
 MEADOW WOODS RECREATION CENTER                 732 97.21                     21   2.79
 RENAISSANCE SENIOR CENTER                      877 98.54                     13   1.46
 SOUTH CREEK BRANCH LIBRARY                    955 97.25                      27   2.75
 SOUTHEAST BRANCH LIBRARY                       940 97.81                     21   2.19
 SOUTHWEST BRANCH LIBRARY                      1213 99.1                      11    0.9
 SUPERVISOR OF ELECTIONS OFFICE                1471 96.97                     46   3.03
 TIBET BUTLER PRESERVE                          726 99.32                      5   0.68
 UCF: THE GARDEN ROOM AT LIVE OAK EVENT CENTER 589 98.83                       7   1.17
 WASHINGTON PARK BRANCH LIBRARY                 580 95.55                     27   4.45
 WATER CONSERV II                               476 99.37                      3   0.63
 WEST OAKS BRANCH LIBRARY                       773 97.85                     17   2.15
 WINTER GARDEN LIBRARY                          873 98.42                     14   1.58
 WINTER PARK LIBRARY                            914 99.35                      6   0.65
Note: Wait Time estimates posted by the Orange County Supervisor of Elections on October
20, 2020. Available at: https: // web. archive. org/ web/ 20201020234124/ ocfelections.
com/ early-voting-locations (last accessed July 5, 2021).




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   258      Of the 381 individuals who needed voting assistance who cast their EIP ballots
in Orange County on October 20, 2020, only 78 cast EIP ballots at locations at which
the SOE oﬃce reported no lines. However, six of these individuals with disabilities who
voted at the Winter Park Library conceivably faced a three hour wait time on October 20,
2020, according to the SOE’s own wait times estimate. Figure 12 provides the racial/ethnic
breakdown, by estimated wait times across Orange County’s 20 early voting locations, limited
to those individuals who reported needing assistance to vote. What is clear from the ﬁgure
is that a much higher proportion of Black voters and Hispanic voters who indicated they
needed assistance when voting were likely to face the estimated three hour wait time at the
Winter Park Library than comparable white voters; over a quarter of Black and Hispanic
voters needing assistance to voter were also likely to face over an hour wait when voting at
early voting locations in Orange County on October 20, 2020.




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Figure 12: Orange County Reported EIP Wait Times, Only Voters Needing Assistance, by
                                Race and Ethnicity




Note: Estimates of Wait Times posted by the Orange County Supervisor of Elections on
October 20, 2020. Available at:
https: // web. archive. org/ web/ 20201020234124/ ocfelections. com/ early-
voting-locations (last accessed July 5, 2021).




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XI.V       Wait times in other counties, early voting, 2020 General Elec-
           tion


   259       As part of the discovery process, a handful of counties provided a smattering of
snapshots or spreadsheets of estimated wait times, or alternatively, the estimated number of
persons in line on various days, during the early voting period in the 2020 General Election.


XI.V.1     Wait times in Lee County, early voting, 2020 General Election


   260       Lee County, for example, provided daily snapshots of wait times using VRSys-
tems’ Dashboard application tied to EViD check-in times.111 As an example of the wait time
data provided in discovery, Figure 13 reproduces the Lee County SOE’s snapshot for October
30, 2020, when three of the county’s 11 early voting locations had wait times greater than
30 minutes at various times during the day. (The twelfth location (“StandbyEV (RegionF),
appears to have been a training EViD machine, although one voter evidently cast a ballot
on the machine on October 28, 2020.)




     111
        See Lee daily estimated wait times, saved as .jpg screenshots, LWV, et al.’s RFP 15. As
     an aside, it is curious that other counties apparently do not use this technology, or did not
     produce these images in discovery, as to my knowledge, most of the 67 SOEs use VRSystems
     as their vendor for EViD check-ins.


                                                 163
                                                                                Figure 13: Lee County’s Reported EIP Wait Times, VRSystems Screenshot, October
                                                                                                                    30,2020
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                                                                              Note: Wait Times estimates, Lee County, NAACP et al.’s RFP 15.
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    261      Unfortunately, the wait time documents produced in discovery by the Lee
County SOE are not complete; some of the screenshots do not contain all of the polling
locations, nor do all the screenshots have precise timestamps when the wait time estimate
for a polling location was captured. (This should not be taken as a criticism of Lee County,
as the wait time estimates during early voting that the SOE did provide are exemplary;
they are just not complete.) Through a process of elimination, though, it is possible to infer
which of the county’s 11 early voting polling locations were missing, and the estimated wait
times for each of them. It is not possible, however, to determine the precise timestamp for
each estimated wait time for the early voting locations not captured in the daily screenshots,
though most of the visible snapshots for each location were taken around mid-day (11AM
until 2PM). Indeed, all but seven of the 74 EIP voting polling locations with time stamps
indicate the estimated wait times at that location were between 11AM and 2PM. Scholarly
studies show that these are typically the times least congested (Stewart III 2017; Stewart
III & Ansolabehere 2013; Herron & Smith 2016), so the available sites with wait times likely
underestimate longer wait times at the 11 sites.



    262      In addition, there are no screenshots of wait times on the ﬁrst day of EIP voting,
October 19, 2020, despite news reports documenting extremely long lines of voters standing
in line, including in the pouring rain and clearly within 150 feet of the polling site entrance,
at several early voting locations in Lee County.112 Figure 14 shows photos of voters standing
in long lines outside the Dr. Carrie Robinson Community Center in Lee County on October
19, 2020. Unfortunately, the Lee County SOE did not provide a VRSystems’ “Wait Times:

      112
         See, for example, “Long lines and rain didn’t dampen turnout on ﬁrst day of early voting
      in Lee and Collier,” The News-Press, October 19, 2020, available https://www.news-
      press.com/story/news/politics/elections/2020/10/19/early-voting-florida-2020-
      fort-myers-naples-cape-coral-lehigh-acres-estero-vote-election/3709337001/
      (last accessed August 15, 2021).



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Details” screenshot for several early voting days or locations, including October 19, 2020.
As a result, the obvious long lines on October 19, 2020, visible in Figure 14, as well as other
days of early voting with locations that were “NOT SET” (October 20 - October 24), are
not included in my analysis, making my ﬁndings conservative.

        Figure 14: Photos of Lines During EIP Voting, Lee County, October 19, 2020




Note: “Long lines and rain didn’t dampen turnout on ﬁrst day of early voting in Lee and Collier,” The News-Press, October
                                                       19, 2020.




    263         Overall, according to the January 2021 Recap ﬁle for Lee County, more than
113,000 voters in the county cast EIP ballots in the 2020 General Election. As Table 23
reveals, in the county, more than 7,600 Black voters cast EIP ballots in the county, more
than 13,400 Hispanic voters cast EIP ballots, and more than 86,000 white voters cast EIP
ballots in the county. The distribution of Hispanic and white voters who cast EIP ballots
was spread more evenly across the 11 locations than that of Black voters, who concentrated
their voting at three locations. Over the nearly two-week period, roughly two-thirds of Black


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voters who voted EIP ballots voted at the Dr. Carrie Robinson Community Center, the East
County Regional Library, and the Veterans Park Recreation Center. Table 23 provides the
racial/ethnic composition (both the raw count and the percentage of votes cast by each
racial/ethnic group across all 11 locations) of ballots cast at each of the locations in the 2020
General Election.113

  Table 22: Racial/Ethnic Composition of Each Early Voting Location (Raw Counts and
             Percentage of Each Group), Lee County, 2020 General Election
      Early Voting Location                              Black    Hispanic    Other    White
      CAPE CORAL-LEE COUNTY LIB                            309        1507      626    10596
      DR. CARRIE ROBINSON COMM CNTR                       2203         592      369     2655
      EAST COUNTY REGIONAL LIB                            1518        1747      549     5031
      ESTERO REC CTR                                       227         699      501     9057
      LEE SOE BONITA SPRINGS                               129         873      476    10239
      LEE SOE CAPE CORAL                                   409        2175      669     9245
      LEE SOE CNTR                                         697        1400     1063    15889
      NORTH FORT MYERS REC CNTR                            161         644      374     8823
      NORTHWEST REGIONAL LIB                               331        1504      435     7511
      RIVERSIDE COMM CNTR                                  385         463      236     3572
      VETERANS PARK REC CNTR                              1270        1870      452     3577
      CAPE CORAL-LEE COUNTY LIB                           4.04       11.18    10.89    12.29
      DR. CARRIE ROBINSON COMM CNTR                      28.84        4.39     6.42     3.08
      EAST COUNTY REGIONAL LIB                           19.87       12.97     9.55     5.84
      ESTERO REC CTR                                      2.97        5.19     8.71    10.51
      LEE SOE BONITA SPRINGS                              1.69        6.48     8.28    11.88
      LEE SOE CAPE CORAL                                  5.35       16.14    11.63    10.73
      LEE SOE CNTR                                        9.12       10.39    18.49    18.43
      NORTH FORT MYERS REC CNTR                           2.11        4.78     6.50    10.24
      NORTHWEST REGIONAL LIB                              4.33       11.16     7.57     8.71
      RIVERSIDE COMM CNTR                                 5.04        3.44     4.10     4.14
      VETERANS PARK REC CNTR                             16.62       13.88     7.86     4.15




    264      Across the 13 days of EIP voting that Lee County oﬀered voters in the 2020
General Election (the county did not oﬀer voting on the ﬁnal Sunday prior to Election
Day), turnout among Black and Hispanic voters, as with white voters and those of other
racial/ethnic groups, was spread fairly evenly. However, there was a slight uptick in turnout
by Hispanics on the ﬁnal two days (Friday, October 30 and Saturday, October 31) of early

      113
         Omitted is the one voter who, according to the Lee County SOE data, cast an EIP ballot
      at “StandbyEV(RegionF)”.



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voting.



    265      So as to get a sense of the wait times voters likely had to endure at each early
voting location, it is possible to determine the composition of voters, grouped by race and
ethnicity, for those who cast ballots at the 11 locations on the ﬁnal seven days of early voting
in Lee County.114 According to the SOE’s own estimates, in an election in which less than
30 percent of all voters in the county cast EIP ballots—roughly one in seven (over 9,900
voters) of the more than 63,000 EIP ballots voters who cast EIP ballots (on the seven days
for which Lee County’s wait time estimates are available)—there was at least a 30 minute
wait time on the day on which they voted.115



    266      Table 23 provides the county’s estimated wait times broken down by
racial/ethnic groups (both the raw count and the percentage of votes cast by each
racial/ethnic group) over the 13 days of early voting. Over 740 Black voters, or roughly
19 percent, and over 1,300 Hispanic voters, or roughly 16 percent, who cast EIP ballots
in Lee County between October 25 and October 31, 2020, cast their ballots at locations
that had wait times of at least 30 minutes, whereas comparable wait times was considerably
lower for white voters. Again, these estimates likely underestimate the average wait time for
Black and Hispanic voters, given the known long lines during early voting on October 19,
particularly at the Dr. Carrie Robinson Community Center in Lee County. In addition, of

      114
          Again, Lee County did not provide detailed VRSystems wait time snapshots for every day
      in its RPF and apparently did not set up the EViD wait time technology at some locations on
      a few days of early voting in the 2020 General Election.
      115
          According to Lee County’s “SUMMARY REPT-GROUP DETAIL,” that it ran on 11/13/20,
      roughly 28.5 percent of all votes cast in the November 2020 election were EIP ballots. See
      Florida Division of Elections, “Oﬃcial Election Results Summary for the General Election
      Results November 3, 2020,” available https://www.lee.vote/Election-Results/Archived-
      Election-Results#2020 (last accessed August 14, 2021).




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the more than 1,900 voters needing assistance to vote in Lee County who cast EIP ballots,
or roughly 1.7 percent of all EIP voters in the county, some 200 of these voters cast ballots
at sites on the seven days that had wait times of at least 30 minutes, or nearly one in ﬁve of
all early in person voters who indicated they needed assistance when they registered to vote.

Table 23: Estimated Wait Times for Early In-Person Voters (October 19 thru October 31),
            by Race/Ethnicity (Raw Counts and Percentage of Each Group),
                          Lee County, 2020 General Election
                     Minutes            Black    Hispanic   Other White
                     Greater than 30      746       1,310     599 7,321
                     Less than 30         515       1,499     713 10,573
                     Less than 15       2,662       5,332   2,147 29,634
                     Greater than 30    19.02       16.09   17.32 15.40
                     Less than 30       13.13       18.41   20.61 22.25
                     Less than 15       67.86       65.50   62.07 62.35




XI.VI      Summary: SB 90 will disproportionately aﬀect voters of
           color and voters with disabilities who are more likely to face
           long lines and wait times at the polls


    267      Long wait times tend to be correlated with long lines. As I show, long wait times
during the early voting period in the 2020 General Election, as reported by several SOEs,
were disproportionately located at early voting sites where, and when, voters of color, as
well as those with disabilities, were in line to vote. Furthermore, given the likely shift to EIP
voting due to SB 90’s increased burdens placed on voters trying to request a VBM ballot, the
downstream impact of SB 90 in future elections will likely be even longer lines and extended
wait times at early voting sites. Under SB 90, it is my understanding that individuals or
groups wishing to engage with voters in a queue within 150 feet of a polling entrance would
not be permitted to solicit voters waiting in line, which includes not being able to provide
drink, food, seating, or shelter. Many of the wait times at polling locations extended the
length of the voting queues beyond the 150 foot no solicitation zone, making Black and

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Hispanic voters, and those needing assistance to vote, more burdened while waiting in line
to cast a ballot.




XII       Conclusion

    268      All eligible citizens, but particularly persons of color, and all registered voters,
but particularly Black and Hispanic registered voters and registered voters with disabilities,
have their voting rights harmed under SB 90. Because persons of color rely more heavily
on 3PVROs when registering to vote than other groups of voters, SB 90’s limits placed on
3PVROs will result in Black and Hispanic eligible Florida citizens having fewer opportunities
to register to vote. Because of SB 90’s new exact-match ID requirements for registered voters
who want to request a VBM ballot—that is, a requirement to include personal information
(Social Security number, or a driver’s licence or a state ID number) that exactly matches
the voter’s information on ﬁle—disproportionately aﬀects voters of color, it will lead to less
opportunities for Black and Hispanic registered voters to receive a VBM ballot. Because SB
90 cuts in half the length of time a voter may have a standing request to have a VBM ballot
mailed to them, registered voters, including racial and ethnic minority voters and voters with
disabilities, will have less opportunities to receive a VBM ballot. Because of limits placed
on the locations, dates, and hours of operation of VBM drop boxes, all Florida voters, but
particularly voters of color, will have less opportunities to securely return their VBM ballots
in person. Because SB 90 places restrictions on the return of VBM ballots for voters in
need of assistance, all voters, but particularly voters of color and those with disabilities will
have less opportunities to return their VBM ballots. And, because of restrictions placed on
providing aid and comfort to voters waiting in lines during early in-person or on Election
Day, voters of color and those with disabilities will face higher barriers to cast ballots in


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person, potentially causing them not to vote at all.



   269      I ask to reserve the right to continue to supplement my declaration in light of
additional facts, data, and testimony.




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A     Appendices

A.I   Curriculum vitae of Daniel A. Smith

       9 August 2021
                                                        DANIEL A. SMITH
                                                         Curriculum Vitae
       Mailing Address                                                           Contact
       Department of Political Science                                           Office: 303 Anderson Hall
       234 Anderson Hall                                                         Phone: 352.273.2346
       PO Box 117325                                                             Fax: 352.392.8127
       University of Florida                                                     Email: electionsmith@gmail.com dasmith@ufl.edu
       Gainesville, FL 32611-7325                                                Homepage: http://people.clas.ufl.edu/dasmith/
                                                                                             www.electionsmith.com
       EDUCATION
       University of Wisconsin-Madison
                  Ph.D., Political Science, 1994
                  M.A., Political Science, 1989
       The Pennsylvania State University
                  B.A., Political Science (Foreign Affairs) & B.A., History (cum laude), 1988
                            University Scholars Program (University Honors)
                            Phi Beta Kappa, Phi Alpha Theta
                            Macro Economics Program, Westminster College, Oxford University, Summer, 1987

       ACADEMIC EMPLOYMENT
       University of Florida, Gainesville
                  Professor, Department of Political Science, 2010-
                             Chair, 2017-
                             Graduate Coordinator, 2014-2016
                             Associate Chair, 2013-2014
                             Director, Graduate Program in Political Campaigning, 2007-2011
                             Affiliate Professor, Center for African Studies, 2010-
                             Affiliate Professor, The Bob Graham Center for Public Service, 2013-
                             Internship Coordinator, Department of Political Science, 2005-
                  Associate Professor (with tenure), Department of Political Science, 2003-2009
       University of Denver
                  Associate Professor (with tenure), Department of Political Science, 2000-2003
                  Assistant Professor, Department of Political Science, 1994-2000
                  Director, University of Denver/University of Ghana Study Abroad Program, 1995-2002
       University of Ghana
                  Senior Fulbright Scholar, Department of Political Science, 2000-01
       West Virginia University
                  Visiting Assistant Professor, Department of Political Science, 1993-1994
       Beloit College
                  Visiting Lecturer, Warner Mills Teaching Fellow, Department of Government, 1992-1993
       University of Wisconsin-Madison
                  Teaching Assistant, Department of Political Science, 1988; 1990-1991
                  Research Assistant, Center on Wisconsin Strategy, 1989-1991
                  Project Assistant, Department of Political Science, 1989-1990

       RESEARCH FELLOWSHIPS
       University of Florida Term Professor, 2016-2018
       Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, Fall 2011
       University of Florida Research Foundation (UFRF) Professor, 2010-2012
       Visiting Scholar, Bill Lane Center for the Study of the North American West, Stanford University, Spring 2007
       Senior Research Scholar, Ballot Initiative Strategy Center, Washington, D.C., Spring 2006
       Senior Fulbright Scholar (Ghana), United States Department of State, 2000-01
       Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2000-01

       AREAS OF SPECIALIZATION
       American State Politics
                                                              178
                 Voting and Elections (Voting Rights, Redistricting, Political Campaigns, Campaign Finance)
                 Direct Democracy (Ballot Initiatives and Referendums)
       American Institutions (Political Parties and Interest Groups)
       Politics of Ghana (Voting and Elections)
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   COURSES TAUGHT
   Intro to American Politics (Undergrad)                                 State and Local Government (Grad & Undergrad)
   Interest Group Politics (Undergrad)                                    Political Parties (Grad & Undergrad)
   Direct Democracy (Grad & Undergrad)                                    Politics of Campaign Finance (Grad & Undergrad)
   Politics of Reform (Grad)                                              Problems of Markets and Governments (Undergrad)

   SCHOLARLY PUBLICATIONS
   BOOKS
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            and Reform. 4th edition. Boston: Cengage Learning/Wadsworth.
   2) Daniel A. Smith and Caroline J. Tolbert. 2004. Educated by Initiative: The Effects of Direct Democracy on Citizens and Political
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   1) Daniel A. Smith. 1998. Tax Crusaders and the Politics of Direct Democracy. NY: Routledge.

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             Administration and Public Records Responsiveness,” Public Integrity (July).
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   57) Seth C. McKee, Daniel A. Smith, and M.V. Hood III. 2018. “The Comeback Kid: Donald Trump on Election Day
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             Participation,” American Review of Politics 36(2): 19-37.
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             African-American Disenfranchisement in the Contemporary United States,” American Politics Research 47(2) 195–
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   36) Gill Foundation Grant, “LGBT Issues in Florida,” Spring 2018 (Co-PI, Michael Martinez).
   35) University of Florida Term Professorship, 2017-2019.
   34) University Scholars Program Grant (advising Pedro Otálora), University of Florida, “Political Participation of
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   33) Ruben Askew Scholar Award (advising Wendy Serra), Bob Graham Center, University of Florida, Summer 2016.
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   29) Best Paper Award presented in 2012 by the APSA Organized Section on State Politics and Policy: “Souls to the
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            2013 (with Michael Herron).
   25) Co-Principal Investigator, “Trans-Saharan Professionals Program,” United States Department of State, Bureau of
            Educational and Cultural Affairs, S-ECAPPE-10-GR-231 (DT), September 2010-August 2012.
   24) University of Florida Research Foundation (UFRF) Professor, 2010-2012 (annual salary supplement and research
            funding).
   23) Co-Principal Investigator, American Political Science Association Workshop on Elections and Democracy, University of
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   President, ElectionSmith, Inc. www.electionsmith.com (S-Corp) 2006-
   Board Member, Ballot Initiative Strategy Center (BISC) www.ballot.org 1999-2019.
   Board Member, Common Cause Florida https://www.commoncause.org/florida/ 2014-
   Board President, 300 Club https://300clubswimandtennis.com/ 2018-2020.
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   Co-author, “Brief of Direct Democracy Scholars, et al. Supporting Petitioners,” Thompson et al. v. DeWine, et al.
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   Consultant, All Voting is Local [Provided analysis of Rejected and Cured Vote by Mail ballots in Florida], 2020.
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            absentee ballot return rates in Florida], 2020.
   Expert (written declaration), Texas League of United Latin American Citizens, et al. v. Abbott, et al. Case 1:20-cv-1006 (US
            District Court for the Western Division of Texas). [Provided written report for plaintiffs analyzing absentee
            ballot drop-off locations in Texas], 2020.
   Expert (written declaration), Dream Defenders, et al. v. DeSantis, et al. Case 4:20-cv-00067-RH-GRJ (US District Court for
            the Northern District of Florida). [Provided written report for plaintiffs analyzing vote by mail records in
            Florida], 2020.
   Expert (written declaration), Lewis, et al. v. Hughs. Case 5:20-cv-00577 (US District Court for the Western District of
            Texas). [Provided written report for plaintiffs analyzing vote by mail records in Texas], 2020.
   Consulting Expert, Nielsen, et al. v. DeSantis, et al. Case 4:20-cv-00236-MW-MJF (US District Court for the Northern
            District of Florida). [Provided confidential work product for plaintiffs analyzing vote by mail records in
            Florida], 2020.
   Expert (written declarations), Gruver, et al. v. Barton, et al. Case 1:19-cv-00121-MW-GRJ (US District Court for the
            Northern District of Florida). [Provided written reports and deposed for plaintiffs analyzing records on the
            impact of SB7066 on Florida residents with felony convictions and outstanding LFOs], 2019-20.
   Consultant, Andrew Goodman Foundation [Analysis of on-campus early voting in Florida], 2019.
   Consultant, ACLU-Florida [Data analysis of Ex-Felons in Florida], 2019-.
   Expert (written declaration), DNC Services Corporation et al. v. Lee et al. Case 4:18-cv-00524-MW-CAS (US District Court
            for the Northern District of Florida) [Provided written report for plaintiffs on Vote by Mail ballots in Florida],
            2019-.
   Expert (written declaration), MOVE Texas Civic Fund, et. al. v. Whitley, et. al. Case 3:19-cv-00041 (US District Court for
            the Southern District of Texas) [Provided written reports for plaintiffs on number of naturalized citizens in
            Texas], 2019.
   Expert (written declarations), Fair Fight Action v. Crittenden, Case No. 1:18-cv-05391 (US District Court for the Northern
            District of Georgia) [Retained by plaintiffs to analyze data related to Georgia’s election laws], 2018-.
   Expert, The Democratic Party of Georgia v. Crittenden, Case No. 1:18-cv-05443 (US District Court for the Northern District
            of Georgia) [Retained by plaintiffs to analyze data related to the 2018 gubernatorial election], 2018.
   Consultant, ACLU-Florida [Provided analysis of Vote by Mail ballots in Florida], 2018.
   Expert, Judicial Watch, Inc., Election Integrity Project California, Inc., et al. v. Dean C. Logan, et al. Case No. 2:17-cv-08948-R-SK
            (US District Court for the Central District of California, Western Division). [Retained by defendants (California
            Department of Justice) to analyze data concerning inactive voters], 2018.
   Expert (written declaration), Rivera v. Detzner, Case 1:18-cv-61474 (US District Court for the Norther District of Florida)
            [Provided written report for plaintiffs on Puerto Rican population and registered voters in Florida], 2018.
   Expert, Thompson et al. v. Merrill, Case No. 2: 16-cv-783 (US District Court for the Middle District of Alabama) [Retained
            by plaintiffs to analyze data related to the discriminatory impact of Alabama’s felony disenfranchisement
            scheme over time], 2018-.
   Expert (written affidavit), League of Women Voters of Florida, Inc., et al. v. Detzner, Case No. 4:18-cv-00251-MW-CAS (US
            District Court for the Northern District of Florida) [Provided written report for plaintiffs (LWV) to extend
            early voting in Florida], 2018.
   Expert (written affidavit), Ohio A. Philip Randolph Institute, et al. v. Secretary of State, Jon Husted, Case 2:16-cv-00303 (US
            District Court for the Southern District of Ohio, Eastern Division) [Provided written report and deposed for
            plaintiffs (APRI, ACLU OH, Demos) to reinstate registered voters removed by Ohio’s “Supplemental
            Process”], 2017. [Decision, Husted v. APRI, by SCOTUS, July 11, 2018].
   Expert (written affidavits), Bellito & ACRU v. Snipes, Case 4:16-cv-61474 (US District Court for the Southern District of
            Florida, Ft. Lauderdale Division) [Provided written expert reports and deposed for intervenors (SEIU, Project
            Vote, Demos) to defend NVRA compliance by Broward Supervisor of Elections, 2017; testified at trial].
   Consultant, ACLU, Georgia [Provided analysis of CVAP, VAP, and registered voters in Irwin County, Georgia], 2017.
   Consultant, ACLU, Georgia [Provided analysis of proposed redistricting changes to the Georgia House of
            Representatives by the Georgia state legislature], 2017.
   Expert (written affidavit), Florida Democratic Party v. Scott, Case 4:16-cv-00626 (US District Court for the Northern District
            of Florida) [Provided written expert report for plaintiff-intervenors (Mi Familia Vota Education Fund) to
            extend voter registration deadline in Florida due to Hurricane Matthew], 2016.
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   Consultant, ACLU, Georgia [Provided analysis of registration deadline in Georgia due to Hurricane Matthew], 2016.
   Expert (written affidavit), Florida Democratic Party v. Detzner, Case 4:16-cv-00607 (US District Court for the Northern
              District of Florida) [Provided written empirical analysis for plaintiff on vote-by-mail ballots cast in Florida],
              2016.
   Advisor, “Mad As Hell: Howard Jarvis and the Birth of the Tax Revolt,” Documentary Film by Jason Cohn, Bread and
              Butter Films [Academic Advisor on Jarvis and antecedents of Prop. 13], 2011-16.
   Advisor, “Rigged,” Documentary Film by Natasha del Torro, Fusion TV (Naked Truth), 2016. [Winner of the Robert F.
              Kennedy Journalism Award for Best Documentary]. Available: http://tv.fusion.net/story/352548/naked-
              truth-rigged-elections-documentary/.
   Advisor, “Voting: Last Week Tonight with John Oliver,” HBO, February 14, 2016. Available:
              https://www.youtube.com/watch?v=rHFOwlMCdto.
   Expert (written affidavit), Frank v. Walker, Case 16-3003, 16-3052 (US Court of Appeals for the Seventh Circuit)
              [Provided written empirical analysis for plaintiffs (ACLU) on voter ID and turnout], 2015.
   Expert (consultant), Greater Birmingham Ministries v. Alabama, Case 2:15-cv-02193-LSC (US District Court for the
              Northern District of Alabama, Southern Division) [Provided oral empirical analysis for plaintiffs (NAACP
              LDEF) on use of absentee ballots], 2015.
   Consultant, America Votes [Provided demographic shift of registered voters analysis for state of Florida], 2015.
   Expert (written affidavits), NAACP, et al. v. Husted, et al., 2:14 cv-00404 (US District Court for the Southern District of
              Ohio) [Provided written empirical analysis and deposed for plaintiffs (ACLU) on early in-person absentee
              voting in Ohio], 2014.
   Expert (written affidavit), John Sullivan, et al. v. Marni Lin Sawiki, et al., 2013-CA-003122 (20th Judicial Circuit (Lee County,
              FL) [Provided written empirical analysis and deposed on early, absentee, and Election Day vote totals in the
              November 5, 2013, Cape Coral mayoral election], 2014.
   Expert (written affidavit), Gateway Retail Center, LLC v. City of Jacksonville, Florida, 3:13-cv1040-J-TJC-JRK (US District
              Court for the Middle District of Florida) [Provided empirical analysis for Gateway Retail Center’s attorneys of
              African American voting during early voting in Duval County in the 2012 General Election], 2013.
   Expert (written affidavits), Arcia, et al. v. Detzner, 1:12-cv-22282-WJZ (US District Court for the Southern District of
              Florida) [Provided empirical analysis for Arcia’s attorneys of the Florida Department of State’s various lists of
              “potential non-citizens”], 2012. [Arcia, et al. v. Florida Secretary of State (Defendant-Appellee) and Garcia, et al.
              (Intervenor Defendants), 12-15738 (Appealed in 11th Circuit, from the United States District Court for the
              Southern District of Florida), 2014.
   Elections Analyst, WUFT (TV and Radio), Election Night Coverage, November 6, 2012.
   Advisor, “Voters in America: Who Counts?” CNN Documentary Investigation, October 14, 2012.
              http://cnnpressroom.blogs.cnn.com/2012/10/19/voters-in-america-who-counts-joejohnscnn-investigates-
              voter-suppression-voter-fraud/
   Expert (written affidavit), Brown v. Detzner 3:12-cv-00852 (US District Court for the Middle District of Florida)
              [Provided empirical analysis for Brown’s attorneys of minority early voting in Duval County during the 2008
              and 2010 general elections and the 2011 Jacksonville mayoral race], 2012.
   Expert (written affidavits), Romo v. Scott, No. 2012-CA-000412 (Fla. Cir. Ct., Leon County). [Provided empirical analyses
              and deposed for Coalition’s attorneys of new Congressional redistricting maps submitted and adopted by the
              Florida legislature as well as alternative maps submitted by the The League of Women Voters of Florida, the
              National Council of La Raza, and Common Cause Florida], 2012-14.
   Pro Bono Consultant (written work product), League of Women Voters of FL v. Browning, N.D. Fla. (4:11-cv-00628).
              [Provided empirical analysis for LWV’s attorneys (Brennan Center, New York University), assessing the impact
              of Florida’s “third party organization” voter registration requirements], 2012.
   Pro Bono Consultant (written work product), Hillsborough Hispanic Coalition, Tampa, Florida, 2012. [Provided empirical
              analysis of the likely racial/ethnic impact of the redistricting maps adopted by the Hillsborough County
              Commission and provided alternative maps to be submitted by the Hillsborough Hispanic Coalition, in
              anticipation of federal litigation], 2012.
   Member, 2012 Citizen Election District Review Committee, City of Gainesville, 2012 (Appointed by Mayor Craig Lowe).
   Invited Testimony, U.S. Senate, Judiciary Committee, Subcommittee on the Constitution, Civil Rights and Human Rights,
              “New State Voting Laws II: Protecting the Right to Vote in the Sunshine State,” January 2012.
   Expert (written affidavit), Worley v. Detzner, U.S. District Court, N.D. Fla (4:10-cv-00423-RH-WCS). [Provided expert
              opinion to Florida Secretary of State to help defend Election code provisions concerning the reporting,
              registration, and disclosure requirements applicable to political committees (ballot issues)], 2010.
   Expert (written affidavit), Citizens Against Slots v. PPE Casino, 999 A.2nd 181 (2010) 415 Md. 117. [Provided empirical
              analysis of the validity rates of the signatures submitted by Citizens Against Slots for a county popular
              referendum], 2010.
   Expert (written affidavit), The Independence Institute, et. al. v. Bernie Buescher 1:2010-cv-00609. (US 10th Circuit) [Provided
              empirical analysis for the Office of the Colorado Attorney General to defend Secretary of State’s enforcement
              of public disclosure laws for ballot issue committees], 2009-2010.
   Lead Author, “Direct Democracy Scholars” Amicus Brief, Doe v. Reed, 132 S. Ct. 449. [Provided empirical evidence that
              public disclosure of signatures on ballot measures serves sufficiently important governmental interests in order
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            to prevent fraudulent signature gathering activities, to limit the deceptive solicitation of signatures, and to
            provide information to voters about ballot measures], 2010.
   Expert (written affidavit), Dallman, et al. v. William Ritter and Rich L. Gonzales and Daniel Ritchie, et al 09SA224 (Colorado
            Supreme Court) [Provided empirical analysis for Ritter, Gonzales, and Ritchie of analysis of campaign financing
            of ballot measures], 2009-10.
   Expert (written affidavit), Sampson v. Buescher, 08-1389, 08-1415 (US 10th Circuit) [Provided empirical analysis refuting
            claims of barriers to participation in ballot issue campaigns for Office of the Colorado Attorney General,
            defending Secretary of State’s enforcement of disclosure laws], 2007-10.
   Consultant, Trust the Voters, Tallahassee, 2006.
   Consultant, The Washington State Patrol Troopers Association [Conducted empirical analysis for State Patrol Troopers of the
            validity of signatures collected on ballot issue campaign], 2006.
   Expert (written affidavit), The City of Winter Springs, FL v. Seminole County, City of Winter Springs, 2004.
   Expert (written affidavit), California Pro-Life Council, Inc. v. Karen Getman, et al. 328 F.3d 1088, 1101 (US 9th Cir) [Provided
            empirical analysis for the Office of the California Attorney General on veiled political actors in California ballot
            measure campaigns], 2004-05.
   Expert (written affidavit), Colorado Right to Life Committee, Inc. v. Donetta Davidson 395 F.Supp.2d 1001 (US 10th Circuit)
            [Provided empirical analysis of broadcasted television and direct mail ads in Colorado between 1999-2003 for
            the Office of the Colorado Attorney General], 2004-05.
   Invited Testimony, Ballot Initiative Reform, Florida Legislature, 2002; 2003-05.
   Invited Testimony Witness, Ballot Initiative Reform, Colorado Legislature, 1999-2000.
   Consultant (pro bono), Ad Hoc Committee to Defend Heath Care, Denver, CO, 1998-2000.

   International Consulting
   Consultant, National Democratic Institute (NDI), Ghana, 2013.
   Invited Written Testimony, British House of Lords, Constitution Committee (Direct Democracy), 2010.
   Consultant, Institute of International Education (IIE)), New York, 2002-04.
   Consultant, Coalition of Domestic Elections Observers (CODEO), Accra, Ghana, 2000-01.
   Consultant, International Foundation for Election Systems (IFES), Washington, DC, 1999-2001.
   Consultant, International Student Exchange Program (ISEP), Washington, DC, 1995-97.

   BOOK REVIEWS & REVIEW ESSAYS
   9) Daniel A. Smith. 2008. Review of Dorothy Holland, Donald M. Nonini, Catherine Lutz, Lesley Bartlett, Marla
            Frederick-McGlathery, Thaddeus C. Guldbradsen, and Enrique G. Murillo, Jr., Local Democracy Under Siege:
            Activism, Public Interests, and Private Politics, Perspectives on Politics 6: 386-86.
   8) Daniel A. Smith. 2006. Review of Stephen Nicholson, Voting the Agenda: Candidates, Elections, and Ballot
            Propositions, Political Science Quarterly 120: 695-697.
   7) Daniel A. Smith. 2005. Review of John Matsusaka, For the Many or the Few? The Initiative, Public Policy, and
            American Democracy, Perspectives on Politics 3: 646-47.
   6) Daniel A. Smith. 2000. Review of Shaun Bowler and Todd Donovan, Demanding Choices: Opinion, Voting, and
            Direct Democracy, Social Science Quarterly 81: 1104-1106.
   5) Daniel A. Smith. 1999. Review of Shaun Bowler, Todd Donovan, Caroline Tolbert, eds., Citizens as Legislators,
            American Political Science Review 93: 446-447.
   4) Daniel A. Smith. 1998. Review of David Ryden, Representation in Crisis, Politics and Policy 26: 514-515.
   3) Daniel A. Smith. 1998. Review of Grant Reeher and Joseph Cammarano, eds., Education for Citizenship, H-Pol, H-
            Net. (February).
   2) Daniel A. Smith. 1997. Review Essay of William S. K. Reno, Corruption and State Politics in Sierra Leone, and Sahr
            John Kpundeh, Politics and Corruption in Africa, Africa Today 44: 362-365.
   1) Daniel A. Smith. 1996. Review of Stephen Lowe, The Kid on the Sandlot: Congress and Professional Sports, 1910-
            1992, Sport History Review 27: 90-92.

   TEACHING GRANTS, HONORS, AND AWARDS
   Anderson Scholar Award, College of Liberal Arts and Sciences, University of Florida, 2011; 2015; 2016; 2017
   Political Science Board of Advisors, “Outstanding Professor Award,” University of Florida, Spring 2008.
   Center for Teaching and Learning Technology Grant, “Introduction to American Politics: Web-Based Interactive
             Learning,” University of Denver, Spring, 1997.
   Faculty Appreciation Award, Learning Effectiveness Program, University of Denver, April 1997.
   Curriculum Diversity Grant, “A Theater History: The Racial and Class Politics of US Drama from Colonization
             Forward,” University of Denver, Winter, 1997.
   CORE Development Grant, “Drama of Politics/Politics of Drama,” University of Denver, Summer, 1996.
   International Small Grants, “Summer Student Study Abroad Program: University of Ghana at Legon,” Office of
             Internationalization, University of Denver, Spring, 1995.
   International Small Grants, “Ghana Study Abroad Program,” Office of Internationalization, University of Denver, Spring,
             1995.
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   NEWSPAPER OP-EDS, INVITED BLOG POSTS & LETTERS TO THE EDITOR
   Op-Ed, “Election integrity requires transparency,” Tampa Bay Times, February 9, 2021 (with Danielle Dietz and
             Gabriella Zwolfer ).
   Op-Ed, “All counties should offer secure, 24/7 drop boxes for mail ballots,” Tampa Bay Times, October 12, 2020 (with Jose
             Vazquez ).
   Op-Ed, “Do you usually vote by mail? A lot of Republicans who do won’t say so,” Washington Post (Monkey Cage),
             October 9, 2020 (with Enrijeta Shino).
   Op-Ed, “Minor postal delays could disenfranchise thousands of Florida vote-by-mail voters,” Tampa Bay Times, August
             14, 2020 (with Michael Herron).
   Op-Ed, “Here’s the problem with mail-in ballots: They might not be counted,” The Washington Post (Monkey Cage), May
             21, 2020 (with Enrijeta Shino and Mara Suttmann-Lea).
   Op-Ed, “Your voting habits may depend on when you registered to vote,” Salon, September 24, 2019. [Originally
             appeared in the Conversation] (with Enrijeta Shino).
   Invited Blog Post, “Who Votes Provisionally and Why? A Look at North Carolina’s 2016 General Election,” MIT
             Election Science Data Lab, May 2, 2018. (with Lia Merivaki).
   Op-Ed, “Do we have a right not to vote? The Supreme Court suggests we don’t,” NY Daily News, June 12, 2018 (with
             Michael C. Herron).
   Op-Ed, “If more states start using Ohio’s system, how many voters will be purged?” The Washington Post (Monkey Cage),
             June 17, 2018 (with Michael C. Herron).
   Op-Ed, “2-to-1 Registration Advantage for Democrats among 440K New Hispanic Voters In Florida,” Huffington Post,
             October 7, 2016.
   Op-Ed, “The Battle Over "One Person, One Vote," Has Just Begun,” The American Prospect, April 18, 2016. (with Carl
             Klarner).
   Invited Blog Post, “Party competition is the primary driver of the recent increase in restrictive voter ID laws in the
             American states,” London School of Economics, U.S. Politics and Policy, November 12, 2014 (with William
             Hicks and Seth McKee.
   Op-Ed, “Rejected Ballots in Florida,” Florida Voices, November 4, 2012 (with Michael Herron).
   Op-Ed, “High ballot rejection rates should worry Florida voters,” Tampa Bay Times, October 28, 2012 (with Michael
             Herron).
   Op-Ed, “Voters need to push back against corporate cash,” St. Petersburg Times, July 13, 2010.
   Op-Ed, “A chance for Floridians to redraw rigged districts,” St. Petersburg Times, November 25, 2009.
   Op-Ed, “Lawmakers don’t trust voters with the constitution,” Gainesville Sun, October 21, 2006.
   Op-Ed, “Jeb Bush’s secret-squirrel hunt? Rocky, that’s just a bunch of Bullwinkle,” Orlando Sentinel, February 23, 2006.
   Op-Ed, “Colorado: Independent of Whom?” Ballot Initiative Strategy Center, Ballot Blog, August 29, 2005.
   Op-Ed, “Stop Political Fund-Raising Arm,” Gainesville Sun, April 25, 2004 (with Nicole M. James).
   Op-Ed, “Committees Hold the Secret to Campaign Financing,” St. Petersburg Times, April 10, 2004 (with Nicole M.
             James).
   Letter, “Reform Ballot Initiative and Preserve the People’s Power,” Miami Herald, February 29, 2004.
   Op-Ed, “No: The Rich Have Taken Over,” Denver Post, December 1, 2002.
   Op-Ed, “The Millionaire’s Club: Why Leave Ballot Initiatives to the Rich?” Denver Post, August 18, 2002.
   Op-Ed, “The Political Consequence of ‘Praying for Peace,’” The Crusading Guide [Accra, Ghana], 12-18 October 2000.
   Letter, “Book’s [Democracy Derailed by David Broder] premise is problematic,” Denver Post, May 28, 2000.
   Letter, “Initiative process ignores rural voices,” Denver Rocky Mountain News, March 15, 2000.
   Op-Ed, “Progressives need to show initiative on ballot signatures,” Denver Post, January 13, 2000.
   Op-Ed, “Colorado should put campaign finance data on the Internet,” Denver Post, November 4, 1998 (with Richard
             Braunstein).
   Letter, “Follow the Money,” Washington Post, October 12, 1998.
   Op-Ed, “Voters behind rule,” Denver Post, June 21, 1998.
   Op-Ed, “Founders crafted safeguards against popular excesses,” Denver Post, May 21, 1995.

   INVITED TALKS AND PROFESSIONAL PRESENTATIONS
   Invited Talk, “Voting in the Time of COVID-19,” UF Retired Faculty, October 14, 2020 [virtual].
   Invited Panelist, “Implications of Amendment 4 and SB 7066 on voting rights in Florida,” Federal Bar Association
            (South Florida Chapter), September 3, 2020 [virtual].
   Invited Panelist, “Hispanic Voting Rights,” UF Hispanic Student Association [virtual], July 17, 2020.
   Invited Talk, “Voting Rights in Florida,” Marin County (CA) League of Women Voters [virtual], August 3, 2020.
   Invited Panelist, “Voting Rights in Florida,” All Voting is Local & The Leadership Conference on Civil and Human
            Rights [virtual], August 13, 2020.
   Invited Talk, “Ballot Design, Undervoting, and Pivotality: A Forensic Analysis of Florida’s 2018 US Senate Race,”
            Center for Voting and Parties, University of Denmark, December 3, 2019.
   Keynote Speaker, “6 Things Every Democrat Should Know about Florida Elections,” Democratic Women’s Club of
            Florida, 63rd Annual Convention, Orlando, September 14, 2019.
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   Invited Talk, “5 Things Every Floridian Should Know about Florida Elections,” Stetson University, April 25, 2019.
   Invited Talk, “The 2018 Mid-Term Elections,” Graham Center, University of Florida, Gainesville, Florida, November
            13, 2018.
   Invited Talk, “Is a Blue Wave Coming? The 2018 General Election,” FedCon, National Association of Retired Federal
            Employees Association, Jacksonville, Florida, August 28, 2018.
   Invited Talk, “Voting Rights Litigation,” ACLU of Florida, 2018 Lawyers Conference, Delray Beach, Florida, September
            7, 2018.
   Invited Panelist, “The Black Vote: Is it being taken for Granted?” Collaboratively Woke and The Virginia Leadership Institute,
            Downtown Alachua Public Library, Gainesville, Florida, June 23, 2018.
   Invited Talk, “Public Records Requests and Analyzing Elections in Florida,” The Bob Graham Center for Public
            Service, University of Florida, Gainesville, Civic Scholar Lecture, February 14, 2018.
   Invited Talk, “Voting in Florida,” Voter Suppression Forum, The Bob Graham Center for Public Service, University of
            Florida, Gainesville, November 13, 2017.
   Invited Talk, “Journalist-Scholar Big Data Partnerships,” Investigative Reporters and Editors, The National Institute for
            Computer-Assisted Reporting, Annual Conference, Jacksonville, FL, March 2, 2016.
   Invited Talk, “Florida’s Constitutional Revision Commission and Game Theory,” Future of Florida Summit, University
            of Florida, Gainesville, Florida, February 18, 2016.
   Invited Talk, “Explaining Trump’s Win in Florida: 10 Election Myths and Realities,” Graham Center, University of
            Florida, Gainesville, Florida, November 14, 2016.
   Invited Response, Michael Kang (Emory School of Law) “Law and Politics of Judging Election Cases,” University of
            Florida School of Law, Gainesville, Florida, November 4, 2016.
   Invited Talk, “Patterns of Political Participation in Florida,” Women, Race, and the U.S. Presidency, The Center for The
            Study of Race and Race Relations & The Center for Gender, Sexualities, and Women’s Studies Research,
            University of Florida, Gainesville, October 13, 2016.
   Invited Talk, “The Structural Pathologies of the American Electoral System,” US Fulbright Association (UF
            International Center), Gainesville, September 27, 2016.
   Invited Talk, “Registered Voters and Turnout in Alachua County,” Gainesville Area Chamber of Commerce’s
            Leadership Gainesville 43 Government and Policy Day, September 8, 2016.
   Invited Talk, “The Politics of Voter Suppression in Florida,” Santa Fe College, American Democracy Project, February
            9, 2016.
   Invited Talk, “The Contributions and Conundrums of Technology: EAVS Data Reporting Consistency,” at The
            Evolution of Election Administration since the VRA, Auburn University, September 15, 2015 (with Lia
            Merivaki).
   Invited Talk, “2014 Election Wrap-Up,” Graham Center, University of Florida, Gainesville, Florida, November 6, 2014.
   Roundtable Participant, “I Am A Millennial: The Importance of the Youth and Minority Vote,” Graham Center,
            University of Florida, October 23, 2014.
   Invited Talk, “Voting Rights in North Carolina,” Emory University, Atlanta, April 8, 2014.
   Keynote Speaker, “Anticipating 2014: The State of Voting Rights in Florida,” Gainesville Labor Council, Gainesville,
            Florida, December 9, 2013.
   Invited Talk, “Design Fail: The Attack on Voting Rights in Florida,” University of Florida Retired Faculty, Harn
            Museum, University of Florida, February 22, 2013.
   Keynote Speaker, “The Attack on Voting Rights in Florida,” Gainesville Labor Council, Gainesville, Florida, December
            10, 2012.
   “Moved by the Spirit? Atmospherics and Ballot Measure Vote Choice,” Initiatives and Referendums in the Elections of
            2012, University of Southern California, November 16, 2012 (with Charles Dahan).
   Invited Talk, “Design #Fail: Voting Rights in Florida,” Graham Center’s Election Wrap Up: Decision 2012, University
            of Florida, Gainesville, Florida, November 13, 2012.
   Invited Talk, “Consolidating Representation in Ghana? Parliamentary Malapportionment and Rejected Ballots,” Stability
            Amidst Chaos: Reflections on Two Decades of Ghanaian Democracy, Program of African Studies, Northwestern
            University, Chicago, Illinois, October 12, 2012.
   Keynote Speaker, “Curtailing Voting Rights in Florida,” Civic Dialogues and the 2012 Election in the United States, College of
            Central Florida, Ocala, Florida, October 22, 2012.
   Keynote Speaker, “The Return of Jim Crow? Voting Rights Under Florida’s House Bill 1355,” League of Women
            Voters, Annual Fall Luncheon, Gainesville, Florida, September 11, 2012.
   Invited Talk, “Litigating Voting Rights in Florida,” 8th Judicial Circuit Florida Bar Association, Continuing Legal
            Education, Gainesville, Florida, September 21, 2012.
   Invited Presentation, “The Impact of HB 1355 on Florida’s Hispanics,” Gator Academic Outreach Symposium, co-
            hosted by Hispanic Alumni Association and Miami-Dade College, Miami, FL, May 11, 2012.
   Invited Talk, “Voting and Elections in the United States,” US Embassy, Accra, Ghana, live satellite talk to US Embassy,
            Ivory Coast, October 3, 2011.
   Invited Public Lecture, “Ghana’s National Electoral Commission and the 2012 Elections: The Malapportionment of
            Parliamentary Constituencies, Rejected Ballots, and Questions of Representation,” Department of Political

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             Science International Lecture Series, University of Ghana, Accra, Ghana, November 17, 2011. [Q&A followed
             by several media interviews, including RadioUniverse, Ghana Television Broadcasting and TV3].
   Invited Public Lecture, “Assessing the Credibility of Public Opinion Polls,” Ghana Center for Democratic Development
             (CDD-Ghana), Accra, Ghana, November 23, 2011. [Taped broadcast by TV3 and several FM stations].
   Invited Talk, “Obama to Blame?” Penn State University, February 26, 2010.
   Invited Talk, “Shirking the Initiative?” Rutgers University, November 6-7, 2008.
   Invited Talk, “Granting Power to the People: The Adoption of Direct Democracy in the American States,” Bose Series
             Lecturer, University of Iowa, Iowa City, November 7-10, 2007.
   Invited Talk, “Instrumental Effects of the Initiative in the American States,” The Voice of the Crowd—Colorado’s
             Initiative, Byron R. White Center for the Study of American Constitutional Law, University of Colorado,
             Boulder, Old Supreme Court Chambers, Colorado State Capitol, Denver, January 26, 2007.
   Invited Paper/Presentation, “Initiating Reform: The Effects of Ballot Measures on State Election and Ethics Policy,”
             2008 and Beyond: The Future of Election and Ethics Reform in the States, Ohio State Capital Building, Kent
             State University, January 16, 2007.
   Invited Paper/Presentation, “Financing Ballot Measures in the American States,” Financing Referendum Campaigns
             Conference, University of Zurich, Switzerland, October 27-29, 2006.
   Invited Talk, “Pressure at the Polls/Ballot Initiatives,” Capitol Beat Conference, Columbus, OH, August 2006.
   Invited Talk, “Turnout and Priming Effects of Ballot Initiatives,” Ballot Initiative Strategy Center Spring Briefing,
             National Education Association, Washington, DC, May 11, 2006.
   Invited Talk, “The People as Legislators: The Influence of Direct Democracy,” Moritz College of Law, Ohio State
             University. Columbus, OH, March 3, 2006.
   Invited Public Debate, “Initiative Reform in Florida,” Orlando Regional Chamber of Commerce, Orlando, FL, February 23,
             2006.
   Invited Talk, “Direct Democracy: The Battle over Citizen Lawmaking,” Minnesota Council of Nonprofits, Public Policy Day
             2006: Nonprofits as a Force for Change, Minneapolis, MN, January 26, 2006.
   Keynote Speaker, “Taking the Initiative in Florida,” National Conference of Editorial Writers Regional Conference,
             University of Central Florida, Orlando, FL, October 16, 2005.
   Panelist, “The Educative Effects of Direct Democracy,” Direct Democracy: Historical Roots and Political Realities, The Bill
             Lane Center for the Study of the North American West, Stanford University, Stanford, CA, April 14-15, 2005.
   Panelist, “The Initiative and Referendum Process,” The 2004 Election: What Does it Mean for Campaigns and Governance?
             University of Southern California Law School, Los Angeles, CA, October 8, 2004.
   Invited Talk, “Florida’s Initiative Process,” Oak Hammock, Gainesville, FL, October 21, 2004.
   Invited Talk, “Educated by Initiative,” Oak Hammock, Gainesville, FL, October 6, 2004.
   Invited Talk, “Are Initiatives Good or Bad for Business,” National Chamber of Commerce Federation, Boca Raton, FL,
             February 22, 2004.
   Panelist, “Roundtable on Florida Politics,” UF-FSU Colloquium, Gainesville, FL, November 10, 2003.
   Panelist, “Initiatives and Referenda: Implications for Public Administration and Governance,” National Academy of Public
             Administration, Washington, DC, October 22, 2003.
   Panelist, “Initiatives and Referenda: Direct Democracy or Government for Sale?” New York Bar Association, New York
             City, May 8, 2003.
   Keynote Speaker, “Direct Democracy in Colorado: The (Sub)Urban-Rural Divide,” Colorado Water Congress Annual
             Meeting, Denver, November 8, 2002.
   Invited Talk, “Prospects for a Universal Health Care Ballot Initiative in Florida,” Alachua County Labor Party,
             Gainesville, FL, January 25, 2002.
   Invited Talk, “The 2000 Ghana Elections: Lessons for the Future,” The Center for African Studies, University of Florida,
             Gainesville, August 28, 2001.
   Panelist, “Graduate Studies in Canada and U.S.,” University of Ghana at Legon, Accra, Ghana, March 14, 2001.
   Invited Talk, “Media Coverage of the 2000 [Ghanaian] Elections,” Ghana Center for Democratic Development (CDD-Ghana),
             Accra, Ghana, March 2, 2001.
   Invited Talk, “Ghana’s 2000 Elections: The ‘Politics of Absence,’” Ghana Center for Democratic Development (CDD-Ghana),
             Accra, Ghana, February 20, 2001.
   Panelist, “Special Forum on U.S. Presidential Elections 2000,” University of Ghana at Legon, Accra, Ghana, November 21,
             2000.
   Invited Talk, “The Role of The Media in US Elections,” Public Affairs Section, United States Embassy, Accra, Ghana,
             October 31, 2000.
   Facilitator, “Three’s A Crowd? The Fate of Third Parties in America,” Humanities Institute Salon, Denver, May 4, 11, & 18,
             2000.
   Chair and Discussant, “Factors Affecting the Success of Initiatives,” Western Political Science Association Conference, San Jose,
             March 24-26, 2000.
   Invited Talk, “The Progressive Myth: Direct Democracy in Colorado, 1912,” Willamette University, February 3, 2000.
   Invited Talk, “The Initiative to Party: The Partisan - Ballot Initiative Nexus,” Willamette University, February 3, 2000.
   Invited Talk, “Taking the Initiative into the 21st Century,” Colorado Water Congress Annual Meeting, Broomfield, January
             27, 2000.
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   Invited Talk, “Foundations of the American Political System,” Zhejiang University, Zhejiang, China, October 13, 1999.
   Invited Talk, “Trade, Taiwan, Tiananmen, and Theft: Partisanship in US-China Relations,” Fudan University, Shanghai,
             China, October 11, 1999.
   Invited Talk, “Republicans, Democrats, and US-China Relations,” The People’s University, Beijing, China, October 9, 1999.
   Invited Talk, “US-China Relations and the 2000 Presidential Election,” China Institute of Contemporary International Relations,
             Beijing, China, October 7, 1999.
   Invited Talk, “Taking the Initiative: The Role of Money in Ballot Initiatives in the US,” Aspen Community & Institute
             Committee, Aspen, August 10, 1999.
   Facilitator, “Taking the Initiative: The Politics of Direct Democracy in Colorado,” Humanities Institute Salon, May 20, May
             27, & June 3, 1999.
   Invited Talk, “The State of Direct Democracy in Colorado,” American Center Series, University of Colorado at Boulder,
             April 9, 1999.
   Participant, “TABOR: Today & Tomorrow,” Graduate School of Public Affairs, University of Colorado at Denver, January
             20-21, 1999.
   Keynote Speaker, Colorado Water Congress Annual Meeting, “The Initiative Process: What You Need to Know,” November
             10, 1998.
   Invited Talk, “The Political Economy of the Bronco’s New Stadium Proposal,” George Washington High School, Reach
             Out DU, October 15, 1998.
   Invited Talk, “The Political Economy of the Bronco’s New Stadium Proposal,” Cherry Creek High School, Reach Out
             DU, October 15, 1998.
   Invited Talk, “Tax Crusaders and the Politics of Direct Democracy,” Tattered Cover Bookstore, Denver, August 20,
             1998.
   Academic Session Leader, “The Politics of Building a New Broncos Stadium,” West High School VIP Program,
             University of Denver, April 17, 1998.
   Participant, “Proposition 13 and its Progeny: Is California Suffering from an Excess of Democracy?” Institute of
             Governmental Studies, University of California, Berkeley, April 1-2, 1998.
   Moderator, “Politics 101,” Student Forum, University of Denver, March 3, 1998.
   Panelist, “Ways to use Technology in Teaching,” Dean’s Luncheon on Teaching and Learning, University of Denver,
             February 20, 1998.
   Panelist, “The End of Empire in Ghana, 1957,” The End of Empire: 50 Years of British Withdrawal, Center for
             Teaching International Relations, University of Denver, February 7, 1998.
   Moderator, “1996 Candidate Forum,” DU Programs Board, University of Denver, October 28, 1996.
   Invited Talk, “Election 1996,” KARIS Community, Denver, October 24, 1996.
   Invited Talk, “Faux Populism: Douglas Bruce, Populist Entrepreneur, and the Anti-Tax Moment in Colorado,”
             Humanities Institute, University of Denver, October 17, 1996.
   Panelist, “The Federal Budget Battle,” Sponsored by Omicron Delta Epsilon and Pi Sigma Alpha, University of Denver,
             October 2, 1995.
   Invited Talk, “US Energy Policy,” Highlands Ranch High School, Reach Out DU, November 10, 1995.
   Panelist, “Study Abroad,” Second Annual University Conference: Internationalization at the University of Denver,
             University of Denver, April, 1994.
   Chair and Panelist, “African Studies,” Second Annual University Conference: Internationalization at the University of
             Denver, University of Denver, April, 1994.
   Panelist, “Public Policy and Work Force Participation: Making the School-to-Work Transition,” Public Policy and Work
             Force Participation Seminar, University of Pittsburgh, September 15, 1993.
   Rapporteur, “City$Money Conference,” The La Follette Institute for Public Affairs, University of Wisconsin-Madison,
             February 4-6, 1992.

   CONFERENCE PAPER PRESENTATIONS
   “The Behavioral Effects of Redistricting,” Florida Political Science Association Annual Meeting, March 27, 2021 [virtual]
            (with Brian Amos, Enrijeta Shino, and Seth McKee (Oklahoma State University).
   “The Electoral Landscape after a Natural Disaster: Hurricane Michael's Effect on Turnout in Florida,” Southern
            Political Science Association Annual Meeting, January 8-11, 2020, San Juan, Puerto Rico (with William A.
            Zelin).
    “The Turnout Effects of Spanish Language Voting Materials,” Southern Political Science Association Annual Meeting,
            January 8-11, 2020, San Juan, Puerto Rico (with Emily Boykin and Jenna Tingum).
   “Voter Registration after Parkland and Early Voting on College Campuses,” American Political Science Association,
            Washington, DC, August 28-September 1, 2019 (with Enrijeta Shino).
   “Did Ballot Design Oust a US Senator? A Study of the 2018 Election in Florida,” American Political Science
            Association, Washington, DC, August 28-September 1, 2019 (with Michael C. Herron & Michael Martinez).
   “Barriers to Registering Returning Citizens in Florida,” American Political Science Association, Washington, DC, August
            28-September 1, 2019.


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   “Ballot Design, Voter Intentions, and Representation: A Study of the 2018 Midterm Election in Florida,” Election
             Sciences, Reform, and Administration, University of Pennsylvania, July 10-12, 201 (with Michael C. Herron &
             Michael Martinez).
   “Mobilizing the Youth Vote? Early Voting on College Campuses in Florida,” 19th State Politics and Policy Conference at
             the University of Maryland, May 30-June 1, 2019 (with Enrijeta Shino).
   “Did Ballot-Design Outs an Incumbent Senator? A Study of the 2018 Midterm Election in Florida,” Midwest Political
             Science Association Annual Meeting, April 4-7, 2019, Chicago (with Michael Herron and Michael Martinez).
   “Election Administration and Public Records Responsiveness,” Midwest Political Science Association Annual Meeting,
             April 4-7, 2019, Chicago (with Enrijeta Shino, Anna Baringer, Justin Eichermuller, and William Zelin).
    “Voter Registration after Parkland and Early Voting on College Campuses,” American Political Science Association,
             Washington, DC, August 28-September 1, 2019 (with Enrijeta Shino).
   “Did Ballot Design Oust a US Senator? A Study of the 2018 Election in Florida,” American Political Science
             Association, Washington, DC, August 28-September 1, 2019 (with Michael C. Herron & Michael Martinez).
   “Barriers to Registering Returning Citizens in Florida,” American Political Science Association, Washington, DC, August
             28-September 1, 2019.
   “Ballot Design, Voter Intentions, and Representation: A Study of the 2018 Midterm Election in Florida,” Election
             Sciences, Reform, and Administration, University of Pennsylvania, July 10-12, 2019 (with Michael C. Herron &
             Michael Martinez).
   “Mobilizing the Youth Vote? Early Voting on College Campuses in Florida,” 19th State Politics and Policy Conference at
             the University of Maryland, May 30-June 1, 2019 (with Enrijeta Shino).
   “Did Ballot-Design Outs an Incumbent Senator? A Study of the 2018 Midterm Election in Florida,” Midwest Political
             Science Association Annual Meeting, April 4-7, 2019, Chicago (with Michael Herron and Michael Martinez).
   “Election Administration and Public Records Responsiveness,” Midwest Political Science Association Annual Meeting,
             April 4-7, 2019, Chicago (with Enrijeta Shino, Anna Baringer, Justin Eichermuller, and William Zelin).
   “Estimating the Differential Effects of Purging Inactive Registered Voters,” American Political Science Association,
             Boston MA, August 28-September 1, 2018 (with Michael C. Herron).
   “Estimating the Differential Effects of Purging Inactive Registered Voters,” Election Sciences, Reform, and
             Administration, University of Wisconsin-Madison, July 26-27, 2018 (with Michael C. Herron).
   “Exact-Match Voter List Verification and Turnout,” 18th State Politics and Policy Conference at Penn State, June 7-9,
             2018 (with Michael P. McDonald, Pedro Otálora, and Enrijeta Shino).
   “Estimating the Differential Effects of Purging Inactive Registered Voters,” at the 18th State Politics and Policy
             Conference at Penn State, June 7-9, 2018 (with Michael C. Herron).
   “Who are Provisional Voters? Evidence from North Carolina,” Midwest Political Science Association Annual Meeting,
             April 5-8, 2018, Chicago (with Lia Merivaki).
   “A History and Analysis of Black Representation in Southern State Legislatures,” Symposium on Southern Politics, The
             Citadel, Charleston, South Carolina, March 1-2, 2018 (with Charles S. Bullock III, William D. Hicks, M. V.
             (Trey) Hood III, Seth C. McKee, and Adam Myers).
   “Who are Provisional Voters? Evidence from North Carolina,” Southern Political Science Association Annual Meeting,
             January 4-7, 2018, New Orleans (with Lia Merivaki).
   “Naturalizing the Party: Party Registration and Voter Turnout of Foreign-Born Citizens,” State of the Party: 2016 &
             Beyond, November 10, 2017, Ray C. Bliss Institute of Applied Politics, University of Akron, Ohio (with Lidia
             Kurganova).
   “The Erosion of Liberal Democracy: Dissensus and Ideology in America,” American Political Science Association, San
             Francisco, August 31-September 3, 2017 (with William D. Hicks and Seth C. McKee.
   “Early Voting Availability and Turnout in Florida and North Carolina,” American Political Science Association, San
             Francisco, August 31-September 3, 2017 (with David Cottrell and Michael C. Herron).
   “Determinants of County Level Voter Turnout, 1970-2016,” American Political Science Association, San Francisco,
             August 31-September 3, 2017 (with Carl Klarner, Brian Amos, and Michael P. McDonald).
   “Waiting to Vote: Using EViD Data to Assess the Electoral Consequences of Long Voting Lines,” Midwest Political
             Science Association annual meetings, April 6-9, 2017, Chicago (with David Cottrell and Michael C. Herron).
   “Timing the Habit: Voter Registration and Turnout in the American States,” American Political Science Association,
             Philadelphia, September 1-4, 2016 (with Enrijeta Shino).
   “Revisiting Majority-Minority Districts and Black Representation,” American Political Science Association, Philadelphia,
             September 1-4, 2016 (with Seth C. McKee, William D. Hicks; Carl E. Klaner).
   “Defending Democracy: How Political Scientists Are Engaging in the Fight over Voting Rights (and Why You and Your
             Dept. Should too),” APSA Roundtable with Theda Skocpol, Presented by the Scholars Strategy Network,
             American Political Science Association, Philadelphia, September 1-4, 2016.
   “Timing the Habit: Voter Registration and Turnout in the American States,” State Politics and Policy Conference,
             University of Texas at Dallas, May 19-21, 2016 (with Enrijeta Shino).
   “Revisiting Majority-Minority Districts and Descriptive Representation,” State Politics and Policy Conference, University
             of Texas at Dallas, May 19-21, 2016 (with Seth C. McKee, William D. Hicks; Carl E. Klarner).
   “Purging Participation? Eligibility Challenges, Psychological Reactance, and the Decision to Vote,” Midwest Political
             Science Association annual meetings, April 7-10, 2016, Chicago (with Daniel Biggers and Bryce Freeman).
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   “Missing Black Men and Representation in American Political Institutions,” Midwest Political Science Association
            annual meetings, April 7-10, 2016, Chicago (with David Cottrell, Michael Herron, and Javier Rodriguez).
   “Early Voting Effects on Pre-Election Poll Estimates,” Southern Political Science Association, January 7-10, 2016, San
            Juan, Puerto Rico (with Michael P. McDonald, Michael D. Martinez, and Chris McCarty).
   “Your Ballot’s in the Mail: The Effects of Unsolicited Absentee Ballots,” American Political Science Association, San
            Francisco, September 1-4, 2015 (with Michael Martinez)
   “A Reassessment of the Turnout Effects in of Election Reforms in the United States,” American Political Science
            Association, San Francisco, September 1-4, 2015 (with Michael P. McDonald and Enrijeta Shino).
   “Reprecincting and Voting Behavior,” American Political Science Association, San Francisco, September 1-4, 2015 (with
            Brian Amos and Casey Ste. Claire)
   “Looks Can Be Deceiving: Explaining Support for Online Voter Registration in the American States,” State Politics and
            Policy Conference, California State University, Sacramento, May 28-30, 2015 (with William Hicks and Seth
            McKee).
   “Public Opinion on Statewide Ballot Measures,” State Politics and Policy Conference, California State University,
            Sacramento, May 28-30, 2015 (with Diana Forster).
   “Early Voting Effects on Pre-Election Poll Estimates,” American Association for Public Opinion Research Annual
            Conference, May 14-17, 2015, Hollywood, Florida (with Michael P. McDonald, Michael D. Martinez, and Chris
            McCarty).
   “Dumbing Down the Electorate? Assessing the Political Knowledge of Early Voters,” Midwest Political Science
            Association annual meetings, April 15-19, 2015, Chicago (with Enrijeta Shino).
   “Race, Shelby County, and the Voter Information Verification Act in North Carolina,” American Political Science
            Association, Washington, DC, August 27-31, 2014 (with Michael C. Herron).
   “Who Signs? Ballot Petition Signatures as Political Participation,” American Political Science Association, Washington,
            DC, August 27-31, 2014 (with Diana Forster and Brian Amos).
   “Race, Shelby County, and the Voter Information Verification Act in North Carolina,” State Politics and Policy
            Conference, Indiana University, Bloomington, IN, May 15-17, 2014 (with Michael C. Herron).
   “The Effects of Spatial Proximity on Voting,” State Politics and Policy Conference, Indiana University, Bloomington,
            IN, May 15-17, 2014 (with Kenton Ngo).
   “Race, Shelby County, and the Voter Information Verification Act in North Carolina,” Midwest Political Science
            Association Conference, Chicago, April 3-6, 2014 (with Michael C. Herron).
    “Beyond Regulatory Interpretation: The Demand and Supply of Provisional Ballots in Florida,” Symposium on
            Regulation in the U.S. States, DeVoe Center, Florida State University, Tallahassee, February 21, 2014 (with Lia
            Merivaki).
   “Evolution of an Issue: Voter ID Laws in the American States,” American Political Science Association Conference,
            Chicago, August 28-September 2, 2013 (with Seth McKee, William Hicks, and Mitch Sellers).
   “Closing the Door on Democracy”: Early Voting and Participation in Florida,” American Political Science Association
            Conference, Chicago, August 28-September 2, 2013 (with Michael Herron).
    “Evolution of an Issue: Voter ID Laws in the American States,” State Politics and Policy Quarterly 13th annual
            conference, University of Iowa, Iowa City, IA, May 23-25, 2013 (with Seth McKee, William Hicks, and Mitch
            Sellers).
   “Early Voting in Florida in the Aftermath of House Bill 1355,” State Politics and Policy Quarterly 13th annual
            conference, University of Iowa, Iowa City, IA, May 23-25, 2013 (with Michael Herron).
   “Racial Disparities in Provisional Ballot Rejection Rates,” Midwest Political Science Association Conference, Chicago,
            April 11-14, 2013 (with Michael Herron).
   “Who Registers? The Differential Impact of Florida’s House Bill 1355 on Voter Registration,” American Political
            Science Association Conference, New Orleans, August 30-September 2, 2012 (with Michael Herron).
   “The Effect of Polling Locations Upon Vote Choice: A Natural Experiment,” Southern Political Science Association
            Conference, Orlando, January 3-5, 2013 (with Charles Dahan).
   “Casting and Verifying Provisional Ballots in Florida,” Southern Political Science Association Conference, Orlando,
            January 3-5, 2013 (with Lia Merivaki).
   “Who Registers? The Differential Impact of Florida’s House Bill 1355 on Voter Registration,” American Political
            Science Association Conference, New Orleans, August 30-September 2, 2012 (with Michael Herron).
   “The Participatory Impact of Truncating Early Voting in Florida,” State Politics and Policy Quarterly 12th annual
            conference, Rice University, Houston, TX, February 16 – February 18, 2012 (with Michael Herron).
   “Engaging Potential Voters? The Collection of Valid Signatures on Ballot Petitions,” State Politics and Policy Quarterly
            11th annual conference, Dartmouth University, June 4-6, 2011 (with Diana Forster).
   “Pledging Democracy: Congressional Support for a National Advisory Initiative and Referendum,” Southern Political
            Science Association, January 5-8, 2011, New Orleans (presented by Matthew Harrigan).
   “We Know What You Did Last Summer: The Impact of Petition Signing on Voter Turnout,” State Politics and Policy
            Quarterly 10th annual conference, University of Illinois, Springfield, June 5-6, 2010 (with Janine Parry and
            Shayne Henry).


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   “Reassessing Direct Democracy and Civic Engagement: A Panel Study of the 2008 Election,” State Politics and Policy
             Quarterly 10th annual conference, University of Illinois, Springfield, June 5-6, 2010 (with Caroline J. Tolbert
             and Amanda Frost).
   “Generating Scholarship from Public Service: Media Work, Nonprofit Foundation Service, and Legal Expert
             Consulting,” State Politics and Policy Quarterly 10th annual conference, University of Illinois, Springfield, June
             5-6, 2010.
   “Obama to Blame: Minority Surge Voters and the Ban on Same-Sex Marriage in Florida,” American Political Science
             Association Conference, Toronto, September 2-5, 2009 (with Stephanie Slade).
   “State Context and Support for a National Referendum in the U.S.” State Politics and Policy Quarterly 9th annual
             conference, UNC Chapel Hill/Duke University, May 22-23, 2009 (with Caroline J. Tolbert and Amanda Frost).
   “Direct Democracy, Opinion Formation, and Candidate Choice,” American Political Science Association Conference,
             Boston, August 2008 (with Caroline J. Tolbert).
   “The Legislative Regulation of the Initiative,” State Politics and Policy Quarterly 8th annual conference, Temple
             University, Philadelphia, PA, May 30-31, 2008.
   “The Initiative to Shirk? The Effects of Ballot Measures on Congressional Voting Behavior,” State Politics and Policy
             Quarterly 8th annual conference, Temple University, Philadelphia, PA, May 30-31, 2008 (with Josh Huder and
             Jordan Ragusa).
   “Participatory-Based Trust? Political Trust and Direct Democracy,” American Political Science Association Conference,
             Chicago, August 2007 (with Caroline J. Tolbert and Daniel Bowen).
   “Giving Power to the People: The Adoption of Direct Democracy in the American States,” Western Political Science
             Association Conference, Las Vegas, NV, March 7-9, 2007 (with Dustin Fridkin)
   “Mass Support for Redistricting Reform: District and Statewide Representational Winners and Losers,” State Politics
             and Policy Quarterly 7th annual conference, Austin, TX, February 22-24, 2007 (with Caroline J. Tolbert and
             John C. Green).
   “Mass Support for Redistricting Reform: Partisanship and Representational Winners and Losers,” American Political
             Science Association Conference, Philadelphia, August 2006 (with Caroline J. Tolbert and John C. Green).
   “Gaming the System: The Effect of BCRA on State Party Finance Activities.” The State of the Parties: 2004 & Beyond. Ray
             C. Bliss Institute for Applied Politics, Akron, OH, October 2005 (with Susan Orr).
   “Do State-Level Ballot Measures Affect Presidential Elections?” American Political Science Association Conference,
             Washington, D.C., September 1-4, 2005 (with Caroline Tolbert and Todd Donovan).
   “Did Gay Marriage Elect George W. Bush?” Fifth Annual Conference on State Politics and Policy, Michigan State University,
             East Lansing, MI, May 13-14, 2005 (with Todd Donovan, Caroline Tolbert, and Janine Parry).
   “Was Rove Right? Evangelicals and the Impact of Gay Marriage in the 2004 Election.” Fifth Annual Conference on State
             Politics and Policy, Michigan State University, East Lansing, MI, May 13-14, 2005 (with Matt DeSantis and Jason
             Kassel).
   “Partisanship, Direct Democracy, and Candidate Choice,” Midwest Political Science Association Conference, Chicago, IL, April
             7-10, 2005 (with Caroline Tolbert and Todd Donovan).
   “Did Gay Marriage Elect the President? Mobilizing Effects of Ballot Measures in the 2004 Election,” Western Political
             Science Association Conference, Oakland, CA, March 17-19, 2005 (with Todd Donovan and Caroline Tolbert).
   “Initiatives and Referendums: The Effects of Direct Democracy on Candidate Elections,” Conference on What We Know
             and Don’t Know about Campaigns and Elections, Graduate Program in Political Campaigning, University of Florida,
             Gainesville, FL, February 24-5, 2005.
   “Was Rove Right? The Partisan Wedge and Turnout Effects of Issue 1, Ohio’s 2004 Ballot Initiative to Ban Gay
             Marriage,” University of California Center for the Study of Democracy/USC-Caltech Center for the Study of Law and
             Politics/Initiative and Referendum Institute Conference, Newport Beach, CA, January 14-15, 2005.
   “The Educative Effects of Direct Democracy on Voter Turnout,” American Political Science Association Conference, Chicago,
             IL, September 1-5, 2004 (with Caroline Tolbert).
   “Turning On and Turning Out: Assessing the Indirect Effects of Ballot Measures on Voter Participation,” Fourth Annual
             Conference on State Politics and Policy, Kent State University, Kent, OH, April 30-May 2, 2004 (with Todd
             Donovan).
   “Veiled Political Actors: The Real Threat to Campaign Finance Disclosure Statutes?” Midwest Political Science Association
             Conference, Chicago, April 14-18, 2004 (with Elizabeth Garrett).
   “Elephants, Umbrellas, and Quarrelling Cocks: Disaggregating Party Identification in Ghana’s Fourth Republic,”
             Western Political Science Association Conference, Portland, OR, March 11-13, 2004 (with Kevin Fridy).
   “Gaming the System: State Party Finance Activities in Colorado and Florida,” Southern Political Science Association
             Conference, New Orleans, January 7-10, 2004.
   “The Educative Effects of Direct Democracy: Ballot Campaigns and Civic Engagement in the American States,” Societa
             Italiana di Studi Elettorali (SISE) VIIIth International Conference on Electoral Campaigns (Initiative and
             Referendum),Venice, Italy, December 18-20, 2003.
   “In the Wake of Prop. 13,” American Political Science Association Conference, Philadelphia, PA, August 27-31, 2003.
   “Soft Money and Issue Advocacy in the 2002 Colorado 7th Congressional District Election,” Western Political Science
             Association Conference, Denver, CO, March 26-30, 2003.

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   “Educated by Initiative: Direct Democracy and Civic Engagement in the American States,” Third Annual Conference on
             State Politics and Policy, University of Arizona, Tucson, AZ, March 14-15, 2003 (with Caroline Tolbert).
   “Ballot Initiatives and the (Sub)Urban/Rural Divide in Colorado,” Colorado’s Future: How Can We Meet the Needs of a
             Changing State? University of Colorado at Colorado Springs, September 27, 2002.
   “Representation and the Spatial Dimension of Direct Democracy,” American Political Science Association Conference, Boston,
             MA, August 29-September 1, 2002.
   “Representation and the Spatial Bias of Direct Democracy,” Second Annual Conference on State Politics and Policy,” University
             of Wisconsin-Milwaukee, Milwaukee, WI, May 24-25, 2002.
   “Minority Rights and the Spatial Bias of Direct Democracy,” Southwestern Political Science Association Conference, New
             Orleans, LA, March 27-30, 2002.
   “Representation and the Urban Bias of Direct Democracy,” Western Political Science Association Conference, Long Beach, CA,
             March 21-24 2002.
   “Ghost Busters: The Structural Underpinnings and Politics of Ghana’s 2000 Elections,” African Studies Association
             Conference, Houston, TX, November 15-18, 2001.
   “The Effect of Ballot Initiatives on Voter Turnout,” American Political Science Association Conference, Washington, DC,
             August 31-September 3, 2000 (with Caroline Tolbert and John Grummel).
   “Campaign Finance of Ballot Initiatives,” National Direct Democracy Conference, University of Virginia’s Center for
             Governmental Studies, Charlottesville, VA, June 8-9, 2000.
   “Meet the Authors Roundtable: Recent Books on Direct Democracy in the States,” Midwest Political Science Association
             Conference, Chicago, April 27-30, 2000.
   “Counter-Majoritarian Bills and Legislative Response of State Ballot Initiatives,” Western Political Science Association
             Conference, San Jose, March 24-26, 2000.
   “The Gun Behind the Door Fires Blanks,” Pacific Northwest Political Science Association Conference, Eugene, OR, October 14-
             16, 1999.
   “Orange Crush: Mobilization of Bias, Ballot Initiatives, and the Politics of Professional Sports Stadia,” American Political
             Science Association Conference, Atlanta, September 2-5, 1999 (with Sure Log).
   “Direct Democracy in Colorado: Limited Information, Tough Choices,” A Century of Citizen Lawmaking: Initiative and
             Referendum in America, Initiative and Referendum Institute, Washington, D.C., May 6-8, 1999.
   “The Initiative to Party: The Role of Political Parties in State Ballot Measures,” Western Political Science Association
             Conference, Seattle, March 25-28, 1999.
   “Direct Democracy in the Late 20th Century: The Legacy(ies) of Prop. 13,” Roundtable, American Political Science
             Association Conference, Boston, September 3-6, 1998.
   “The Legacy of Howard Jarvis and Proposition 13? Tax Limitation Initiatives in 1996,” Western Political Science Association
             Conference, Los Angeles, March 19-21, 1998.
   “Special Interests and the Initiative Process in Colorado: The Case of the Parental Rights Amendment” (with Robert
             Herrington), Poster Session, American Political Science Association Conference, Washington, D.C., August 28-31,
             1997.
   “Howard Jarvis, Populist Entrepreneur: Reevaluating Causes of Proposition 13,” Western Political Science Association
             Conference, Tucson, March 13-15, 1997.
   “Guided Immersion: A Non-Traditional Study Abroad Program at the University of Ghana at Legon,” Midwest Political
             Science Association Conference, Chicago, April 10-12, 1997.
   “Exploring the Political Dimension of Privatization: A Tale of Two Cities” (with Kevin Leyden), Midwest Political Science
             Association Conference, Chicago, April 18-20, 1996.
   “Populist Entrepreneur: Douglas Bruce and the Tax Limitation Movement in Colorado,” 20th Annual Interdisciplinary
             Symposium of the Politics and Culture of the Great Plains, Lincoln, April 11-13, 1996.
   “Faux Populism: Douglas Bruce and the Anti-Tax Moment in Colorado, 1986-1992,” Western Political Science Association
             Conference, San Francisco, March 14-16, 1996.
   “Insular Democracy: Advisory Councils and Task Forces in the American States,” Western Political Science Association
             Conference , Portland, March 1995.
   “Supporting Labor-Management Initiatives at the State Level: The Case of the West Virginia Labor-Management
             Advisory Council,” Southern Industrial Relations and Human Resource Conference, Morgantown, WV, October 1994.
   “State Autonomy, Capacity, and Coherence: Labor-Management Councils in the American States,” Western Political Science
             Association Conference, Albuquerque, March 1994.
   “Removing the Pluralist Blinders: Labor-Management Councils and Industrial Policy in the American States,” American
             Political Science Association Conference, Chicago, September 1992.
   “You Can’t Live with Them...The Emerging Role of Organized Labor in Industrial Policy in the American States,”
             Midwest Political Science Association Conference, Chicago, April 1992.
   “It Can Happen Here: Apprenticeship, Workplace-based Learning, and the Affirmative Role of Unions” (with Eric
             Parker), Southwestern Political Science Association Conference, Austin, TX, March 1992.
   “The Affirmative Role of U.S. Unions in Restructuring” (with Eric Parker), American Sociological Association Conference,
             Indianapolis, IN, August 1991.
   “Economic Development Strategy and the Problem of Skills: The Case of Wisconsin’s Advanced Metalworking Sector”
             (with Eric Parker), American Society for Public Administration Conference, Cleveland, OH, October 1990.
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   EDITORIAL/ADVISORY BOARDS/REVIEWER
            Review Board, National Science Foundation, 2016
            Editorial Board, State Politics and Policy, 1999-2007; 2014-2016
            Editorial Board, Election Law Journal, 2012-2016.
            Review Board, American Political Science Association (APSA) Small Research Grant Program, 2004-05.
            Review Board, Fulbright/ American Political Science Association (APSA) Congressional Fellowship Program, 2002-2005.
            Academic Advisory Board, Annual Editions, State & Local Government (Brown & Benchmark), 1995-2015.
            Sub-Field Editor, State Politics, FirstResearch, 1999-2001.

   PROFESSIONAL MEMBERSHIPS
   American Political Science Association, 1990-
            State Politics and Policy Section, 2000-
                       President, 2013-2015
                       Executive Council, 2010-2012
            Political Organizations and Parties Section, 2000-
   Midwest Political Science Association, 1990-
   Southern Political Science Association, 2001-
   Western Political Science Association, 1994-
            Local Co-Host, Annual Meeting (Denver), 2003
            Chair, Committee on Membership, Attendance, and Registration, 1998-2000
            Section Chair, State Politics and Policy, 1999 Annual Conference (Seattle)
            Member, Charles Redd Politics of the American West Award Committee, 1999
            Chair, Best Dissertation Award Committee, 1999-2001
   Florida Political Science Association (1994-)
            Section Chair, State Politics, 2004 Annual Conference (Gainesville)

   PROFESSIONAL APPOINTMENTS
   Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2011.
   Research Scholar, Bill Lane Center for the Study of the American West, Stanford University, 2007.
   Senior Research Scholar, Ballot Initiative Strategy Center Foundation (BISCF), Nonprofit 501 (c)(3), Washington, DC,
            (www.ballot.org), 2006.
   Board of Directors, Ballot Initiative Strategy Center Foundation (BISCF), Nonprofit 501 (c)(3), Washington, DC, 2000-2019.
   Board of Scholars, Initiative & Referendum Institute, USC Law School, University of Southern California, 2004-.
   Senior Research Fellow, Initiative & Referendum Institute, Washington, DC, 1998-2003.
   Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2000-01.
   President & Co-Founder, Citizens Institute for Voter Information in Colorado (CIVIC), Denver, CO, 1998-2001.

   UNIVERSITY SERVICE
   University of Florida
            College/University
            Appointed Member, Latin American Studies Search Committee (Latino Studies), 2014-15
            Appointed Member, Political Science/African Studies Search Committee, 2013-14
            Appointed Member, 20th Century American History Search Committee (History), 2008-09
            Appointed Member, Latino Studies Search Committee (LAS), 2006-07
            Departmental Representative, United Faculty of Florida, 2003-
            Alternate Senator, United Faculty of Florida, 2005-
            State Delegate, Florida Education Association, 2006-
            Elected Member, College of Arts and Sciences, Nominating Committee, 2004-06
            Appointed Member, University of Florida Fulbright Committee, 2003-07

            Department
            Chair, 2017-
            Graduate Coordinator, 2014-2016
            Associate Chair, 2013-2014
            Appointed Member, Informatics Search Committee (Departmental Representative), 2013-14
            Appointed Member, Promotion (Full) Review Committee (Service), Leonardo Villalon, 2011
            Appointed Member, Promotion (Full) Review Committee (Research), Badredine Arfi, 2010
            Elected Member, Chair’s Advisory Committee, 2004-05; 2006-07 (Chair); 2007-08 (Chair); 2010-11; 2012-13
            Elected Member, Chair Search Committee, 2004; 2009
            Appointed Member, Tenure Review Committee (Research), Daniel O’Neill, 2008
            Appointed Faculty Mentor, State Senator Mike Haridopolos, 2008-09
            Appointed Member, Strategic Planning Committee, 2008-09
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            Appointed Director, Graduate Program in Political Campaigning, 2007-11
            Appointed Member, Committee to establish Undergraduate Certificate in Political Campaigning, 2007
            Elected Member, Market Equity Committee, 2006-07 (Chair); 2007-08; 2008-09 (Chair)
            Appointed Internship Coordinator, 2005-
            Elected Member, Merit Committee, 2004-05; 2005-06; 2006-07 (Chair)
            Appointed Faculty Mentor, Marcus Hendershot, 2006-
            Appointed Faculty Mentor, Helena Rodriques, 2005-06
            Appointed Member, Ad-Hoc Graduate Teaching Committee, 2005-06
            Appointed Member (Chair), Latino Politics Search Committee, 2004-05
            Appointed Member, Tenure and Promotion Committee (Samuel Barkin), 2004.
            Appointed Member, Mid-Career and Mentoring Task Force, 2004-05
            Appointed Member, Speakers Committee (Chair), 2003-05.
            Appointed Member, Tenure and Promotion Committee (Richard Conley), 2003.

   University of Denver
            Social Science Promotion and Tenure Committee, 1999-2000
            Joint Ph.D. Program in Religious and Theological Studies, (with Iliff School of Theology), 1999-2002
            AH/SOCS Grade Appeals Committee, 1999-2001
            Phi Beta Kappa Selection Committee, Gamma of Colorado, 1998-2002
            Partners in Scholarship (PINS) Committee, 1997-2000
            AH/SOCS Elected Faculty Committee, 1996-98
            Post-Tenure Review Committee, 1996-98
            SOAR (Summer Orientation), 1997-2000
            Faculty Senate Representative, 1995-1996
            Study Abroad Faculty Advisory Committee, 1995-2000
            Study Abroad Travel Scholarships Committee, 1995-2000
            Faculty Member, Culture and Critical Studies Program, 1995-2000
            Faculty Mentor, 1995-2000
            Reach-Out DU, 1995-2000
            Advisor, Department of Political Science Honors Program, 1995-1996


   MEDIA INTERVIEWS
   Quoted more than 1,000 times by the media (newspaper, radio, television) on various political issues, including the New York
          Times, Wall Street Journal, Washington Post, USA Today, Bloomberg, The Economist, Newsweek, Time, CNN, CBS News, Fox
          News, National Public Radio, Tampa Bay Times, Miami Herald, Florida Times-Union, San Francisco Chronicle, Los Angeles
          Times, Chicago Tribune, Boston Globe, etc.




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                                                                                                  T. Piderit

The 2021 Florida Statutes

          Title IX                                    Chapter 101                     View Entire Chapter
  ELECTORS AND ELECTIONS               VOTING METHODS AND PROCEDURE
  101.657        Early voting.—
  (1)(a)    As a convenience to the voter, the supervisor of elections shall allow an elector to vote early
in the main or branch office of the supervisor. The supervisor shall mark, code, indicate on, or otherwise
track the voter’s precinct for each early voted ballot. In order for a branch office to be used for early
voting, it shall be a permanent facility of the supervisor and shall have been designated and used as
such for at least 1 year prior to the election. The supervisor may also designate any city hall, permanent
public library facility, fairground, civic center, courthouse, county commission building, stadium,
convention center, government-owned senior center, or government-owned community center as an
early voting site; however, if so designated, the sites must be geographically located so as to provide all
voters in the county an equal opportunity to cast a ballot, insofar as is practicable, and must provide
sufficient nonpermitted parking to accommodate the anticipated amount of voters. In addition, a
supervisor may designate one early voting site per election in an area of the county that does not have
any of the eligible early voting locations. Such additional early voting site must be geographically
located so as to provide all voters in that area with an equal opportunity to cast a ballot, insofar as is
practicable, and must provide sufficient nonpermitted parking to accommodate the anticipated amount
of voters. Each county shall, at a minimum, operate the same total number of early voting sites for a
general election which the county operated for the 2012 general election. The results or tabulation of
votes cast during early voting may not be made before the close of the polls on election day. Results
shall be reported by precinct.
  (b)  The supervisor shall designate each early voting site by no later than the 30th day prior to an
election and shall designate an early voting area, as defined in s. 97.021, at each early voting site. The
supervisor shall provide to the division no later than the 30th day before an election the address of each
early voting site and the hours that early voting will occur at each site.
  (c)   All early voting sites in a county shall allow any person in line at the closing of an early voting
site to vote.
  (d)   Early voting shall begin on the 10th day before an election that contains state or federal races
and end on the 3rd day before the election, and shall be provided for no less than 8 hours and no more
than 12 hours per day at each site during the applicable period. In addition, early voting may be offered
at the discretion of the supervisor of elections on the 15th, 14th, 13th, 12th, 11th, or 2nd day before an
election that contains state or federal races for at least 8 hours per day, but not more than 12 hours per
day. The supervisor of elections may provide early voting for elections that are not held in conjunction
with a state or federal election. However, the supervisor has the discretion to determine the hours of
operation of early voting sites in those elections.
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   (e)    Notwithstanding the requirements of s. 100.3605, municipalities may provide early voting in
municipal elections that are not held in conjunction with county or state elections. If a municipality
provides early voting, it may designate as many sites as necessary and shall conduct its activities in
accordance with the provisions of paragraphs (a)-(c). The supervisor is not required to conduct early
voting if it is provided pursuant to this subsection.
   (f)    Notwithstanding the requirements of s. 189.04, special districts may provide early voting in any
district election not held in conjunction with county or state elections. If a special district provides
early voting, it may designate as many sites as necessary and shall conduct its activities in accordance
with the provisions of paragraphs (a)-(c). The supervisor is not required to conduct early voting if it is
provided pursuant to this subsection.
   (2)    During any early voting period, each supervisor shall make available the total number of voters
casting a ballot at each early voting location and the total number of vote-by-mail ballots received
under s. 101.69(2) during the previous day. Each supervisor shall prepare an electronic data file listing
the individual voters who cast a ballot during the early voting period. This information shall be provided
in electronic format as provided by rule adopted by the division. The information shall be updated and
made available no later than noon of each day and shall be contemporaneously provided to the division.
   (3)    The ballot of each elector voting early shall be counted even if the elector dies on or before
election day.
   (4)(a)     The elector must provide identification and must complete an Early Voting Voter Certificate in
substantially the following form:

                                              EARLY VOTING VOTER CERTIFICATE

I, ¬, am a qualified elector in this election and registered voter of ¬ County, Florida. I do solemnly swear
or affirm that I am the person so listed on the voter registration rolls of ¬ County and that I reside at the
listed address. I understand that if I commit or attempt to commit fraud in connection with voting, vote
a fraudulent ballot, or vote more than once in an election I could be convicted of a felony of the third
degree and both fined up to $5,000 and imprisoned for up to 5 years. I understand that my failure to
sign this certificate invalidates my ballot.
¬¬(Voter’s Signature)¬¬
¬¬(Address)¬¬
¬¬(City/State)¬¬


   (b)    Any elector may challenge an elector seeking to vote early under the provisions of s. 101.111.
Any challenged voter must vote a provisional ballot. The canvassing board shall review the ballot and
decide the validity of the ballot by majority vote.
   (c)    The canvass of returns for ballots cast under this subsection shall be substantially the same as
votes cast by electors in precincts, as provided in s. 101.5614.
  History.—s. 17, ch. 98-129; s. 2, ch. 2000-249; s. 55, ch. 2001-40; s. 21, ch. 2003-415; s. 7, ch. 2004-232; s. 13, ch. 2004-
252; s. 45, ch. 2005-277; s. 39, ch. 2005-278; s. 39, ch. 2011-40; s. 13, ch. 2013-57; s. 57, ch. 2014-22; ss. 10, 18, ch. 2019-
162; s. 17, ch. 2020-2.


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                                                                           Article

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                                                                           Verifying Voter Registration Records                                                                            © The Author(s) 2020
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                                                                           Enrijeta Shino1 , Michael D. Martinez2,
                                                                           Michael P. McDonald2, and Daniel A. Smith2

                                                                           Abstract
                                                                           This study investigates the reliability of Florida’s voter registration files through a phone survey, asking respondents to verify
                                                                           their records. We find 17.7% of registrants fail to verify at least one identifying piece of information. Applying the total survey
                                                                           error (TSE) framework, we classify these errors as due to coverage error, measurement error, or processing error. These
                                                                           inconsistencies create election administration and campaign inefficiencies, which lead to poorer voter experiences, and
                                                                           challenge the validity of some research based on these data. Furthermore, if registration records do not accurately capture
                                                                           the members of protected groups, the data are less helpful in both government monitoring and enforcement. We suggest
                                                                           voter registration forms should be treated like survey questionnaires so as to improve data quality with better form design,
                                                                           and that some vote overreport bias is attributable to limitations of voter file data, not to respondents’ vote misreporting.

                                                                           Keywords
                                                                           voter registration, voter file, validation, survey


                                                                           State and local election officials maintain voter registration       America Vote Act’s requirement that states maintain and
                                                                           files that contain a wealth of information, including regis-         regularly update centralized electronic voting files has
                                                                           trants’ names, birthdates, current addresses, and past vote          reduced the costs of voter validation efforts but has not com-
                                                                           histories. These data, which are critical to the administration      pletely eliminated concerns about their reliability (Berent
                                                                           of elections, are also extensively used by political campaigns       et al., 2016; Burden, 2014; McDonald, 2007).
                                                                           to target messages and mobilize supporters. In addition,                 Here, we explore the reliability of information found in
                                                                           scholars use these data as sampling frames in voter persua-          Florida’s voter registration file. Our insight is that a voter reg-
                                                                           sion and mobilization experiments (e.g., Gerber & Green,             istration application is similar to a survey questionnaire, or
                                                                           2000), making inferences about the effects of registration           even a ballot (Kimball & Kropf, 2005). We explore voter reg-
                                                                           laws on who registers and votes (e.g., Fraga et al., 2018;           istration errors employing the total survey error (TSE) frame-
                                                                           Holbein & Hillygus, 2016; Shino & Smith, 2018), and vali-            work (Groves & Lyberg, 2010; Weisberg, 2005) by employing
                                                                           dating survey respondents’ self-reports (e.g., Ansolabehere          a test/retest methodology (Guttman, 1945) where we ask a
                                                                           & Hersh, 2012; Silver et al., 1986), among other uses.               sample of registered voters to verify their voter registration
                                                                           Importantly, voter registration lists determine who may cast         record. This approach mitigates potential false negative and
                                                                           ballots in an election, which means registration errors could        positive matches in prior vote survey validation efforts that
                                                                           either permit votes by those who are ineligible or, more             may arise from record linkage methodologies (Elmagrmid
                                                                           likely, complicate or prevent voting by people with mis-             et al., 2007). Unlike a prior test/retest mail-back study
                                                                           matches between their registration record and the identifica-        (Ansolabehere et al., 2010), we employ an adaptive phone
                                                                           tion they provide at the polls (Ansolabehere & Hersh, 2014).         survey design to probe causal explanations as to why indi-
                                                                           Thus, the accuracy of these data is important for the effi-          viduals may provide a survey response inconsistent with their
                                                                           ciency and fairness in election administration, measurement          administrative record. We find 17.7% of respondents fail to
                                                                           validity, and the ability of individuals to exercise their funda-    verify at least one field included in the publicly available
                                                                           mental right to vote.                                                Florida voter file, including name, address, birthdate, sex, or
                                                                               Despite the importance of these records for election             race. These inconsistencies create election administration and
                                                                           administration, campaigns, research, and voters, some have
                                                                           cautioned their reliability. After the American National             1
                                                                                                                                                 University of North Florida, Jacksonville, USA
                                                                           Election Studies (ANES) discontinued its valiant, though             2
                                                                                                                                                 University of Florida, Gainesville, USA
                                                                           frustrating and costly, efforts to validate respondents’ self-
                                                                                                                                                Corresponding Author:
                                                                           reports of turnout in the 1980s by checking official records,        Enrijeta Shino, University of North Florida, 1 UNF Drive, Jacksonville, FL
                                                                           Traugott et al. (1992) warned that “ . . . administrative records    32224, USA.
                                                                           should be treated with some care” (p. 13). The 2002 Help             Email: e.shino@unf.edu                                 Daniel Smith,        Ph.D.
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campaign inefficiencies, lead to poorer voter experiences, and        (such as difficulty reading illegible handwriting), carelessness, or
challenge the validity of some prior research based on these          fatigue. For example, election officials erroneously recorded a
data.                                                                 North Carolina legislator who appeared to have voted in North
                                                                      and South Carolina until officials determined his mother signed
                                                                      the wrong poll book line (Ochsner, 2016).
A Voter Registration Application as a
Survey Questionnaire
                                                                      Survey Design
Florida’s paper voter registration application, asks some
open-ended responses (the registrant’s name, address, and             To assess the relative frequency of these types of errors in
other identifying information) and some closed-ended                  Florida voter registrations, we conducted a survey based on a
responses (gender, party affiliation, and race/ethnicity).1 The       random sample of 60,000 registered voters selected from the
National Voter Registration Form asks for much of the same            February 2017, voter file. Our purpose and approach is simi-
information, with some differences regarding party affilia-           lar to the Ansolabehere et al. (2010) study, which sent two
tion, race, and gender. Using Groves and Lyberg’s (2010)              first class mail pieces to a sample of registered voters in
TSE framework, we classify three validity challenges that             Florida and Los Angeles County, California. Our innovation
arise as they relate to voter registration records: coverage          is that we field an adaptive telephone survey that allows
error, measurement error, and processing error. TSE has               interviewers to ask follow-up questions of respondents
more elements, but we focus here on those endemic to the              whose survey answers differ from their registration records.
accuracy of voter registration records.                                   Although telephone number is labeled as optional on
    Coverage error occurs when the voter registration list            Florida’s registration form, 31.6% of our sample registrants
does not accurately reflect the population who should qualify         provided one. L2, a voter list vendor, augmented our sample
as registered voters in a given jurisdiction. In this context,        with phone numbers, yielding a total of 31,725 phone num-
overcoverage is commonly referred to as “deadwood”: regis-            bers, or 52.9% of our sample. From that sampling frame, we
tration records that have been rendered obsolete by changes           completed 402 interviews out of 6,227 unique phone num-
in residence or death of the registrant (Ansolabehere &               bers called, a 6.5% response rate. Using computer-assisted
Hersh, 2014). Undercoverage, in this context, can include             telephone interview software with voter file information,
people who were improperly purged from the voter rolls, but           bilingual interviewers asked respondents questions identical
who are legally entitled to continue voting in the jurisdiction.      to the voter registration application.2 If a respondent pro-
One particular challenge is to update voter registration              vided an inconsistent answer, we asked follow-up questions
addresses in a mobile population, as federal and state laws           to investigate these failures to help assure valid responses to
govern the process of updating and removing records of per-           the survey. A more complete description of our methodology
sons no longer eligible to vote at an address.                        is found in the Supplemental Material.
    Measurement error occurs when respondents fail to give
accurate responses to questions that are asked. Some measure-         Results
ment error might be attributable to respondents who satisfice
                                                                      In all, 71 of 402 respondents (17.7%) failed to verify at least
by providing a quick answer in lieu of the best answer, or those
                                                                      one of their name, address, birthdate, sex, or race. We report
who have difficulty understanding the question due to illiter-
                                                                      unweighted statistics, as we analyze small frequency sub-
acy or language barriers. Poorly designed forms can also
                                                                      samples that could be distorted by weights. Ansolabehere
induce measurement error, as when a crowded form causes a
                                                                      et al. (2010) report a similar estimated total error rate in their
respondent to miss or misread a question, or when an abbre-
                                                                      mail-back survey, which included name, address, birthdate,
viation (“M” and “F”) is ambiguous or not understood by all
                                                                      sex, race, and questions regarding vote history and party
respondents. Social constructs, such as race, are particularly
                                                                      affiliation. We organize our discussion of the results pre-
susceptible to measurement error as they depend on social
                                                                      sented in Table A1 in the Supplemental Material by grouping
norms. Respondents may have multiple race identifications, or
                                                                      questions into coverage, measurement, and processing
considerations, that lead to unstable responses in repeated sur-
                                                                      errors. Likely, processing errors are present in the coverage
veys (Harris & Sim, 2002). Florida’s application is particu-
                                                                      and measurement error topics, but we cannot always easily
larly vulnerable, as race and ethnicity are combined into a
                                                                      disentangle processing errors from these other error sources.
single question that forces a single response. In contrast, many
survey organizations ask separate questions that permit
respondents to self-identify their race and their Hispanic eth-       Coverage Errors
nicity, and the U.S. Census allows multiple responses to the
race question rather than using a “multiracial” category.             Registration Status
    Processing error occurs when election officials incorrectly       Eight (2.0%) of the respondents sampled who confirmed
enter data from voter registration applications. These errors arise   other personal identifying information reported they were
from the operator’s misinterpretation of ambiguous responses          not registered to vote in Florida. Upon further questioning,
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five reported being registered in the past year, and two              voter registration application offers six closed-ended
reported being registered within the past 3 years. None               response items to a single race and ethnicity question, plus
reported being registered to vote in another state or Florida         an “Other” option with a very small box to write in one’s
county. It is possible that these respondents mistakenly              racial identification, while the National Voter Registration
thought they had been removed from the voter rolls.                   Form instructs registrants who opt to answer this question to
                                                                      write in one of the same seven options (including “other,”
                                                                      but with no additional space for a more specific response).
Measurement Errors
                                                                      Some 96.2% of all registrants supplied an answer corre-
Name                                                                  sponding to one of the six provided categories, 1.5% checked
                                                                      “other,” and 2.3% skipped the question on the registration
Four of our respondents (1.0%)
                            (1
                             1..0%) reported that their name was      form. In our survey, we first asked respondents to self-iden-
listed incorrectly. Two are likely processing errors: one reported    tify their race and ethnicity with response items identical to
not having a middle name, though one was recorded in the              those on the voter registration form. Respondents who did
voter file and another reported their first name was misspelled.      not verify being “Hispanic” were asked a separate Hispanic
The other two are likely measurement issues: two women                ethnicity question. In response to our question that mim-
reported a different last name than what was recorded on the          icked the question on the registration application, 37 of the
official voter file, which could be due to a marriage or divorce,     402 (9.2%) respondents initially reported a race or ethnicity
although we did not include a follow-up question to that effect.      that did not match their registration. Five respondents who
                                                                      were recorded as Hispanic in the voter file self-reported an
Addresses                                                             identification other than Hispanic, but all five self-identified
                                                                      as Hispanic in response to our follow-up question. Similarly,
Incorrect information may be indicators of poor data integ-           we observed 22 of the 37 inconsistent self-reports were for
rity. In our phone survey, we find that 22 respondents, or            registrants listed in the voter file as “Multiracial” or “Other.”
5.5% of the registrants who answered that question, reported          Thus, a majority of the inconsistencies were from respon-
a different physical address than the one recorded in the voter       dents with multiple identifications, either Hispanics who
file. Measurement error explains if a voter’s address was             also identify as Black or White, or people who reported a
accurate at the time of registration, but has since changed;          mixed racial heritage. Those voters might have provided
however, processing error explains if a voter may have pro-           truthful answers (or considerations) on both the registration
vided the wrong address at the time of registration, or the           form and in our survey, as different identifications may have
transcriber may have incorrectly input the wrong address              been salient (or made salient by the question format) to the
from the registration form. Our findings indicate that when           registrant between the time of registration and the time of
address errors are scaled nationally, there may be millions of        the survey.
similar problematic records.

                                                                      Party Registration
Gender
                                                                      Party registration is also a voluntary category on the voter
Thirteen respondents (3.2%) reported that the gender designa-         registration form. Thirteen of 402 (3.2%) respondents failed
tion in the voter registration record was incorrect. Of these, 12     to verify their party registration. There were no clear patterns
were recorded with an “unknown” gender, but they provided a           among these respondents, as three reported their correct
male or female response in our survey. The “unknown” gender           party registration was Democrat, four reported Republican,
on the official administrative record could be indicative of a        four reported No Party Affiliation, and one reported a Minor
respondent having an ambiguous or nonbinary gender at the             party affiliation. The initial registration dates for these
time of registration, but it is more likely the result of an appli-   respondents ranged from 1958 to 2016, or from 1 to 59 years
cant simply failing to mark a response to the optional gender         prior to our survey. The median respondent in this group reg-
question. Although most new registrants provide an answer to          istered in 2007, so it is likely intervening party system
the gender question, as we noted above, the gender “M” and “F”        dynamics in Florida results in mismatches between these
response boxes are small and are not positioned near other            voters’ original party registrations and their current party
required information on the form. Applicants may thus inadver-        identifications. Notwithstanding, Florida’s status as a closed-
tently miss this question, fail to interpret the abbreviations “M”    primary state means that these voters will not be able to par-
and “F,” or simply choose to skip this question as it is optional.    ticipate in their preferred party’s primary.

Race                                                                  2016 General Election Vote
The most frequent verification failure in our survey is with          Most surveys estimate a greater percentage of individuals
respect to race and ethnicity. As noted above, the Florida            reporting voting than aggregate statistics indicate. While a
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number of factors contribute to this phenomenon, overreport-         election administrators (Ansolabehere & Hersh, 2014). The
ing (nonvoters claiming to have voted) usually accounts for          TSE framework can alert researchers to the presence of
most of the gap between actual and reported turnout (Jackman,        measurement error in concepts like self-identified party reg-
2019). Our survey fits this pattern, as 14 respondents who           istration, race, and gender on voter registration forms.
self-reported 2016 general election participation did not have       Responses to questions about racial identity not only pro-
a vote history record in Florida, while only one respondent          duce the most frequent verification failures, they also reflect
reported not voting when a voting record existed. Our novel          a troubling aspect of the reliability of these data. Southern
finding is that five of these 14 “overreporters” said they voted     states tend to ask registrants’ race so that these states, the
in another state. While we did not verify whether they actu-         Department of Justice, and the courts can use these data to
ally voted outside of Florida, this does suggest some overre-        evaluate when there are voting rights violations. If registra-
porting in election surveys may be attributed to respondents         tion records do not accurately reflect how many registrants
registering and voting elsewhere, for whatever reason. An            who are members of protected groups identify themselves,
important implication is vote-validation research finding            these data are less helpful in monitoring and enforcement.
overreporters tend to be high propensity voters (Ansolabehere            Examining the accuracy of voter registration records
& Hersh, 2012), but this may be an artifact of people truth-         from the TSE framework of processing error is another
fully reporting their vote, but in another state.                    area worthy of study, which may help election administra-
                                                                     tors improve voter file accuracy. In many ways, filling out
                                                                     a voter registration form is akin to filling out a ballot
Processing Errors
                                                                     (Kimball & Kropf, 2005; Kropf & Kimball, 2012).
Birthdate                                                            Considering them as a survey may yield low cost solutions
                                                                     that improving election administration and avoiding high
Anticipating that many respondents may be concerned about            costs. For example, understanding how sources of voter
potential identity theft, we asked three sequential questions        registration input (from motor vehicle offices, registration
regarding birth year, birth month, and birthday rather than          drives, or paper or online registration) affect error rates can
asking directly respondents to confirm their recorded birth-         illuminate trade-offs between costs and data quality. Survey
date. Sixty respondents refused to answer any of these ques-         methodologists find questionnaire design and mode affect
tions. Among the 342 valid responses to these questions, 11          data quality (Dillman & Christian, 2005), which suggests
(3.2%) responded with information inconsistent with their            that different modes of data collection by paper, online reg-
voter registration record. Some responses appear to be pro-          istrations, and interactions with humans, such as depart-
cessing errors, with a single incorrect digit in a day or a year.3   ment of motor vehicle (DMV) clerks or campaign workers,
                                                                     might affect processing error rates and measurement error
Discussion                                                           biases. But there are trade-offs with the TSE framework,
                                                                     including constraints such as “costs, ethics, and time”
Big data provide opportunities for small errors. We find in          (Lyberg & Weisberg, 2016, p. 27). Thinking of the voter
our phone survey of Florida’s voter registration database that       registration application as a survey instrument thus helps
17.7% of survey respondents sampled from the Florida voter           illuminate potential biases of these data, assists in creating
file failed to verify at least one piece of their identifying        more savvy consumers of these data, and more reliable
information on their voter registration record: name, birth-         records for election administration.
date, address, gender, or race. This rate is similar to a 2010
mail-back survey in Florida finding 18% of respondents               Declaration of Conflicting Interests
failed to verify similar information, in addition to vote his-
                                                                     The author(s) declared no potential conflicts of interest with respect
tory and race (Ansolabehere et al., 2010). We recognize our
                                                                     to the research, authorship, and/or publication of this article.
survey is limited in that we collected only 402 respondents,
but the identified errors in our small sample is troubling if we
                                                                     Funding
scale these errors to the hundreds of millions of records
nationally. Nevertheless, there are two advantages to our            The author(s) disclosed receipt of the following financial support
adaptive survey design approach when probing why respon-             for the research, authorship, and/or publication of this article: The
                                                                     University of Florida’s Informatics Institute provided a $50,000
dents fail to verify their voter registration records. First, we
                                                                     seed grant to conduct the survey for this study.
have greater confidence that issues we observe are not caused
by random respondent errors when they provide a causal jus-
                                                                     ORCID iDs
tification for erroneous data on their record. Second, we can
better understand the data-generating process that leads to          Enrijeta Shino     https://orcid.org/0000-0003-1941-8012
potential recording errors on registration files.                    Daniel A. Smith      https://orcid.org/0000-0003-0621-1098
    The proportions of errors that Ansolabehere et al. (2010)
and we find in any one field (race, birthday, vote history) are      Supplemental Material
small, but they suggest caution for both researchers and             Supplemental material for this article is available online.
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                                                                         Holbein, J. B., & Hillygus, D. S. (2016). Making young voters: The
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                                                                             impact of preregistration on youth turnout. American Journal
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                                                                             of Political Science, 60(2), 364–382.
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                                                                         Jackman, S. (2019). Why does the American national election
   recent statewide consumer confidence survey conducted by the
                                                                             study overestimate voter turnout? Political Analysis, 27(2),
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                                                                             193–207.
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                                                                         Kimball, D. C., & Kropf, M. (2005). Ballot design and unrecorded
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                                                                             508–529.
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                                                                         Kropf, M., & Kimball, D. C. (2012). Helping America vote: The
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                                                                         Lyberg, L., & Weisberg, H. (2016). Total survey error: A paradigm
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    Cambridge University Press.                                              self-reported vote (NES Technical Report Series, nes010160).
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Burden, B. (2014). Registration and voting: A view from the top. In      Author Biographies
    B. C. Burden & C. Stewart, III (Eds.), The measure of American       Enrijeta Shino is an assistant professor of Political Science at the
    elections (pp. 40–60). Cambridge University Press.                   University of North Florida. Her research interests fall broadly into
Dillman, D. A., & Christian, L. M. (2005). Survey mode as a source       the filed of elections, public opinion, and methodology. For more
    of instability in responses across surveys. Field Methods,           see https://enrijetashino.github.io.
    17(1), 30–52.
Elmagrmid, A., Ipeirotis, P., & Verykios, V. (2007). Duplicate           Michael D. Martinez is a professor of Political Science at the
    record detection: A survey. IEEE Transactions on Knowledge           University of Florida. His research interests fall broadly into the
    and Data Engineering, 19(1), 1–16.                                   field of electoral behavior and public opinion. For more see http://
Fraga, B. L., Holbein, J. B., & Skovron, C. (2018). Using nation-        users.clas.ufl.edu/martinez/about.html.
    wide voter files to study the effects of election laws [Paper pre-   Michael P. McDonald is an associate professor of Political Science
    sentation]. ESRA, Madison, Wisconsin.                                at the University of Florida. His research interests fall broadly into
Gerber, A., & Green, D. (2000). The effects of canvassing, tele-
                                                                         the field of elections and methodology. For more see https://polisci.
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Groves, R. M., & Lyberg, L. (2010). Total survey error: Past, pres-      Daniel A. Smith is a professor of Political Science at the University
    ent, and future. Public Opinion Quarterly, 74(5), 849–879.           of Florida. His research interests fall boradly into the field of state
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Supplemental and Rebuttal Expert Report Submitted on Behalf of

Florida State Conference of NAACP v. Lee, 4:21-cv-187-MW-MAF,

        and Florida Rising Together v. Lee, 4:21-cv-201-MW-MJF


                                      Daniel A. Smith, Ph.D.∗


                                           October 13, 2021




                                         Daniel A. Smith, Ph.D.




 ∗
     Professor and Chair of Political Science, University of Florida, and President, ElectionSmith.



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                                                                                                           10/25/21

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I     Introduction

     1     In the matter of Florida State Conference of NAACP v. Lee, 4:21-cv-187-MW-
MAF, and Florida Rising Together v. Lee, 4:21-cv-201-MW-MJF, I authored an Expert
Report dated September 1, 2021.



     2     Defendants submitted three reports that to varying degrees address my expert
report: one by Dr. Brad Lockerbie, one by Dr. Dario Moreno, and one by Dr. Quentin Kidd.
I refer, respectively, to the three reports as the Lockerbie Report, the Moreno Report, and
the Kidd Report.



     3     I begin by summarizing the key analyses and conclusions in my expert report. I
ﬁrst respond to the Lockerbie Report regarding all the references Dr. Lockerbie makes to
my expert report. I then respond to the Moreno Report as far as it purports to discuss
the impact of SB 90 and the impact of “boleteros.” Finally, I respond to the Kidd Report,
although Dr. Kidd makes no speciﬁc reference to my expert report.



     4     Because a few of the Supervisors of Elections (SOEs) amended their data, aﬃ-
davits, or declarations as part of the discovery process after September 1, the date of my
expert report, I also take this opportunity to consider these additional materials as they
are relevant to my original report. Considerations of these additional materials reinforce my
original conclusions.



     5     In formulating my opinions, I utilize the same methods as in my original report.
These methods are informed by standard sources and methodologies used in political science

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analyses. My background and qualiﬁcations, in addition to my curriculum vitae and rate
of pay, are included in my original report. My compensation is contingent neither on the
results of the analyses described herein nor on the contents of my report.




II       Conclusions from my expert report not challenged by
         the Lockerbie Report, the Moreno Report, or the Kidd
         Report

     6     Drawing on an array of statewide and county data sources, my September 1, 2021
expert report oﬀers several ﬁndings concerning the overall impact SB 90 has on Florida
voters, and speciﬁcally, the disparate impact SB 90 has on people of color as well as those
with disabilities in Florida. Dr. Lockerbie Dr. Moreno and Dr. Kidd do not dispute the
following ﬁndings in my report:


A. Persons of color rely more heavily on 3PVROs when registering to vote than other groups
     of voters and SB 90’s limits placed on 3PVROs will result in Black and Hispanic eligible
     Florida citizens having fewer opportunities to register to vote.

B. SB 90’s new exact-match ID requirements placed on registered voters who want to request
     a Vote-by-Mail (VBM) ballot disproportionately aﬀects voters of color and will lead to
     fewer opportunities for Black and Hispanic registered voters to receive a VBM ballot.

C. SB 90 cuts in half the length of time a voter may have a standing request to have a
     VBM ballot mailed to them and will result in thousands of registered voters having
     fewer opportunities to receive a VBM ballot.

D. Limits that SB 90 place on the locations, dates, and hours of operation of VBM ballot
     drop boxes will result in all Florida voters, but particularly voters of color, having fewer

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   opportunities to securely return their VBM ballots in person.

E. SB 90’s restrictions on the return of VBM ballots for voters in need of assistance will
   lead to all voters, but particularly voters of color and those with disabilities, having fewer
   opportunities to return their VBM ballots.

F. SB 90’s restrictions on providing aid and comfort to voters waiting in lines during early
   in-person voting or on Election Day will result in all Florida voters, but particularly
   voters of color and those with disabilities, having to face higher barriers to cast their
   ballots in person, potentially causing them not to vote at all.




III     Response to the Lockerbie Report

   7      Dr. Lockerbie (Lockerbie Report, paragraphs 34 - 50) oﬀers a series of critiques of
my expert report. I enumerate and address each of his points sequentially.



III.I   “34. In section IV, number 18, Smith implies that any limits
        on drop boxes are discriminatory. No basis is provided for this
        assertion.”


   8      Dr. Lockerbie mischaracterizes my summary conclusion statement while ignoring
the body of my report. In fact, I provide thorough documentation in my report regarding
the impact of SB 90’s drop box restrictions, on Florida voters generally, and in particular
on Black and Hispanic voters. Section X of my expert report provides extensive evidence of
how SB 90’s restrictions on VBM drop boxes decrease the opportunities of voters, including
persons of color and individuals with disabilities, to return their VBM ballots. Contrary to
my report, in which I document the usage of drop boxes by some 1.5 million Florida voters in

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the 2020 General Election, including by voters of color, and how SB 90 will curtail in whole
or in part the deployment of VBM drop boxes in future elections, Dr. Lockerbie cites no
scholarship and no empirical evidence to challenge my ﬁndings, namely, that limiting VBM
drop boxes will negatively aﬀect Florida voters in general, and racial and ethnic minority
voters in particular.



    9     In my expert report (Section X, paragraphs 122 - 223) I provide an extensive
review of the scholarly literature on VBM drop boxes. I then draw on administrative data
provided by Florida SOEs in discovery to analyze the usage of VBM drop boxes in the 2020
General Election. I provide empirical evidence, drawing on data from the Florida counties
that provided racial/ethnic data in discovery, showing that Black and Hispanic voters were
more likely to return their VBM ballots via drop boxes on days/times that SB 90 curtails in
whole or in part. I also provide evidence from the aﬃdavits and interrogatory responses of
the SOEs regarding their expectations of how SB 90 will aﬀect their deployment of VBM drop
boxes in future elections, underscoring their concern that drop box usage will be curtailed
in future Florida elections.



    10      Dr. Lockerbie does not dispute my ﬁnding that over 120 VBM drop boxes de-
ployed by SOEs in the 2020 General Election will likely be curtailed in whole or in part
under SB 90. Dr. Lockerbie also does not dispute my ﬁnding that SB 90 will reduce the
opportunities of Florida voters generally, and racial and ethnic minority voters in particular,
to return their VBM ballots in future elections.




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III.II    “35. In section IV, number 21, he says ‘an increase in the
          cost of voting can lead to voter disenfranchisement.’ Note
          the conditional nature of his statement.”


    11      In contrast to Dr. Lockerbie’s report, my report is well grounded in the scholarly
literature on the “cost of voting” (see paragraph 21 of my Expert Report). As a political sci-
entist, Dr. Lockerbie is certainly aware of this prevailing analytical framework to understand
the calculus of voting, and he does not challenge it. There is extensive empirical literature
in political science that is grounded in the calculus of voting if sometimes implicitly (e.g.,
Aldrich 1993; Verba, Schlozman & Brady 1995; Brady & McNulty 2011; Herron & Smith
2013a; Leighley & Nagler 2013; Biggers & Smith 2018; Li, Pomante II & Schraufnagel 2018).



    12      To Dr. Lockerbie’s point, it is theoretically possible that an increase in the cost
of voting might not lead to voter disenfranchisement; my report, however, examines the
speciﬁc eﬀects of SB 90, and I ﬁnd that SB 90 does have a negative eﬀect on Florida voters
generally, and on voters of color speciﬁcally. The conditional nature of the cost of voting
does not aﬀect the speciﬁc ﬁndings documented in my expert report with respect to SB 90,
or my overall conclusion that SB 90 places additional burdens on Floridians, particularly
people of color.



    13      As I show in my expert report, the increase in the cost of voting under SB 90
is clear. Dr. Lockerbie does not challenge my ﬁndings that the legislation burdens Floridi-
ans wishing to register to vote and to cast a ballot, or my ﬁndings that these burdens fall
disproportionately on racial and ethnic minorities and on disabled voters. Speciﬁcally, Dr.
Lockerbie does not challenge my ﬁndings that SB 90 increases the cost of voting for individ-
uals who rely on 3PVROs when registering to vote, that it increases the cost of voting for


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registered voters who do not have a Social Security number, driver’s licence, or a state ID
number on ﬁle, that it increases the cost of voting for registered voters who no longer can
have a standing request to have a VBM ballot mailed to them, that it increases the cost of
voting for voters who rely on VBM ballot drop boxes to return their mail ballots, that it
increases the cost of voting for voters who need assistance to return their VBM ballots, and
that it increases the cost of voting for voters waiting in line to cast a ballot in person who
may need assistance.



III.III    “36. In section IV, number 25, he neglects to consider that
           VBM increased because of COVID.”


    14     The use of VBM ballots increased in the 2020 General Election, in Florida and
in other states, in part due to the COVID-19 pandemic. This is documented in my expert
report (see paragraphs 52 - 54, and Table 5), and is also well documented by scholars,
including in my recent peer reviewed article focusing on the increased use of VBM in Florida
(Cottrell, Herron & Smith 2021a) as well as in a report I authored following the election
(Smith 2021). That record numbers of Black and Hispanic voters utilized a method of voting
that is arguably safer during a pandemic raises further questions about the decision of the
Republican legislature to curtail VBM ballots in the future. Whether or not VBM use in
Florida increased because of COVID, the costs that SB90 imposes on using VBM as a voting
method remain the same, and those costs are imposed disproportionately on people of color
and people with disabilities.




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III.IV     “37. In section IV, number 31, he notes that the modal
           response for referrals for illegal voting or registration was
           zero. That does not tell us much at all. Given that this
           is an interval measure, he could have presented the mean.
           If the distribution is highly skewed, he could present the
           median.”


    15      My expert report provides the modal response from SOEs to the House of Rep-
resentatives PIE Committee’s questionnaire regarding the number of referrals made in the
past four years to “the state attorney’s oﬃce for illegal registration or voting practices.” As I
report in footnote 5 (p. 21) of my expert report, the modal response from SOEs in response
to this question is zero (0).



    16      Dr. Lockerbie says that I “could have presented the mean.” I have calculated the
mean response of SOEs who responded to the PIE Committee’s questionnaire. The mean
response is 4.3 cases referred to state attorneys over the past four years. Dr. Lockerbie is
correct that the distribution is highly skewed. This is because a majority of SOEs have
referred zero cases of fraud to a state attorney’s oﬃce over the past four years. I also
have calculated the median response of the SOEs who responded to the questionnaire. The
median response is zero (0) cases referred to state attorneys over the past four years. Given
that there are over 15 million registered voters in Florida and over 11 million who voted in
the 2020 General Election, by the SOEs’ own accounting, over the past four years there is
imperceptible “illegal registration or voting practices” occurring in Florida.




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III.V    “38. In section VI, number 37, he states that the drop in
         registration after the 2011 change in the law for Blacks was
         the only signiﬁcant drop among racial/ethnic groups. He
         does not tell us how big the drop was. Also, it would be
         important to know if the drop for Blacks was signiﬁcantly
         diﬀerent than the drop for the other groups.”


   17      As reported in my 2013 peer reviewed article with Dr. Michael Herron (Herron
& Smith 2013b), the proportional drop oﬀ in voter registrations for Black and Hispanic
voters was signiﬁcantly greater than for white voters following the implementation of HB
1355. Using a standard diﬀerence-in-diﬀerence approach, we ﬁnd that voter registrations
across Florida dropped in the second half of 2011 (after the implementation of HB 1355)
compared with new voter registrations in the second half of 2007 for Black, Hispanic, and
white individuals. Our statistical models ﬁnd that the only signiﬁcant diﬀerence in the
registration drop from 2007 to 2011 was for Black (“African American”) individuals.



III.VI     “39. In section VI, number 44, he argues that the online
           voter registration system has been plagued with problems.
           It has crashed at least ﬁve times from 2017 to 2020. Call-
           ing ﬁve crashes of indeterminant [sic] length plagued with
           problems is more than a bit of a stretch.”


   18      According to media reports, the Division of Elections online voter registration
system has crashed at least ﬁve times. More critical than the number of times the system
has crashed is the timing of these system crashes. As I write in paragraph 44 of my expert
report, “[t]he state’s online voter registration system has crashed at least ﬁve times since
2017. Most recently, the online voter registration portal crashed on the ﬁnal day before the
state’s book closing in October 2020.” As Judge Mark E. Walker wrote in his Order on


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Motion for Preliminary Injunction on October 9, 2020 in a lawsuit dealing with this latest
online voter registration crash (Namphy, et a. v. DeSantis and Lee, Case No.: 4:20cv485-
MW/MAF), “Florida has done it again. In the ﬁnal hours of Florida’s voter registration
period, during an election year coinciding with a prolonged and incredibly damaging public
health emergency, Florida’s voter registration website crashed, eﬀectively preventing thou-
sands of potential voters from safely registering to vote before the midnight deadline” (pp.
1-2). Judge Walker concluded, “This case is about how a state failed its citizens. In this
case, potential voters attempted to perform their civic duty, to exercise their fundamental
right, only to be thwarted, once again, by a state that seemingly is never prepared for an
election (p. 28).”



    19      Florida’s online voter registration system also crashed prior to the 2020 primary
elections and was also down—apparently for routine maintenance, according to the Division
of Elections—on National Voter Registration Day in 2019.1 In addition, the state’s online
voter registration system failed in 2018—on October 9, the last day to register to vote for
the midterm elections.2

      1
        “A crashed voter registration website is Floridians’ latest obstacle to the right to vote,” Vox,
      October 9, 2020, available at https://www.vox.com/recode/2020/10/6/21504401/florida-
      voter-registration-website-crash-right-vote-suppression (last accessed October 3,
      2021).
      2
        “ ‘A mess’: Florida’s online voter-registration system panned,” Politico, October 9, 2018, avail-
      able https://www.politico.com/states/florida/story/2018/10/09/a-mess-floridas-
      online-voter-registration-system-panned-641953 (last accessed October 3, 2021).




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III.VII     “40. In section VII.V.6, number 89 and Table 11, the num-
            bers are more than a bit confusing. In 2020, for example,
            it looks like 427 Blacks registered without a driver’s license
            or Social Security card and that constitutes 10.62 percent
            of the Blacks who registered.”


    20     Dr. Lockerbie ﬁnds Table 11 in my expert report “more than a bit confusing,” but
in fact, he has interpreted correctly. According to data provided by the Division of Elections
(“LitigationRR_NoDL-SSN_20210722.txt”), in 2020 there were 427 Black individuals who
successfully registered to vote notwithstanding their lack of a driver’s license or a Social
Security number, and that accounts for 10.62 percent of all Black individuals who successfully
registered to vote from 2006 to 2020 who lacked a driver’s license or Social Security number.
The point of Table 11 (p. 63), as I write in my expert report, is twofold: ﬁrst, that in
“2016, 2018, and 2020, there were twice, and sometimes three times, as many new Black
registrants as white registrants who were able to register without providing a driver’s license
or a Social Security number,” as permitted by law, and second, “compared to white voters,
in recent years, both the overall numbers and the relative rates of such new registrants are
disproportionately more likely to be people of color.” None of these individuals, all of whom
legally registered to vote, will be able to request a VBM ballot under SB 90, as they do not
possess an ID that can be matched to a record on the Florida Voter Registration System
(FVRS). Dr. Lockerbie does not appear to challenge these conclusions.




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III.VIII       “41. In section IX.I, number 109, he states a lot of ballots
               were rejected for being late. For that to be meaningful,
               we would need to know when they were mailed.”


    21      A VBM ballot placed in a SOE’s VBM drop box anytime prior to the close of
polls on Election Day in Florida will be tabulated, whereas a VBM ballot placed in a mailbox,
or delivered to a Post Oﬃce—even well before the close of polls on Election Day—may not
be tabulated, as there is a possibility it will not arrive at the SOE oﬃce on time. As I write
in my expert report in paragraph 109, “SB 90’s limits on voters receiving assistance to return
VBM ballots and on drop boxes increase the costs of voting for Floridians.” I have written
extensively elsewhere on the rejection rates of VBM ballots in Florida (Smith 2018; Smith
& Baringer 2020; Smith 2021), including a recent peer reviewed article (Cottrell, Herron
& Smith 2021a), as well as a peer reviewed article on postal delays aﬀecting VBM ballots
(Herron & Smith 2021).



    22      My point, which Dr. Lockerbie does not appear to contest, is that reducing the
availability of drop boxes will increase the reliance on mailing VBM ballots via the USPS,
which is less reliable than returning VBM ballots via a drop box. Indeed, Lake County SOE
Alan Hays, wrote in an email to other SOEs dated May 26, 2021, “Thanks to the so-called
wisdom of our stellar legislature, those voters will now have to use the USPS box instead of
our private box,” which was a 24/7 VBM drop box located in front of his oﬃce. “I just hope
USPS gets the ballots to us promptly,” Hays continued, noting earlier in the email chain
that the problem of late arriving VBM ballots in previous elections was not an issue when
his staﬀ was able to retrieve VBM ballots directly from the SOE’s VBM drop box.3

      3
       See email from Alan Hays to numerous SOEs and Ron Labasky, “Subject: Re: SB 90 Com-
      pliance for the Convenience of our Voters,” May 26, 2021. Available in SOE Mark Earley’s
      “Response to Plaintiﬀs’ First Set of Interrogatories to Supervisor of Elections Defendants,” p.


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III.IX     “42. In section X, number 123, he states that voters have
           come to depend on the convenience of drop boxes. A re-
           quirement that was put in place for the election 2020 would
           not appear to create dependence because it was only one
           election cycle carried out during a pandemic.”


    23      Dr. Lockerbie’s statement that Florida voters have not come to depend on VBM
drop boxes is unfounded. Over 1.5 million voters used VBM drop boxes in the 2020 General
Election, and thousands of voters across Florida have been depositing their VBM ballots in
secure drop boxes for years, not only in November general elections, but in statewide primary
elections, presidential primary elections, and local elections.



    24      Contrary to Dr. Lockerbie’s pronouncement, VBM drop boxes in Florida were not
“put in place for the election 2020.” Rather, many county SOEs have deployed VBM drop
boxes for several election cycles, and in some counties, VBM drop boxes have been utilized
by SOEs for more than a decade. Elections experts in Florida certainly recall when former
Pinellas County SOE, Republican Deborah Clark, famously challenged a directive issued
on November 25, 2013, by former Secretary of State, Scott Detzner, who was appointed by
Republican Governor Rick Scott, that stated that SOEs “should not solicit return of absentee
ballots at any place other than a supervisor’s oﬃce.” 4 SOE Clark stood up to the Secretary
of State—who subsequently relented—and Pinellas County voters were permitted to drop
oﬀ VBM ballots for a special congressional election at drop boxes stationed at “two libraries
and three tax collector branch oﬃces” in addition to the drop boxes located at “her three

      221.
      4
        Florida Department of State, “Directive 2013-01-Return of Absentee Ballots,” November
      25, 2013, available https://files.floridados.gov/media/693333/sos_directive_2013-
      01.pdf (last accessed October 3, 2021).




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oﬃces.” 5 By 2013, Pinellas County had already been oﬀering voters the convenience of VBM
drop boxes for six years. My research and investigation have not revealed a single instance
of voter fraud or election security problems with VBM drop boxes in Pinellas County, which
have been in use for over a decade. Similar to other counties, Hillsborough County also has
used VBM drop boxes for roughly a decade. In the 2012 General Election, for example,
Hillsborough SOE, Democrat Craig Latimer, “used 13 public libraries as sites where voters
could drop oﬀ absentee ballots.” 6 Rather, by 2020, VBM drop boxes were commonplace
across Florida counties, and Florida voters—and Florida SOEs—have come to depend on
VBM drop boxes. “I’m at a loss for words,” Pasco County SOE, Republican Brian Corley,
said to the press in March 2021 after hearing that the state legislature was contemplating
completely banning drop boxes. “It’s a solution looking for a problem.” 7



III.X     “43. In section X, number 127, he states that SB 90 curtails
          drop boxes because they had not been staﬀed in 2020. He
          appears to neglect the possibility that they could be staﬀed
          in the future.”


   25      Dr. Lockerbie is apparently unfamiliar with the aﬃdavits and interrogatory re-
sponses from SOEs that indicate which drop boxes in their counties they do not plan to staﬀ
in future elections. I use information from these aﬃdavits and interrogatories as a basis for
conclusions in my expert report. For example, in paragraph 127 in my expert report that

     5
       “Gov. Rick Scott’s administration eases showdown over Pinellas election,” Tampa Bay Times,
     December 3, 2013, available https://www.tampabay.com/news/politics/elections/bill-
     nelson-attacks-absentee-ballot-drop-off-edict-as-voter-suppression/2155369/
     (last accessed October 3, 2021).
     6
       “Ibid.
     7
       “Florida may ban drop boxes used for mail-in ballots,” Politico, March 9, 2021, avail-
     able https://www.politico.com/states/florida/story/2021/03/09/crackdown-coming-
     florida-may-ban-drop-boxes-used-for-mail-in-ballots-1367575 (last accessed Octo-
     ber 3, 2021).



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Dr. Lockerbie references, I state that SB 90 “curtails in whole or in part” 122 VBM drop
boxes deployed in the 2020 General Election. This is because the “65 VBM drop boxes in
48 counties that were available 24/7 for voters to deposit their VBM ballots” as well as the
“57 VBM drop boxes in 15 counties that were located at a SOE oﬃce (or a permanent SOE
branch oﬃce) that were available to voters [in the 2020 General Election] on days either
before of after EIP voting in the county, but not open 24/7” can only remain unimpacted if
they are continually staﬀed in person with SOE personnel in future elections. It is clear from
the aﬃdavits and interrogatory responses of Florida SOEs—which I extensively document
in my expert report—that this is highly unlikely to happen. I did not include in my count of
impacted drop boxes in my expert report any instance where an SOE indicated speciﬁc plans
to augment staﬃng so as to provide 24/7 staﬃng for a drop box in future elections. Indeed,
I have not found any indication in the aﬃdavits or interrogatory responses that SOEs plan
to increase staﬃng to provide 24/7 drop boxes.



III.XI     “44. In section XI, number 224, he argues that SB 90 re-
           stricts those waiting in line from receiving assistance. He
           does not take into [sic] the limitation might speed up the
           voting process.”


    26     Dr. Lockerbie provides no basis for his suggestion that restricting “line warming”
(that is, the provision of material assistance, such as drink, food, seating, or shelter) might
speed up the voting process. Dr. Lockerbie’s logic seems to be that if assistance to people
waiting in line to vote is limited, individuals who need assistance will renege, that is, leave
the line, thereby shortening the wait times for the remaining individuals who are willing to
endure a long line. Even more, limiting access to those in line could also cause potential
voters who require assistance when waiting in line to balk, that is, not even join a queue
in the ﬁrst place, as they know they will not receive any assistance from groups providing

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material assistance to help them endure long wait times. Dr. Lockerbie does not explain
how restrictions on assistance will speed up voting, and provides no evidence in support of
this proposition. Signiﬁcantly, in legislative consideration of SB 90, I am not aware of any
lawmaker who provided any evidence for this proposition; indeed, to my knowledge, there
was no indication that the new law was motivated by a desire to speed up the voting process.



III.XII     “45. In section XI.II, number 234, he cites Stewart and
            Ansolabehere’s 2013 report to the U.S. Election Commis-
            sion on Voting to assess why people did not vote and argues
            that people did not vote because of long lines. This work as-
            sumes that people were not giving what might be thought of
            as a socially acceptable excuse for not voting. Moreover, he
            does not note that Stewart and Ansolabehere state that dif-
            ferential wait times for blacks and whites are not the result
            of discrimination. Speciﬁcally, Stewart and Ansolabehere
            (2013, page 12) state: explain: [sic] ‘This analysis suggests
            that minority voters do not tend to wait longer than white
            voters because of discrimination at the polls against individ-
            uals. Rather, the neighborhoods that have high minority
            populations tend to experience long waiting times for all
            voters in that neighborhood, regardless of the race of indi-
            vidual voters. Whites who live in racially diverse ZIP Codes
            wait to vote longer than whites who live in all-white neigh-
            borhoods; African Americans who live in predominantly
            white neighborhoods stand in shorter lines than African
            Americans who live in more diverse neighborhoods.” ’


   27      Dr. Lockerbie makes two points regarding the working paper by Stewart III &
Ansolabehere (2013) that I cite in paragraph 233 (and not paragraph 234 as Dr. Lockerbie
incorrectly cites) of my expert report. Neither point is relevant to my ﬁndings concerning
both the overall and the disparate impact of SB 90.

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    28     Dr. Lockerbie criticizes me for citing Stewart III & Ansolabehere (2013) because
he suggests that some respondents in the two national surveys (the 2012 Voting and Registra-
tion Supplement (VRS) of the Current Population Survey (CPS) and the 2012 Cooperative
Congressional Election Study (CCES) that they analyze for their study, “were not giving
what might be thought of as a socially acceptable excuse for not voting,” that is, that they
“did not vote because of long lines.” Dr. Lockerbie cites no scholarly articles to support his
claim.



    29     After criticizing their working paper for relying on survey data that might be
susceptible to social desirability response bias, Dr. Lockerbie then proceeds to emphasize one
of the ﬁndings from Stewart III & Ansolabehere (2013) to conclude that “diﬀerential wait
times for blacks and whites are not the result of discrimination.” Dr. Lockerbie’s invocation
of Stewart III & Ansolabehere (2013), it seems to me, is for the simple proposition that
longer wait times in majority-minority precincts are not due to particularized discrimination
against voters of color by poll workers or election oﬃcials with whom they interact, as
voters of all racial and ethnic groups in precincts experience the same longer wait times in
these majority-minority precincts. Dr. Lockerbie is knocking down a straw man. I have not
claimed that long wait times are due to particularized discrimination against voters of color
in minority-majority precincts. Rather, my contention, which Dr. Lockerbie does not appear
to challenge, is that precincts with higher proportions of voters of color disproportionately
face longer wait times, and so the impact of restrictions on line warming in Florida under
SB 90 will disproportionately impact Black and Hispanic voters. The intent of poll workers
in majority-minority precincts is irrelevant to my analysis.




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    30      Furthermore, Dr. Lockerbie ignores several peer reviewed studies that ﬁnd that
Black and Hispanic voters are more likely to wait in lines at the polls than white voters.
Studies drawing on survey data, like the Stewart III & Ansolabehere (2013) working paper,
are not the ﬁnal word on what voters are likely to experience with respect to wait times at the
polls. Indeed, in one of my recent peer reviewed articles, I include a discussion of the Stewart
III & Ansolabehere (2013) working paper in the literature review, noting its limitations.8
Stewart III & Ansolabehere (2013) aggregate individual-level survey results up to the ZIP
code level to determine the distribution of wait times, but their ﬁnding does not mean that
precincts that have high concentrations of voters of color (but that also include some non-
minority voters) have the same wait times as precincts that are all (or nearly all) comprised of
white voters. ZIP codes are not precise measures of wait times at the polls. Scholars should
be cautious when drawing conclusions concerning racial/ethnic diﬀerences from studies that
use ZIP codes as the unit of analysis, as the geographic unit for voting an in-person ballot
is not a ZIP code. Rather, voters cast ballots in their assigned precinct (on Election Day)
or at an early voting location in their county on a given day. ZIP codes typically include
dozens of precincts and can include multiple early voting locations, particularly in larger,
more urban counties with sizeable minority populations. Precincts, and even early voting
locations (particularly on a given day) tend to be much more homogeneous than a ZIP code,
and often have very diﬀerent associated wait times, despite all being located in the same
ZIP code.



    31      When it comes to wait times in Florida, there is no need to rely on national survey
data, like the Stewart III & Ansolabehere (2013) study, to know that Black and Hispanic
voters are more likely to wait in long lines compared to white voters. Dr. Lockerbie is either

      8
       “The utility of surveys in the study of voter wait times depends on a crucial assumption: voter
      self-reports of wait times are accurate.” See (Cottrell, Herron & Smith 2021b, p. 113).


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unaware of this scholarly literature or has chosen to ignore it. “In contrast to survey-based
research,” as I write in a recent peer review study (Cottrell, Herron & Smith 2021b, p. 113),
“our design aimed at understanding the extent and consequences of voting lines draws on
observed check-in times of voters in Florida who cast their ballots at early, in-person polling
sites prior to the 2012 and 2016 General Elections.” In this article, as well as in another
peer reviewed article focusing on wait times in Florida (Herron & Smith 2015), both of
which draw on administrative data from Florida counties, we ﬁnd that Black and Hispanic
voters in Florida are more likely to face longer wait times at the polls than white voters.
These ﬁndings are bolstered by the peer reviewed work of Pettigrew (2017, 2021), as well
as innovative peer reviewed research using smartphone data by Chen et al. (2019), who ﬁnd
that voters in predominantly Black neighborhoods are more likely to wait in line than voters
in predominantly white neighborhoods.



    32     In short, Dr. Lockerbie does not challenge the broad conclusion in my expert
report that SB 90’s restrictions on line support will disproportionately impact voters of
color.



III.XIII     “46. They also add that it is unlikely that these longer
             wait times are ‘because of widespread concerted eﬀorts to
             lengthen waiting times in minority communities for par-
             tisan gains, since the local governments of most of these
             communities are controlled by Democrats.” ’


    33     This comment by Dr. Lockerbie in reference to the Stewart III & Ansolabehere
(2013) study is a non-sequitur and is also not correct. Dr. Lockerbie’s statement has no
relevance to the impact that SB 90 will have on wait times for voters of color. The cause of
persistently longer wait times in precincts with voters of color is irrelevant to the ﬁndings

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of my expert report. My expert report shows that SB 90 disproportionately impacts Black
and Hispanic voters who are more likely to face longer lines at the polls.



III.XIV      “47. In section XI.III, number 238 does not explain how
             the wait times were calculated.”


   34      Dr. Lockerbie notes that I do not explain how the wait times (for Miami-Dade
County) are calculated. As clearly noted in paragraph 235 of my expert report, I relied on
wait time data made available by the SOE of Miami-Dade County.



III.XV      “48. In section XI.III, number 240, he implies that those
            in line are out in inclement weather. He does not tell us
            what proportion of the wait time is spent inside and what
            proportion is spent outdoors.”


   35      I am not sure what Dr. Lockerbie is referring to, as there is nothing in paragraph
240, or in any other paragraph of my expert report, concerning “inclement weather.”



III.XVI      “49. In section XI.V.1, number 265, he does not tell us
             how accurate these estimates are.”


   36      As I note in my expert report (paragraph 260), the wait times I analyze were
provided by the Lee County SOE in discovery.




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III.XVII       “50. In section XI.V.1, number 267, he notes again the
               150-foot buﬀer. Presumably people in line outside the
               buﬀer can be approached. It would be important to note
               how long the wait was once one gets within 150 feet.”


    37      Data on “how long the wait was once one gets within 150 feet” were not made
available to me by Florida’s SOEs, but it does not change the fundamental point—which
Dr. Lockerbie does not challenge—that longer wait times in Florida are experienced dispro-
portionately by voters of color.




IV       Response to the Moreno Report

    38      Dr. Moreno oﬀers a lengthy history of voting in Miami-Dade County which has
no relevance to the conclusions of my report or the speciﬁc provisions being challenged in SB
90. Prior to the enactment of SB 90, Miami-Dade had a local ordinance to regulate vote-by-
mail processes. As such, Dr. Moreno’s conclusion that “SB90 is an appropriate response to
Florida’s history of absentee ballot fraud, and it will not have racially discriminatory eﬀects”
seems contrived, as it is not supported by his analysis of voting in Miami-Dade County. Dr.
Moreno’s analysis in fact demonstrates the absence of rationale for SB 90, since Miami-Dade
County already has a measure in place to address it. Dr. Lockerbie does not provide any
basis for extrapolating his observations to other jurisdictions or the rest of the state.



    39      With a few isolated exceptions, other Florida counties have not experienced prob-
lems with the collection of VBM ballots. As I write in my expert report (paragraph 31, p.
21), “the SOEs’ responses to the PIE Committee oﬀered no evidence of ‘ballot harvesting’ in
previous elections.” In addition, based on the aﬃdavits and interrogatory responses of SOEs

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produced in discovery, I did not uncover a single case of a SOE reporting problems with
so-called “ballot harvesting” in the 2020 General Election (see Section X of my expert report
(pp. 95 - 120). Furthermore, none of the opposing experts (Dr. Moreno, Dr. Lockerbie,
and Dr. Kidd) challenge my ﬁnding that there was no “ballot harvesting” in Florida’s 2020
General Election, much less any fraud related to the requesting or returning of VBM ballots
(at drop boxes or otherwise) in the 2020 General Election.



    40       Dr. Moreno’s report does not address the actual impact of SB 90, and thus does
not in any way refute the conclusions of my report.




V     Response to the Kidd Report

    41       Dr. Kidd implies that if Florida’s laws are in the mainstream of other states, then
there is no impact or burden to SB 90. This is not the case. As I document extensively in my
Expert Report, SB 90 has a signiﬁcant and substantial impact on Florida voters generally,
and on voters of color and voters with disabilities in particular. Dr. Kidd’s report does not
address the actual impact of SB 90, and thus does not in any way refute the conclusions of
my report.




VI       Analysis of Additional Data or Information from Su-
         pervisors of Elections in Discovery or in Depositions

    42       Several additional pieces of information were provided to me after I submitted
my expert report on September 1, 2021.



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VI.I     Information pertaining to “PRR_NAACP_VoterDetail.txt”


    43      It is my understanding that Miami-Dade SOE Christina White noted in her
deposition on September 27, 2021, that the FVRS data (“PRR_NAACP_VoterDetail.txt”)
provided in discovery by the Division of Elections that contains a code for how an individual
registered to vote, only captures the most recent event. This means, as I had surmised in
my report (paragraph 41), that the number of individuals who have registered with 3PVROs
in Florida is likely an undercount, as “[i]t is quite likely that some individuals who initially
registered with 3PVROs, say in 2018, are no longer registered in Florida as of mid-2021, and
as such, would not be found in the FVRS data from mid-2021” and that “[s]ome individuals
who initially registered with 3PVROs likely updated their registration by another method,
and as such, would not be found in the FVRS data from mid-2021,” to say nothing of the
“millions of Florida registrants who registered to vote prior to 2005, before the state started
to record 3PVROs as a distinct method of registering to vote in the state.”



    44      I note here that I received the FVRS data (“PRR_NAACP_VoterDetail.txt”)
produced in discovery by the Division of Elections on August 26, 2021, from coun-
sel, just days before my expert report was due.                It is clear from the FVRS
(“PRR_NAACP_VoterDetail.txt”) snapshot that it was produced by the the Division of
Elections around August, 2021, so my calculations concerning the “more than 750,000 eli-
gible citizens currently registered in Florida” who registered with 3PVROs (paragraph 42)
is very recent. Furthermore, my ﬁnding (paragraph 46) that “10.9 percent of the nearly
2.05 million Black registered voters”—more than 222,000 Black registered voters—“relied on
3PVROs when they joined Florida’s voter rolls” and 9.6 percent of “the state’s nearly 2.65
million Hispanic registered voters”—more than 253,000—“relied on a 3PVRO when register-
ing to vote in Florida” is quite current. In sum, as I write in my expert report (paragraph

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46), and which is unchallenged by the opposing experts, the rates of Black and Hispanic
individuals who registered to vote with a 3PVRO are “more than 5 times the rate of white
individuals who relied on 3PVROs” when registering to vote.



VI.II     Information pertaining to “PRR_NAACP_VoterDetail.txt”


    45     In discovery, the Division of Elections produced a text ﬁle, “LitigationRR_NoDL-
SSN_20210722.txt”, which I surmised in my expert report (despite not having any supporting
documentation) was a “a subset of the FVRS,” and is “likely limited to registered voters with
no driver’s license and no Social Security number (“NoDL-SSN”) on ﬁle with the Division
of Elections” (paragraph 79). On September 20, 2021, Director Maria Matthews in her in-
terrogatory response (p. 5) stated that it is indeed an extract of the FVRS that contains
“all registered voters for whom FVRS does not record a driver’s license number, state-issued
identiﬁcation card number, social security number, or the last four digits of the Social Secu-
rity number for such voters.” She continues, “This ﬁle does not include voters for which there
is a response in these ﬁelds that has been found invalid.” As I write in my expert report
(paragraph 82), “Under SB 90, given the previous assumptions about what these data rep-
resent, none of these 586,788 registered voters would be able to successfully request a VBM
ballot because they do not have a valid form of ID on ﬁle with the Division of Elections,”
even though “nearly 74 percent of these voters cast ballots in the 2020 General Election.”



VI.III     Additional information from SOEs not initially provided in
           discovery


    46     The Bay County SOE, Mark Andersen recently produced a one page “Media
Release” dated May 21, 2021, in response to an RFP. I reproduce the Bay County Media


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Release in Figure 1, below.

                       Figure 1: Bay County Media Release, May 21, 2021


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    47     In his July 30, 2021 interrogatory response, SOE Andersen did not mention that
Bay County had already planned on eliminating the “Vote By Mail Drop Box outside of the
Supervisor of Elections oﬃce” “[d]ue to Florida Senate Bill 90 expected to be signed by the
Governor.” Quite the contrary. In his interrogatory response, SOE Andersen stated that
VBM drop oﬀ locations “will be very close to what we have done in the prior election.” This
is clearly not the case. In the 2020 General Election, Bay County, as I state in my expert
report (paragraph 206) oﬀered a 24/7 drop box at the SOE oﬃce. That 24/7 VBM drop
box will no longer be available to voters in Bay County. The SOE’s Media Release also
makes it clear that in future elections, VBM drop box will only be permitted “during Early
Voting Hours.” In the 2020 General Election, as I write in my expert report (paragraph 206),
Bay County oﬀered “drop boxes at all 13 of its Super Voting Centers on the Monday before
Election Day, which is not an allowed EIP day under state statute.” The new information
from SOE Andersen conﬁrms what I had surmised in my expert report, that opportunities
for voters to return their VBM ballots in drop boxes will be curtailed in Bay County as a
result of SB 90.



    48     I recently received an amended interrogatory response from Manatee County
SOE, Republican Michael Bennett, dated September 16, 2021. In this amended interrogatory
response, SOE Bennett states, “However, because SB 90 requires drop boxes at elections
oﬃces to be continuously monitored in person by an employee of the Supervisor’s oﬃce
when accessible for deposit of ballots, the Supervisor does not at this time anticipate that he
will continue to provide an outdoor drop box at the elections oﬃce on a twenty-four-hour,
seven-day-a-week basis. Instead, the Supervisor expects to provide a continuously monitored
outdoor drop box at the elections oﬃce during normal business hours.” As I write in my
expert report (paragraph 151), in the 2020 General Election, the VBM drop box in Manatee
County was open 24/7, but that (paragraph 157) “SOE Bennett indicated that SB 90 has not

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yet had an impact, and that he has made no decision on whether to allow VBM drop boxes
beyond the mandated EIP time period.” It is also my understanding that in the deposition
of SOE Bennett taken on October 7, 2021, SOE Bennett said, “Any time you change the
pattern of what people have been doing . . . people are going to ﬁnd it inconvenient to do it
another way.” Based on this new information, it is clear that the opportunities for Manatee
County voters to return their VBM ballots in drop boxes will be curtailed as a result of SB
90.



      49   It is my understanding that, in the deposition of SOE Bennett taken on October
7, 2021 SOE Bennett stated that VBM drop boxes in Manatee County were ﬁrst installed
in 2014, which once again contradicts Dr. Lockerbie’s pronouncement that VBM drop boxes
in Florida were “put in place for the election 2020.”



      50   It is also my understanding that, in the deposition of SOE Bennett taken on
October 7, 2021 SOE Bennett stated VBM ballots deposited in VBM drop boxes after-hours
in the 2020 General Election were typically processed the next morning (or Monday morning
if deposited over the weekend). The Manatee SOE staﬀ would scan the VBM ballots to make
sure they know the delivery date, including those deposited in the 24/7 VBM drop box. SOE
Bennett also conﬁrmed that most VBM ballots in the 2020 General Election were deposited
in the county’s 24/7 drop box, and that the county received many ballots in that box at
night, which his staﬀ took out of the box in the the morning and then scanned with a time
stamp. This reaﬃrms the analysis in my expert report in Section X.III.2, “Manatee County
VBM drop box returns after business hours, by race and ethnicity and disability status.”




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    51     I also recently received an amended interrogatory response from Citrus County
SOE, Maureen Baird, dated September 20, 2021. In her amended interrogatory response,
SOE Baird states, “As to the 24-hour drop-box previously located outside of the Supervisor’s
oﬃce in Crystal River, to ensure in person monitoring, it will be moved to within the
oﬃce, and will be available during business/voting hours.” Based on this new information,
I would add Citrus County to the list of counties in paragraph 203 of my expert report,
that concludes: “In my opinion, because of these planned cutbacks on 24/7 VBM drop boxes
in these four counties, SB 90 will increase the costs to voters in [Citrus,] Clay, Flagler,
Glades, and Lafayette counties—including costs on their time, transportation, information,
and health.”




VII      Conclusion

    52     The three opposing experts—Dr. Lockerbie, Dr. Moreno, and Dr. Kidd— do not
challenge the scholarly literature upon which I ground my analysis nor do they challenge any
of my empirical ﬁndings on the impact that SB 90 will have on the voting rights all Florida
voters, but particularly persons of color and individuals with disabilities. There is nothing
in the reports of Dr. Lockerbie, Dr. Moreno, or Dr. Kidd that has caused me to change my
opinions in any way.



    53     I reserve the right to continue to supplement my declaration in light of additional
facts, data, and testimony.




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